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8
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9     FEDERAL TRADE COMMISSION
10                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
11
12    FEDERAL TRADE COMMISSION,                    No. SACV16-00999-BRO (AFMx)
13                             Plaintiff,          PLAINTIFF’S UNDISPUTED
                                                   STATEMENT OF FACTS AND
14                        v.                       CONCLUSIONS OF LAW ON
                                                   REPLY IN SUPPORT OF
15    DAMIAN KUTZNER, et al.,                      SUMMARY JUDGMENT AGAINST
                                                   DEFENDANTS JEREMY FOTI
16                             Defendants.         AND CHARLES MARSHALL AS
                                                   TO ALL COUNTS
17
                                                   Date: August 28, 2017
18                                                 Time: 1:30 pm
                                                   Location: Courtroom 7C
19
                                                   United States Courthouse
20                                                 350 West 1st Street
                                                   Los Angeles, CA 90012
21
22
            The Federal Trade Commission (“FTC”) submits this update to its
23
      Undisputed Statement of Facts and Conclusions of Law, incorporating each of the
24
      Defendants’ responses. Although both defendants failed to accurately number
25
      their factual responses, at times incorrectly listing the FTC’s paragraph number
26
      and then providing a response to that incorrectly identified paragraph, the FTC has,
27
      to the best of its ability, correlated their responses to the correct paragraphs.
28
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1           Marshall, in his responses, frequently claimed that he lacked knowledge or
2     information to answer, that the fact does not apply to him, or otherwise relied on
3     his unsupported, self-serving declaration. He has, therefore, not disputed any of
4     the facts listed. As to the items where he claims he lacks knowledge or that the
5     fact does not apply to him, it is unclear why he did not stipulate to those facts when
6     the FTC met and conferred on this motion.
7           Foti, in his responses, almost exclusively makes formulaic objections, such
8     as “irrelevant” and “hearsay,” without explaining how or why the objections apply.
9     As explained in this Court’s standing order, these formulaic objections should be
10    overruled. DE 108 at Page ID 3823 (“Do not submit blanket or boilerplate
11    objections to the opponent’s statement of undisputed fact. The boilerplate
12    objections will be overruled and disregarded.”). The relevance objection is
13    particularly common and unexplained, unless Foti is admitting the Corporate
14    Defendants committed the acts alleged in the Complaint and, therefore, the facts
15    supporting those allegations do not need to be proven. He also frequently asserts
16    that the evidence is not authenticated, presumably based on his baseless assertion
17    that the Receiver is incapable of authenticating the documents found on the
18    Receivership premises. The FTC’s response to this objection is detailed in its
19    Reply memorandum. Furthermore, Foti has frequently stated “DENY” in response
20    to narrowly tailored facts, without offering a cognizable objection or evidence to
21    controvert the fact. Instead, he attempts to characterize the fact in such a way that
22    it is not inculpatory. But, that is not an objection and does not render the fact
23    disputed. His arguments about the import of a fact should have been limited to his
24    memorandum in opposition. None of Foti’s evidentiary objections have merit, and
25    he has not offered any evidence that actually controverts any of the listed facts.
26
27
28
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1
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      I.    General Background
3
4
      1.    Brookstone Law        Marshall: This Defendant       Undisputed as to
      P.C. (California) is a      lacks the knowledge or         Marshall. He does not
5
      California Professional     information and belief to      offer any admissible
6     Corporation. DE 94,         dispute or declare this fact   evidence capable of
7     Defendant Jeremy Foti’s     undisputed, as this alleged    controverting the fact at
      Answer to Complaint         fact occurred prior to this    issue.
8
      (“Foti Answer”), at Page    Defendant’s involvement
9     ID 3758, ¶ 7 (admitting ¶   with Advantis Law
10    6 of DE 61, First           Group, P.C. or the other
11    Amended Complaint for       individual defendants in
      Permanent Injunction and    this action.
12
      Other Equitable Relief
13    (“Complaint”)); DE 14,      Declaration of Charles T.
14    Declaration of Anthony L.   Marshall
      Gales (“Gales Decl.”) at    (“Marshall Decl.”), at ¶ --.
15
      Page ID 1119-23.
16                              Foti: Admit                      Undisputed as to Foti.
17    2.    Brookstone Law      Marshall: This Defendant         Undisputed as to
18    P.C. (Nevada)             lacks the knowledge or           Marshall. He does not
      (“Brookstone Nevada”) is information and belief to         offer any admissible
19
      a Nevada Professional     dispute or declare this fact     evidence capable of
20    Corporation.              undisputed, as this alleged      controverting the fact at
21    DE 94, Foti Answer at     fact occurred prior to this      issue.
22    Page ID 3758 at ¶ 7       Defendant’s involvement
      (admitting ¶ 6 of DE 61,  with Advantis Law
23
      Complaint); DE 14, Gales Group, P.C. or the other
24    Decl. at Page ID 1124-27. individual defendants in
25                              this action.
26
                                  Marshall Decl., at ¶ --.
27
28                            Foti:Admit                         Undisputed as to Foti.
      3.    Brookstone Nevada Marshall: This Defendant           Undisputed as to
                                          1
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      was incorporated on         lacks the knowledge or         Marshall. He does not
3     November 20, 2014 by        information and belief to      offer any admissible
4     Corporate Legal.            dispute or declare this fact   evidence capable of
5     DE 14, Gales Decl. at       undisputed, as this alleged    controverting the fact at
      Page ID 1125, Att. 7.       fact occurred prior to this    issue.
6
                                  Defendant’s involvement
7                                 with Advantis Law
8                                 Group, P.C. or the other
                                  individual defendants in
9
                                  this action.
10
11                               Marshall Decl., at ¶ --.
12                               Foti: Admit                      Undisputed as to Foti.
      4.     In a November 20, Marshall: This Defendant          Undisputed as to
13
      2014 Articles of           lacks the knowledge or          Marshall. He does not
14    Incorporation filing with  information and belief to       offer any admissible
15    the Nevada Secretary of    dispute or declare this fact    evidence capable of
16    State, “ST OCONNOR”        undisputed, as this alleged     controverting the fact at
      from 3050 Sirius Ave, Ste fact occurred prior to this      issue.
17
      104, Las Vegas, NV         Defendant’s involvement
18    89102 is identified as the with Advantis Law
19    sole Board of              Group, P.C. or the other
      Director/Trustee of        individual defendants in
20
      Brookstone Nevada.         this action.
21    DE 14, Gales Decl. at
22    Page ID 1125, Att. 7.      Marshall Decl., at ¶ --.
23
                                Foti: Admit                       Undisputed as to Foti.
24
      5.     In a March 3, 2015 Marshall: This Defendant         Undisputed as to
25    corporate filing with the lacks the knowledge or           Marshall. He does not
26    Nevada Secretary of       information and belief to        offer any admissible
27
      State, “ST OCONNOR”       dispute or declare this fact     evidence capable of
      from 3050 Sirius Ave, Ste undisputed, as this alleged      controverting the fact at
28
      104, Las Vegas, NV        fact occurred prior to this      issue.
                                               2
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      89102 is identified as the   Defendant’s involvement
3     President, Secretary,        with Advantis Law
4     Treasurer, and Director of   Group, P.C. or the other
5     Brookstone Nevada.           individual defendants in
      DE 14, Gales Decl. at        this action.
6
      Page ID 1126, Att. 7.
7                                  Marshall Decl., at ¶ --.
8
                                 Foti: Admit                      Undisputed as to Foti.
9
      6.      In the March 3,    Marshall: This Defendant        Undisputed as to
10
      2015 corporate filing with lacks the knowledge or          Marshall. He does not
11    the Nevada Secretary of    information and belief to       offer any admissible
12    State, Dr. Connor O’Shea dispute or declare this fact      evidence capable of
      provides the “Signature of undisputed, as this alleged     controverting the fact at
13
      Officer or Other           fact occurred prior to this     issue.
14    Authorized Signature” for Defendant’s involvement
15    the Brookstone Nevada      with Advantis Law
16    filing.                    Group, P.C. or the other
      DE 14, Gales Decl. at      individual defendants in
17
      Page ID 1126, Att. 7.      this action.
18
19                                 Marshall Decl., at ¶ --.
20
                                  Foti: Admit                     Undisputed as to Foti.
21    7.     In a June 12, 2015 Marshall: This Defendant         Undisputed as to
22    corporate filing with the   lacks the knowledge or         Marshall. He does not
23    Nevada Secretary of         information and belief to      offer any admissible
      State, John Mortimer        dispute or declare this fact   evidence capable of
24
      from 3050 Sirius Ave, Ste undisputed, as this alleged      controverting the fact at
25    104, Las Vegas, NV          fact occurred prior to this    issue.
26    89102, is identified as the Defendant’s involvement
27
      President of Brookstone     with Advantis Law
      Nevada.                     Group, P.C. or the other
28
      DE 14, Gales Decl. at       individual defendants in
                                                3
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      Page ID 1127, Att. 7.       this action.
3
4                                 Marshall Decl., at ¶ --.
5
                                 Foti: Admit                     Undisputed as to Foti.
6
      8.     In the June 12,     Marshall: This Defendant       Undisputed as to
7     2015 corporate filing with lacks the knowledge or         Marshall. He does not
8     the Nevada Secretary of    information and belief to      offer any admissible
9
      State, “ST OCONNOR”        dispute or declare this fact   evidence capable of
      from 3050 Sirius Ave, Ste undisputed, as this alleged     controverting the fact at
10
      104, Las Vegas, NV         fact occurred prior to this    issue.
11    89102 is identified as the Defendant’s involvement
12    Secretary, Treasurer, and with Advantis Law
      Director of Brookstone     Group, P.C. or the other
13
      Nevada.                    individual defendants in
14    DE 14, Gales Decl. at      this action.
15    Page ID 1127, Att. 7.
16                               Marshall Decl., at ¶ --.

17
                                 Foti: Admit                     Undisputed as to Foti.
18    9.      In the June 12,    Marshall: This Defendant       Undisputed as to
19    2015 corporate filing with lacks the knowledge or         Marshall. He does not
      the Nevada Secretary of    information and belief to      offer any admissible
20
      State, Dr. Connor O’Shea dispute or declare this fact     evidence capable of
21    provides the “Signature of undisputed, as this alleged    controverting the fact at
22    Officer or Other           fact occurred prior to this    issue.
23    Authorized Signature” for Defendant’s involvement
      the Brookstone Nevada      with Advantis Law
24
      filing.                    Group, P.C. or the other
25    DE 14, Gales Decl. at      individual defendants in
26    Page ID 1127, Att. 7.      this action.
27
                                  Marshall Decl., at ¶ --.
28

                                                 4
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  Foti: Admit                     Undisputed as to Foti.
3     10. Damian Kutzner          Marshall: This Defendant       Undisputed as to
4     and Jeremy Foti are         lacks the knowledge or         Marshall. He does not
5     identified as Board of      information and belief to      offer any admissible
      Directors/Trustees with     dispute or declare this fact   evidence capable of
6
      the address 3050 Sirius     undisputed, as this alleged    controverting the fact at
7     Ave, Ste 104, Las Vegas, fact occurred prior to this       issue.
8     NV 89102 on a purported Defendant’s involvement
9
      March 30, 2015 Nevada       with Advantis Law
      Secretary of State Articles Group, P.C. or the other
10
      of Incorporation filing for individual defendants in
11    Brookstone Nevada.          this action.
12    DE 69-2, Declaration of
      Edward Chang (“Chang        Marshall Decl., at ¶ --.
13
      July 2016 Decl.”) at Page
14    ID 3269, Att. 2.            Foti: DENY - Objections        Undisputed as to Foti.
15                                (irrelevant; failure to        The fact is relevant. The
16                                authenticate; hearsay; no      documents are
                                  foundation the email or        authenticated as indicated
17
                                  document is genuine, was       in the FTC’s original
18                                actually filed, that Mr.       factual citation for this
19                                Foti sent or received a        paragraph. The evidence
                                  copy of it, knew about it      is not hearsay as a
20
                                  or had anything to do with     statement of a party
21                                it.                            opponent and to the extent
22                                Compare DE 69-2, Chang         not offered for the truth of
23                                July 2016 Decl. at Page        the matter asserted. It
                                  ID 3267-3269, Att. 2 with      does not matter if Foti
24
                                  DE 14, Gales Decl. at          ever saw or knew of the
25                                Page ID 1125-27, Att. 7;       particular pieces of
26                                Foti Decl., ¶ 36, 37;          evidence.
27
                                  Thurman Decl. ¶ 2.a.;          For support, Foti does not
                                  Thurman Decl.,                 offer any admissible
28
                                  Attachment 46; FTC Fact        evidence capable of
                                               5
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                  Nos. 11-14;                  controverting the fact at
3                                                              issue.
4     11. The purported           Marshall: This Defendant Undisputed as to
5     March 30, 2015 Nevada       lacks the knowledge or       Marshall. He does not
      Secretary of State Articles information and belief to offer any admissible
6
      of Incorporation for        dispute or declare this fact evidence capable of
7     Brookstone Nevada are       undisputed, as this alleged controverting the fact at
8     different from the          fact occurred prior to this issue.
9
      November 20, 2014,          Defendant’s involvement
      Articles of Incorporation with Advantis Law
10
      filing with the Nevada      Group, P.C. or the other
11    Secretary of State          individual defendants in
12    provided to the FTC by      this action.
      the Nevada Secretary of
13
      State.                      Marshall Decl., at ¶ --.
14    Compare DE 69-2, Chang
15    July 2016 Decl. at Page     Foti: DENY - Objections Undisputed as to Foti.
16    ID 3269, Att. 2; with DE    (irrelevant; failure to      The fact is relevant. The
      14, Gales Decl. at Page     authenticate; hearsay; no documents are
17
      ID 1125-27, Att. 7.         foundation the email or      authenticated as indicated
18                                document is genuine, was in the FTC’s original
19                                actually filed, that Mr.     factual citation for this
                                  Foti sent or received a      paragraph. The evidence
20
                                  copy of it, knew about it    is not hearsay as a
21                                or had anything to do with statement of a party
22                                it.                          opponent and to the extent
23                                Compare DE 69-2, Chang not offered for the truth of
                                  July 2016 Decl. at Page      the matter asserted. It
24
                                  ID 3267-3269, Att. 2 with does not matter if Foti
25                                DE 14, Gales Decl. at        ever saw or knew of the
26                                Page ID 1125-27, Att. 7; particular pieces of
27
                                  Foti Decl., ¶ 36, 37;        evidence.
                                  Thurman Decl. ¶ 2.a.;        For support, Foti does not
28
                                  Thurman Decl.,               offer any admissible
                                                6
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                   Attachment 46; FTC Fact     evidence capable of
3                                  Nos. 11-14;                 controverting the fact at
4                                                              issue.
5      12. Barbara Cegavske       Marshall: This Defendant Undisputed as to
       was the Nevada Secretary lacks the knowledge or         Marshall. He does not
6
       of State in 2015, and Ross information and belief to offer any admissible
7      Miller was the Nevada      dispute or declare this fact evidence capable of
8      Secretary of State in      undisputed, as this alleged controverting the fact at
9
       2014.                      fact occurred prior to this issue.
       DE 14, Gales Decl. at      Defendant’s involvement
10
       Page ID 1125-26, Att. 7.   with Advantis Law
11                                Group, P.C. or the other
12                                individual defendants in
                                  this action.
13
14                                 Marshall Decl., at ¶ --.
15
16                                 Foti: DENY - Objections      Undisputed as to Foti.
                                   (irrelevant; failure to      The fact is relevant. The
17
                                   authenticate; hearsay; no    documents are
18                                 foundation the email or      authenticated as indicated
19                                 document is genuine, was     in the FTC’s original
                                   actually filed, that Mr.     factual citation for this
20
                                   Foti sent or received a      paragraph. The evidence
21                                 copy of it, knew about it    is not hearsay as a
22                                 or had anything to do with   statement of a party
23                                 it.                          opponent and to the extent
                                   Compare DE 69-2, Chang       not offered for the truth of
24
                                   July 2016 Decl. at Page      the matter asserted. It
25                                 ID 3267-3269, Att. 2 with    does not matter if Foti
26                                 DE 14, Gales Decl. at        ever saw or knew of the
27
                                   Page ID 1125-27, Att. 7;     particular pieces of
                                   Foti Decl., ¶ 36, 37;        evidence.
28
                                   Thurman Decl. ¶ 2.a.;        For support, Foti does not
                                                7
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                   Thurman Decl.,               offer any admissible
3                                  Attachment 46; FTC Fact      evidence capable of
4                                  Nos. 11-14;                  controverting the fact at
5                                                               issue.
       13. The purported           Marshall: This Defendant Undisputed as to
6
       March 30, 2015 Nevada       lacks the knowledge or       Marshall. He does not
7      Secretary of State Articles information and belief to offer any admissible
8      of Incorporation for        dispute or declare this fact evidence capable of
9
       Brookstone Nevada filing undisputed, as this alleged controverting the fact at
       identifies Ross Miller as   fact occurred prior to this issue.
10
       the Nevada Secretary of     Defendant’s involvement
11     State at that time.         with Advantis Law
12     DE 69-2, Chang July         Group, P.C. or the other
       2016 Decl. at Page ID       individual defendants in
13
       3269, Att. 2                this action.
14
15                                 Marshall Decl., at ¶ --.
16
                                   Foti: DENY - Objections      Undisputed as to Foti.
17
                                   (irrelevant; failure to      The fact is relevant. The
18                                 authenticate; hearsay; no    documents are
19                                 foundation the email or      authenticated as indicated
                                   document is genuine, was     in the FTC’s original
20
                                   actually filed, that Mr.     factual citation for this
21                                 Foti sent or received a      paragraph. The evidence
22                                 copy of it, knew about it    is not hearsay as a
23                                 or had anything to do with   statement of a party
                                   it.                          opponent and to the extent
24
                                   Compare DE 69-2, Chang       not offered for the truth of
25                                 July 2016 Decl. at Page      the matter asserted. It
26                                 ID 3267-3269, Att. 2 with    does not matter if Foti
27
                                   DE 14, Gales Decl. at        ever saw or knew of the
                                   Page ID 1125-27, Att. 7;     particular pieces of
28
                                   Foti Decl., ¶ 36, 37;        evidence.
                                                8
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                   Thurman Decl. ¶ 2.a.;        For support, Foti does not
3                                  Thurman Decl.,               offer any admissible
4                                  Attachment 46; FTC Fact      evidence capable of
5                                  Nos. 11-14;                  controverting the fact at
                                                                issue.
6
       14. The purported           Marshall: This Defendant Undisputed as to
7      March 30, 2015 Nevada       lacks the knowledge or       Marshall. He does not
8      Secretary of State Articles information and belief to offer any admissible
9
       of Incorporation for        dispute or declare this fact evidence capable of
       Brookstone Nevada           undisputed, as this alleged controverting the fact at
10
       accompanied a health        fact occurred prior to this issue.
11     insurance application for Defendant’s involvement
12     Damian Kutzner and          with Advantis Law
       Jeremy Foti.                Group, P.C. or the other
13
       DE 69-2, Chang July         individual defendants in
14     2016 Decl. at Page ID       this action.
15     3267-77, Att. 2.
16                                 Marshall Decl., at ¶ --.

17
                                   Foti: DENY - Objections      Undisputed as to Foti.
18                                 (irrelevant; failure to      The fact is relevant. The
19                                 authenticate; hearsay; no    documents are
                                   foundation the email or      authenticated as indicated
20
                                   document is genuine, was     in the FTC’s original
21                                 actually filed, that Mr.     factual citation for this
22                                 Foti sent or received a      paragraph. The evidence
23                                 copy of it, knew about it    is not hearsay as a
                                   or had anything to do with   statement of a party
24
                                   it.                          opponent and to the extent
25                                 Compare DE 69-2, Chang       not offered for the truth of
26                                 July 2016 Decl. at Page      the matter asserted. It
27
                                   ID 3267-3269, Att. 2 with    does not matter if Foti
                                   DE 14, Gales Decl. at        ever saw or knew of the
28
                                   Page ID 1125-27, Att. 7;     particular pieces of
                                               9
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 13 of 402 Page ID
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1      Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
       Support
2
                                  Foti Decl., ¶ 36, 37;        evidence.
3                                 Thurman Decl. ¶ 2.a.;        For support, Foti does not
4                                 Thurman Decl.,               offer any admissible
5                                 Attachment 46; FTC Fact      evidence capable of
                                  Nos. 11-14;                  controverting the fact at
6
                                                               issue.
7      15. Jeremy Foti is         Marshall: This Defendant Undisputed as to
8      identified as “CFO” of     lacks the knowledge or       Marshall. He does not
9
       Brookstone Law on the      information and belief to offer any admissible
       health insurance           dispute or declare this fact evidence capable of
10
       application he signed on   undisputed, as this alleged controverting the fact at
11     December 16, 2015,         fact occurred prior to this issue.
12     seeking health insurance   Defendant’s involvement
       through Brookstone         with Advantis Law
13
       Nevada.                    Group, P.C. or the other
14     DE 69-2, Chang July        individual defendants in
15     2016 Decl. at Page ID      this action.
16     3273, 3277, Att. 2.
                                  Marshall Decl., at ¶ --.
17
18                                Foti: DENY - Objections       Undisputed as to Foti.
19                                (irrelevant; failure to       The fact is relevant. The
                                  authenticate; hearsay; no     documents are
20
                                  foundation the email or       authenticated as indicated
21                                the written "CFO" is          in the FTC’s original
22                                genuine, that Mr. Foti sent   factual citation for this
23                                or received a copy of it,     paragraph. The evidence
                                  knew about it or had          is not hearsay as a
24
                                  anything to do with it in     statement of a party
25                                the form presented here.      opponent.
26                                Although Mr Foti has          For support, Foti does not
27
                                  admitted he signed the        offer any admissible
                                  healthcare application, he    evidence capable of
28
                                  denies he wrote or saw        controverting the fact at
                                              10
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 14 of 402 Page ID
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1      Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
       Support
2
                                  the "CFO" on the            issue. Furthermore, Foti
3                                 document.                   previously admitted that
4                                 Foti Decl., ¶ 36, 37; DE    the document, including
5                                 69-2, Chang July 2016       the identification of Foti
                                  Decl. at Page ID 3267-      as “CFO,” was genuine
6
                                  3268, 3273, 3277, Att. 2.   and authentic. DE 284-8
7                                                             at Page ID 7507
8                                                             (Response to RFA No. 8).
9
       16. A voided check        Marshall: This Defendant Undisputed as to
       from Brookstone Law PC, lacks the knowledge or         Marshall. He does not
10
       3050 Sirius Ave, Ste 104, information and belief to offer any admissible
11     Las Vegas, NV, 89102      dispute or declare this fact evidence capable of
12     from the Bank of America undisputed, as this alleged controverting the fact at
       account ending in 7366    fact occurred prior to this issue.
13
       accompanied the           Defendant’s involvement
14     healthcare application.   with Advantis Law
15     DE 69-2, Chang July       Group, P.C. or the other
16     2016 Decl. at Page ID     individual defendants in
       3272, Att. 2.             this action.
17
18                                Marshall Decl., at ¶ --.
19
                                  Foti: Deny -Objections to     Undisputed as to Foti.
20
                                  email (irrelevant; failure    The fact is relevant. The
21                                to authenticate; hearsay;     documents are
22                                no foundation the email or    authenticated as indicated
23                                document is genuine, that     in the FTC’s original
                                  Mr. Foti sent or received a   factual citation for this
24
                                  copy of it, knew about it     paragraph. The evidence
25                                or had anything to do with    is not hearsay as a
26                                it. Objections to check       statement of a party
27
                                  (failure to authenticate;     opponent and to the extent
                                  irrelevant; hearsay). No      not offered for the truth of
28
                                  evidence Mr. Foti was a       the matter asserted. It
                                              11
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 15 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
                                 signer or had any                does not matter if Foti
3                                authority regarding the          ever saw or knew of the
4                                account.                         particular pieces of
5                                Foti Decl., ¶ 36, 37; DE         evidence.
                                 69-2, Chang July 2016            For support, Foti does not
6
                                 Decl. at Page ID 3267,           offer any admissible
7                                3272, Att. 2; DE 14-5,           evidence capable of
8                                Gales Decl. at Page ID           controverting the fact at
                                 1408-09, Att. 20.                issue.
9
       17. Brookstone Nevada Marshall: This Defendant             Undisputed as to
10
       had a bank account with   lacks the knowledge or           Marshall. He does not
11     Bank of America that      information and belief to        offer any admissible
12     ended in 7366.            dispute or declare this fact     evidence capable of
       DE 14-5, Gales Decl. at   undisputed, as this alleged      controverting the fact at
13
       Page ID 1408-11, Att. 20; fact occurred prior to this      issue.
14     DE 69-2, Chang July       Defendant’s involvement
15     2016 Decl. at Page ID     with Advantis Law
16     3272, Att.2.              Group, P.C. or the other
                                 individual defendants in
17
                                 this action.
18
19                                 Marshall Decl., at ¶ --.
20
                                   Foti: Admit                    Undisputed as to Foti.
21                                 DE 14-5, Gales Decl. at
22                                 Page ID 1408-11, Att. 20;
23                                 DE 69-2, Chang July
                                   2016 Decl. at Page ID
24
                                   3272, Att.2.
25     18. The bank                Marshall: This Defendant       Undisputed as to
26     documents for the           lacks the knowledge or         Marshall. He does not
27
       Brookstone Nevada Bank      information and belief to      offer any admissible
       of America account          dispute or declare this fact   evidence capable of
28
       ending in 7366 state that   undisputed, as this alleged    controverting the fact at
                                               12
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 16 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
       Support
2
       Jonathan Tarkowski is        fact occurred prior to this   issue
3      Brookstone Nevada’s          Defendant’s involvement
4      managing attorney, and       with Advantis Law
5      that Geoffrey Broderick is   Group, P.C. or the other
       an attorney for              individual defendants in
6
       Brookstone Nevada.           this action.
7      DE 14-5, Gales Decl. at
8      Page ID 1408-09, Att. 20.    Marshall Decl., at ¶ --.
9
                                 Foti: Admit                      Undisputed as to Foti.
10                               DE 14-5, Gales Decl. at
11                               Page ID 1408-09, Att. 20
12                               (demonstrates that Mr.
                                 Foti was not a signer and
13
                                 did not have any authority
14                               over or access to
15                               regarding the account.)
16     19. Advantis Law P.C. Marshall: This Defendant             Undisputed as to
       (“Advantis Law”) is a     lacks the knowledge or           Marshall. He does not
17
       California Professional   information and belief to        offer any admissible
18     Corporation.              dispute or declare this fact     evidence capable of
19     DE 94, Foti Answer at     undisputed, as this alleged      controverting the fact at
       Page ID 3758, ¶ 8         fact occurred prior to this      issue
20
       (admitting ¶ 7 of DE 61,  Defendant’s involvement
21     Complaint); DE 14, Gales with Advantis Law
22     Decl. at Page ID 1114-18. Group, P.C. or the other
23                               individual defendants in
                                 this action.
24
25                                  Marshall Decl., at ¶ --.
26
27
                                    Foti: Admit                   Undisputed as to Foti.
       20. Advantis Law             Marshall: Undisputed.         Undisputed as to both
28
       Group P.C. (“Advantis                                      Marshall and Foti
                                                13
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 17 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       Law Group”) is a            Foti: Admit
3      California Professional
4      Corporation.
5      DE 94, Foti Answer, at
       Page ID 3758, ¶ 8
6
       (admitting ¶ 7 of DE 61,
7      Complaint); DE 14, Gales
8      Decl. at Page ID 1108-13.
9
       21. Brookstone Law          Marshall: This Defendant       Undisputed as to
       P.C. (California) and       lacks the knowledge or         Marshall. He does not
10
       Brookstone Nevada           information and belief to      offer any admissible
11     (collectively,              dispute or declare this fact   evidence capable of
12     “Brookstone”) maintained    undisputed, as this alleged    controverting the fact at
       an office at 18400 Von      fact did not involve           issue
13
       Karman, Suite 1000,         Defendant, or
14     Irvine, CA.                 Defendant’s involvement
15     DE 94, Foti Answer at       with Advantis Law
16     Page ID 3758 at ¶ 7         Group, P.C.
       (admitting ¶ 6 of DE 61,
17
       Complaint); DE 17,          Marshall Decl., at ¶ --.
18     Declaration of Diane
19     Samar Ayoub (“Ayoub         Foti: Admit                    Undisputed as to Foti.
       Decl.”) at Page ID 1942,
20
       ¶ 6, and Page ID 1944, ¶
21     15; DE 186-3,
22     Declaration of Jonathan
23     Tarkowski (“Tarkowski
       Decl.”) at Page ID 5356,
24
       ¶¶ 4-5; DE 284-14,
25     Declaration of Gregory
26     Madden (“Madden July
27
       2017 Decl.”) Page ID
       8126, 8416 ¶ 3, Att. 15,
28
       Decl Plaintiff’s First
                                                 14
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 18 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
       Support
2
       Requests for Admission
3      Issued to Charles
4      Marshall Pursuant to
5      Federal Rule of Civil
       Procedure 36
6
       (“Marshall’s First
7      RFAs”), RFA 40 admitted
8      pursuant to FRCP
       36(a)(3); DE 41-4 at
9
       Page ID 2596
10     (Brookstone Fee
11     Agreement); DE 284-4,
12     Declaration of Edward
       Chang Pursuant to 28
13
       U.S.C. § 1746 (“Chang
14     Decl.”) at Page ID 7248.
15     22. Advantis Law and         Marshall: Disputed.           Undisputed as to
16     Advantis Law Group           Advantis Law and              Marshall. He does not
       (collectively, “Advantis”)   Advantis Law Group are        offer any admissible
17
       maintained an office at      not related and should not    evidence capable of
18     18400 Von Karman, Suite      be collectively referred to   controverting the fact at
19     1000, Irvine, CA.            as the same entity or         issue, including his self-
       DE 94, Foti Answer at        common identity.              serving declaration, which
20
       Page ID 3758 at ¶ 8                                        cannot be used to create a
21     (admitting ¶ 7 of DE 61,     Marshall Decl., at ¶ --.      genuine dispute as to a
22     Complaint); DE 14, Gales                                   material fact on summary
23     Decl. at Page ID 1110-11,                                  judgment.
       1116-17; DE 284-14, at
24
       Page ID 8126, 8416,          Foti: Admit                   Undisputed as to Foti.
25     Madden July 2017 Decl. ¶
26     3, Att. 15Marshall’s First
27
       RFAs, RFA 41 admitted
       pursuant to FRCP
28
       36(a)(3).
                                                  15
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 19 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       23. Brookstone              Marshall: This Defendant       Undisputed as to
3      maintained an office at 6   lacks the knowledge or         Marshall. He does not
4      Hutton Centre Drive,        information and belief to      offer any admissible
5      Suite 1000, Santa Ana,      dispute or declare this fact   evidence capable of
       CA.                         undisputed, as this alleged    controverting the fact at
6
       DE 94, Foti Answer, at      fact occurred prior to this    issue.
7      Page ID 3758, ¶ 7           Defendant’s involvement
8      (admitting ¶ 6 of DE 61,    with Advantis Law
       Complaint); DE 17,          Group, P.C. or the other
9
       Ayoub Decl. at Page ID      individual defendants in
10     1942, ¶ 6 and Page ID       this action.
11     1944, ¶ 15; DE 284-14, at   Marshall Decl., at ¶ --.
12     Page ID 8126, 8417,
       Madden July 2017 Decl. ¶    Foti: Admit                    Undisputed as to Foti.
13
       3, Att. 15, Marshall’s
14     First RFAs, RFA 43
15     admitted pursuant to
16
       FRCP 36(a)(3); DE 13,
       Declaration of Gregory J.
17
       Madden (“Madden May
18     2016 Decl.”) at Page ID
19     886-93, Att. 46.
       24. Advantis                Marshall: This Defendant       Undisputed as to
20
       maintained an office at 6   lacks the knowledge or         Marshall. He does not
21     Hutton Centre Drive,        information and belief to      offer any admissible
22     Suite 1000, Santa Ana,      dispute or declare this fact   evidence capable of
23     CA.                         undisputed, as this alleged    controverting the fact at
       DE 94, Foti Answer at       fact occurred prior to this    issue.
24
       Page ID 3758, ¶ 8           Defendant’s involvement
25     (admitting ¶ 7 of DE 61,    with Advantis Law
26     Complaint); DE 17,          Group, P.C. or the other
27
       Ayoub Decl. at Page ID      individual defendants in
       1942, ¶ 6 and Page ID       this action. Defendant was
28
       1944, ¶ 15; DE 284-14, at   not involved with
                                                 16
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 20 of 402 Page ID
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1      Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
       Support
2
       Page ID 8126, 8417,           Advantis Law, P.C.
3      Madden July 2017 Decl.
4      at ¶ 3, Att. 15, Marshall’s   Marshall Decl., at ¶ --.
5      First RFAs, RFA 44
       admitted pursuant to          Foti: Admit                  Undisputed as to Foti.
6
       FRCP 36(a)(3).
7      25. Brookstone and            Marshall: Disputed.          Undisputed as to
8      Advantis (collectively,       Advantis Law Group,          Marshall. He does not
9
       “Corporate Defendants”)       P.C. offered litigation to   offer any admissible
       offered mortgage              challenege the banks’        evidence capable of
10
       assistance relief services    rights to foreclose on       controverting the fact at
11     (“MARS”) as defined in        clients’ properties.         issue, including his self-
12     12 C.F.R. § 1015.2.                                        serving declaration, which
       DE 94, Foti Answer at         Marshall Decl., at ¶ --.     cannot be used to create a
13
       Page ID 3578, ¶¶ 7-8                                       genuine dispute as to a
14     (admitting ¶¶ 6-7 of DE                                    material fact on summary
15     61, Complaint, which                                       judgment.
16     alleged that the
       Corporate Defendants          Foti: DENY - Not a           Undisputed as to Foti.
17
       “advertised, marketed,        statement of fact but a     The fact is relevant. The
18     distributed, or sold          conclusion of law.          documents are
19     mortgage assistance relief    Objections (failure to      authenticated as indicated
       services to consumers in      authenticate; irrelevant;   in the FTC’s original
20
       this district.                hearsay) - no showing Mr.   factual citation for this
21     [Brookstone/Advantis] is      Foti had anything to do     paragraph, including
22     a ‘law firm’ offering         with the documents or       emails sent by or to Foti.
23     mortgage assistance relief    that they were used with    The evidence is not
       services to consumers by      any consumer.               hearsay as a statement of
24
       representing them in          Foti Answer, para. 23;      a party opponent. Aside
25     litigation against their                                  from the emails he sent or
26     lenders.”); DE 17-6,          DENY - Not a statement      received, it does not
27
       Declaration of Mario          of fact but a conclusion of matter if Foti ever saw or
       Rios (“Rios Decl.”) at        law. Objections (failure to knew of the particular
28
       Page ID 2135 (“You may        authenticate; irrelevant;   pieces of evidence.
                                                   17
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 21 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
       Support
2
       become a joined plaintiff    hearsay) - no showing Mr.     For support, Foti’s cited
3      in a significant lawsuit     Foti sent or received or      “evidence” is limited to
4      that will seek, among        had anything to do with       his answer, which is not
5      other things, to void your   the documents or that they    evidence and cannot
       note(s), and/or to award     were used with any            controvert a fact on
6
       you relief and monetary      consumer.                     summary judgment, or his
7      damages.”); DE 17-6,         Foti Answer, para. 23;        self-serving testimony,
8      Rios Decl. at Page ID        Foti Depo., 117:2 to          which also does not
       2148-53 (Pre-Litigation      119:12                        controvert this fact.
9
       Settlement Agreement);
10     DE 17, Declaration of        DENY - Not a statement
11     Jesse Chapman                of fact but a conclusion of
12     (“Chapman Decl.”) at         law. Objections (failure to
       Page ID 1946, ¶ 7 (hired     authenticate; irrelevant;
13
       Brookstone “to get a         hearsay) - no showing Mr.
14     refund from Bank of          Foti sent or received or
15     America or a modification    had anything to do with
16
       to our loan”); id. at Page   the documents or that they
       ID 1948 (“You may            were used with any
17
       become a joined named        consumer.
18     plaintiff in a significant   Foti Answer, para. 23;
19     lawsuit that will seek,
       among other things, to       [Foti included three
20
       void your note(s), and/or    responses to this
21     to award you relief and      paragraph, so the FTC has
22     monetary damages.”);         included each one here]
23     DE 17-7, Declaration of
       Malu Lujan (“Lujan
24
       Decl.”) at Page ID 2170,
25     ¶ 8 (“Richard Taylor told
26     me that Brookstone would
       probably be able to get
27
       me ‘free and clear’ on my
28     loan, that I would owe

                                                18
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1      Uncontroverted Fact/       Defendants’ Responses   FTC’s Reply
       Support
2
       nothing on my mortgage
3      due to my lender’s
4      fraud.”); DE 17-4,
5      Declaration of Michael
       Nava (“Nava Decl.”) at
6
       Page ID 2095, ¶ 7 (“He
7      said I could get the
8      $75,000, and the bank
       would try to negotiate the
9
       $750,000 claim by
10     lowering my loan
11     amount.”); DE 41-2 at
12     Page ID 2517 and 2523
       (scripts claiming services
13
       will help consumers
14     “struggling to pay your
15     mortgage” or “facing
16
       foreclosure”); DE 284-4,
       Chang Decl., at Page ID
17
       7248 ¶¶ 4.e & 4.f; Ex. 75
18     at FTC-RAD-001-
19     0221284 to 0221285
       (offering foreclosure
20
       relief; stating “We are
21     attorneys that focus on
22     foreclosure defense and
23     can offer immediate
       solutions to your problem.
24
       You must know well in
25     advance what your legal
26     rights and options are so
       you don’t lose your
27
       home;” and further
28     stating “Available forms

                                            19
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 23 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses   FTC’s Reply
       Support
2
       of relief include,
3      reduction of unpaid
4      principal balances,
5      refinancing for borrowers
       whose homes are worth
6
       less than what they owe,
7      payments to borrowers
8      who were wrongly
       foreclosed on; and the
9
       opportunity for a short
10     sale”); Ex. 87 at FTC-
11     RAD-001-0089958
12     (“Keep in mind that this
       is the first lawsuit of its
13
       kind, and is keeping
14     homeowners in there [sic]
15     homes.”); DE 284-8,
16
       Declaration of Benjamin
       J. Theisman in Support of
17
       Plaintiff’s Motion for
18     Summary Judgment
19     Against Defendants
       Jeremy Foti and Charles
20
       Marshall as to all Counts
21     (“Theisman Decl.”) at
22     Page ID 7485-86, 7576-
23     7577, 7609-7614 ¶ 4.n &
       4.u; DE 284-14, Madden
24
       July 2017 Decl. at Page
25     ID 8126-28, 8423-26 ¶¶
26     4-5, Att. 16 (excerpts of
       Defendant Charles T.
27
       Marshall’s Responses to
28     Plaintiff’s First Set of

                                             20
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 24 of 402 Page ID
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1      Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
       Support
2
       Interrogatories
3      (“Marshall First Int.
4      Resp.”), Int. Nos. 7-8,
5      identifying no defenses
       and identifying no
6
       individuals or entities
7      with information
8      suggesting any Defendant
       is not liable), Att. 17,
9
       (excerpts of Defendant
10     Marshall’s Objections
11     and Response to
12     Plaintiff’s First Requests
       for Production of
13
       Documents (“Marshall
14     First RFP Resp.”), RFP
15     Nos. 19, 21, identifying no
16
       documents tending to
       disprove or call into
17
       question that Corporate
18     Defendants were
19     “mortgage assistance
       relief providers.”).
20
       26. Damian Kutzner is         Marshall: This Defendant       Undisputed as to
21     an individual who was an      lacks the knowledge or         Marshall. He does not
22     owner or executive of the     information and belief to      offer any admissible
23     Corporate Defendants.         dispute or declare this fact   evidence capable of
       DE 41-4 at Page ID            undisputed, as this alleged    controverting the fact at
24
       2620-27 (agreement            fact occurred prior to this    issue.
25     making Kutzner COO of         Defendant’s involvement
26     Brookstone); DE 41-5 at       with Advantis Law
27
       Page ID 2640-41 (phone        Group, P.C. or the other
       directories identifying       individual defendants in
28
       Kutzner as                    this action.
                                                 21
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 25 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses      FTC’s Reply
       Support
2
       “management”); id. at       Marshall Decl., at ¶ --.
3      Page ID 2668-72
4      (payment schedule listing Foti: No response            Undisputed as to Foti.
5      Kutzner as an
       “executive”); id. at Page
6
       ID 2681 (“Deal Memo”);
7      DE 284-4, Chang Decl. at
8      Page ID 7249 ¶¶ 4.s, 4.u,
       4.z, 4.bb; DE 186-4,
9
       Declaration of Vito
10     Torchia, Jr. (“Torchia
11     Decl.”), at Page ID 5370-
12     72, 5375-76, 5378-80, ¶¶
       3-8, 15-17, 21, 23-25; DE
13
       284-13, Theisman Decl.
14     at Page ID 8056 ¶ 15, Att.
15     12, March 22, 2017
16
       Excerpts of Deposition of
       Jeremy Foti (“Foti
17
       Depo.”) at 48:15-18 (“I
18     mean, I would give my
19     input, but the final
       decision always lied [sic]
20
       with Vito, or Damian if
21     Vito wasn't around, or
22     one of Vito’s managing
23     attorneys.”); id. at 65:10-
       18 (“Damian was
24
       actually an officer of the
25     corporation. . . . Damian
26     could approve anything . .
       .”); DE 218-2,
27
       Declaration of Gregory J.
28     Madden in Support of

                                               22
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 26 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       Plaintiff’s Opposition to
3      Motion to Dissolve or
4      Otherwise Modify
5      Preliminary Injunction as
       to Defendant Charles T.
6
       Marshall (“Madden April
7      2017 Decl.”) at Page ID
8      6063, Att. 16, March 20,
       2017 Deposition of
9
       Charles Marshall
10     (“Marshall Depo.”), at
11     48:17-21 (Marshall
12     understood Kutzner to be
       a “principal”); DE 284-7,
13
       Declaration of Josephine
14     Lobo (“Lobo Decl.”) at
15     Page ID 7477 ¶¶4-5, Att.
16     27. Vito Torchia Jr. is     Marshall: This Defendant       Undisputed as to
       an individual who was an    lacks the knowledge or         Marshall. He does not
17
       owner or executive of the   information and belief to      offer any admissible
18     Corporate Defendants.       dispute or declare this fact   evidence capable of
19     DE 14, Gales Decl. at       undisputed, as this alleged    controverting the fact at
       Page ID 1108, 1114,         fact occurred prior to this    issue.
20
       1119; DE 186-4, Torchia     Defendant’s involvement
21     Decl. at Page ID 5370, ¶    with Advantis Law
22     3; DE 41-6 at Page ID       Group, P.C. or the other
23     2742-44; DE 284-4,          individual defendants in
       Chang Decl. at Page ID      this action.
24
       7249 ¶ 4.kk.                Marshall Decl., at ¶ --.
25
26                              Foti: No response                 Undisputed as to Foti.
27
       28. Geoffrey Broderick Marshall: This Defendant            Undisputed as to
       is an individual who was lacks the knowledge or            Marshall. He does not
28
       an owner or executive of information and belief to         offer any admissible
                                               23
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 27 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       the Corporate Defendants.   dispute or declare this fact evidence capable of
3      DE 14, Gales Decl. at       undisputed, as this alleged controverting the fact at
4      Page ID 1110, 1116; DE      fact occurred prior to this issue.
5      186-4, Torchia Decl. at     Defendant’s involvement
       Page ID 5379-80, ¶¶ 23      with Advantis Law
6
       & 25; DE 41-6 at Page       Group, P.C. or the other
7      ID 2742-44; DE 284-4,       individual defendants in
8      Chang Decl. at Page ID      this action.
       7249 ¶ 4.kk; DE 284-14,     Marshall Decl., at ¶ --.
9
       Madden July 2017 Decl.
10     at Page ID 8126, 8414 ¶     Foti: No response           Undisputed as to Foti.
11     3, Att. 15, Marshall’s
12     First RFAs, RFA 10
       admitted pursuant to
13
       FRCP 36(a)(3).
14     29. Jonathan                Marshall: Disputed.         Undisputed as to
15     Tarkowski is an             Tarkowski was not a         Marshall. He does not
16     individual who was a        lawyer for Advantis Law     offer any admissible
       lawyer for the Corporate    Group, P.C.                 evidence capable of
17
       Defendants.                 Marshall Decl., at ¶ --.    controverting the fact at
18     DE 186-3, Declaration of                                issue, including his self-
19     Jonathan Tarkowski                                      serving declaration, which
       (“Tarkowski Decl.”) at                                  cannot be used to create a
20
       Page ID 5356-58 ¶¶ 4-7.                                 genuine dispute as to a
21                                                             material fact on summary
22                                                             judgment.
23
                                   Foti: No response           Undisputed as to Foti.
24
       30. Charles Marshall is     Marshall: Marshall does     Undisputed as to
25     an individual who was an    not dispute that he was     Marshall. He does not
26     owner or executive of       nominally listed as an      offer any admissible
27
       Advantis Law Group.         executive for Advantis      evidence capable of
       DE 14, Gales Decl. at       Law Group PC for some       controverting the fact at
28
       Page ID 1110; DE 41-6       period of time; he          issue, including his self-
                                               24
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       at Page ID 2746-52          disputes any inferences        serving declaration, which
3      (Advantis Law Group         the FTC might draw from        cannot be used to create a
4      shareholder agreement);     this fact.                     genuine dispute as to a
5      DE 284-4, Chang Decl. at                                   material fact on summary
       Page ID 7249 ¶ 4.ll.                                       judgment.
6
7                                  Foti: No response              Undisputed as to Foti.
8      31. Jeremy Foti is an       Marshall: This Defendant       Undisputed as to
9
       individual who was an       lacks the knowledge or         Marshall. He does not
       owner or executive of the   information and belief to      offer any admissible
10
       Corporate Defendants.       dispute or declare this fact   evidence capable of
11     DE 41-5 at Page ID          undisputed, as this alleged    controverting the fact at
12     2640-41 (phone              fact occurred prior to or      issue.
       directories identifying     without this Defendant’s
13
       Foti as “management”);      involvement in Advantis
14     id. at Page ID 2668-72      Law Group, P.C. or the
15     (payment schedule listing   other individual
16     Foti as an “executive”);    defendants in this action.
       id. at Page 2681 (“Deal
17
       Memo”); DE 284-4,           Foti: DENY - Objections        Undisputed as to Foti.
18     Chang Decl. at Page ID      (irrelevant; failure to        The fact is relevant. The
19     7249 ¶¶ 4.u, 4.z, and       authenticate; hearsay; no      documents are
       4.bb; DE 186-4, Torchia     foundation the emails or       authenticated as indicated
20
       Decl. at Page ID 5370-72,   documents are genuine,         in the FTC’s original
21     5375-76, 5378-80, ¶¶ 3-8,   who prepared them, that        factual citation for this
22     15-17, 21, 23-25; DE 69-    Mr. Foti sent or received      paragraph, including
23     2, Chang July 2016 Decl.    them, knew about them or       emails sent by or to Foti.
       at Page ID 3269             had anything to do with        The evidence is not
24
       (purported Articles of      them.                          hearsay because it is a
25     Incorporation listing       Foti Answer, para. 23;         statement of an opposing
26     Jeremy Foti as member of    Foti Decl. ¶ 15, 16, 19,       party. Aside from the
27
       the board of directors or   30, 33, 34, 36, 37, 39, 40,    emails he sent or
       trustee); id. at Page ID    41, 86 (office directories,    received, it does not
28
       3273-77 (Foti signing       "Deal Memo", Vito              matter if Foti ever saw or
                                               25
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1      Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
       Support
2
       health insurance              Declaration, Marshall          knew of the particular
3      application claiming to be    negotiations, Josie "only      pieces of evidence.
4      CFO); Madden April            manager's claim, 50/50         For support, Foti’s cited
5      2017 Decl. Page ID 6063,      split with DK, "we're          evidence does not
       Att. 16, Marshall Depo. at    partners now" Deal             controvert the fact. He
6
       48:17-21 (Foti was a          Memo email, everyone           cites to his answer, which
7      “principal” for Advantis      had a key; his job             is not evidence and cannot
8      whom Marshall was             description; office            controvert a fact on
       negotiating with); DE         leases); 287-4 - Thurman       summary judgment. He
9
       284-7, Lobo Decl. at Page     MSJ Decl., Attachments 1,      cites to his self-serving
10     ID 7466-67 ¶¶ 4-5; DE         2, 3, 4, 5, 6, 7, 9, 10, 11,   declaration, which cannot
11     284-8, at Page ID 7486,       13, 14, 16, 17,18, 19, 20,     be used to create a
12     DE 284-10, at Page ID         21, 22, 23, 24, 25, 26;        genuine dispute as to a
       7752-53, Theisman Decl.       Thurman Decl.,                 material fact on summary
13
       ¶ 4.qq; id.DE 284-8, at       Attachment 47 (MOU             judgment. He cites to
14     Page ID 7487, DE 284-         between Broderick and          evidence that others also
15     10, Page ID 7776 at ¶         Marshall); Thurman             may have had control,
16
       4.aaa; id. at ¶ 4.qqq, DE     Decl., Attachment 46           which does not controvert
       284-8, Page ID 7487, DE       (Nevada Secretary of           the fact.
17
       284-11, 7854; id. at ¶ 4.k,   State document);
18     DE 284-8, Page ID 7485,       Thurman Decl.,
19     7541-7640; id.at ¶ 7, DE      Attachment 48 (Damian
       284-8, Page ID 7489,          Kutzner's Executive
20
       7503-16 (attaching            Employment Agreement);
21     excerpts of Foti’s answers    Theisman Decl. at ¶
22     to RFAs in which he           4.aaa, MSJ Evid p. 241,
23     admits he occupied the        530 (authenticating and
       office identified as          attaching FTC-RAD-001-
24
       number 111 and                0080085) - (Josie email
25     admitting the office          dated 10/4/11 stating that
26     locations of Kutzner and      Vito said he was
       Broderick, responses to       authorized to approve
27
       RFAs 111-13); id. at ¶        refunds - FTC failed to
28     4.ggg, DE 284-8, Page ID      produce any emails

                                                 26
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 30 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
       Support
2
       7487, DE 284-10, Page        reflecting Mr. Foti ever
3      ID 7798-02                   approved a single
4      (authenticating and          refund); DE-284-7 - Lobo
5      attaching FTC-RAD-001-       Decl., para. 2 ("From
       0163703 to 0163707,          October 2013 until
6
       cover email on memo          August 2014, I worked
7      regarding Brookstone’s       part-time for Brookstone
8      bonus structure, from        from my home for
       Torchia to Kutzner and       approximately 15 hours a
9
       Foti, stating                week. From August 2014
10     “Confidential. Do not        until mid-October 2014, I
11     distribute.”); id. at ¶      did very little work for
12     4.hhh, DE 284-8, Page ID     Brookstone Law. From
       7487, DE 284-10, DE          November 2014 until
13
       284-11, Page ID 7803-        September 2015, I did no
14     7822 (authenticating and     work for Brookstone. I
15     attaching FTC-RAD-001-       worked for Brookstone
16
       0164070 to 0164089,          part time from September
       cover email from Torchia     2015 to June 2016.");
17
       is to just Kutzner and       Response to FTC Nos. 10,
18     Foti); id. at ¶ 4.iii, DE    15 above.
19     284-8, Page ID 7487, DE
       284-11, Page ID 7823-27
20
       (authenticating and
21     attaching FTC-RAD-001-
22     0164311 to 0164315,
23     cover email on memo
       regarding Brookstone’s
24
       claim to be a national law
25     firm, from Torchia to
26     Kutzner and Foti, stating
       “This is Confidential
27
       Memo not to be
28     distributed.”); DE 284-7,

                                               27
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 31 of 402 Page ID
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1      Uncontroverted Fact/       Defendants’ Responses   FTC’s Reply
       Support
2
       Lobo Decl. at Page ID
3      7467 ¶ 7; Ex. 69 (email
4      from Kutzner to Pepe
5      Abad, copying Foti,
       attaching the Deal Memo,
6
       and stating “Psss. . Look
7      at the Deal memo we all
8      signed. . . . I am sending
       this to you as we are
9
       partners NOW and you
10     should understand all
11     sides! Not just one!”);
12     DE 78-1, Foti July Decl.
       at Page ID 3538-39, ¶ 10;
13
       DE 78-1, Foti July Decl.
14     at Page ID 3546; DE
15     152-1, Declaration of
16
       Jeremy Foti in Support of
       Defendant’s Response to
17
       Plaintiff’s Objections to
18     Proposed Findings of
19     Fact and Receiver’s
       Supplemental Report
20
       (“Foti Nov. Decl.”) at
21     Page ID 4757; DE 41 at
22     Page ID 2479 (“He
23     operates from a large,
       and upon our arrival
24
       locked, office next to Mr.
25     Kutzner’s office.”); DE
26     41-2 at 2498-99
       (identifying Foti’s office
27
       as the “VP Office”
28     designated as “I” or

                                            28
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 32 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       “111”); DE 186-3,
3      Tarkowski Decl. at Page
4      ID 5359, ¶ 9.
5      In Late 2010, Foti Teamed Up With Torchia and Kutzner to Run
6      Brookstone’s Mass Joinder Scheme
7      32. Defendants initially    Marshall: This Defendant       Undisputed as to
       built their mass joinder    lacks the knowledge or         Marshall. He does not
8
       practice with the advice    information and belief to      offer any admissible
9      and support of Phil         dispute or declare this fact   evidence capable of
10     Kramer and Mitch Stein.     undisputed, as this alleged    controverting the fact at
11     Ex. 2, DE 18 at Page ID     fact occurred prior to or      issue.
       2250-54, 2259-63; DE        without this Defendant’s
12
       186-4, Torchia Decl. at     involvement in Advantis
13     Page ID 5370-71, ¶ 4        Law Group, P.C. or the
14     (“Initially, Brookstone     other individual
15
       engaged in debt relief      defendants in this action.
       work, but subsequently
16
       followed the model of       Foti: Admit, except as to      Undisputed as to Foti. He
17     three other attorneys,      Defendant.                     does not attempt to
18     Mitchell Stein, Philip      Foti Decl., para. 12.          dispute the fact in general,
       Kramer, and Kenin                                          merely relying on his self-
19
       Spivak and began signing                                   serving declaration to
20     up clients for ‘mass                                       assert he was not involved
21     joinder’ lawsuits. In a                                    in the fact at issue. His
22     mass joinder lawsuit,                                      self-serving declaration
       tens, or hundreds, of                                      both does not address this
23
       plaintiffs bring a single                                  fact and could not
24     case against a common                                      controvert a fact on
25     defendant, such as Bank                                    summary judgment.
       of America. Philip
26
       Kramer and Mitch Stein
27     contacted Damian
28     Kutzner and then
       approached me to have
                                               29
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 33 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       Brookstone interview
3      potential clients/clients,
4      gather documents, and
5      communicate with clients
       while Mitch Stein would
6
       be the lead litigation
7      counsel for the mass
8      joinders against national
       banks. I did not have the
9
       experience to be lead
10     counsel in a mass joinder
11     case against national
12     banks because I lacked
       any trial experience.”)
13
       33. Foti began working       Marshall: This Defendant       Undisputed as to
14     with Brookstone in late      lacks the knowledge or         Marshall. He does not
15     2010.                        information and belief to      offer any admissible
16     DE 78-1, Declaration of      dispute or declare this fact   evidence capable of
       Jeremy Foti in Support of    undisputed, as this alleged    controverting the fact at
17
       Opposition to Preliminary    fact occurred prior to or      issue.
18     Injunction, dated July 25,   without this Defendant’s
19     2016 (“Foti July Decl.”),    involvement in Advantis
       at Page ID 3538, ¶ 9, and    Law Group, P.C. or the
20
       3544-50; Ex. 91 (email       other individual
21     dated 11/18/10 from Foti     defendants in this action.
22     to Kutzner attaching a
23     draft script for             Foti: ADMIT - Objections Undisputed as to Foti.
       Brookstone); DE 284-8,       to emails dated 11/18/10
24
       Theisman Decl. at Page       and 11/30/10 (irrelevant;
25     ID 7486, 7653-56 ¶ 4.w;      failure to authenticate;
26     id. at ¶ 4.vvvv, DE 284-8,   hearsay; no foundation
27
       Page ID 7489, DE 284-        the emails or document is
       12, Page ID 7973-74          genuine, who prepared
28
       (attaching and               them, whether Mr. Foti
                                                30
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 34 of 402 Page ID
                                       #:11232




1      Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
       Support
2
       authenticating email from     sent or received them,
3      Foti to Brookstone            knew about them or had
4      personnel dated 11/30/10,     anything to do with them
5      FTC-RAD-002-0457531           or whether draft script
       to 0457532, stating: “It is   was ever presented to any
6
       go time let’s hit it full     consumer.
7      throttle.”).                  Foti Decl., 16.d. and 18
8      34. Kramer and Stein          Marshall: This Defendant       Undisputed as to
9
       are now disbarred for         lacks the knowledge or         Marshall. He does not
       running an illegal mass       information and belief to      offer any admissible
10
       joinder scheme.               dispute or declare this fact   evidence capable of
11     DE 13, Madden May             undisputed, as this alleged    controverting the fact at
12     2016 Decl. at Page ID         fact occurred prior to or      issue.
       745-802, Atts 33 & 34;        without this Defendant’s
13
       DE 16-2, Kennedy Decl.        involvement in Advantis
14     at Page ID 1699-1723,         Law Group, P.C. or the
15     Att. 4 (bar information       other individual
16     related to Mitchell J.        defendants in this action.
       Stein); DE 16-2 and 16-3,
17
       Kennedy Decl. at Page ID      Foti: DENY - Objections        Undisputed as to Foti.
18     1724-44, Att. 5 (bar          (irrelevant, hearsay,          The fact is relevant. The
19     information related to        misleading based on FRE        documents are not
       Philip Kramer).               403 where no evidence          hearsay for the purpose
20
                                     Mr. Foti had any               offered. Rule 403 does
21                                   awareness or involvement       not bar the evidence or
22                                   of any violations by Mr.       require a showing of
23                                   Stein or Mr. Kramer)           Foti’s knowledge of the
                                     Foti Decl., para. 12.          fact to permit the
24
                                                                    evidence to be admitted.
25                                                                  For support he cites only
26                                                                  his self-serving
27
                                                                    declaration, which cannot
                                                                    controvert a fact on
28
                                                                    summary judgment, and
                                                 31
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 35 of 402 Page ID
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1      Uncontroverted Fact/       Defendants’ Responses       FTC’s Reply
       Support
2
                                                             the cited reference to the
3                                                            Foti Decl. does not
4                                                            address the fact at issue.
5      35. Stein is in prison.  Marshall: This Defendant Undisputed as to
       Ex. 2, DE 18 at Page ID  lacks the knowledge or       Marshall. He does not
6
       2251-2; DE 16-2,         information and belief to offer any admissible
7      Kennedy Decl. at Page ID dispute or declare this fact evidence capable of
8      1699-1723, Att. 4 (bar   undisputed, as this alleged controverting the fact at
9
       information related to   fact occurred prior to or    issue.
       Mitchell J. Stein).      without this Defendant’s
10
                                involvement in Advantis
11                              Law Group, P.C. or the
12                              other individual
                                defendants in this action.
13
14                                Foti: DENY - Objections     Undisputed as to Foti.
15                                (irrelevant, hearsay,       The fact is relevant. The
16                                misleading based on FRE     documents are not
                                  403 where no evidence       hearsay for the purpose
17
                                  Mr. Foti had any            offered. Rule 403 does
18                                awareness or involvement    not bar the evidence or
19                                of any violations by Mr.    require a showing of
                                  Stein or Mr. Kramer)        Foti’s knowledge of the
20
                                  Foti Decl., para. 12.       fact to permit the
21                                                            evidence to be admitted.
22                                                            For support he cites only
23                                                            his self-serving
                                                              declaration, which cannot
24
                                                              controvert a fact on
25                                                            summary judgment, and
26                                                            the cited reference to the
27
                                                              Foti Decl. does not
                                                              address the fact at issue.
28
       36.   Later, Kramer was    Marshall: This Defendant    Undisputed as to
                                              32
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       alleged to have run          lacks the knowledge or         Marshall. He does not
3      another mass joinder         information and belief to      offer any admissible
4      fraud with Broderick         dispute or declare this fact   evidence capable of
5      while using an alias.        undisputed, as this alleged    controverting the fact at
       DE 284-14, Madden July       fact occurred prior to or      issue.
6
       2017 Decl. at Page ID        without this Defendant’s
7      8126, 8366, 8374 ¶ 2.n,      involvement in Advantis
8      Att. 14.                     Law Group, P.C. or the
                                    other individual
9
                                    defendants in this action.
10
11                                  Foti: DENY - Objections      Undisputed as to Foti.
12                                  (irrelevant, hearsay,        The fact is relevant. The
                                    misleading based on FRE      documents are not
13
                                    403 where no evidence        hearsay for the purpose
14                                  Mr. Foti had any             offered. Rule 403 does
15                                  awareness or involvement     not bar the evidence or
16
                                    of any violations by Mr.     require a showing of
                                    Stein or Mr. Kramer)         Foti’s knowledge of the
17
                                    Foti Decl., para. 12.        fact to permit the
18                                                               evidence to be admitted.
19                                                               For support he cites only
                                                                 his self-serving
20
                                                                 declaration, which cannot
21                                                               controvert a fact on
22                                                               summary judgment, and
23                                                               the cited reference to the
                                                                 Foti Decl. does not
24
                                                                 address the fact at issue.
25     37. At times,                Marshall: This Defendant Undisputed as to
26     Brookstone used mailers      lacks the knowledge or       Marshall. He does not
27
       and sales scripts claiming   information and belief to offer any admissible
       the Ronald v. Bank of        dispute or declare this fact evidence capable of
28
       America lawsuit was          undisputed, as this alleged controverting the fact at
                                                33
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 37 of 402 Page ID
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1      Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
       Support
2
       Brookstone’s lawsuit.         fact occurred prior to or    issue.
3      Ex. 88 at FTC-RAD-002-        without this Defendant’s
4      0133016 to 0133017; Ex.       involvement in Advantis
5      73 at FTC-RAD-002-            Law Group, P.C. or the
       0284832) (mailer stating      other individual
6
       that recipients may be a      defendants in this action.
7      plaintiff in Ronald v. Bank
8      of America); DE 284-8,        Foti: DENY - Objections      Undisputed as to Foti.
       Theisman Decl. at Page        (irrelevant; failure to      The fact is relevant. The
9
       ID 7486, 7485, 7615-52        authenticate; hearsay; no    documents are
10     ¶¶ 4.v & 4.l                  foundation the mailers or    authenticated as indicated
11                                   scripts are genuine, who     in the FTC’s original
12                                   prepared them, whether       factual citation for this
                                     Mr. Foti ever sent or        paragraph, including
13
                                     received them, knew          emails sent by or to Foti.
14                                   about them or had            The evidence is not
15                                   anything to do with them     hearsay as a statement of
16
                                     or whether draft mailer or   a party opponent. Aside
                                     script was ever presented    from the emails he sent or
17
                                     to any consumer.             received, it does not
18                                   Foti Decl., ¶ 16.d. and 18   matter if Foti ever saw or
19                                                                knew of the particular
                                                                  pieces of evidence.
20
                                                                  The evidence in fact
21                                                                shows that the mailers and
22                                                                scripts were used. He
23                                                                cites only his self-serving
                                                                  declaration, which cannot
24
                                                                  controvert a fact on
25                                                                summary judgment, and
26                                                                the cited reference does
                                                                  not address the fact at
27
                                                                  issue.
28
       38.   Ronald v. Bank of       Marshall: This Defendant     Undisputed as to
                                                 34
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1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       America was Stein’s mass    lacks the knowledge or         Marshall. He does not
3      joinder lawsuit.            information and belief to      offer any admissible
4      Ex. 2, DE 18 at Page ID     dispute or declare this fact   evidence capable of
5      2249-50.                    undisputed, as this alleged    controverting the fact at
                                   fact occurred prior to or      issue.
6
                                   without this Defendant’s
7                                  involvement in Advantis
8                                  Law Group, P.C. or the
                                   other individual
9
                                   defendants in this action.
10
11                                 Foti: DENY - objection      Undisputed as to Foti.
12                                 (hearsay)                   The cited testimony, “I
                                                               was approached by
13
                                                               seasoned attorneys that
14                                                             were in the process of
15                                                             prosecuting a lawsuit
16
                                                               called Ronald v. Bank of
                                                               America,” is not hearsay.
17
                                                               The testimony is not
18                                                             relating conversations
19                                                             with non-parties, it is
                                                               relating Vito Torchia’s
20
                                                               knowledge regarding the
21                                                             Ronald lawsuit.
22                                                             Furthermore,
23                                                             conversations with
                                                               Kramer and Stein are
24
                                                               conversations with co-
25                                                             conspirators.
26     39. By January 2011,       Marshall: This Defendant Undisputed as to
27
       Brookstone had started its lacks the knowledge or       Marshall. He does not
       mass joinder business,     information and belief to offer any admissible
28
       filing Wright v. Bank of   dispute or declare this fact evidence capable of
                                               35
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       America in February          undisputed, as this alleged controverting the fact at
3      2011. From that point        fact occurred prior to or   issue.
4      forward, its business was    without this Defendant’s
5      focused on mass joinder      involvement in Advantis
       litigation.                  Law Group, P.C. or the
6
       DE 12, Madden May            other individual
7      2016 Decl. at Page ID        defendants in this action.
8      620, Att. 28; DE 13,
       Madden May 2016 Decl.        Foti: DENY                     Undisputed as to Foti.
9
       at Page ID 803-04, Att.      Foti Decl., ¶ 13               The fact is relevant.
10     35; DE 14-4, Gales Decl.,                                   For support, Foti cites
11     at Page ID 1274, Att. 17;                                   only his self-serving
12     DE 284-13, Theisman                                         declaration, which cannot
       Decl. at Page ID 8062 ¶                                     controvert a fact on
13
       13, Att. 10, Foti Depo. at                                  summary judgment, and
14     104:6-14; Ex. 2, DE 18 at                                   the cited reference to the
15     Page ID 2237, 2244-47,                                      Foti Decl. does not
16
       2253 (Torchia State Bar                                     address the fact at issue.
       testimony explaining
17
       Brookstone originally did
18     debt settlement work and
19     then switched to mass
       joinder litigation at the
20
       end of 2010); DE 186-4,
21     Torchia Decl. at Page ID
22     5570-71, ¶ 4.
23     40. Brookstone then          Marshall: This Defendant       Undisputed as to
       filed additional mass        lacks the knowledge or         Marshall. He does not
24
       joinder lawsuits against     information and belief to      offer any admissible
25     other mortgage lenders,      dispute or declare this fact   evidence capable of
26     including JPMorgan           undisputed, as this alleged    controverting the fact at
27
       Chase, Wells Fargo, Ally,    fact occurred prior to or      issue.
       Indymac, and Citibank.       without this Defendant’s
28
       DE 12, Madden May            involvement in Advantis
                                                36
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       2016 Decl. at Page ID        Law Group, P.C. or the
3      512, Att. 21, Page ID 463,   other individual
4      Att. 14, Page ID 435, 439,   defendants in this action.
5      Atts. 9-10, Page ID 498-
       99, Att. 19, Page ID 582,    Foti: ADMIT                    Undisputed as to Foti.
6
       Att. 24.
7      41. By January 1, 2016,      Marshall: This Defendant       Undisputed as to
8      courts had dismissed all     lacks the knowledge or         Marshall. He does not
9
       of Brookstone’s mass         information and belief to      offer any admissible
       joinder lawsuits except      dispute or declare this fact   evidence capable of
10
       for Wright v. Bank of        undisputed, as this alleged    controverting the fact at
11     America.                     fact occurred prior to or      issue.
12     DE 12, Madden May 2016       without this Defendant’s
       Decl. at Page ID 353, Att.   involvement in Advantis
13
       1, Page ID 361, Att. 2,      Law Group, P.C. or the
14     Page ID 377, Att. 4, Page    other individual
15     ID 414, 418, Att. 6, Page    defendants in this action.
16     ID 419-20, 434, Atts. 7-8,
       Page ID 435, 438-439,        Foti: DENY                     Undisputed as to Foti. He
17
       455, Atts. 9-11, Page ID     Thurman Decl.,                 cites only evidence of
18     457, Att. 12, Page ID 463,   Attachment 49, 50, 51,         additional cases filed after
19     480, 482, Atts. 14 & 16,     and 52 (Cases still            January 1, 2016, which
       Page ID 489, Att. 17;        pending after January 1,       does not controvert the
20
       Page ID 498, Att. 19,        2016: Abdullah Aslami vs.      fact at issue.
21     Page ID 512, 515, Att. 21,   National Default
22     Page ID 600, 603, Att. 26;   Servicing Corporation
23     DE 13, Madden May            (30-2016-00844390-CU-
       2016 Decl. at Page ID        OR-CJC); Lawley vs.
24
       726-27, 732, Att. 29.        Bank of America NA (37-
25                                  2016)-00011715-CU-OR-
26                                  CTL); Karie Wasinack vs.
27
                                    Quality Loan Service
                                    Corp. (RIC 1601230);
28
                                    John P. Wright vs. Bank
                                                37
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 41 of 402 Page ID
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1      Uncontroverted Fact/          Defendants’ Responses       FTC’s Reply
       Support
2
                                     of America, N.A. (30-
3                                    2011-00449059-CU-MT-
4                                    CXC);)
5      42. Wright v. Bank of         Marshall: Disputed. See     Undisputed as to
       America has never             below.                      Marshall. He does not
6
       advanced beyond the                                       offer any admissible
7      filing of a complaint.                                    evidence capable of
8      DE 284-14, Madden July                                    controverting the fact at
9
       2017 Decl. at Page ID                                     issue, including his self-
       8124, 8129-73 ¶ 2.a, Att.                                 serving declaration, which
10
       1.                                                        cannot be used to create a
11                                                               genuine dispute as to a
12                                                               material fact on summary
                                                                 judgment.
13
14                                   Foti: Admit                 Undisputed as to Foti.
15     43. On appeal, under          Marshall: Dsiputed [sic].   Undisputed as to
16     the name Petersen v.          See below.                  Marshall. He does not
       Bank of America, the                                      offer any admissible
17
       court stated that                                         evidence capable of
18     Brookstone’s complaint in                                 controverting the fact at
19     Wright v. Bank of                                         issue, including his self-
       America was “desultory                                    serving declaration, which
20
       and scattered allegations.”                               cannot be used to create a
21     232 Cal. App. 4th 238,                                    genuine dispute as to a
22     254.                                                      material fact on summary
23                                                               judgment.
24
                                     Foti: ADMIT                 Undisputed as to Foti.
25                                   The court also stated that,
26                                   by the third amended
27
                                     complaint, the Brookstone
                                     attorneys’ claims “had
28
                                     crystallized into four
                                                 38
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 42 of 402 Page ID
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1      Uncontroverted Fact/     Defendants’ Responses         FTC’s Reply
       Support
2
                                causes of action:
3                               intentional
4                               misrepresentation,
5                               negligent
                                misrepresentation, unfair
6
                                competition, and wrongful
7                               foreclosure. The first
8                               three apply to all
                                plaintiffs, the foreclosure
9
                                claim to only 90 of them.
10                              The wrongful foreclosure
11                              claim, interestingly
12                              enough, presents as
                                pristine a common issue
13
                                of law as it is possible to
14                              imagine: Its theory is that
15                              the various individual
16
                                foreclosures were all
                                unlawful because the
17
                                eventual trustees who
18                              foreclosed on the loan
19                              were not the original
                                agents designated in the
20
                                loan papers. The claim
21                              thus presents a tidy,
22                              discrete question of law
23                              common to all 90
                                foreclosure plaintiffs.”
24
                                Peterson v. Bank of
25                              America Corp., 232 Cal.
26                              App. 4th 238, 246
                                (Cal.App. 2014).
27
28

                                            39
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 43 of 402 Page ID
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1      Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
       Support
2
       With Torchia Facing Bar Difficulties, the Corporate Defendants Created
3
       Advantis and Marshall Became an Owner.
4
       44. In 2014, Vito              Marshall: This Defendant       Undisputed as to
5
       Torchia faced a trial in the   lacks the knowledge or         Marshall. He does not
6      State Bar Court of             information and belief to      offer any admissible
7      California regarding           dispute or declare this fact   evidence capable of
       ethics violations              undisputed, as this alleged    controverting the fact at
8
       concerning Brookstone          fact occurred prior to or      issue.
9      Law P.C. clients who had       without this Defendant’s
10     retained Brookstone Law        involvement in Advantis
11     P.C. for representation in     Law Group, P.C. or the
       mass joinder lawsuits          other individual
12
       against their lenders.         defendants in this action.
13     DE 16, Kennedy Decl. at
14     Page ID 1562-64, Att. 1.C      Foti: DENY - objection    Undisputed as to Foti.
                                      (irrelevant)              The fact is relevant.
15
                                      Foti Decl., ¶ 57 and 58   For support, Foti cites
16                                                              only his self-serving
17                                                              declaration, which cannot
18                                                              controvert a fact on
                                                                summary judgment, and
19
                                                                the cited reference to the
20                                                              Foti Decl. does not
21                                                              address the fact at issue.
22     45. On August 6, 2014, Marshall: This Defendant Undisputed as to
       Judge Richard A. Platel of lacks the knowledge or        Marshall. He does not
23
       the State Bar Court of      information and belief to offer any admissible
24     California entered a ruling dispute or declare this fact evidence capable of
25     finding that Torchia had    undisputed, as this alleged controverting the fact at
       violated his ethics         fact occurred prior to or    issue.
26
       obligations to Brookstone without this Defendant’s
27     clients.                    involvement in Advantis
28     DE 16, Kennedy Decl. at Law Group, P.C. or the
       Page ID 1562-1604, Att.     other individual
                                               40
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 44 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
       Support
2
       1.C.                         defendants in this action.
3
4                                   Foti: DENY - objection       Undisputed as to Foti.
5                                   (irrelevant)                 The fact is relevant.
                                    Foti Decl., ¶ 57 and 58      For support, Foti cites
6
                                                                 only his self-serving
7                                                                declaration, which cannot
8                                                                controvert a fact on
                                                                 summary judgment, and
9
                                                                 the cited reference to the
10                                                               Foti Decl. does not
11                                                               address the fact at issue.
12     46. On February 13,          Marshall: This Defendant Undisputed as to
       2015, the California Bar     lacks the knowledge or       Marshall. He does not
13
       filed a Notice of            information and belief to offer any admissible
14     Disciplinary Charges         dispute or declare this fact evidence capable of
15     against Vito Torchia,        undisputed, as this alleged controverting the fact at
16     Case No. 14-O-03311,         fact occurred prior to or    issue.
       alleging ethics violations   without this Defendant’s
17
       arising out of               involvement in Advantis
18     Brookstone’s mass            Law Group, P.C. or the
19     joinder services.            other individual
       DE 16, Kennedy Decl. at      defendants in this action.
20
       Page ID 1618-22, Att. 1.G
21                                  Foti: DENY - objection       Undisputed as to Foti.
22                                  (irrelevant)                 The fact is relevant.
23                                  Foti Decl., ¶ 57 and 58      For support, Foti cites
                                                                 only his self-serving
24
                                                                 declaration, which cannot
25                                                               controvert a fact on
26                                                               summary judgment, and
27
                                                                 the cited reference to the
                                                                 Foti Decl. does not
28
                                                                 address the fact at issue.
                                                41
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 45 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       47. On May 6, 2015,          Marshall: This Defendant       Undisputed as to
3      the California Bar filed a   lacks the knowledge or         Marshall. He does not
4      Notice of Disciplinary       information and belief to      offer any admissible
5      Charges against Vito         dispute or declare this fact   evidence capable of
       Torchia, Case Nos. 14-O-     undisputed, as this alleged    controverting the fact at
6
       04441, 14-O-04507, 14-       fact occurred prior to or      issue.
7      O-04926, 14-O-4968, 14-      without this Defendant’s
8      O-05192, alleging ethics     involvement in Advantis
       violations arising out of    Law Group, P.C. or the
9
       Brookstone’s mass            other individual
10     joinder services.            defendants in this action.
11     DE 16, Kennedy Decl. at
12     Page ID 1623-32, Att.        Foti: DENY - objection    Undisputed as to Foti.
       1.H.                         (irrelevant)              The fact is relevant.
13
                                    Foti Decl., ¶ 57 and 58   For support, Foti cites
14                                                            only his self-serving
15                                                            declaration, which cannot
16
                                                              controvert a fact on
                                                              summary judgment, and
17
                                                              the cited reference to the
18                                                            Foti Decl. does not
19                                                            address the fact at issue.
       48. On May 14, 2015,      Marshall: This Defendant Undisputed as to
20
       the State Bar Court of    lacks the knowledge or       Marshall. He does not
21     California entered a      information and belief to offer any admissible
22     default against Vito      dispute or declare this fact evidence capable of
23     Torchia for failing to    undisputed, as this alleged controverting the fact at
       respond to ethics charges fact occurred prior to or    issue.
24
       in Case Nos. 13-O-14835 without this Defendant’s
25     and 14-O-01008, and       involvement in Advantis
26     enrolled Vito Torchia as  Law Group, P.C. or the
27
       an inactive member of the other individual
       California Bar.           defendants in this action.
28
       DE 16, Kennedy Decl. at
                                                42
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1      Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
       Support
2
       Page ID 1633-34, Att. 1.I. Foti: DENY - objection         Undisputed as to Foti.
3                                 (irrelevant)                   The fact is relevant.
4                                 Foti Decl., ¶ 57 and 58        For support, Foti cites
5                                                                only his self-serving
                                                                 declaration, which cannot
6
                                                                 controvert a fact on
7                                                                summary judgment, and
8                                                                the cited reference to the
                                                                 Foti Decl. does not
9
                                                                 address the fact at issue.
10
       49. On June 3, 2015,         Marshall: This Defendant Undisputed as to
11     the State Bar Court of       lacks the knowledge or       Marshall. He does not
12     California entered a         information and belief to offer any admissible
       default against Vito         dispute or declare this fact evidence capable of
13
       Torchia for failing to       undisputed, as this alleged controverting the fact at
14     respond to ethics charges    fact occurred prior to or    issue.
15     in Case No. 14-O-03311,      without this Defendant’s
16     and enrolled Vito Torchia    involvement in Advantis
       as an inactive member of     Law Group, P.C. or the
17
       the California Bar.          other individual
18     DE 16, Kennedy Decl. at      defendants in this action.
19     Page ID 1635-36, Att. 1.J.
                                    Foti: DENY - objection      Undisputed as to Foti.
20
                                    (irrelevant)                The fact is relevant.
21                                  Foti Decl., ¶ 57 and 58     For support, Foti cites
22                                                              only his self-serving
23                                                              declaration, which cannot
                                                                controvert a fact on
24
                                                                summary judgment, and
25                                                              the cited reference to the
26                                                              Foti Decl. does not
27
                                                                address the fact at issue.
       50. On July 7, 2014,         Marshall: This Defendant    Undisputed as to
28
       the California Bar filed a   lacks the knowledge or      Marshall. He does not
                                                43
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 47 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
       Support
2
       Notice of Disciplinary       information and belief to      offer any admissible
3      Charges against Vito         dispute or declare this fact   evidence capable of
4      Torchia, Case Nos. 13-O-     undisputed, as this alleged    controverting the fact at
5      14835 and 13-O-15422,        fact occurred prior to or      issue.
       alleging ethics violations   without this Defendant’s
6
       arising out of               involvement in Advantis
7      Brookstone’s mass            Law Group, P.C. or the
8      joinder services.            other individual
       DE 16, Kennedy Decl. at      defendants in this action.
9
       Page ID 1555-61, Att.
10     1.B.                         Foti: DENY - objection       Undisputed as to Foti.
11                                  (irrelevant)                 The fact is relevant.
12                                  Foti Decl., ¶ 57 and 58      For support, Foti cites
                                                                 only his self-serving
13
                                                                 declaration, which cannot
14                                                               controvert a fact on
15                                                               summary judgment, and
16
                                                                 the cited reference to the
                                                                 Foti Decl. does not
17
                                                                 address the fact at issue.
18     51. On November 12,          Marshall: This Defendant Undisputed as to
19     2015, Judge Yvette D.        lacks the knowledge or       Marshall. He does not
       Roland of the State Bar      information and belief to offer any admissible
20
       Court of California          dispute or declare this fact evidence capable of
21     entered an order of          undisputed, as this alleged controverting the fact at
22     involuntary and inactive     fact occurred prior to or    issue.
23     enrollment as to Vito        without this Defendant’s
       Torchia for his failure to   involvement in Advantis
24
       respond to 19 ethics         Law Group, P.C. or the
25     charges related to           other individual
26     Brookstone’s mass            defendants in this action.
27
       joinder services.
       DE 16 and 16-1, Kennedy Foti: DENY - objection              Undisputed as to Foti.
28
       Decl. at Page ID 1637-46, (irrelevant)                      The fact is relevant.
                                                44
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       Att. 1.K.                   Foti Decl., ¶ 57 and 58     For support, Foti cites
3                                                              only his self-serving
4                                                              declaration, which cannot
5                                                              controvert a fact on
                                                               summary judgment, and
6
                                                               the cited reference to the
7                                                              Foti Decl. does not
8                                                              address the fact at issue.
9
       52. On November 20,        Marshall: This Defendant Undisputed as to
       2014, the California Bar   lacks the knowledge or       Marshall. He does not
10
       filed a Notice of          information and belief to offer any admissible
11     Disciplinary Charges       dispute or declare this fact evidence capable of
12     against Vito Torchia,      undisputed, as this alleged controverting the fact at
       Case Nos. 14-O-01008,      fact occurred prior to or    issue.
13
       14-O-02316, 14-O-02698, without this Defendant’s
14     alleging ethics violations involvement in Advantis
15     arising out of             Law Group, P.C. or the
16     Brookstone’s mass          other individual
       joinder services.          defendants in this action.
17
       DE 16, Kennedy Decl. at
18     Page ID 1608-14, Att.      Foti: DENY - objection       Undisputed as to Foti.
19     1.E.                       (irrelevant)                 The fact is relevant.
                                  Foti Decl., ¶ 57 and 58      For support, Foti cites
20
                                                               only his self-serving
21                                                             declaration, which cannot
22                                                             controvert a fact on
23                                                             summary judgment, and
                                                               the cited reference to the
24
                                                               Foti Decl. does not
25                                                             address the fact at issue.
26     53. Vito Torchia’s         Marshall: This Defendant Undisputed as to
27
       disbarment became          lacks the knowledge or       Marshall. He does not
       effective on May 29,       information and belief to offer any admissible
28
       2016.                      dispute or declare this fact evidence capable of
                                               45
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 49 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       DE 284-14, Madden July      undisputed, as this alleged controverting the fact at
3      2017 Decl. at Page ID       fact occurred prior to or   issue.
4      8125, 8259-62 ¶ 2.f, Att.   without this Defendant’s
5      6.                          involvement in Advantis
                                   Law Group, P.C. or the
6
                                   other individual
7                                  defendants in this action.
8
                                   Foti: DENY - objection       Undisputed as to Foti.
9
                                   (irrelevant)                 The fact is relevant.
10                                 Foti Decl., ¶ 57 and 58      For support, Foti cites
11                                                              only his self-serving
12                                                              declaration, which cannot
                                                                controvert a fact on
13
                                                                summary judgment, and
14                                                              the cited reference to the
15                                                              Foti Decl. does not
16
                                                                address the fact at issue.
       54. Torchia registered      Marshall: This Defendant Undisputed as to
17
       Advantis Law P.C. with      lacks the knowledge or       Marshall. He does not
18     the California Secretary    information and belief to offer any admissible
19     of State on September 30,   dispute or declare this fact evidence capable of
       2014.                       undisputed, as this alleged controverting the fact at
20
       DE 14, Gales Decl. at       fact occurred prior to or    issue.
21     Page ID 1114-15, Att. 5.    without this Defendant’s
22                                 involvement in Advantis
23                                 Law Group, P.C. or the
                                   other individual
24
                                   defendants in this action.
25
26                             Foti: ADMIT                     Undisputed as to Foti.
27
       55. Torchia registered  Marshall: This Defendant        Undisputed as to
       Advantis Law Group P.C. lacks the knowledge or          Marshall. He does not
28
       with the California     information and belief to       offer any admissible
                                               46
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 50 of 402 Page ID
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
       Secretary of State on       dispute or declare this fact evidence capable of
3      October 27, 2014.           undisputed, as this alleged controverting the fact at
4      DE 14, Gales Decl. at       fact occurred prior to or    issue.
5      Page ID 1108-09, Att. 4.    without this Defendant’s
                                   involvement in Advantis
6
                                   Law Group, P.C. or the
7                                  other individual
8                                  defendants in this action.
9
                                   Foti: ADMIT                  Undisputed as to Foti.
10
       56. By November of          Marshall: References in      Undisputed as to
11     2014, Foti and Kutzner      this paragraph are           Marshall. He does not
12     were negotiating with       inherently vague and         offer any admissible
       Marshall for Marshall to    ambiguous as to what is      evidence capable of
13
       become an owner of          meant by ‘Advantis’.         controverting the fact at
14     Advantis.                   Marshall did not             issue, including his self-
15     Ex. 30, DE 218-2,           understand until his         serving declaration, which
16     Madden April 2017 Decl.     deposition of March 20,      cannot be used to create a
       at Page ID 6055-57, Att.    2017 (check date) that       genuine dispute as to a
17
       15; DE 284-14, Madden       there was a completely       material fact on summary
18     July 2017 Decl. at Page     separate corporate entity    judgment.
19     ID 8125, 8286-87 ¶ 2.h,     called Advantis Law (for
       Att. 8, Marshall Depo.      whom he was never an
20
       (testimony authenticating   officer/excutive/owner—
21     Ex. 30 at 80:16-18,         nor has any evidence ever
22     81:11-82:5); DE 284-8,      been presented with a
23     Theisman Decl. at Page      claim that he was) he
       ID 7489 ¶ 5.                knew nothing about until
24
                                   same deposition was held,
25                                 during which deposition
26                                 based upon various FTC
27
                                   questions it became clear
                                   at some point that there
28
                                   was a separate corp entity
                                               47
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1      Uncontroverted Fact/     Defendants’ Responses          FTC’s Reply
       Support
2
                                called Advantis Law PC,
3                               with whom Marshall
4                               never had dealings, and
5                               whose existence Marshall
                                was not apprised of. As
6
                                for negotiations to
7                               become an owner of
8                               Advantis Law Group, yes
                                those began in November
9
                                of 2014.
10
11                              Foti: DENY - Objections        Undisputed as to Foti.
12                              (irrelevant; inadmissible      The fact is relevant.
                                opinion of law [sic]           Marshall’s testimony is
13
                                witness (FRE 701);             appropriate because it is
14                              original writing rule (FRE     “rationally based on the
15                              1002); no foundation for       witness’s perception” of
16
                                basis of witness' belief or    his actions, who he was
                                understanding where there      negotiating with, and the
17
                                is no evidence Mr. Foti        nature of his negotiations.
18                              had any ownership              The best evidence rule is
19                              interest in any of the         not implicated by the fact,
                                Corporate Defendants;          which does not concern
20
                                best evidence of the           the contents of a
21                              identities of the principals   document. Foti’s other
22                              is the Memorandum of           objections are not on
23                              Understanding Mr.              point because the fact at
                                Marshall signed with Mr.       issue does not indicate the
24
                                Broderick.                     identity of any
25                              Thurman Decl.                  “principals.”
26                              Attachment 47 (Marshall        Foti’s cited evidence does
                                MOU (RFP-0130771,              not controvert the fact at
27
                                0130782-788)                   issue.
28
       57.   In January 2015,   Marshall: Again this           Undisputed as to
                                            48
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1      Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
       Support
2
       Kutzner emailed Marshall    email is not specifically     Marshall. He does not
3      and Foti that               referencing Advantis Law      offer any admissible
4      “ADVANTIS LAW”              Group. Any response I         evidence capable of
5      needed to move forward      would have had would          controverting the fact at
       and should leverage the     have only been directed to    issue, including his self-
6
       existing “[Brookstone]      ALG, as I did not know at     serving declaration, which
7      clients” because            that time (or anytime prior   cannot be used to create a
8      Brookstone was a “dead      to March 20, 2017) of the     genuine dispute as to a
       hoarse” [sic] and           Advantis Law entity. Any      material fact on summary
9
       “circl[ing] the drain.”     response I had to that        judgment.
10     Ex. 32; Madden July 2017    email would have been to
11     Decl. at ¶ 2.h, Att. 8,     the effect of using
12     Marshall Depo.              Advantis Law Group to
       (testimony authenticating   use as a vessel for
13
       Ex. 32 at 93:18-94:10);     potential clients in future
14     DE 284-8, Theisman          joinder cases. Any emails
15     Decl. at Page ID 7485,      exchanged at that time,
16
       7518 ¶ 4.a.                 would have been fairly
                                   vague as to how the
17
                                   clients would be
18                                 generated. I specifically
19                                 was not working with
                                   Brookstone clients. If I
20
                                   were intending to work
21                                 exclusively or even
22                                 primarily with Brookstone
23                                 clients, I would have
                                   simply become a
24
                                   corporate officer of
25                                 Brookstone, which I
26                                 pointedly and
                                   intentionally did not due
27
                                   at that time or not time
28                                 later because of liability

                                               49
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 53 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
       Support
2
                                    and other issues with
3                                   those cases.
4
5                                   Foti: DENY - Objections     Undisputed as to Foti.
                                    (irrelevant; failure to     The fact is relevant. The
6
                                    authenticate; hearsay; no   document(s) are genuine
7                                   foundation the emails are   and authentic, as
8                                   genuine, who prepared       established by the
                                    them, whether Mr. Foti      evidence the FTC
9
                                    ever received, knew about   submitted in support of
10                                  or had anything to do with  the fact for this paragraph.
11                                  them.)                      The evidence is not
12                                  Foti Decl, ¶ 33             hearsay as a statement of
                                                                a party opponent and to
13
                                                                the extent not offered for
14                                                              the truth of the matter
15                                                              asserted.
16
                                                                For support, Foti cites
                                                                only his self-serving
17
                                                                declaration, which cannot
18                                                              controvert a fact on
19                                                              summary judgment, and
                                                                the cited reference to the
20
                                                                Foti Decl. does not
21                                                              address the fact at issue.
22     58. In multiple email        Marshall: Though at times Undisputed as to
23     exchanges, Marshall’s        I did occasionally refer to Marshall. He does not
       negotiations regarding his   ‘we three’ to exclude       offer any admissible
24
       ownership of Advantis        Macklin, in fact everyone evidence capable of
25     and other important          knew, and I had             controverting the fact at
26     Advantis-related matters     mentioned a number of       issue, including his self-
27
       would be between Foti,       times, that Macklin was     serving declaration, which
       Kutzner, and sometimes       important to the Advantis cannot be used to create a
28
       James Macklin, with          Law Group idea because genuine dispute as to a
                                                50
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1      Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
       Support
2
       Marshall sometimes            of his expertise in            material fact on summary
3      referring to “we three” to    analyzing and generating       judgment.
4      indicate himself, Foti, and   mortgage loan analyses
5      Kutzner.                      and associated reports.
       Ex. 34; Ex. 36; Ex. 38;
6
       Ex. 51; Ex. 53; DE 284-8,     Foti: DENY - Objections        Undisputed as to Foti.
7      Theisman Decl. at Page        (irrelevant; failure to        The fact is relevant. The
8      ID 7485, 7518-32, 7536-       authenticate; original         document(s) are genuine
       37 ¶¶ 4.b, 4.c, 4.d, 4.g, &   writing rule (FRE 1002);       and authentic, as
9
       4.h; DE 218-2, Madden         best evidence of the           established by the
10     April 2017 Decl., at Page     identities of the principals   evidence the FTC
11     ID 6013, 6078, 6006,          is the Memorandum of           submitted in support of
12     6007-08 (attaching Exs.       Understanding Mr.              the fact at issue.
       35, 54, 55, and 57); DE       Marshall signed with Mr.               Foti’s cited
13
       284-14, Madden July           Broderick. No foundation       evidence does not
14     2017 Decl. at Page ID         the email is genuine, who      controvert the fact at
15     8125, 8290-91, 8293,          prepared it, whether Mr.       issue.
16
       8302, 8304-05, 8307-08 ¶      Foti ever received it,
       2.h, Att. 8, Marshall         knew about it or had
17
       Depo. (testimony              anything to do with it.)
18     authenticating Exs. 34-       Thurman Decl.
19     36, 38, 51, 53-55, and 57     Attachment 47 (Marshall
       at 98:14-99:8, 101:19-        MOU (RFP-0130771,
20
       102:18, 121:16-122:7,         0130782-788)
21     148: 9-18, 150:8-12,
22     203:25-204:18, 210:13-
23     211:13, 215:4-216:7, 222:
       4-14, 226:24-227:11);
24
       DE 284-8, Theisman
25     Decl. at Page ID 7489 ¶
26     5.
27
       59. Marshall testified        Marshall: If I actually        Undisputed as to
       that during his               called them principals of      Marshall. He does not
28
       negotiations for              Advantis (I am not sure        offer any admissible
                                                 51
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                                       #:11253




1      Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
       Support
2
       ownership of Advantis, he   that I did—the transcript      evidence capable of
3      understood Foti and         may use that term I do not     controverting the fact at
4      Kutzner to be principals    know), I did not mean that     issue, including his self-
5      for Advantis.               in the since of them being     serving declaration, which
       DE 218-2, March 20,         co-executives, etc. They       cannot be used to create a
6
       2017 Marshall Depo. at      were never listed as           genuine dispute as to a
7      Page ID 6063-65, at         executives. So here we         material fact on summary
8      48:17-21, 80:2-8.           dispute. If I used the term    judgment.
                                   ‘principal’ it was not
9
                                   meant to convey that they
10                                 were co-executives or
11                                 owners. Clearly they were
12                                 never formally or legally
                                   either, and no document
13
                                   was ever created or signed
14                                 indicating such executive
15                                 or ownership capacity.
16
                                   Foti: DENY - Objections        Undisputed as to Foti.
17
                                   (irrelevant; inadmissible      The fact is relevant.
18                                 opinion of law witness         Marshall’s testimony is
19                                 (FRE 701); original            appropriate because it is
                                   writing rule (FRE 1002);       “rationally based on the
20
                                   no foundation for basis of     witness’s perception” of
21                                 witness' belief or             his actions, who he was
22                                 understanding where there      negotiating with, and the
23                                 is no evidence Mr. Foti        nature of his negotiations.
                                   had any ownership              The best evidence rule is
24
                                   interest in any of the         not implicated by the fact.
25                                 Corporate Defendants;          Marshall, as a participant,
26                                 best evidence of the           can testify to who he
                                   identities of the principals   understood he was
27
                                   is the Memorandum of           negotiating with and the
28                                 Understanding Mr.              authority he thought they

                                               52
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1      Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
       Support
2
                                  Marshall signed with Mr.     had in the negotiations.
3                                 Broderick.                   Foti’s cited evidence does
4                                 Thurman Decl.                not controvert the fact at
5                                 Attachment 47 (Marshall      issue.
                                  MOU (RFP-0130771,
6
                                  0130782-788)
7      60. On February 25,        Marshall: I signed           Undisputed as to
8      2015, Marshall agreed to something to that effect       Marshall. He does not
9
       the terms of his ownership on that date yes, as to      offer any admissible
       of Advantis.               only Advantis Law Group      evidence capable of
10
       Ex. 34, DE 284-14,         PC. This claim is            controverting the fact at
11     Madden July 2017 Decl.     disputable as it does not    issue, including his self-
12     at Page ID 8125, 8290 ¶ identify whether Advantis       serving declaration, which
       2.h, Att. 8, Marshall      Law Group or Advantis        cannot be used to create a
13
       Depo. (testimony           Law is being referenced.     genuine dispute as to a
14     authenticating Ex. 34 at                                material fact on summary
15     98:14-99:8); DE 284-8,                                  judgment.
16     Theisman Decl. at Page
       ID 7485, 7519-26 ¶ 4.b. Foti: DENY - Objections         Undisputed as to Foti.
17
                                  (Irrelevant, failure to      The fact is relevant. The
18                                authenticate, hearsay,       document(s) are genuine
19                                original writing rule (FRE   and authentic, as
                                  1002) (plaintiff offers an   established by the
20
                                  unsigned copy).              evidence the FTC
21                                Thurman Decl.                submitted in support of
22                                Attachment 47 (Marshall      the fact. The best
23                                MOU (RFP-0130771,            evidence rule is not
                                  0130782-788)                 implicated by the fact.
24
                                                               The cited evidence does
25                                                             not controvert the fact at
26                                                             issue.
27
       61. On February 27,        Marshall: I signed           Undisputed as to
       2015, Marshall formally    something to that effect     Marshall. He does not
28
       signed the Advantis Law    on that date yes.            offer any admissible
                                              53
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1      Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
       Support
2
       Group shareholder                                        evidence capable of
3      agreement.                                               controverting the fact at
4      DE 41-6 at Page ID                                       issue, including his self-
5      2746-52; DE 284-4,                                       serving declaration, which
       Chang Decl. at Page ID                                   cannot be used to create a
6
       7249 ¶ 4.ll.                                             genuine dispute as to a
7                                                               material fact on summary
8                                                               judgment.
9
                                     Foti: ADMIT                Undisputed as to Foti.
10                                   Thurman Decl.
11                                   Attachment 47 (Marshall
12                                   MOU (RFP-0130771,
                                     0130782-788)
13
       62. On February 27,           Marshall: True.            Undisputed as to both
14     2015, Broderick                                          Marshall and Foti.
15     submitted new documents       Foti: ADMIT
16     to the California Secretary
       of State, identifying
17
       himself and Marshall as
18     Advantis Law Group’s
19     officers.
       DE 14, Gales Decl. at
20
       Page ID 1110, Att. 4.
21     63. On March 19,              Marshall: Undisputed.      Undisputed as to
22     2015, Marshall sent an                                   Marshall.
23     email to Foti including the   Foti: DENY - Objections Undisputed as to Foti.
       following statement:          (irrelevant; failure to    The fact is relevant. The
24
       “The paperwork situation      authenticate; hearsay; no document(s) are genuine
25     is absurd, to put the         foundation the email is    and authentic, as
26     matter succinctly. I will     genuine, who prepared it, established by the
27
       deal with it. You legally     whether Mr. Foti ever      evidence the FTC
       represent that Advantis       received it, knew about it submitted in support of
28
       Law Group is a group of       or had anything to do with the fact. The evidence is
                                                54
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1      Uncontroverted Fact/        Defendants’ Responses   FTC’s Reply
       Support
2
       attorneys, yet I am the     it.)                    not hearsay as a statement
3      only attorney moving                                of a party opponent.
4      forward with papers, etc.                           Finding documents on a
5      Maybe you did the same                              defendant’s computer or
       thing with Brookstone                               on-site at the receivership
6
       (via Vito), and got away                            defendant’s premises in
7      with it. News Flash: I am                           fact makes it more likely
8      not Vito, which is good                             it was used.
       news all the way around,                            For support, Foti cites no
9
       for you, for me, for the                            evidence to controvert the
10     future prospects of                                 fact at issue.
11     Advantis.”
12     Ex. 37, DE 218-2,
       Madden April 2017 Decl.
13
       at Page ID 6053, Att. 14;
14     , DE 284-14, Madden July
15     2017 Decl. at Page ID
16
       8125, 8295 ¶ 2.h, Att. 8,
       Marshall Depo.
17
       (testimony authenticating
18     Ex. 37 at 129:11-130:10);
19     DE 284-8, Theisman
       Decl. at Page ID 7489 ¶
20
       5.
21     64. Brookstone and          Marshall: No response   Undisputed as to both
22     Advantis shared office                              Marshall and Foti.
23     space at 18400 Von          Foti: ADMIT
       Karman Ave., Suite 1000,
24
       Irvine, CA.
25     DE 13-1, Madden Decl. at
26     Page ID 833-344; DE 14,
27
       Gales Decl. at Page ID
       1110, 1116; DE 17,
28
       Ayoub Decl. at Page ID
                                              55
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1      Uncontroverted Fact/          Defendants’ Responses   FTC’s Reply
       Support
2
       1942, 1944, ¶¶ 6, 15; DE
3      186-3, Tarkowski Decl. at
4      Page ID 5356-58, ¶¶ 4-6;
5      DE 41-4 at Page ID
       2596; DE 284-4, Chang
6
       Decl. at Page ID 7248 ¶
7      4.q; DE 284-14, Madden
8      July 2017 Decl. at Page
       ID 8126, 8416 ¶ 3, Att.
9
       15, Marshall’s First
10     RFAs, RFA 42 admitted
11     pursuant to FRCP
12     36(a)(3).
       65. Brookstone and            Marshall: No response   Undisputed as to both
13
       Advantis shared office                                Marshall and Foti.
14     space at 18831 Von            Foti: ADMIT
15     Karman Ave., Suite 400,
16     Irvine, CA.
       DE 13-2, Madden May
17
       2016 Decl. at Page ID
18     857, 860, Atts. 42-43; DE
19     14, Gales Decl, at Page
       ID 1108, 1114, Atts. 4-5;
20
       Madden July 2017 Decl.
21     at ¶ 3, Att. 15, Marshall’s
22     First RFAs, RFA 39
23     admitted pursuant to
       FRCP 36(a)(3).
24
       66. Brookstone and            Marshall: No response   Undisputed as to both
25     Advantis shared office        Foti: ADMIT             Marshall and Foti.
26     space at 6 Hutton Centre,
27
       Suite 1000, Santa Ana,
       CA.
28
       DE 13-2 at Page ID 886,
                                                56
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1      Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
       Support
2
       Madden May 2016 Decl.
3      Att. 46; DE 17 at Page ID
4      1942, 1944, Ayoub Dec.
5      ¶¶ 6, 15; DE 186-3 at
       Page ID 5356, Tarkowski
6
       Dec. ¶ 5; DE 41-4 at
7      Page ID 2607; DE 284-4,
8      Chang Decl. at Page ID
       7249 ¶ 4.r; DE 284-14,
9
       Madden July 2017 Decl.
10     at Page ID 8126, 8417 ¶
11     3, Att. 15, Marshall’s
12     First RFAs, RFA 45
       admitted pursuant to
13
       FRCP 36(a)(3).
14     67. Advantis Law             Marshall: No response       Undisputed as to both
15     Group, P.C. signed a lease                               Marshall and Foti.
16     for the office space at 6    Foti: ADMIT
       Hutton Centre, Suite
17
       1000, Santa Ana, CA for
18     the period beginning
19     December 1, 2015 and
       ending on August 31,
20
       2017.
21     DE 284-4, Chang Decl. at
22     Page ID 7252-64 ¶ 5, Att.
23     1.
       68. Advantis began           Marshall: No response       Undisputed as to
24
       marketing for Advantis                                   Marshall.
25     clients by at least June     Foti: DENY - Objections     Undisputed as to Foti.
26     2015.                        (irrelevant; failure to     The fact is relevant. The
27
       DE 284-8, Theisman           authenticate; hearsay. No   document(s) are genuine
       Decl. at Page ID 7488,       foundation the email are    and authentic, as
28
       DE 284-11, DE 284-12,        genuine, who prepared       established by the
                                               57
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
       Page ID 7892-7895 ¶         them, whether Mr. Foti     evidence the FTC
3      4.cccc.                     ever received, knew about  submitted in support of
4                                  or had anything to do with the fact. The evidence is
5                                  them.)                     not hearsay as a statement
                                                              of a party opponent.
6
                                                              Finding documents on a
7                                                             defendant’s computer or
8                                                             on-site at the receivership
                                                              defendant’s premises in
9
                                                              fact makes it more likely
10                                                            it was used.
11                                                            For support, Foti cites no
12                                                            evidence to controvert the
                                                              fact at issue.
13
       69. Anthony Stout was       Marshall: No response      Undisputed as to
14     soliciting clients for                                 Marshall.
15     Advantis by at least June   Foti: DENY - Objections Undisputed as to Foti.
16     2015.                       (irrelevant; failure to    The fact is relevant. The
       DE 284-8, Theisman          authenticate; hearsay. No document(s) are genuine
17
       Decl. at Page ID 7488,      foundation the email are   and authentic, as
18     DE 284-11, DE 284-12,       genuine, who prepared      established by the
19     Page ID 7892-7895 ¶         them, whether Mr. Foti     evidence the FTC
       4.cccc.                     ever received, knew about submitted in support of
20
                                   or had anything to do with the fact. The evidence is
21                                 them.)                     not hearsay as a statement
22                                                            of a party opponent.
23                                                            Finding documents on a
                                                              defendant’s computer or
24
                                                              on-site at the receivership
25                                                            defendant’s premises in
26                                                            fact makes it more likely
27
                                                              it was used.
                                                              For support, Foti cites no
28
                                                              evidence to controvert the
                                              58
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
                                                                fact at issue.
3      70. Marshall                Marshall: I understood no Undisputed as to
4      understood that clients     such thing, and do not       Marshall. He does not
5      resulting from Advantis     recall this issue coming     offer any admissible
       marketing were Advantis up at the deposition—            evidence capable of
6
       clients, including stating: though I guess it did.       controverting the fact at
7      “[A]ny Plaintiff’s lawsuit Clearly if I did make such issue, including his self-
8      will go under Advantis for a statement via email or      serving declaration, which
9
       sure.”                      otherwise, I would have      cannot be used to create a
       DE 284-8, Theisman          understood that issue to     genuine dispute as to a
10
       Decl. at Page ID 7488,      be restricted to Advantis    material fact on summary
11     DE 284-11, DE 284-12,       Law Group. Again, FTC        judgment.
12     Page ID 7892-7895 ¶         here is purposely
       4.cccc.                     conflating Advantis Law
13
                                   Group with Advantis Law
14                                 since they know the vast
15                                 majority of any marketing
16                                 docs they possess and
                                   they have shoved into
17
                                   their pleadings referenced
18                                 Advantis Law, and even
19                                 to this day, I don’t believe
                                   there is a single sample
20
                                   referencing Advantis Law
21                                 Group by itself. In other
22                                 words, probably 95% of
23                                 ‘marketing’ docs they
                                   have a la Advantis
24
                                   reference AL, not ALG.
25                                 Moreover, even where
26                                 ALG is referenced in their
27
                                   marketing material,
                                   usually it is a logo only—
28
                                   and the rest refers to AL,
                                               59
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
                                   not ALG—I don’t believe
3                                  a single document
4                                  marketing shows ONLY
5                                  ALG. And I personally
                                   never signed ANY
6
                                   marketing doc, and
7                                  anything that went out
8                                  under my name I did not
                                   review or even know
9
                                   about specifically.
10
11                                 Foti: DENY - Objections     Undisputed as to Foti.
12                                 (irrelevant; failure to     The fact is relevant. The
                                   authenticate; hearsay;      document(s) are genuine
13
                                   mischaracterizes terms of   and authentic, as
14                                 a purported email by Mr.    established by the
15                                 Foti, which asks a          evidence the FTC
16
                                   question. No foundation     submitted in support of
                                   the email are genuine,      the fact. The evidence is
17
                                   who prepared them,          not hearsay as a statement
18                                 whether Mr. Foti ever       of a party opponent.
19                                 received, knew about or     Finding documents on a
                                   had anything to do with     defendant’s computer or
20
                                   them.)                      on-site at the receivership
21                                                             defendant’s premises in
22                                                             fact makes it more likely
23                                                             it was used.
                                                               For support, Foti cites no
24
                                                               evidence to controvert the
25                                                             fact at issue.
26     71. Marshall                Marshall: I never had any   Undisputed as to
27
       understood that an          understanding other than    Marshall. He does not
       “Advantis referral” could   the following: Wherever     offer any admissible
28
       come from more than one     the referral came from,     evidence capable of
                                              60
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1      Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
       Support
2
       “legal firm name.”        the client would have to     controverting the fact at
3      DE 284-8, Theisman        be personally vetted as an   issue, including his self-
4      Decl. at Page ID 7488,    Advantis Law Group           serving declaration, which
5      DE 284-11, DE 284-12,     client. As I have            cannot be used to create a
       Page ID 7892-7895 ¶       maintained many times,       genuine dispute as to a
6
       4.cccc.                   not a single client to my    material fact on summary
7                                knowledge ever became        judgment.
8                                an ALG foreclosure client
                                 (and none became joinder
9
                                 clients), other than Jason
10                               Le the one individual
11                               Advantis lawsuit I had.
12
                                 Foti: DENY - Objections      Undisputed as to Foti.
13
                                 (irrelevant; failure to      The fact is relevant. The
14                               authenticate; hearsay. No    document(s) are genuine
15                               foundation the email are     and authentic, as
16
                                 genuine, who prepared        established by the
                                 them, whether Mr. Foti       evidence the FTC
17
                                 ever received, knew about    submitted in support of
18                               or had anything to do with   the fact. The evidence is
19                               them.)                       not hearsay as a statement
                                                              of a party opponent.
20
                                                              Finding documents on a
21                                                            defendant’s computer or
22                                                            on-site at the receivership
23                                                            defendant’s premises in
                                                              fact makes it more likely
24
                                                              it was used.
25                                                            For support, Foti cites no
26                                                            evidence to controvert the
                                                              fact at issue.
27
       72. Foti stated that      Marshall: No response        Undisputed as to
28
       “Charles is Advantis so                                Marshall.
                                            61
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
       ANY clients taken in are
3      under the Advantis firm!”   Foti: DENY - Objections      Undisputed as to Foti.
4      and that clients coming     (irrelevant; failure to      The fact is relevant. The
5      from the marketing          authenticate; hearsay. No    document(s) are genuine
       “should only know           foundation the email are     and authentic, as
6
       Advantis.”                  genuine, who prepared        established by the
7      DE 284-8, Theisman          them, whether Mr. Foti       evidence the FTC
8      Decl. at Page ID 7488,      ever received, knew about    submitted in support of
       DE 284-11, DE 284-12,       or had anything to do with   the fact. The evidence is
9
       Page ID 7892-7895 ¶         them.)                       not hearsay as a statement
10     4.cccc.                                                  of a party opponent.
11                                                              Finding documents on a
12                                                              defendant’s computer or
                                                                on-site at the receivership
13
                                                                defendant’s premises in
14                                                              fact makes it more likely
15                                                              it was used.
16
                                                                For support, Foti cites no
                                                                evidence to controvert the
17
                                                                fact at issue.
18     73. Marshall directed       Marshall: There were a       Undisputed as to
19     Anthony Stout on setting number of persons               Marshall. He does not
       the Advantis retainer fees. (including Stout) involved offer any admissible
20
       Ex. 43; , DE 284-14,        with discussing what         evidence capable of
21     Madden July 2017 Decl.      Advantis Law Group           controverting the fact at
22     at 1051Page ID 8297 ¶       retainer fees would be.      issue, including his self-
23     2.h, Att. 8, Marshall       That issue was always a      serving declaration, which
       Depo. (testimony            work-in-progress, with no cannot be used to create a
24
       authenticating Ex. 43 at    definitive definition to the genuine dispute as to a
25     172:7-21); DE 284-8,        fees because we never        material fact on summary
26     Theisman Decl. at Page      reached a point where        judgment.
27
       ID 7485, 7535 ¶ 4.f.        ALG foreclosure clients
                                   were being actually
28
                                   brought on board—again
                                               62
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                   with the exception of
3                                  Jason Le. I never
4                                  ‘directed’ as in
5                                  commanded anything to
                                   anyone; lots of
6
                                   discussions and
7                                  hypothetical suggestions.
8
                                   Foti: DENY - Objections      Undisputed as to Foti.
9
                                   (irrelevant; failure to      The fact is relevant. The
10                                 authenticate; hearsay. No    document(s) are genuine
11                                 foundation the email are     and authentic, as
12                                 genuine, who prepared        established by the
                                   them, whether Mr. Foti       evidence the FTC
13
                                   ever received, knew about    submitted in support of
14                                 or had anything to do with   the fact. The evidence is
15                                 them.)                       not hearsay as a statement
16
                                                                of a party opponent.
                                                                Finding documents on a
17
                                                                defendant’s computer or
18                                                              on-site at the receivership
19                                                              defendant’s premises in
                                                                fact makes it more likely
20
                                                                it was used.
21                                                              For support, Foti cites no
22                                                              evidence to controvert the
23                                                              fact at issue.
       74. Tarkowski was           Marshall: No response        Undisputed as to
24
       hired by Advantis Law                                    Marshall.
25     Group.
26     DE 186-3, Tarkowski         Foti: DENY                   Undisputed as to Foti.
27
       Decl. at Page ID 5356, ¶¶   Thurman Decl.,               The cited evidence does
       4-5.                        Attachment 68                not controvert the fact at
28
                                                                issue.
                                              63
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       75. Tarkowski               Marshall: No response       Undisputed as to both
3      performed work for both                                 Marshall and Foti.
4      Brookstone and Advantis.    Foti: ADMIT
5      DE 186-3, Tarkowski
       Decl. at Page ID 5356-57,
6
       ¶¶ 5-6.
7      76. On his financial        Marshall: No response       Undisputed as to both
8      statement, Tarkowski                                    Marshall and Foti.
9
       identifies simultaneous     Foti: ADMIT
       employment by both
10
       Brookstone and Advantis.
11     DE 42 at Page ID 2771.
12     77. A phone directory       Marshall: No response       Undisputed as to
       found on-site for the                                   Marshall.
13
       Corporate Defendants
14     identified the company as   Foti: DENY - Objections     Undisputed as to Foti.
15     both Brookstone and         (irrelevant; failure to     The fact is relevant. The
16     Advantis, and included      authenticate; hearsay. No   document(s) are genuine
       both Brookstone and         foundation the document     and authentic, as
17
       Advantis email addresses    is genuine, who prepared    established by the
18     for employees.              it, whether Mr. Foti ever   evidence the FTC
19     DE 41-5 at Page ID          received, knew about or     submitted in support of
       2639; DE 284-4, Chang       had anything to do with     the fact. The evidence is
20
       Decl. at Page ID 7249 ¶     it.)                        not hearsay as a statement
21     4.u.                        Foti Decl, ¶ 30             of a party opponent.
22                                                             Foti cites no evidence to
23                                                             controvert the fact at
                                                               issue. He cites only his
24
                                                               self-serving declaration,
25                                                             which cannot controvert a
26                                                             fact on summary
27
                                                               judgment.
       78. Employees had          Marshall: No response        Undisputed as to both
28
       phone lines and emails for                              Marshall and Foti.
                                              64
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1      Uncontroverted Fact/            Defendants’ Responses       FTC’s Reply
       Support
2
       both Advantis and               Foti: ADMIT? [sic]
3      Brookstone, and the same
4      employees would make
5      and receive calls for both
       entities.
6
       DE 41-5 at Page ID
7      2639; DE 284-4, Chang
8      Decl. at Page ID 7249 ¶
       4.u; DE 17, Ayoub Decl.
9
       at Page ID 1944, ¶ 15;
10     DE 284-8, Theisman
11     Decl. at Page ID 7487,
12     DE 284-11, Page ID 7834
       ¶ 4.lll; DE 284-14,
13
       Madden July 2017 Decl.
14     at Page ID 8125, 8417 ¶
15     3, Att. 15, Marshall’s
16
       First RFAs, RFA 46
       admitted pursuant to
17
       FRCP 36(a)(3).
18     79. The Receiver found          Marshall: No response      Undisputed as to
19     numerous Advantis                                          Marshall.
       marketing materials at the      Foti: DENY - Objections Undisputed as to Foti.
20
       Brookstone/Advantis             (irrelevant; failure to    The fact is relevant. The
21     office on June 2, 2016,         authenticate; hearsay. No documents are
22     including an Advantis           foundation the documents authenticated as indicated
23     mailer urging consumers         are genuine, who prepared in the FTC’s original
       to call, stating”[i]f you are   them, whether Mr. Foti     factual citation, including
24
       behind on your payments         ever received, knew about emails sent by or to Foti.
25     act now to preserve your        or had anything to do with The evidence is not
26     legal rights because the        them and whether any of hearsay as a statement of
27
       law is on your side.”           them were ever used in     a party opponent. That
       DE 41-2 at Page ID 2511,        any presentations to       the marketing materials
28
       2515, 2523-27; DE 284-4,        consumers.)                were found on-site in fact
                                                  65
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1      Uncontroverted Fact/     Defendants’ Responses        FTC’s Reply
       Support
2
       Chang Decl. at Page ID   Foti Decl., ¶ 16.d. and 18  makes it more likely that
3      7248 ¶¶ 4.b, 4.d, 4.f.                               the marketing materials
4                                                           were used.
5                                                           For support, Foti cites
                                                            only his self-serving
6
                                                            declaration, which cannot
7                                                           controvert a fact on
8                                                           summary judgment, and
                                                            the cited reference to the
9
                                                            Foti Decl. does not
10                                                          address the fact at issue.
11     80. The Advantis         Marshall: At one time I     Undisputed as to
12     website featured both    believe yes I was listed as Marshall. He does not
       Charles Marshall and     a director—though again, offer any admissible
13
       Geoffrey Broderick as    I saw that as only re       evidence capable of
14     “Directors.”             Advantis Law Group—         controverting the fact at
15     DE 14-4, Gales Decl. at  not knowing about that      issue, including his self-
16     Page ID 1374, Att. 18;   Advantis Law or Advantis serving declaration, which
       Ex. 60; DE 284-8,        otherwise named was         cannot be used to create a
17
       Theisman Decl. at Page   different corporate entity. genuine dispute as to a
18     ID 7485, 7538-39 ¶ 4.i;                              material fact on summary
19     DE 218-2, Marshall                                   judgment.
       Depo. at Page ID 6073,
20
       Testimony 243:11-20; DE Foti: ADMIT?[sic]             Undisputed as to Foti.
21     284-14, Madden July
22     2017 Decl. at Page ID
23     8126, 8414 ¶ 3, Att. 15,
       Marshall’s First RFAs,
24
       RFAs 8-9 admitted
25     pursuant to FRCP
26     36(a)(3).
27
       81. Both the Advantis    Marshall: No response        Undisputed as to
       and Brookstone websites                               Marshall.
28
       advertised the Wright v. Foti: DENY - Objection       Undisputed as to Foti.
                                            66
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 70 of 402 Page ID
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1      Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
       Support
2
       Bank of America case as       (Irrelevant as to Mr. Foti,   The fact is relevant.
3      its own using identical       who had no involvement        For support, Foti cites
4      language.                     with the Brookstone and       only his self-serving
5      DE 14-4, Gales Decl. at       Advantis websites)            declaration, which cannot
       Page ID 1275, 1367, Atts.     Foti Decl., ¶ 29              controvert a fact on
6
       17-18; DE 16-4, Kennedy                                     summary judgment, and
7      Decl. at Page ID                                            the cited reference to the
8      1821,1854, Atts. 8-9; DE                                    Foti Decl. does not
       284-14, Madden July                                         address the fact at issue.
9
       2017 Decl. at Page ID
10     8126, 8414 ¶ 3, Att. 15,
11     Marshall’s First RFAs,
12     RFA 11 admitted
       pursuant to FRCP
13
       36(a)(3).
14     82. The Receiver found        Marshall: No response         Undisputed as to both
15     both Brookstone and                                         Marshall and Foti.
16     Advantis retainer             Foti: ADMIT
       agreements on-site.
17
       DE 41-3 at Page ID
18     2578-84; DE 41-4 at
19     Page ID 2586-618; DE
       284-4, Chang Decl. at
20
       Page ID 7248-49 ¶¶ 4.o,
21     4.p, 4.q, 4.r.
22     83. The Receiver found        Marshall: No response         Undisputed as to both
23     a joint retainer agreement,                                 Marshall and Foti.
       where a client retained       Foti: ADMIT
24
       both Brookstone and
25     Advantis.
26     DE 41-4 at Page ID
27
       2585-94; DE 284-4,
       Chang Decl. at Page ID
28
       7248 ¶ 4.p.
                                                 67
     Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 71 of 402 Page ID
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1      Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
       Support
2
       84. The Advantis             Marshall: No response         Undisputed as to
3      website used the same                                      Marshall.
4      language as the              Foti: DENY - Objection        Undisputed as to Foti.
5      Brookstone website to        (Irrelevant as to Mr. Foti,   The fact is relevant.
       describe its real estate     who had no involvement        For support, Foti cites
6
       services.                    with the Brookstone and       only his self-serving
7      DE 14-4 at Page ID 1282,     Advantis websites)            declaration, which cannot
8      Gales Decl. Att. 17; DE      Foti Decl., ¶ 29              controvert a fact on
       284-14, Madden July                                        summary judgment, and
9
       2017 Decl. at Page ID                                      the cited reference to the
10     8126, 8414 ¶ 3, Att. 15,                                   Foti Decl. does not
11     Marshall’s First RFAs,                                     address the fact at issue.
12     RFA 12 admitted
       pursuant to FRCP
13
       36(a)(3).
14     85. The Receiver found       Marshall: No response         Undisputed as to
15     sales scripts for                                          Marshall.
16     Brookstone and Advantis
       that were nearly             Foti: DENY - Objections       Undisputed as to Foti.
17
       identical.                   (irrelevant; failure to       The fact is relevant. The
18     DE 41-2 at Page ID           authenticate; hearsay. No     document(s) are genuine
19     2517-27; DE 284-4,           foundation the documents      and authentic, as
       Chang Decl. at Page ID       are genuine, who prepared     established by the
20
       7248 ¶¶ 4.e, 4.f; DE 284-    them, whether Mr. Foti        evidence the FTC
21     13, Theisman Decl. at        ever received, knew about     submitted in support of
22     Page ID 8078 ¶ 15, Att.      or had anything to do with    the fact. The evidence is
23     12, Foti Depo. at 183:4-9,   them and whether any of       not hearsay as a statement
       (describing the two          them were ever used in        of a party opponent.
24
       scripts as “pretty           any presentations to          For support Foti cites his
25     close.”).                    consumers.)                   self-serving declaration,
26                                  Foti Decl., ¶ 16.d. and       which cannot controvert a
27
                                    18; In addition, the          fact on summary
                                    documents speak for           judgment, and the cited
28
                                    themselves. No promises       reference to the Foti Decl.
                                                68
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1      Uncontroverted Fact/     Defendants’ Responses        FTC’s Reply
       Support
2
                                are made. All clients        does not address the fact
3                               signed agreements            at issue. The other
4                               confirming that no           evidence he cites also
5                               guarantees were made to      does not address the fact
                                them (Receiver's             at issue.
6
                                Preliminary Report (DE-
7                               41-4), Exh. 19 pg. 2; Exh.
8                               20, p. 2; DE 17-3,
                                Kolodziej Decl. at Page
9
                                ID 2022 and 2033; DE
10                              17-3, Kolodziej Decl. at
11                              Page ID 2029 and 2039-
12                              2040; DE 17-3 Kolodziej
                                Decl. at Page ID 2046;
13
                                DE-6, Rios at Page ID
14                              2139; DE 17-6, Rios
15                              Decl. at Page ID 2151;
16
                                DE 17-1, Irannejad Decl.
                                at Page ID 1984; DE 17-
17
                                1, Irannejad Decl. at
18                              Page ID 1988; DE 17-1,
19                              Irannejad at Page ID
                                1994-95; DE 17-4,
20
                                Leonido Decl. at Page
21                              2085; DE 17-4, Leonido
22                              Decl. at Page 2091; DE
23                              17-7, Lujan Decl. at Page
                                ID 2180; DE 17-7, Lujan
24
                                Decl. at Page 2185; DE
25                              17-7, Lujan Decl. at Page
26                              ID 2191; DE 17-4, Nava
                                Decl. at Page ID 2099;
27
                                DE 17-4, Nava Decl. at
28                              Page ID 2104; DE-17-5,

                                            69
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                     Navarro Decl. at Page ID
3                                    2114; DE 17-5 Navarro
4                                    Decl. at Page ID 2118;
5                                    DE 17-5 Navarro Decl. at
                                     Page ID 2123-24).
6
       86. “Main Floor”              Marshall: No response      Undisputed as to
7      scripts for the intake                                   Marshall.
8      personnel at 6 Hutton         Foti: DENY - Objections Undisputed as to Foti.
9
       Centre included both          (irrelevant; failure to    The fact is relevant. The
       Brookstone and Advantis authenticate; hearsay. No document(s) are genuine
10
       scripts, which make many foundation the documents and authentic, as
11     of the same                   are genuine, who prepared established by the
12     misrepresentations.           them, whether Mr. Foti     evidence the FTC
       DE 41-2 at Page ID            ever received, knew about submitted in support of
13
       2517-19, 2523-25; DE          or had anything to do with the fact. The evidence is
14     284-4, Chang Decl. at         them and whether any of not hearsay as a statement
15     Page ID 7248 ¶¶ 4.e, 4.f. them were ever used in         of a party opponent.
16                                   any presentations to       For support Foti cites his
                                     consumers.)                self-serving declaration,
17
                                                                which cannot controvert a
18                                                              fact on summary
19                                                              judgment, and the cited
                                                                reference to the Foti Decl.
20
                                                                does not address the fact
21                                                              at issue. The other
22                                                              evidence he cites also
23                                                              does not address the fact
                                                                at issue.
24
       87. Both Main Floor           Marshall: No response      Undisputed as to
25     scripts tell the intake staff                            Marshall.
26     to tell callers:              Foti: DENY - Objections Undisputed as to Foti.
27
          “[Brookstone               (irrelevant; failure to    The fact is relevant. The
       Law/Advantis Law] is a        authenticate; hearsay. No document(s) are genuine
28
       nationwide law firm.”         foundation the documents and authentic, as
                                               70
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1      Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
       Support
2
          “[Brookstone                are genuine, who prepared    established by the
3      Law/Advantis Law] has          them, whether Mr. Foti       evidence the FTC
4      teamed up with some of         ever received, knew about    submitted in support of
5      the top trial lawyers in the   or had anything to do with   the fact. The evidence is
       country. These attorneys       them and whether any of      not hearsay as a statement
6
       have filed multi-plaintiff     them were ever used in       of a party opponent.
7      litigation cases against       any presentations to         For support Foti cites his
8      some of the country’s          consumers.)                  self-serving declaration,
       largest banks.”                Foti Decl., ¶ 16.d. and      which cannot controvert a
9
       DE 41-2 at Page ID 2517,       18; In addition, the         fact on summary
10     2523; DE 284-4, Chang          documents speak for          judgment, and the cited
11     Decl. at Page ID 7248 ¶¶       themselves. No promises      reference to the Foti Decl.
12     4.e, 4.f.                      are made. All clients        does not address the fact
                                      signed agreements            at issue. The other
13
                                      confirming that no           evidence he cites also
14                                    guarantees were made to      does not address the fact
15                                    them (Receiver's             at issue.
16
                                      Preliminary Report (DE-
                                      41-4), Exh. 19 pg. 2; Exh.
17
                                      20, p. 2; DE 17-3,
18                                    Kolodziej Decl. at Page
19                                    ID 2022 and 2033; DE
                                      17-3, Kolodziej Decl. at
20
                                      Page ID 2029 and 2039-
21                                    2040; DE 17-3 Kolodziej
22                                    Decl. at Page ID 2046;
23                                    DE-6, Rios at Page ID
                                      2139; DE 17-6, Rios
24
                                      Decl. at Page ID 2151;
25                                    DE 17-1, Irannejad Decl.
26                                    at Page ID 1984; DE 17-
                                      1, Irannejad Decl. at
27
                                      Page ID 1988; DE 17-1,
28                                    Irannejad at Page ID

                                                 71
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
                                     1994-95; DE 17-4,
3                                    Leonido Decl. at Page
4                                    2085; DE 17-4, Leonido
5                                    Decl. at Page 2091; DE
                                     17-7, Lujan Decl. at Page
6
                                     ID 2180; DE 17-7, Lujan
7                                    Decl. at Page 2185; DE
8                                    17-7, Lujan Decl. at Page
                                     ID 2191; DE 17-4, Nava
9
                                     Decl. at Page ID 2099;
10                                   DE 17-4, Nava Decl. at
11                                   Page ID 2104; DE-17-5,
12                                   Navarro Decl. at Page ID
                                     2114; DE 17-5 Navarro
13
                                     Decl. at Page ID 2118;
14                                   DE 17-5 Navarro Decl. at
15                                   Page ID 2123-24).
16     88. Both Main Floor           Marshall: No response      Undisputed as to
       Scripts tell the intake staff                            Marshall.
17
       to direct callers to their    Foti: DENY - Objections Undisputed as to Foti.
18     respective websites,          (irrelevant; failure to    The fact is relevant. The
19     www.advantislaw.com           authenticate; hearsay. No document(s) are genuine
       and                           foundation the documents and authentic, as
20
       www.brookstonelaw.com, are genuine, who prepared established by the
21     and further tells the caller them, whether Mr. Foti      evidence the FTC
22     in identical language:        ever received, knew about submitted in support of
23     “The home page of our         or had anything to do with the fact. The evidence is
       website features many of them and whether any of not hearsay as a statement
24
       the different services that them were ever used in       of a party opponent.
25     [Advantis/Brookstone]         any presentations to       For support Foti cites his
26     has to offer and displays     consumers.)                self-serving declaration,
27
       some of the Mass Tort         Foti Decl., ¶ 16.d. and    which cannot controvert a
       complaints that we have       18; In addition, the       fact on summary
28
       filed to date;                documents speak for        judgment, and the cited
                                               72
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1      Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
       Support
2
       “[Brookstone                  themselves. No promises      reference to the Foti Decl.
3      Law/Advantis Law] is          are made. All clients        does not address the fact
4      comprised of legal            signed agreements            at issue. The other
5      professionals and             confirming that no           evidence he cites also
       attorneys who specialize      guarantees were made to      does not address the fact
6
       in Real Estate and            them (Receiver's             at issue.
7      financial transactions.       Preliminary Report (DE-
8      Already these lawyers         41-4), Exh. 19 pg. 2; Exh.
       have filed multiple mass      20, p. 2; DE 17-3,
9
       tort actions against Bank     Kolodziej Decl. at Page
10     of America, JP Morgan         ID 2022 and 2033; DE
11     Chase, Citibank, GMAC,        17-3, Kolodziej Decl. at
12     Aurora, Wells Fargo, and      Page ID 2029 and 2039-
       numerous individual           2040; DE 17-3 Kolodziej
13
       complaints;”                  Decl. at Page ID 2046;
14     “[on] our website you will    DE-6, Rios at Page ID
15     see a list of some            2139; DE 17-6, Rios
16
       important case results that   Decl. at Page ID 2151;
       we have achieved as of        DE 17-1, Irannejad Decl.
17
       today.                        at Page ID 1984; DE 17-
18     [Brookstone/Advantis] is      1, Irannejad Decl. at
19     a Pioneer in Mass Tort        Page ID 1988; DE 17-1,
       litigation and all of our     Irannejad at Page ID
20
       landmark cases are still      1994-95; DE 17-4,
21     going through the court       Leonido Decl. at Page
22     system. We have had           2085; DE 17-4, Leonido
23     some phenomenal results       Decl. at Page 2091; DE
       in our individual cases       17-7, Lujan Decl. at Page
24
       and have been able to         ID 2180; DE 17-7, Lujan
25     save hundreds of homes        Decl. at Page 2185; DE
26     and have achieved many        17-7, Lujan Decl. at Page
       confidential settlements.”    ID 2191; DE 17-4, Nava
27
       “What we need to do next      Decl. at Page ID 2099;
28     is analyze your situation     DE 17-4, Nava Decl. at

                                                 73
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       to see if it meets the      Page ID 2104; DE-17-5,
3      parameters of our cases.    Navarro Decl. at Page ID
4      Before we can do this I     2114; DE 17-5 Navarro
5      need to take your file to   Decl. at Page ID 2118;
       our Legal Department        DE 17-5 Navarro Decl. at
6
       where they will either      Page ID 2123-24).
7      accept or deny your case
8      for the next stage of the
       process.”
9
       DE 41-2 at Page ID 2519,
10     2525; DE 284-4, Chang
11     Decl. at Page ID 7248 ¶¶
12     4.e, 4.f.
       89. Foti coordinated        Marshall: No response      Undisputed as to
13
       substituting Advantis                                  Marshall.
14     mailers for Brookstone      Foti: DENY - Objections Undisputed as to Foti.
15     mailers, directing          (irrelevant; failure to    The fact is relevant. The
16     technical support to        authenticate; hearsay. No document(s) are genuine
       convert a Brookstone        foundation the documents and authentic, as
17
       mailer to an Advantis       are genuine, who prepared established by the
18     mailer.                     them, whether Mr. Foti     evidence the FTC
19     DE 284-8, Page ID 7488,     ever received, knew about submitted in support of
       DE 284-12, Page ID          or had anything to do with the fact. The evidence is
20
       7918-22, Theisman Decl.     them and whether any of not hearsay as a statement
21     ¶¶ 4.llll and 4.mmmm.       them were ever used in     of a party opponent.
22                                 any presentations to       For support Foti cites his
23                                 consumers.)                self-serving declaration,
                                   Foti Decl., ¶ 16.d. and    which cannot controvert a
24
                                   18; In addition, the       fact on summary
25                                 documents speak for        judgment, and the cited
26                                 themselves. No promises    reference to the Foti Decl.
27
                                   are made. All clients      does not address the fact
                                   signed agreements          at issue. The other
28
                                   confirming that no         evidence he cites also
                                              74
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1      Uncontroverted Fact/     Defendants’ Responses     FTC’s Reply
       Support
2
                                guarantees were made to does not address the fact
3                               them (Receiver's           at issue.
4                               Preliminary Report (DE-
5                               41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
6
                                Kolodziej Decl. at Page
7                               ID 2022 and 2033; DE
8                               17-3, Kolodziej Decl. at
                                Page ID 2029 and 2039-
9
                                2040; DE 17-3 Kolodziej
10                              Decl. at Page ID 2046;
11                              DE-6, Rios at Page ID
12                              2139; DE 17-6, Rios
                                Decl. at Page ID 2151;
13
                                DE 17-1, Irannejad Decl.
14                              at Page ID 1984; DE 17-
15                              1, Irannejad Decl. at
16
                                Page ID 1988; DE 17-1,
                                Irannejad at Page ID
17
                                1994-95; DE 17-4,
18                              Leonido Decl. at Page
19                              2085; DE 17-4, Leonido
                                Decl. at Page 2091; DE
20
                                17-7, Lujan Decl. at Page
21                              ID 2180; DE 17-7, Lujan
22                              Decl. at Page 2185; DE
23                              17-7, Lujan Decl. at Page
                                ID 2191; DE 17-4, Nava
24
                                Decl. at Page ID 2099;
25                              DE 17-4, Nava Decl. at
26                              Page ID 2104; DE-17-5,
                                Navarro Decl. at Page ID
27
                                2114; DE 17-5 Navarro
28                              Decl. at Page ID 2118;

                                           75
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1      Uncontroverted Fact/      Defendants’ Responses      FTC’s Reply
       Support
2
                                DE 17-5 Navarro Decl. at
3                               Page ID 2123-24).
4      90. Foti coordinated     Marshall: No response      Undisputed as to
5      sending out Advantis Law                            Marshall.
       Group marketing mailers Foti: DENY - Objections Undisputed as to Foti.
6
       beginning in at least    (irrelevant; failure to    The fact is relevant. The
7      August 2015.             authenticate; hearsay. No document(s) are genuine
8      DE 284-8, Page ID 7488, foundation the documents and authentic, as
9
       DE 284-12, Page ID       are genuine, who prepared established by the
       7915-17, 7899-7902,      them, whether Mr. Foti     evidence the FTC
10
       Theisman Decl. ¶¶ 4.kkkk ever received, knew about submitted in support of
11     and 4.ffff.              or had anything to do with the fact. The evidence is
12                              them and whether any of not hearsay as a statement
                                them were ever used in     of a party opponent.
13
                                any presentations to       For support Foti cites his
14                              consumers.)                self-serving declaration,
15                              Foti Decl., ¶ 16.d. and    which cannot controvert a
16                              18;In addition, the        fact on summary
                                documents speak for        judgment, and the cited
17
                                themselves. No promises reference to the Foti Decl.
18                              are made. All clients      does not address the fact
19                              signed agreements          at issue. The other
                                confirming that no         evidence he cites also
20
                                guarantees were made to does not address the fact
21                              them (Receiver's           at issue.
22                              Preliminary Report (DE-
23                              41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
24
                                Kolodziej Decl. at Page
25                              ID 2022 and 2033; DE
26                              17-3, Kolodziej Decl. at
27
                                Page ID 2029 and 2039-
                                2040; DE 17-3 Kolodziej
28
                                Decl. at Page ID 2046;
                                            76
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1      Uncontroverted Fact/      Defendants’ Responses      FTC’s Reply
       Support
2
                                 DE-6, Rios at Page ID
3                                2139; DE 17-6, Rios
4                                Decl. at Page ID 2151;
5                                DE 17-1, Irannejad Decl.
                                 at Page ID 1984; DE 17-
6
                                 1, Irannejad Decl. at
7                                Page ID 1988; DE 17-1,
8                                Irannejad at Page ID
                                 1994-95; DE 17-4,
9
                                 Leonido Decl. at Page
10                               2085; DE 17-4, Leonido
11                               Decl. at Page 2091; DE
12                               17-7, Lujan Decl. at Page
                                 ID 2180; DE 17-7, Lujan
13
                                 Decl. at Page 2185; DE
14                               17-7, Lujan Decl. at Page
15                               ID 2191; DE 17-4, Nava
16
                                 Decl. at Page ID 2099;
                                 DE 17-4, Nava Decl. at
17
                                 Page ID 2104; DE-17-5,
18                               Navarro Decl. at Page ID
19                               2114; DE 17-5 Navarro
                                 Decl. at Page ID 2118;
20
                                 DE 17-5 Navarro Decl. at
21                               Page ID 2123-24).
22     91. The costs for         Marshall: No response     Undisputed as to
23     Advantis mailers were                               Marshall.
       billed to Brookstone.     Foti: DENY - Objections Undisputed as to Foti.
24
       DE 284-8, Page ID 7488,   (irrelevant; failure to   The fact is relevant. The
25     DE 284-12, Page ID        authenticate; hearsay. No document(s) are genuine
26     7908-13, Theisman Decl.   foundation the documents and authentic, as
27
       ¶ 4.iiii.                 are genuine, who prepared established by the
                                 them, whether Mr. Foti    evidence the FTC
28
                                 ever received, knew about submitted in support of
                                            77
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
                                   or had anything to do with   the fact. The evidence is
3                                  them and whether any of      not hearsay as a statement
4                                  them were ever used in       of a party opponent.
5                                  any presentations to         Finding documents on a
                                   consumers.)                  defendant’s computer or
6
                                                                on-site at the receivership
7                                                               defendant’s premises in
8                                                               fact makes it more likely
                                                                it was used.
9
                                                                For support, Foti cites no
10                                                              evidence to controvert the
11                                                              fact at issue.
12           a.     The Corporate Defendants Solicited Consumers Through Mass
13                Mailers Followed By Phone Calls and In-Person Meetings.
14     92. The Corporate           Marshall: No response        Undisputed as to both
15
       Defendants would contact                                 Marshall and Foti.
       consumers through mailed    Foti: ADMIT - Objections
16
       advertisements.             (irrelevant; failure to
17     DE 17, Declaration of       authenticate; hearsay. No
18     Jesse Chapman               foundation the emails and
       (“Chapman Decl.”) at        any accompanying
19
       Page ID 1945, ¶ 2; DE       documents are genuine,
20     17, Declaration of Corina   who prepared them,
21     Durrett (“C. Durrett        whether Mr. Foti ever
22     Decl.”) at Page ID 1965-    received, knew about or
       66, ¶ 3; DE 17-1,           had anything to do with
23
       Declaration of Teresa       them and whether duch
24     Irannejad (“Irannejad       documents were ever used
25     Decl.”) at Page ID 1976,    in any presentations to
       ¶¶ 3-7; DE 17-2,            consumers.)
26
       Declaration of Ronald
27     Kolodziej (“Kolodziej
28     Decl.”) at Page 1998 at ¶
       3; DE 17-4, Declaration
                                              78
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1      Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
       Support
2
       of Richard Leonido
3      (“Leonido Decl.”) at
4      Page 2076 , ¶ 2; DE 17-4,
5      Declaration of Michael
       Nava (“Nava Decl.”) at
6
       Page ID 2094, ¶ 3; DE
7      17-5, Declaration of
8      Raymond Navarro
       (“Navarro Decl.”) at
9
       Page ID 2107, ¶ 3; DE
10     17-6, Declaration of
11     Mario Rios (“Rios
12     Decl.”) at Page ID 2131,
       ¶ 3; DE 17-7, Declaration
13
       of Malu Lujan (“Lujan
14     Decl.”) at Page ID 2168,
15     ¶ 3; DE 41-2 at Page ID
16
       2507-08; DE 41-2 at
       Page ID 2511; DE 41-2
17
       at Page ID 2515; DE
18     284-4, Chang Decl. at
19     Page ID 7248 ¶ 4
       (authenticating
20
       documents filed with DE
21     41); DE 284-13,
22     Theisman Decl. at Page
23     ID 8062 ¶ 15, Att. 12,
       Foti Depo. at 104:15-
24
       105:21.
25     93. After receiving         Marshall: No response       Undisputed as to
26     mailed advertisements,                                  Marshall.
27
       consumers would call the    Foti: DENY - Objections     Undisputed as to Foti.
       Corporate Defendants.       (irrelevant; failure to     The fact is relevant. The
28
       DE 17, Chapman Decl. at     authenticate; hearsay. No   document(s) are genuine
                                              79
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1      Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
       Support
2
       Page ID 1945, ¶ 3; DE        foundation the documents     and authentic, as
3      17, C. Durrett Decl. at      are genuine, who prepared    established by the
4      Page ID 1966 at ¶ 8; DE      them, whether Mr. Foti       evidence the FTC
5      17-1, Irannejad Decl. at     ever received, knew about    submitted in support of
       Page ID 1976, ¶ 4; DE        or had anything to do with   the fact. The evidence is
6
       17-2, Kolodziej Decl. at     them and whether any of      not hearsay as a statement
7      Page ID 1998 , ¶ 3; DE       them were ever used in       of a party opponent.
8      17-4, Leonido Decl. at       any presentations to         Finding documents on a
       Page ID 2076, ¶ 4; DE        consumers.)                  defendant’s computer or
9
       17-7, Lujan Decl. at Page                                 on-site at the receivership
10     ID 2168, ¶ 4; DE 17-4,                                    defendant’s premises in
11     Nava Decl. at Page ID                                     fact makes it more likely
12     2094, ¶ 4; DE 17-5,                                       it was used.
       Navarro Decl. at Page ID                                  For support, Foti cites no
13
       2107, ¶ 4; DE 17-6, Rios                                  evidence to controvert the
14     Decl. at Page ID 2131, ¶                                  fact at issue.
15     5; DE 41-2 at Page ID
16
       2517-2527 (inbound
       telemarketing scripts for
17
       Corporate Defendants);
18     DE 284-4, Chang Decl. at
19     Page ID 7248 ¶¶ 4.e, 4.f.
       94. After calling the        Marshall: No response      Undisputed as to
20
       Corporate Defendants,                                   Marshall.
21     most consumers would         Foti: DENY - Objections Undisputed as to Foti.
22     have an in person sales      (irrelevant; failure to    The fact is relevant. The
23     meeting with a “Banking      authenticate; hearsay. No document(s) are genuine
       Specialist,” a non-          foundation the documents and authentic, as
24
       attorney sales               are genuine, who prepared established by the
25     representative.              them, whether Mr. Foti     evidence the FTC
26     DE 41-2 at Page ID 2520,     ever received, knew about submitted in support of
27
       2526 (scripts showing        or had anything to do with the fact. The evidence is
       meetings are being set up    them and whether any of not hearsay as a statement
28
       with Banking Specialists);   them were ever used in     of a party opponent or a
                                               80
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1      Uncontroverted Fact/         Defendants’ Responses    FTC’s Reply
       Support
2
       DE 41-5 at Page ID           any presentations to     sworn declaration.
3      2640-41 (office              consumers.)              Foti’s cited evidence does
4      directories identifying      Thurman Decl.,           not controvert the fact at
5      Banking Specialists          Attachment 53; Torchia   issue.
       Anthony Stout, Dwight        Decl., ¶ 14.
6
       Watanabe, Robert Geist,
7      and Richard Taylor); DE
8      284-4, Chang Decl. at
       Page ID 7248-49 ¶¶ 4.e,
9
       4.f, & 4.u; DE 17,
10     Chapman Decl. at Page
11     ID 1945-47, ¶¶ 3 & 10
12     (met with Anthony Stout
       and Dwight Watanabe but
13
       not with any attorney);
14     DE 17-1, Irannejad Decl.
15     at Page ID 1978-79, ¶¶
16
       10-14 (met with Anthony
       Stout); DE 17, C. Durrett
17
       Decl. at Page ID 1966-68,
18     ¶¶ 8-13 (met with Dwight
19     Watanabe); DE 17-2,
       Kolodziej Decl. at Page
20
       ID 1998-2000, ¶¶ 3-10
21     (met with Robert Geist, an
22     attorney only took part in
23     a portion of one meeting);
       Ex. 86 at FTC-RAD-001-
24
       0171366 to 0171369
25     (“CLR Workflow”
26     explaining that the CLR
       sets up meeting with
27
       Banking Specialist); DE
28     284-8, Theisman

                                               81
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1      Uncontroverted Fact/         Defendants’ Responses      FTC’s Reply
       Support
2
       Declaration at Page ID
3      7485, 7592-7608 ¶ 4.t.
4      95. Brookstone               Marshall: No response     Undisputed as to
5      received ethics advice                                 Marshall.
       stating: “We cannot too     Foti: DENY - Objections Undisputed as to Foti.
6
       strongly emphasize the      (irrelevant; failure to    The fact is relevant. The
7      riskiness of using non-     authenticate; hearsay;     document(s) are genuine
8      lawyers as a material part  subject to attorney-client and authentic, as
9
       of any law firm’s           communication and work established by the
       communications with         product privilege asserted evidence the FTC
10
       clients and prospective     previously by Mr.          submitted in support of
11     clients.”                   Torchia. No foundation     the fact. The evidence is
12     DE 284-8, Page ID 7487,     the documents are          not hearsay to the extent
       DE 284-10, DE 284-11,       genuine, who prepared      not offered for the truth of
13
       Page ID 7803-7822,          them, whether Mr. Foti     the matter asserted. All
14     Theisman Decl. at ¶         ever received, knew about parties potentially holding
15     4.hhh.                      or had anything to do with a relevant attorney-client
16                                 them and whether any of privilege have waived that
                                   them were ever used in     privilege. See Madden 8-
17
                                   any presentations to       14-17 Decl. ¶ 5.
18                                 consumers. In addition,    Foti’s cited evidence does
19                                 advice related to          not controvert the fact at
                                   supervision of             issue.
20
                                   nonattorneys regarding
21                                 the dispensation of "legal
22                                 advice" under state ethics
23                                 laws, not any claims in
                                   this action.)
24
                                   Thurman Decl.,
25                                 Attachment 54 (Vito
26                                 clawback request - FTC-
27
                                   RFP-0149575-0149576)
       96. Brookstone              Marshall: No response      Undisputed as to
28
       received ethics advice that                            Marshall.
                                               82
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1      Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
       Support
2
       its Banking Specialists        Foti: DENY - Objections      Undisputed as to Foti.
3      were likely “runners and       (irrelevant; failure to      The fact is relevant. The
4      cappers” in violation of       authenticate; hearsay;       document(s) are genuine
5      the law: “As to the            subject to attorney-client   and authentic, as
       banking specialists, given     communication and work       established by the
6
       that the attorney-client       product privilege asserted   evidence the FTC
7      relationship typically is      previously by Mr.            submitted in support of
8      formalized at this initial     Torchia. No foundation       the fact. The evidence is
       office visit and that an       the documents are            not hearsay to the extent
9
       attorney is not present        genuine, who prepared        not offered for the truth of
10     during a significant part      them, whether Mr. Foti       the matter asserted. All
11     of this meeting or at all,     ever received, knew about    parties potentially holding
12     arguably the banking           or had anything to do with   a relevant attorney-client
       specialist is acting for the   them and whether any of      privilege have waived that
13
       ‘procurement of business       them were ever used in       privilege. See Madden 8-
14     for’ Brookstone in             any presentations to         14-17 Decl. ¶ 5.
15     violation of Cal. Bus. &       consumers. In addition,      Foti’s cited evidence does
16
       Prof. Code Section 6152.”      advice related to            not controvert the fact at
       DE 284-8, Page ID 7487,        supervision of               issue.
17
       DE 284-10, DE 284-11,          nonattorneys regarding
18     Page ID 7803-7822,             the dispensation of "legal
19     Theisman Decl. at ¶            advice" under state ethics
       4.hhh.                         laws, not any claims in
20
                                      this action.)
21                                    Thurman Decl.,
22                                    Attachment 54 (Vito
23                                    clawback request - FTC-
                                      RFP-0149575-0149576)
24
       97. Torchia testified in       Marshall: No response        Undisputed as to both
25     2014 that he knew it                                        Marshall and Foti.
26     would be “highly illegal”      Foti: ADMIT
27
       to be “splitting fees with
       non-attorneys,” and
28
       stating “I didn’t want to
                                                 83
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1      Uncontroverted Fact/          Defendants’ Responses       FTC’s Reply
       Support
2
       be one of these ‘shops,’
3      quote/unquote.”
4      Ex. 2, DE 18, Torchia
5      Transcript at Page ID
       2268-69.
6
       98. Brookstone                Marshall: No response      Undisputed as to
7      received ethics advice                                   Marshall.
8      regarding possible            Foti: DENY - Objections Undisputed as to Foti.
9
       unauthorized practice of      (irrelevant; failure to    The fact is relevant. The
       law by its Banking            authenticate; hearsay;     document(s) are genuine
10
       Specialists: “We believe      subject to attorney-client and authentic, as
11     the risk is great that the    communication and work established by the
12     Brookstone Banking            product privilege asserted evidence the FTC
       specialists are engaged in    previously by Mr.          submitted in support of
13
       UPL. We understand that       Torchia. No foundation     the fact. The evidence is
14     they have no script for       the documents are          not hearsay to the extent
15     dealing with clients,         genuine, who prepared      not offered for the truth of
16     which heightens the risk. .   them, whether Mr. Foti     the matter asserted. All
       . . The fact that a lawyer    ever received, knew about parties potentially holding
17
       might be in the room with     or had anything to do with a relevant attorney-client
18     a banking specialist and      them and whether any of privilege have waived that
19     client or potential client    them were ever used in     privilege. See Madden 8-
       does not immunize the         any presentations to       14-17 Decl. ¶ 5.
20
       banking specialist from       consumers. In addition,    Foti’s cited evidence does
21     UPL issues.”                  advice related to          not controvert the fact at
22     DE 284-8, Page ID 7487,       supervision of             issue.
23     DE 284-10, DE 284-11,         nonattorneys regarding
       Page ID 7803-7822,            the dispensation of "legal
24
       Theisman Decl. at ¶           advice" under state ethics
25     4.hhh.                        laws, not any claims in
26                                   this action.)
27
                                     Thurman Decl.,
                                     Attachment 54 (Vito
28
                                     clawback request - FTC-
                                                 84
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1      Uncontroverted Fact/            Defendants’ Responses        FTC’s Reply
       Support
2
                                       RFP-0149575-0149576)
3      99. Mailers sent to             Marshall: No response        Undisputed as to
4      consumers state: “[Y]ou                                      Marshall.
5      may be a potential              Foti: DENY - Objections      Undisputed as to Foti.
       plaintiff against your          (irrelevant; failure to      The fact is relevant. The
6
       lender.”                        authenticate; hearsay. No    document(s) are genuine
7      DE 17-6, Rios Decl. at          foundation the documents     and authentic, as
8      Page ID 2135; DE 17-5,          are genuine, who prepared    established by the
9
       Navarro Decl. at Page ID        them, whether Mr. Foti       evidence the FTC
       2128-29; DE 17,                 ever received, knew about    submitted in support of
10
       Chapman Decl. at Page           or had anything to do with   the fact. The evidence is
11     ID 1948; DE 17, C.              them and whether any of      not hearsay because it is
12     Durrett Decl. at Page ID        them were ever used in       an opposing party’s
       1972; Ex. 73 at FTC-            any presentations to         statement. Finding
13
       RAD-002-0284832                 consumers.)                  documents on a
14     (“RECORDS INDICATE              No evidence Exh. 73, 76      receivership computer
15     YOU ARE A POTENTIAL             and 77, FTC-RAD-001-         from the defendant’s
16     PLAINTIFF IN THE                0183728 to 0183731,          office or from the
       FOLLOWING CASES:                FTC-RAD-001-0065189          defendants’ premises
17
       Ronald vs. Countrywide          to 0065190 or RAD-001-       taken over by the
18     & Wright v. Bank of             0064644 to 0064646 were      receivership in fact makes
19     America”); Ex. 76 at            used in any presentations    it more likely it was used.
       FTC-RAD-002-0373032             to consumers. In             Foti’s cited evidence does
20
       (“You have been                 addition, the documents      not address and/or
21     identified as a potential       speak for themselves. No     controvert the fact at
22     plaintiff due to 1 or more      promises are made. All       issue.
23     of the following reasons. .     clients signed agreements
       . .”); Ex. 77 at FTC-RAD-       confirming that no
24
       002-0373017 (“You have          guarantees were made to
25     been identified as a            them (Receiver's
26     potential plaintiff. . . .”);   Preliminary Report (DE-
27
       DE 284-8, Theisman              41-4), Exh. 19 pg. 2; Exh.
       Decl. at Page ID 7485,          20, p. 2; DE 17-3,
28
       7571-74, 7579-85 ¶¶ 4.l,        Kolodziej Decl. at Page
                                                  85
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1      Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
       Support
2
       4.o, & 4.p; id. DE 284-8      ID 2022 and 2033; DE
3      at Page ID 7487, DE 284-      17-3, Kolodziej Decl. at
4      11, Page ID 7843-46 ¶         Page ID 2029 and 2039-
5      4.ooo , (authenticating       2040; DE 17-3 Kolodziej
       and attaching FTC-RAD-        Decl. at Page ID 2046;
6
       001-0183728 to 0183731,       DE-6, Rios at Page ID
7      claiming “YOU ARE A           2139; DE 17-6, Rios
8      POTENTIAL PLAINTIFF           Decl. at Page ID 2151;
       AGAINST YOUR                  DE 17-1, Irannejad Decl.
9
       LENDER”); id. DE 284-         at Page ID 1984; DE 17-
10     8, at Page ID 7486, DE        1, Irannejad Decl. at
11     284-10, at Page ID 7757-      Page ID 1988; DE 17-1,
12     58 ¶ 4.ss (authenticating     Irannejad at Page ID
       and attaching FTC-RAD-        1994-95; DE 17-4,
13
       001-0065189 to 0065190,       Leonido Decl. at Page
14     stating “Our records          2085; DE 17-4, Leonido
15     indicate that you may be a    Decl. at Page 2091; DE
16
       potential plaintiff against   17-7, Lujan Decl. at Page
       your lender.”); id. DE        ID 2180; DE 17-7, Lujan
17
       284-8, Page ID 7486, DE       Decl. at Page 2185; DE
18     284-10, 7754-56 at ¶ 4.rr     17-7, Lujan Decl. at Page
19     (attaching and                ID 2191; DE 17-4, Nava
       authenticating FTC-RAD-       Decl. at Page ID 2099;
20
       001-0064644 to 0064646,       DE 17-4, Nava Decl. at
21     at FTC-RAD-001-               Page ID 2104; DE-17-5,
22     0064645 stating “Our          Navarro Decl. at Page ID
23     records indicate that you     2114; DE 17-5 Navarro
       may be a potential            Decl. at Page ID 2118;
24
       plaintiff against your        DE 17-5 Navarro Decl. at
25     lender.”).                    Page ID 2123-24).
26     100. Mailers sent to          Marshall: No response     Undisputed as to
27
       consumers state that mass                               Marshall.
       joinder litigation is a way   Foti: DENY - Objections Undisputed as to Foti.
28
       to “void your note(s),        (irrelevant; failure to   The fact is relevant. The
                                                86
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1      Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
       Support
2
       and/or to award you relief   authenticate; hearsay. No    document(s) are genuine
3      and monetary damages.”       foundation the documents     and authentic, as
4      DE 17-6, Rios Decl. at       are genuine, who prepared    established by the
5      Page ID 2135; DE 17-5,       them, whether Mr. Foti       evidence the FTC
       Navarro Decl. at Page ID     ever received, knew about    submitted in support of
6
       2128-29; DE 17,              or had anything to do with   the fact. The evidence is
7      Chapman Decl. at Page        them and whether any of      not hearsay because it is
8      ID 1948; DE 17, C.           them were ever used in       an opposing party’s
       Durrett Decl. at Page ID     any presentations to         statement. Finding
9
       1972; Ex. 73 at FTC-         consumers.)                  documents on a
10     RAD-002-0284832 (“void       No evidence Exh. 73, 76      receivership computer
11     your note(s), to give you    and 77, FTC-RAD-001-         from the defendant’s
12     your home free and clear,    0183728 to 0183731,          office or from the
       and/or to award you relief   FTC-RAD-001-0065189          defendants’ premises
13
       and monetary damages”);      to 0065190 or RAD-001-       taken over by the
14     DE 284-8, Theisman           0064644 to 0064646 were      receivership in fact makes
15     Decl. at Page ID 7485,       used in any presentations    it more likely it was used.
16
       7571-74 ¶ 4.l                to consumers. In             Foti’s cited evidence does
       (authenticating and          addition, the documents      not address and/or
17
       attaching Ex. 73); id. DE    speak for themselves. No     controvert the fact at
18     284-8, at Page ID 7487,      promises are made. All       issue.
19     DE 284-11, at Page ID        clients signed agreements
       7843-46 ¶ 4.ooo,             confirming that no
20
       (authenticating and          guarantees were made to
21     attaching FTC-RAD-001-       them (Receiver's
22     0183728 to 0183731, at       Preliminary Report (DE-
23     FTC-RAD-001-0183729          41-4), Exh. 19 pg. 2; Exh.
       claiming “void your          20, p. 2; DE 17-3,
24
       note(s), to give you your    Kolodziej Decl. at Page
25     home free and clear,         ID 2022 and 2033; DE
26     and/or to award you relief   17-3, Kolodziej Decl. at
       and monetary                 Page ID 2029 and 2039-
27
       damages.”); id. DE 284-      2040; DE 17-3 Kolodziej
28     8, at Page ID 7486, DE       Decl. at Page ID 2046;

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1      Uncontroverted Fact/          Defendants’ Responses   FTC’s Reply
       Support
2
       284-10, at Page ID 7757- DE-6, Rios at Page ID
3      58 ¶ 4.ss, (authenticating
                                2139; DE 17-6, Rios
4      and attaching FTC-RAD-   Decl. at Page ID 2151;
5      001-0065189 to 0065190,  DE 17-1, Irannejad Decl.
                                at Page ID 1984; DE 17-
       stating “void your note(s),
6
       to give you your home    1, Irannejad Decl. at
7      free and clear, and/or toPage ID 1988; DE 17-1,
8      award you relief and     Irannejad at Page ID
       monetary damages.”); id  1994-95; DE 17-4,
9
       DE 284-8, at Page ID     Leonido Decl. at Page
10     7486, DE 284-10, at      2085; DE 17-4, Leonido
11     7754-56 ¶ 4.rr (attachingDecl. at Page 2091; DE
12     and authenticating FTC-  17-7, Lujan Decl. at Page
       RAD-001-0064644 to       ID 2180; DE 17-7, Lujan
13
       0064646, stating “void   Decl. at Page 2185; DE
14     your note(s), to give you17-7, Lujan Decl. at Page
15     your home free and clear,ID 2191; DE 17-4, Nava
16
                                Decl. at Page ID 2099;
       and/or to award you relief
       and monetary             DE 17-4, Nava Decl. at
17
       damages.”).              Page ID 2104; DE-17-5,
18                              Navarro Decl. at Page ID
19                              2114; DE 17-5 Navarro
                                Decl. at Page ID 2118;
20
                                DE 17-5 Navarro Decl. at
21                              Page ID 2123-24).
22     101. Mailers sent to     Marshall: No response     Undisputed as to
23     consumers state: “[O]ur                            Marshall.
       team of experienced      Foti: DENY - Objections Undisputed as to Foti.
24
       lawyers offers you a     (irrelevant; failure to   The fact is relevant. The
25     superior alternative for authenticate; hearsay. No document(s) are genuine
26     recovery.”               foundation the documents and authentic, as
27
       DE 17-6, Rios Decl. at   are genuine, who prepared established by the
       Page ID 2135; DE 17-5,   them, whether Mr. Foti    evidence the FTC
28
       Navarro Decl. at Page ID ever received, knew about submitted in support of
                                               88
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1      Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
       Support
2
       2128-29; DE 17,               or had anything to do with   the fact. The evidence is
3      Chapman Decl. at Page         them and whether any of      not hearsay because it is
4      ID 1948; DE 17, C.            them were ever used in       an opposing party’s
5      Durrett Decl. at Page ID      any presentations to         statement. Finding
       1972; DE 284-8, Page ID       consumers.)                  documents on a
6
       7486, DE 284-10, Page         No evidence Exh. 73, 76      receivership computer
7      ID 7757-58, Theisman          and 77, FTC-RAD-001-         from the defendant’s
8      Decl. at ¶ 4.ss; id. DE       0183728 to 0183731,          office or from the
       284-8, at Page ID 7486,       FTC-RAD-001-0065189          defendants’ premises
9
       DE 284-10, at 7754-56 ¶       to 0065190 or RAD-001-       taken over by the
10     4.rr. See also Ex. 79 at      0064644 to 0064646 were      receivership in fact makes
11     FTC-RAD-001-0088987           used in any presentations    it more likely it was used.
12     (“BROOKSTONE LAW,             to consumers. In             Foti’s cited evidence does
       P.C.: Headquartered in        addition, the documents      not address and/or
13
       Newport Beach, Calif.,        speak for themselves. No     controvert the fact at
14     and with offices in Los       promises are made. All       issue.
15     Angeles, Calif., and Ft.      clients signed agreements
16
       Lauderdale, Fla.,             confirming that no
       Brookstone Law, PC is a       guarantees were made to
17
       law firm comprised of         them (Receiver's
18     attorneys with experience     Preliminary Report (DE-
19     and success in business,      41-4), Exh. 19 pg. 2; Exh.
       corporate and personal        20, p. 2; DE 17-3,
20
       finance, employment,          Kolodziej Decl. at Page
21     entertainment and media,      ID 2022 and 2033; DE
22     art and museum,               17-3, Kolodziej Decl. at
23     intellectual property and     Page ID 2029 and 2039-
       real estate law. The firm     2040; DE 17-3 Kolodziej
24
       has a network of more         Decl. at Page ID 2046;
25     than 40 affiliate attorneys   DE-6, Rios at Page ID
26     nationwide and employs        2139; DE 17-6, Rios
       highly trained specialists,   Decl. at Page ID 2151;
27
       paralegals,                   DE 17-1, Irannejad Decl.
28     paraprofessionals and         at Page ID 1984; DE 17-

                                                89
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1      Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
       Support
2
       administrative staff         1, Irannejad Decl. at
3      dedicated to serving         Page ID 1988; DE 17-1,
4      clients.”); Ex. 73 at FTC-   Irannejad at Page ID
5      RAD-002-0284832 (“Our        1994-95; DE 17-4,
       team of Lawyers              Leonido Decl. at Page
6
       specializes in Lender        2085; DE 17-4, Leonido
7      fraud and we are             Decl. at Page 2091; DE
8      notifying you to discuss     17-7, Lujan Decl. at Page
       settlement arrangements.     ID 2180; DE 17-7, Lujan
9
       The attorneys are at the     Decl. at Page 2185; DE
10     top firms in the nation      17-7, Lujan Decl. at Page
11     and have represented         ID 2191; DE 17-4, Nava
12     hundreds of homeowners       Decl. at Page ID 2099;
       with these causes. Prior     DE 17-4, Nava Decl. at
13
       settlements with these       Page ID 2104; DE-17-5,
14     Banks have been              Navarro Decl. at Page ID
15     successful which have        2114; DE 17-5 Navarro
16
       included Cash Settlement     Decl. at Page ID 2118;
       and properties rewarded      DE 17-5 Navarro Decl. at
17
       Free and Clear homes.”);     Page ID 2123-24).
18     DE 284-8, Theisman
19     Decl. at Page ID 7485,
       7587-89, 7571-74 ¶¶ 4.r
20
       & 4.l.
21     102. Mailers sent to         Marshall: No response      Undisputed as to
22     consumers state: “It may                                Marshall.
23     be necessary to litigate     Foti: DENY - Objections Undisputed as to Foti.
       your claims against your     (irrelevant; failure to    The fact is relevant. The
24
       lender to get the help you   authenticate; hearsay. No document(s) are genuine
25     need and our lawyers         foundation the documents and authentic, as
26     know how to do so.”          are genuine, who prepared established by the
27
       DE 17-6, Rios Decl. at       them, whether Mr. Foti     evidence the FTC
       Page ID 2136; DE 17-5,       ever received, knew about submitted in support of
28
       Navarro Decl. at Page ID     or had anything to do with the fact. The evidence is
                                               90
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1      Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
       Support
2
       2128; DE 17-6, Navarro      them and whether any of      not hearsay because it is
3      Decl. at Page ID 2130;      them were ever used in       an opposing party’s
4      DE 17, Chapman Decl. at     any presentations to         statement. Finding
5      Page ID 1948; DE 284-8,     consumers.)                  documents on a
       at Page ID 7487, DE 284-    No evidence Exh. 73, 76      receivership computer
6
       11, at Page ID 7843-46      and 77, FTC-RAD-001-         from the defendant’s
7      Theisman Decl. ¶ 4.ooo,     0183728 to 0183731,          office or from the
8      (authenticating and         FTC-RAD-001-0065189          defendants’ premises
       attaching FTC-RAD-001-      to 0065190 or RAD-001-       taken over by the
9
       0183728 to 0183731, at      0064644 to 0064646 were      receivership in fact makes
10     FTC-RAD-001-0183729         used in any presentations    it more likely it was used.
11     claiming “Our team of       to consumers. In             Foti’s cited evidence does
12     lawyers specialize in       addition, the documents      not address and/or
       lender fraud and related    speak for themselves. No     controvert the fact at
13
       claims. We are notifying    promises are made. All       issue.
14     you to discuss your         clients signed agreements
15     potential involvement in    confirming that no
16
       our team’s efforts. Our     guarantees were made to
       attorneys have              them (Receiver's
17
       represented hundreds of     Preliminary Report (DE-
18     homeowners. Prior           41-4), Exh. 19 pg. 2; Exh.
19     settlements with banks      20, p. 2; DE 17-3,
       have included Cash          Kolodziej Decl. at Page
20
       Settlement and properties   ID 2022 and 2033; DE
21     retained Free and Clear.    17-3, Kolodziej Decl. at
22     However, a settlement is    Page ID 2029 and 2039-
23     not always available. It    2040; DE 17-3 Kolodziej
       may be necessary to         Decl. at Page ID 2046;
24
       litigate to seek a better   DE-6, Rios at Page ID
25     result and our lawyers      2139; DE 17-6, Rios
26     know how to do so.”); id.   Decl. at Page ID 2151;
       DE 284-8, at Page ID        DE 17-1, Irannejad Decl.
27
       7486, DE 284-10, at Page    at Page ID 1984; DE 17-
28     ID 7757-58 ¶ 4.ss           1, Irannejad Decl. at

                                              91
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1      Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
       Support
2
       (attaching and               Page ID 1988; DE 17-1,
3      authenticating FTC-RAD-      Irannejad at Page ID
4      001-0065189 to 0065190,      1994-95; DE 17-4,
5      at FTC-RAD-001-              Leonido Decl. at Page
       0065190 claiming “Our        2085; DE 17-4, Leonido
6
       team of lawyers,             Decl. at Page 2091; DE
7      coordinated by               17-7, Lujan Decl. at Page
8      Brookstone Law, P.C.,        ID 2180; DE 17-7, Lujan
       specialize in lender fraud   Decl. at Page 2185; DE
9
       and related claims. We       17-7, Lujan Decl. at Page
10     are notifying you to         ID 2191; DE 17-4, Nava
11     discuss your potential       Decl. at Page ID 2099;
12     involvement in our team’s    DE 17-4, Nava Decl. at
       efforts. Our attorneys       Page ID 2104; DE-17-5,
13
       have represented             Navarro Decl. at Page ID
14     hundreds of homeowners.      2114; DE 17-5 Navarro
15     Prior settlements with       Decl. at Page ID 2118;
16
       banks have included cash     DE 17-5 Navarro Decl. at
       settlement and properties    Page ID 2123-24).
17
       retained free and clear.
18     However, a settlement is
19     not always available. It
       may be necessary to
20
       litigate to seek a better
21     result and our lawyers
22     know how to do so.”); id.
23     DE 284-8, at Page ID
       7486, DE 284-10, at
24
       7754-56 ¶ 4.rr
25     (authenticating and
26     attaching FTC-RAD-001-
       0064644 to 0064646, at
27
       FTC-RAD-001-
28     0064645claiming “Our

                                               92
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1      Uncontroverted Fact/          Defendants’ Responses     FTC’s Reply
       Support
2
       team of lawyers,
3      coordinated by
4      Brookstone Law, P.C.,
5      specializes in lender fraud
       and related claims. We
6
       are notifying you to
7      discuss your potential
8      involvement in our team’s
       efforts. Our attorneys
9
       have represented
10     hundreds of homeowners.
11     It may be necessary to
12     litigate to seek a better
       result and our lawyers
13
       know how to do so.”).
14     103. One mailer from          Marshall: No response      Undisputed as to
15     2011 asserted plaintiffs in                              Marshall.
16     the Wright v. Bank of         Foti: Lack of foundation   Undisputed as to Foti.
       America litigation would      (no evidence Exh. 73 was The document(s) are
17
       be entitled to “$75,000 in    sent out). FTC has Vito as genuine and authentic, as
18     damages per individual.”      a witness, yet no          established by the
19     Ex. 73 at FTC-RAD-002-        testimony on this.         evidence the FTC
       0284832; DE 284-8,            Hearsay.                   submitted in support of
20
       Theisman Decl. at Page        No evidence Exh. 73 was the fact for this paragraph.
21     ID 7485, 7571-74 ¶ 4.l        used in any presentations The evidence is not
22     (authenticating and           to consumers. In           hearsay because it is an
23     attaching Ex. 73).            addition, the documents    opposing party’s
                                     speak for themselves. No statement. Finding
24
                                     promises are made. All     documents on a
25                                   clients signed agreements receivership computer
26                                   confirming that no         from the defendant’s
27
                                     guarantees were made to office or from the
                                     them (Receiver's           defendants’ premises
28
                                     Preliminary Report (DE- taken over by the
                                                93
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1      Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
       Support
2
                                 41-4), Exh. 19 pg. 2; Exh.   receivership in fact makes
3                                20, p. 2; DE 17-3,           it more likely it was used.
4                                Kolodziej Decl. at Page            Foti’s cited
5                                ID 2022 and 2033; DE         evidence he cites does not
                                 17-3, Kolodziej Decl. at     address the fact at issue.
6
                                 Page ID 2029 and 2039-
7                                2040; DE 17-3 Kolodziej
8                                Decl. at Page ID 2046;
                                 DE-6, Rios at Page ID
9
                                 2139; DE 17-6, Rios
10                               Decl. at Page ID 2151;
11                               DE 17-1, Irannejad Decl.
12                               at Page ID 1984; DE 17-
                                 1, Irannejad Decl. at
13
                                 Page ID 1988; DE 17-1,
14                               Irannejad at Page ID
15                               1994-95; DE 17-4,
16
                                 Leonido Decl. at Page
                                 2085; DE 17-4, Leonido
17
                                 Decl. at Page 2091; DE
18                               17-7, Lujan Decl. at Page
19                               ID 2180; DE 17-7, Lujan
                                 Decl. at Page 2185; DE
20
                                 17-7, Lujan Decl. at Page
21                               ID 2191; DE 17-4, Nava
22                               Decl. at Page ID 2099;
23                               DE 17-4, Nava Decl. at
                                 Page ID 2104; DE-17-5,
24
                                 Navarro Decl. at Page ID
25                               2114; DE 17-5 Navarro
26                               Decl. at Page ID 2118;
                                 DE 17-5 Navarro Decl. at
27
                                 Page ID 2123-24).
28
       104. One mailer sent to   Marshall: No response        Undisputed as to
                                            94
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1      Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
       Support
2
       consumers in 2011 stated:                                  Marshall.
3      “That each Plaintiff shall    Foti: DENY - Objections      Undisputed as to Foti.
4      receive a judicial            (irrelevant; failure to      The fact is relevant. The
5      determination that the        authenticate; hearsay. No    document(s) are genuine
       mortgage lien alleged to      foundation the documents     and authentic, as
6
       exist against their           are genuine, who prepared    established by the
7      particular property is null   them, whether Mr. Foti       evidence the FTC
8      and void ab initio. The       ever received, knew about    submitted in support of
       case is covered by the        or had anything to do with   the fact. The evidence is
9
       settlement is defined [sic]   them and whether any of      not hearsay because it is
10     as follows: all Florida       them were ever used in       an opposing party’s
11     and California residents      any presentations to         statement. Finding
12     who purchased a loan by       consumers.)                  documents on a
       any of these lenders from     No evidence Ex. 79 or Ex.    receivership computer
13
       January 1, 2004 through       80 were used in any          from the defendant’s
14     February 5, 2009 (the         presentations to             office or from the
15     ‘Settlement Class’). Your     consumers. In addition,      defendants’ premises
16
       current lender will pay up    the documents speak for      taken over by the
       to $75,000 in cash and        themselves. No promises      receivership in fact makes
17
       certificates for (i) valid    are made. All clients        it more likely it was used.
18     claims submitted by           signed agreements            Foti’s cited evidence does
19     Settlement Class              confirming that no           not address and/or
       members, (ii) notice to the   guarantees were made to      controvert the fact at
20
       Settlement Class, (iii)       them (Receiver's             issue.
21     administrative costs of the   Preliminary Report (DE-
22     settlement, (iv) Settlement   41-4), Exh. 19 pg. 2; Exh.
23     Class Counsel’s attorneys     20, p. 2; DE 17-3,
       fees and costs not to         Kolodziej Decl. at Page
24
       exceed $793,750, and (v)      ID 2022 and 2033; DE
25     incentive awards to the       17-3, Kolodziej Decl. at
26     Plaintiffs not to exceed      Page ID 2029 and 2039-
       $5,000 for each Plaintiff     2040; DE 17-3 Kolodziej
27
       (‘Settlement Fund’).”         Decl. at Page ID 2046;
28     Ex. 79 at FTC-RAD-001-        DE-6, Rios at Page ID

                                                95
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1      Uncontroverted Fact/          Defendants’ Responses   FTC’s Reply
       Support
2
       0088987 (including cover   2139; DE 17-6, Rios
3      email indicating the       Decl. at Page ID 2151;
4      mailer was sent to         DE 17-1, Irannejad Decl.
5      consumers and then the     at Page ID 1984; DE 17-
       two page mailer); Ex. 80   1, Irannejad Decl. at
6
       (email indicating that thisPage ID 1988; DE 17-1,
7      mailer was a mailer that   Irannejad at Page ID
8      had been in use for more   1994-95; DE 17-4,
       than one set of mailings); Leonido Decl. at Page
9
       DE 284-8, Theisman         2085; DE 17-4, Leonido
10     Decl. at Page ID 7485,     Decl. at Page 2091; DE
11     7587-91 ¶¶ 4.r & 4.s.      17-7, Lujan Decl. at Page
12                                ID 2180; DE 17-7, Lujan
                                  Decl. at Page 2185; DE
13
                                  17-7, Lujan Decl. at Page
14                                ID 2191; DE 17-4, Nava
15                                Decl. at Page ID 2099;
16
                                  DE 17-4, Nava Decl. at
                                  Page ID 2104; DE-17-5,
17
                                  Navarro Decl. at Page ID
18                                2114; DE 17-5 Navarro
19                                Decl. at Page ID 2118;
                                  DE 17-5 Navarro Decl. at
20
                                  Page ID 2123-24).
21     105. Foti sent an email    Marshall: No response      Undisputed as to
22     to Torchia attaching a                                Marshall.
23     mailer that stated, among Foti: DENY - Objections Undisputed as to Foti.
       other items: “I’m sure you (irrelevant; failure to    The fact is relevant. The
24
       may share a similar        authenticate; hearsay. No document(s) are genuine
25     situation as many of our   foundation the documents and authentic, as
26     clients either being lied  are genuine, who prepared established by the
27
       to, mislead, or wrongfully them, whether Mr. Foti     evidence the FTC
       denied a loan              ever received, knew about submitted in support of
28
       modification. As you       or had anything to do with the fact. The evidence is
                                               96
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      may already know,            them and whether any of      not hearsay because it is
3     <<BANK>> is under            them were ever used in       an opposing party’s
4     great scrutiny for           any presentations to         statement. Finding
5     questionable business        consumers.)                  documents on a
      practices, negligence in     No evidence Ex. 75 was       receivership computer
6
      processing loan              used in any presentations    from the defendant’s
7     modifications, and illegal   to consumers. In             office or from the
8     foreclosures.”               addition, the documents      defendants’ premises
      Ex. 75 at FTC-RAD-001-       speak for themselves. No     taken over by the
9
      0221284; DE 284-8,           promises are made. All       receivership in fact makes
10    Theisman Decl. at Page       clients signed agreements    it more likely it was used.
11    ID 7485, 7576-78 ¶ 4.n.      confirming that no           Foti’s cited evidence does
12                                 guarantees were made to      not address and/or
                                   them (Receiver's             controvert the fact at
13
                                   Preliminary Report (DE-      issue.
14                                 41-4), Exh. 19 pg. 2; Exh.
15                                 20, p. 2; DE 17-3,
16
                                   Kolodziej Decl. at Page
                                   ID 2022 and 2033; DE
17
                                   17-3, Kolodziej Decl. at
18                                 Page ID 2029 and 2039-
19                                 2040; DE 17-3 Kolodziej
                                   Decl. at Page ID 2046;
20
                                   DE-6, Rios at Page ID
21                                 2139; DE 17-6, Rios
22                                 Decl. at Page ID 2151;
23                                 DE 17-1, Irannejad Decl.
                                   at Page ID 1984; DE 17-
24
                                   1, Irannejad Decl. at
25                                 Page ID 1988; DE 17-1,
26                                 Irannejad at Page ID
                                   1994-95; DE 17-4,
27
                                   Leonido Decl. at Page
28                                 2085; DE 17-4, Leonido

                                               97
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1     Uncontroverted Fact/           Defendants’ Responses      FTC’s Reply
      Support
2
                                     Decl. at Page 2091; DE
3                                    17-7, Lujan Decl. at Page
4                                    ID 2180; DE 17-7, Lujan
5                                    Decl. at Page 2185; DE
                                     17-7, Lujan Decl. at Page
6
                                     ID 2191; DE 17-4, Nava
7                                    Decl. at Page ID 2099;
8                                    DE 17-4, Nava Decl. at
                                     Page ID 2104; DE-17-5,
9
                                     Navarro Decl. at Page ID
10                                   2114; DE 17-5 Navarro
11                                   Decl. at Page ID 2118;
12                                   DE 17-5 Navarro Decl. at
                                     Page ID 2123-24).
13
      106. Foti sent an email        Marshall: No response      Undisputed as to
14    to Kutzner including a                                    Marshall.
15    draft mailer that stated:      Foti: DENY - Objections Undisputed as to Foti.
16    “Mortgage Lenders Have         (irrelevant; failure to    The fact is relevant. The
      Profited Now It Is Time        authenticate; hearsay. No document(s) are genuine
17
      To Make Them Pay!”             foundation the documents and authentic, as
18    “You have been identified      are genuine, who prepared established by the
19    as a potential plaintiff due   them, whether Mr. Foti     evidence the FTC
      to 1 or more of the            ever received, knew about submitted in support of
20
      following reasons:             or had anything to do with the fact. The evidence is
21    You received an NOD or         them and whether any of not hearsay because it is
22    a NOS within the last 3        them were ever used in     an opposing party’s
23    years which could entitled     any presentations to       statement. Finding
      [sic] you to damages.          consumers.)                documents on a
24
      Even if you are in default     No evidence Ex. 76 was     receivership computer
25    your loan may be               used in any presentations from the defendant’s
26    ‘current’.                     to consumers. In           office or from the
27
      Home has been foreclosed       addition, the documents    defendants’ premises
      on under a noncompliant        speak for themselves. No taken over by the
28
      process that could have        promises are made. All     receivership in fact makes
                                                98
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      violated your legal rights.   clients signed agreements    it more likely it was used.
3     Have received a               confirming that no           Foti’s cited evidence does
4     temporary Loan                guarantees were made to      not address and/or
5     Modification or didn’t        them (Receiver's             controvert the fact at
      have a single point of        Preliminary Report (DE-      issue.
6
      contact try to help you       41-4), Exh. 19 pg. 2; Exh.
7     stay in your home.            20, p. 2; DE 17-3,
8     You were foreclosed on        Kolodziej Decl. at Page
      while you had a loan          ID 2022 and 2033; DE
9
      Modification application      17-3, Kolodziej Decl. at
10    in process.                   Page ID 2029 and 2039-
11    Laws AB 1950, SB 1474         2040; DE 17-3 Kolodziej
12    extends the statute of        Decl. at Page ID 2046;
      limitations to file claims    DE-6, Rios at Page ID
13
      for fraud.”                   2139; DE 17-6, Rios
14    “If you have received a       Decl. at Page ID 2151;
15    Notice of Default or          DE 17-1, Irannejad Decl.
16
      Notice of Sale within the     at Page ID 1984; DE 17-
      last 3 years you could be     1, Irannejad Decl. at
17
      entitled to damages!”         Page ID 1988; DE 17-1,
18    “If you have been             Irannejad at Page ID
19    foreclosed on if [sic]        1994-95; DE 17-4,
      could have been done          Leonido Decl. at Page
20
      illegally. New laws that      2085; DE 17-4, Leonido
21    protect homeowners            Decl. at Page 2091; DE
22    under the new                 17-7, Lujan Decl. at Page
23    Homeowner Bill of             ID 2180; DE 17-7, Lujan
      Rights act are on your        Decl. at Page 2185; DE
24
      side. Major Banks are         17-7, Lujan Decl. at Page
25    settling for billions of      ID 2191; DE 17-4, Nava
26    dollars and you may be        Decl. at Page ID 2099;
      entitled to part of these     DE 17-4, Nava Decl. at
27
      settlements.”                 Page ID 2104; DE-17-5,
28    Ex. 76 at FTC-RAD-002-        Navarro Decl. at Page ID

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      0373032; DE 284-8,         2114; DE 17-5 Navarro
3     Theisman Decl. at Page     Decl. at Page ID 2118;
4     ID 7485, 7579-82 ¶ 4.o.    DE 17-5 Navarro Decl. at
5                                Page ID 2123-24).
      107. Foti sent an email    Marshall: This Defendant       Undisputed as to
6
      identifying a mailer as    lacks the knowledge or         Marshall. He does not
7     “the final one” making the information and belief to      offer any admissible
8     following statements:      dispute or declare this fact   evidence capable of
9
      “5 Major Banks agree to    undisputed, as this alleged    controverting the fact at
      $25 BILLION dollar         fact occurred prior to or      issue.
10
      settlement which you       without this Defendant’s
11    could be entitled to.”     involvement in Advantis
12    “Bank of America just      Law Group, P.C. or the
      settled for $16.5          other individual
13
      BILLION dollars for        defendants in this action.
14    homeowner relief.”
15    “You received an NOD or Foti: DENY - Objections           Undisputed as to Foti.
16    NOS within the last 3      (irrelevant; failure to        The fact is relevant. The
      years which could entitle authenticate; hearsay. No       document(s) are genuine
17
      you to damages.”           foundation the documents       and authentic, as
18    “Even if you are in        are genuine, who prepared      established by the
19    default your loan may be them, whether Mr. Foti           evidence the FTC
      ‘current’ because of a     ever received, knew about      submitted in support of
20
      special provision in your or had anything to do with      the fact. The evidence is
21    mortgage note/deed.”       them and whether any of        not hearsay because it is
22    “Home has been             them were ever used in         an opposing party’s
23    foreclosed on under a      any presentations to           statement. Finding
      noncompliant process that consumers.)                     documents on a
24
      could have violated your No evidence Ex. 77 was           receivership computer
25    legal rights.”             used in any presentations      from the defendant’s
26    “Have received a           to consumers. In               office or from the
27
      temporary Loan             addition, the documents        defendants’ premises
      Modification or didn’t     speak for themselves. No       taken over by the
28
      have a single point of     promises are made. All         receivership in fact makes
                                             100
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 104 of 402 Page ID
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      contact try to help you      clients signed agreements    it more likely it was used.
3     stay in your home.”          confirming that no           Foti’s cited evidence does
4     “You were foreclosed on      guarantees were made to      not address and/or
5     while you had a loan         them (Receiver's             controvert the fact at
      Modification application     Preliminary Report (DE-      issue.
6
      in process.”                 41-4), Exh. 19 pg. 2; Exh.
7     “Laws AB 1950, SB 1474       20, p. 2; DE 17-3,
8     extends the statute of       Kolodziej Decl. at Page
      limitations to file claims   ID 2022 and 2033; DE
9
      for fraud.”                  17-3 Kolodziej Decl. at
10    “If you are late on your     Page ID 2029 and 2039-
11    mortgage call today          2040; DE 17-3 Kolodziej
12    before you lose your         Decl. at Page ID 2046;
      rights.”                     DE-6, Rios at Page ID
13
      “If you have received a      2139; DE 17-6, Rios
14    Notice of Default or         Decl. at Page ID 2151;
15    Notice of Sale within the    DE 17-1, Irannejad Decl.
16
      last 3 years you could be    at Page ID 1984; DE 17-
      entitled to damages!”        1, Irannejad Decl. at
17
      “If you have been            Page ID 1988; DE 17-1,
18    foreclosed on, or in the     Irannejad at Page ID
19    process of foreclosure, it   1994-95; DE 17-4,
      could have been illegal.     Leonido Decl. at Page
20
      New laws that protect        2085; DE 17-4, Leonido
21    homeowners under the         Decl. at Page 2091; DE
22    Homeowner Bill of            17-7, Lujan Decl. at Page
23    Rights Act are on your       ID 2180; DE 17-7, Lujan
      side. Major Banks are        Decl. at Page 2185; DE
24
      settling for billions of     17-7, Lujan Decl. at Page
25    dollars and you may be       ID 2191; DE 17-4, Nava
26    entitled to part of these    Decl. at Page ID 2099;
      settlements.”                DE 17-4, Nava Decl. at
27
      Ex. 77 at FTC-RAD-002-       Page ID 2104; DE-17-5,
28    0373017; DE 284-8,           Navarro Decl. at Page ID

                                              101
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 105 of 402 Page ID
                                       #:11303




1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Theisman Decl. at Page       2114; DE 17-5 Navarro
3     ID 7485, 7583-85 ¶ 4.p.      Decl. at Page ID 2118;
4                                  DE 17-5 Navarro Decl. at
5                                  Page ID 2123-24).
      108. Some versions of        Marshall: This Defendant       Undisputed as to
6
      mailers sent to consumers    lacks the knowledge or         Marshall. He does not
7     reference the Department     information and belief to      offer any admissible
8     of Justice’s multibillion    dispute or declare this fact   evidence capable of
9
      dollar settlements with      undisputed, as this alleged    controverting the fact at
      certain banks.               fact occurred prior to or      issue.
10
      DE 17-8, Lujan Decl. at      without this Defendant’s
11    Page ID 2194 (“Your          involvement in Advantis
12    property may be eligible     Law Group, P.C. or the
      to receive settlement        other individual
13
      funds to be released in      defendants in this action.
14    2015. Bank of America
15    entered into an agreement    Foti: DENY - Objections        Undisputed as to Foti.
16    with Federal Banking         (irrelevant; failure to        The fact is relevant. The
      Regulators-the office of     authenticate; hearsay. No      document(s) are genuine
17
      Comptroller of Currency      foundation the documents       and authentic, as
18    and board of Governors       are genuine, who prepared      established by the
19    of the Federal Reserve       them, whether Mr. Foti         evidence the FTC
      System. By accepting this    ever received, knew about      submitted in support of
20
      settlement you do not        or had anything to do with     the fact. The evidence is
21    waive any legal claims       them and whether any of        not hearsay because it is
22    against Bank of America      them were ever used in         an opposing party’s
23    and are entitled to still    any presentations to           statement. Finding
      sue your Trustee. It is      consumers.)                    documents on a
24
      important that you call us   No evidence Exs. 75,76 or      receivership computer
25    to discuss these details     77 were used in any            from the defendant’s
26    further.”); Ex. 76 at FTC-   presentations to               office or from the
27
      RAD-002-0373032              consumers. In addition,        defendants’ premises
      (“Major Banks are            the documents speak for        taken over by the
28
      settling for billions of     themselves. No promises        receivership in fact makes
                                               102
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 106 of 402 Page ID
                                       #:11304




1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      dollars and you may be         are made. All clients        it more likely it was used.
3     entitled to part of these      signed agreements            Foti’s cited evidence does
4     settlements.”); Ex. 77 at      confirming that no           not address and/or
5     FTC-RAD-002-0373016            guarantees were made to      controvert the fact at
      (“5 Major Banks agree to       them (Receiver's             issue.
6
      $25 BILLION dollar             Preliminary Report (DE-
7     settlement which you           41-4), Exh. 19 pg. 2; Exh.
8     could be entitled to.”); id.   20, p. 2; DE 17-3,
      (“Bank of America just         Kolodziej Decl. at Page
9
      settled for $16.5 BILLION      ID 2022 and 2033; DE
10    dollars for homeowner          17-3, Kolodziej Decl. at
11    relief.”); DE 284-8,           Page ID 2029 and 2039-
12    Theisman Decl. at Page         2040; DE 17-3 Kolodziej
      ID 7485, 7579-85 ¶¶ 4.o        Decl. at Page ID 2046;
13
      & 4.p. See also Ex. 75 at      DE-6, Rios at Page
14    FTC-RAD-001-0221285            ID2139; DE 17-6, Rios
15    (“The California Attorney      Decl. at Page ID 2151;
16
      General has obtained a         DE 17-1, Irannejad Decl.
      broad-ranging settlement       at Page ID 1984; DE 17-
17
      against <<BANK>>. If           1, Irannejad Decl. at
18    you are a homeowner            Page ID 1988; DE 17-1,
19    struggling to pay your         Irannejad at Page ID
      mortgage or facing             1994-95; DE 17-4,
20
      foreclosure, or have           Leonido Decl. at Page
21    already lost a home to         2085; DE 17-4, Leonido
22    foreclosure, it is possible    Decl. at Page 2091; DE
23    that this settlement could     17-7, Lujan Decl. at Page
      help you.”); DE 284-8,         ID 2180; DE 17-7, Lujan
24
      Theisman Decl. at Page         Decl. at Page 2185; DE
25    ID 7485, 7576-78 ¶ 4.n;        17-7, Lujan Decl. at Page
26    DE 41-2 at Page ID             ID 2191; DE 17-4, Nava
      2508; DE 284-4, Chang          Decl. at Page ID 2099;
27
      Decl. at Page ID 7248 ¶        DE 17-4, Nava Decl. at
28    4.a.                           Page ID 2104; DE-17-5,

                                                103
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
                                  Navarro Decl. at Page ID
3                                 2114; DE 17-5 Navarro
4                                 Decl. at Page ID 2118;
5                                 DE 17-5 Navarro Decl. at
                                  Page ID 2123-24).
6
                                  Thurman Decl.,
7                                 Attachment 65
8     109. A mailer sent to       Marshall: This Defendant       Undisputed as to
9
      consumers in 2015 made      lacks the knowledge or         Marshall. He does not
      the following statements:   information and belief to      offer any admissible
10
      “We have been trying to     dispute or declare this fact   evidence capable of
11    reach you to discuss our    undisputed, as this alleged    controverting the fact at
12    landmark victory against    fact occurred without this     issue.
      Bank of America in          Defendant’s involvement
13
      California’s Supreme        in Advantis Law Group,
14    Court. This decision is     P.C. or the other
15    NOW LAW which opens         individual defendants in
16    up many different legal     this action.
      channels on your case.
17
      Brookstone Law is           Foti: DENY - Objections        Undisputed as to Foti.
18    preparing to sue the        (irrelevant; failure to        The fact is relevant. The
19    trustee assigned to         authenticate; hearsay. No      document(s) are genuine
      foreclose on your           foundation the documents       and authentic, as
20
      property for wrongful       are genuine, who prepared      established by the
21    foreclosure and demand      them, whether Mr. Foti         evidence the FTC
22    that they immediately       ever received, knew about      submitted in support of
23    cancel your auction date    or had anything to do with     the fact. The evidence is
      scheduled for 8/26/2015.”   them and whether any of        not hearsay because it is
24
      “Your property may be       them were ever used in         an opposing party’s
25    eligible to receive         any presentations to           statement. A consumer
26    settlement funds to be      consumers.)                    testified to receiving this
27
      released in 2015. Bank of   The documents speak for        mailer.
      America entered into an     themselves. No promises        Foti’s cited evidence does
28
      agreement with Federal      are made. All clients          not address and/or
                                              104
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                                       #:11306




1     Uncontroverted Fact/          Defendants’ Responses       FTC’s Reply
      Support
2
      Banking Regulators-the        signed agreements          controvert the fact at
3     office of Comptroller of      confirming that no         issue.
4     Currency and board of         guarantees were made to
5     Governors of the Federal      them (Receiver's
      Reserve System. By            Preliminary Report (DE-
6
      accepting this settlement     41-4), Exh. 19 pg. 2; Exh.
7     you do not waive any          20, p. 2; DE 17-3,
8     legal claims against Bank     Kolodziej Decl. at Page
      of America and are            ID 2022 and 2033; DE
9
      entitled to still sue your    17-3 Kolodziej Decl. at
10    Trustee. It is important      Page ID 2029 and 2039-
11    that you call us to discuss   2040; DE 17-3 Kolodziej
12    these details further.”       Decl. at Page ID 2046;
      DE 17-8, Lujan Decl. at       DE-6, Rios at Page ID
13
      Page ID 2194.                 2139; DE 17-6, Rios
14                                  Decl. at Page ID 2151;
15                                  DE 17-1, Irannejad Decl.
16
                                    at Page ID 1984; DE 17-
                                    1, Irannejad Decl. at
17
                                    Page ID 1988; DE 17-1,
18                                  Irannejad at Page
19                                  ID1994-95; DE 17-4,
                                    Leonido Decl. at Page
20
                                    2085; DE 17-4, Leonido
21                                  Decl. at Page 2091; DE
22                                  17-7, Lujan Decl. at Page
23                                  ID 2180; DE 17-7, Lujan
                                    Decl. at Page 2185; DE
24
                                    17-7, Lujan Decl. at Page
25                                  ID 2191; DE 17-4, Nava
26                                  Decl. at Page ID 2099;
                                    DE 17-4, Nava Decl. at
27
                                    Page ID 2104; DE-17-5,
28                                  Navarro Decl. at Page ID

                                               105
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                                       #:11307




1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  2114; DE 17-5 Navarro
3                                 Decl. at Page ID 2118;
4                                 DE 17-5 Navarro Decl. at
5                                 Page ID 2123-24).
      110. The Receiver found Marshall: This Defendant           Undisputed as to
6
      a mailer for Advantis that lacks the knowledge or          Marshall. He does not
7     referenced both Advantis information and belief to         offer any admissible
8     Law and Advantis Law        dispute or declare this fact   evidence capable of
9
      Group and stated that       undisputed, as this alleged    controverting the fact at
      Marshall was the attorney fact occurred wiuthout           issue.
10
      issuing the marketing.      this Defendant’s
11    DE 41-2 at Page ID 2511 involvement in Advantis
12    (containing “Advantis       Law Group, P.C. or the
      Law Group” in header        other individual
13
      and then stating:           defendants in this action.
14    “Advantis Law, PC
15    (attorney Charles           Foti: DENY - Objections        Undisputed as to Foti.
16    Marshall, esq) is a CA      (irrelevant; failure to        The fact is relevant. The
      licensed law firm. . . .”); authenticate; hearsay. No      document(s) are genuine
17
      DE 284-4, Chang Decl. at foundation the documents          and authentic, as
18    Page ID 7248 ¶ 4.b.         are genuine, who prepared      established by the
19                                them, whether Mr. Foti         evidence the FTC
                                  ever received, knew about      submitted in support of
20
                                  or had anything to do with     the fact. The evidence is
21                                them and whether any of        not hearsay because it is
22                                them were ever used in         an opposing party’s
23                                any presentations to           statement. Finding
                                  consumers.)                    documents on a
24
                                  No evidence DE 41-2 at         receivership computer
25                                Page ID 2511 was used in       from the defendant’s
26                                any presentations to           office or from the
27
                                  consumers. In addition,        defendants’ premises
                                  the documents speak for        taken over by the
28
                                  themselves. No promises        receivership in fact makes
                                              106
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                                       #:11308




1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 are made. All clients          it more likely it was used.
3                                signed agreements              Foti’s cited evidence does
4                                confirming that no             not address and/or
5                                guarantees were made to        controvert the fact at
                                 them (Receiver's               issue.
6
                                 Preliminary Report (DE-
7                                41-4), Exh. 19 pg. 2; Exh.
8                                20, p. 2; DE 17-3,
                                 Kolodziej Decl. at Page
9
                                 ID 2022 and 2033; DE
10                               17-3, Kolodziej Decl. at
11                               Page ID 2029 and 2039-
12                               2040; DE 17-3 Kolodziej
                                 Decl. at Page ID 2046;
13
                                 DE-6, Rios at Page ID
14                               2139; DE 17-6, Rios
15                               Decl. at Page ID 2151;
16
                                 DE 17-1, Irannejad Decl.
                                 at Page ID 1984; DE 17-
17
                                 1, Irannejad Decl. at
18                               Page ID 1988; DE 17-1,
19                               Irannejad at Page ID
                                 1994-95; DE 17-4,
20
                                 Leonido Decl. at Page
21                               2085; DE 17-4, Leonido
22                               Decl. at Page 2091; DE
23                               17-7, Lujan Decl. at Page
      111. A mailer for          Marshall: This Defendant       Undisputed as to
24
      Advantis touts in bold     lacks the knowledge or         Marshall. He does not
25    type that consumers might information and belief to       offer any admissible
26    be entitled to relief as a dispute or declare this fact   evidence capable of
27
      result of multibillion-    undisputed, as this alleged    controverting the fact at
      dollar settlements with    fact occurred prior to this    issue.
28
      banks.                     Defendant’s involvement
                                             107
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 111 of 402 Page ID
                                       #:11309




1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      DE 41-2 at Page ID 2511       with Advantis Law
3     (“5 Major Banks agree to      Group, P.C. or the other
4     $25 BILLION dollar            individual defendants in
5     settlement which you          this action.
      could be entitled to;”
6
      “Bank of America just         Foti: DENY - Objections      Undisputed as to Foti.
7     settled for $16.5 BILLION     (irrelevant; failure to      The fact is relevant. The
8     dollars for homeowner         authenticate; hearsay. No    document(s) are genuine
      relief;” and “Major           foundation the documents     and authentic, as
9
      Banks are settling for        are genuine, who prepared    established by the
10    billions of dollars and you   them, whether Mr. Foti       evidence the FTC
11    may be entitled to part of    ever received, knew about    submitted in support of
12    these settlements.”); DE      or had anything to do with   the fact. The evidence is
      284-4, Chang Decl. at         them and whether any of      not hearsay because it is
13
      Page ID 7248 ¶ 4.b.           them were ever used in       an opposing party’s
14                                  any presentations to         statement. Finding
15                                  consumers.)                  documents on a
16
                                    No evidence DE 41-2 at       receivership computer
                                    Page ID 2511 was used in     from the defendant’s
17
                                    any presentations to         office or from the
18                                  consumers. In addition,      defendants’ premises
19                                  the documents speak for      taken over by the
                                    themselves. No promises      receivership in fact makes
20
                                    are made. All clients        it more likely it was used.
21                                  signed agreements            Foti’s cited evidence does
22                                  confirming that no           not address and/or
23                                  guarantees were made to      controvert the fact at
                                    them (Receiver's             issue.
24
                                    Preliminary Report (DE-
25                                  41-4), Exh. 19 pg. 2; Exh.
26                                  20, p. 2; DE 17-3,
                                    Kolodziej Decl. at Page
27
                                    ID 2022 and 2033; DE
28                                  17-3, Kolodziej Decl. at

                                               108
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1     Uncontroverted Fact/       Defendants’ Responses          FTC’s Reply
      Support
2
                                 Page ID 2029 and 2039-
3                                2040; DE 17-3 Kolodziej
4                                Decl. at Page ID 2046;
5                                DE-6, Rios at Page ID
                                 2139; DE 17-6, Rios
6
                                 Decl. at Page ID 2151;
7                                DE 17-1, Irannejad Decl.
8                                at Page ID 1984; DE 17-
                                 1, Irannejad Decl. at
9
                                 Page ID 1988; DE 17-1,
10                               Irannejad at Page ID
11                               1994-95; DE 17-4,
12                               Leonido Decl. at Page
                                 2085; DE 17-4, Leonido
13
                                 Decl. at Page 2091; DE
14                               17-7, Lujan Decl. at Page
15                               ID 2180; DE 17-7, Lujan
16
                                 Decl. at Page 2185; DE
                                 17-7, Lujan Decl. at Page
17
                                 ID 2191; DE 17-4, Nava
18                               Decl. at Page ID 2099;
19                               DE 17-4, Nava Decl. at
                                 Page ID 2104; DE-17-5,
20
                                 Navarro Decl. at Page ID
21                               2114; DE 17-5 Navarro
22                               Decl. at Page ID 2118;
23                               DE 17-5 Navarro Decl. at
                                 Page ID 2123-24).
24
      112. The mailers           Marshall: This Defendant       Undisputed as to
25    included phone numbers     lacks the knowledge or         Marshall. He does not
26    for consumers to call to   information and belief to      offer any admissible
27
      get more information.      dispute or declare this fact   evidence capable of
      DE 41-2 at Page ID         undisputed, as this alleged    controverting the fact at
28
      2511; DE 284-4, Chang      fact occurred prior to this    issue.
                                             109
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                                       #:11311




1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      Decl. at Page ID 7248 ¶      Defendant’s involvement
3     4.b; Exs. 73, 75-77, 79;     with Advantis Law
4     DE 284-8, Theisman           Group, P.C. or the other
5     Decl. at Page ID 7485,       individual defendants in
      7571-74, 7576-85, 7587-      this action.
6
      89 ¶¶ 4.l, 4.n, 4.o, 4.p &
7     4.r; DE 41-2 at Page ID      Foti: DENY - Objections      Undisputed as to Foti.
8     2508; DE 284-4, Chang        (irrelevant; failure to      The fact is relevant. The
      Decl. at Page ID 7248 ¶      authenticate; hearsay. No    document(s) are genuine
9
      4.a; DE 17-5, Navarro        foundation the documents     and authentic, as
10    Decl. at Page ID 2128;       are genuine, who prepared    established by the
11    DE 17-6, Navarro Decl.       them, whether Mr. Foti       evidence the FTC
12    at Page ID 2130; DE 17,      ever received, knew about    submitted in support of
      Chapman Decl. at Page        or had anything to do with   the fact. The evidence is
13
      ID 1948; DE 284-8, Page      them and whether any of      not hearsay because it is
14    ID 7487, DE 284-11,          them were ever used in       an opposing party’s
15    Page ID 7843-46              any presentations to         statement. Finding
16
      Theisman Decl. at ¶          consumers.)                  documents on a
      4.ooo; id. DE 284-8, Page    No evidence the mailers      receivership computer
17
      ID 7486, DE 284-10,          were used in any             from the defendant’s
18    Page ID 7757-58 at ¶         presentations to             office or from the
19    4.ss; id. DE 284-8, Page     consumers. In addition,      defendants’ premises
      ID 7486, DE 284-10,          the documents speak for      taken over by the
20
      7754-56 at ¶ 4.rr.           themselves. No promises      receivership in fact makes
21                                 are made. All clients        it more likely it was used.
22                                 signed agreements            Foti’s cited evidence does
23                                 confirming that no           not address and/or
                                   guarantees were made to      controvert the fact at
24
                                   them (Receiver's             issue.
25                                 Preliminary Report (DE-
26                                 41-4), Exh. 19 pg. 2; Exh.
                                   20, p. 2; DE 17-3,
27
                                   Kolodziej Decl. at Page
28                                 ID 2022 and 2033; DE

                                              110
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   17-3, Kolodziej Decl. at
3                                  Page ID 2029 and 2039-
4                                  2040; DE 17-3 Kolodziej
5                                  Decl. at Page ID 2046;
                                   DE-6, Rios at Page ID
6
                                   2139; DE 17-6, Rios
7                                  Decl. at Page ID 2151;
8                                  DE 17-1, Irannejad Decl.
                                   at Page ID 1984; DE 17-
9
                                   1, Irannejad Decl. at
10                                 Page ID 1988; DE 17-1,
11                                 Irannejad at Page ID
12                                 1994-95; DE 17-4,
                                   Leonido Decl. at Page
13
                                   2085; DE 17-4, Leonido
14                                 Decl. at Page 2091; DE
15                                 17-7, Lujan Decl. at Page
16
                                   ID 2180; DE 17-7, Lujan
                                   Decl. at Page 2185; DE
17
                                   17-7, Lujan Decl. at Page
18                                 ID 2191; DE 17-4, Nava
19                                 Decl. at Page ID 2099;
                                   DE 17-4, Nava Decl. at
20
                                   Page ID 2104; DE-17-5,
21                                 Navarro Decl. at Page ID
22                                 2114; DE 17-5 Navarro
23                                 Decl. at Page ID 2118;
                                   DE 17-5 Navarro Decl. at
24
                                   Page ID 2123-24).
25    113. Brookstone              Marshall: This Defendant       Undisputed as to
26    received ethics advice       lacks the knowledge or         Marshall. He does not
27
      indicating its mailers may   information and belief to      offer any admissible
      contain deceptive            dispute or declare this fact   evidence capable of
28
      statements: “In the          undisputed, as this alleged    controverting the fact at
                                               111
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 115 of 402 Page ID
                                       #:11313




1     Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
      Support
2
      current mailing, there are    fact occurred prior to this   issue.
3     a few phrases that could      Defendant’s involvement
4     be misleading. One is the     with Advantis Law
5     case validation expiration    Group, P.C. or the other
      date. We’re not sure why      individual defendants in
6
      there is an expiration date   this action.
7     and if it has any basis. If
8     it does not have any basis,   Foti: DENY - Objections       Undisputed as to Foti.
      it is possible the            (irrelevant; failure to       The fact is relevant. The
9
      expiration date could be      authenticate; hearsay;        document(s) are genuine
10    taken as putting false        subject to attorney-client    and authentic, as
11    pressure on a potential       communication and work        established by the
12    client. Also, is it correct   product privilege asserted    evidence the FTC
      that Brookstone Law has       previously by Mr.             submitted in support of
13
      obtained settlements for      Torchia. No foundation        the fact. The evidence is
14    clients of cash and           the documents are             not hearsay to the extent
15    properties retained free      genuine, who prepared         not offered for the truth of
16
      and clear? As you can         them, whether Mr. Foti        the matter asserted. All
      see, we have some             ever received, knew about     parties potentially holding
17
      questions on whether the      or had anything to do with    a relevant attorney-client
18    current mailing could be      them and whether any of       privilege have waived that
19    in violation of CRPC 1-       them were ever used in        privilege. See Madden 8-
      400. It might be helpful      any presentations to          14-17 Decl. ¶ 5.
20
      to go over the language of    consumers. In addition,       Foti’s cited evidence does
21    the current mailing with      advice related to             not controvert the fact at
22    you to consider               supervision of                issue.
23    alternative phrasing that     nonattorneys regarding
      might be less likely to run   the dispensation of "legal
24
      afoul of CRPC 1-400.”         advice" under state ethics
25    DE 284-8, at Page ID          laws, not any claims
26    7487, DE 284-10, DE           relating to this action.)
      284-11, at Page ID 7803-      Thurman Decl.,
27
      7822, Theisman Decl. ¶        Attachment 54 (Vito
28    4.hhh.                        clawback request - FTC-

                                                112
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 116 of 402 Page ID
                                       #:11314




1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 RFP-0149575-0149576)
3     114. Some consumers        Marshall: This Defendant       Undisputed as to
4     completed the sales        lacks the knowledge or         Marshall. He does not
5     process entirely over the  information and belief to      offer any admissible
      phone.                     dispute or declare this fact   evidence capable of
6
      DE 17-4, Nava Decl. at     undisputed, as this alleged    controverting the fact at
7     Page ID 2094-96 ¶¶ 4-      fact occurred prior to this    issue.
8     11; DE 41-2 at Page ID     Defendant’s involvement
9
      2520 (script stating phone with Advantis Law
      appointments are           Group, P.C. or the other
10
      available for people more individual defendants in
11    than 3 hours away); DE     this action.
12    284-4, Chang Decl. at
      Page ID 7248 ¶ 4.e.        Foti: DENY - Objections        Undisputed as to Foti.
13
                                 (irrelevant; failure to        The fact is relevant. The
14                               authenticate; hearsay. No      document(s) are genuine
15                               foundation the documents       and authentic, as
16                               are genuine, who prepared      established by the
                                 them, whether Mr. Foti         evidence the FTC
17
                                 ever received, knew about      submitted in support of
18                               or had anything to do with     the fact. The evidence is
19                               them and whether any of        not hearsay as a statement
                                 them were ever used in         of a party opponent.
20
                                 any presentations to           Finding documents on a
21                               consumers.)                    defendant’s computer or
22                                                              on-site at the receivership
23                                                              defendant’s premises in
                                                                fact makes it more likely
24
                                                                it was used.
25                                                              For support, Foti cites no
26                                                              evidence to controvert the
27
                                                                fact at issue.
      115. The Corporate          Marshall: This Defendant      Undisputed as to
28
      Defendants preferred the    lacks the knowledge or        Marshall. He does not
                                             113
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 117 of 402 Page ID
                                       #:11315




1     Uncontroverted Fact/            Defendants’ Responses          FTC’s Reply
      Support
2
      sales process to be             information and belief to      offer any admissible
3     completed through an in         dispute or declare this fact   evidence capable of
4     person meeting with the         undisputed, as this alleged    controverting the fact at
5     consumer because they           fact occurred prior to this    issue.
      believed they were more         Defendant’s involvement
6
      likely to close a deal if the   with Advantis Law
7     person physically came to       Group, P.C. or the other
8     the office.                     individual defendants in
      DE 41-2 at Page ID 2520         this action.
9
      (“If anyone lives more
10    than a three (3) hour           Foti: DENY - Objections        Undisputed as to Foti.
11    drive away then we will         (irrelevant; failure to        The fact is relevant. The
12    allow phone                     authenticate; hearsay. No      document(s) are genuine
      appointments, however be        foundation the documents       and authentic, as
13
      aware of the fact that          are genuine, who prepared      established by the
14    these appointments close        them, whether Mr. Foti         evidence the FTC
15    at a smaller percentage in      ever received, knew about      submitted in support of
16
      comparison to in office         or had anything to do with     the fact. The evidence is
      appointments.”); DE 41-2        them and whether any of        not hearsay as a statement
17
      at Page ID 2526 (same);         them were ever used in         of a party opponent.
18    DE 284-4, Chang Decl. at        any presentations to           Finding documents on a
19    Page ID 7248 ¶¶ 4.e &           consumers.)                    defendant’s computer or
      4.f; Ex. 87 at FTC-RAD-                                        on-site at the receivership
20
      001-0089958 (in large                                          defendant’s premises in
21    type “In office                                                fact makes it more likely
22    appointment                                                    it was used.
23    (preferred)”); Ex. 88 at                                       For support, Foti cites no
      FTC-RAD-002-0133018                                            evidence to controvert the
24
      (stating that everyone                                         fact at issue.
25    within 150 miles must
26    come in for an in person
      appointment); DE 284-8,
27
      Theisman Decl. at Page
28    ID 7486, 7609-7652¶¶

                                                  114
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 118 of 402 Page ID
                                       #:11316




1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      4.u & 4.v.
3     116. At least one script     Marshall: This Defendant       Undisputed as to
4     directed the sales people    lacks the knowledge or         Marshall. He does not
5     to say the following when    information and belief to      offer any admissible
      setting an in person         dispute or declare this fact   evidence capable of
6
      appointment: “The legal      undisputed, as this alleged    controverting the fact at
7     department has informed      fact occurred prior to this    issue.
8     me that due to the           Defendant’s involvement
9
      strength of your case they   with Advantis Law
      would like to schedule a     Group, P.C. or the other
10
      time to have you come        individual defendants in
11    down to our office to        this action.
12    meet with the attorney at
      no charge to go over your    Foti: DENY - Objections        Undisputed as to Foti.
13
      potential case as soon as    (irrelevant; failure to        The fact is relevant. The
14    possible.” Ex. 87 at FTC-    authenticate; hearsay. No      document(s) are genuine
15    RAD-001-0089958; Ex.         foundation the documents       and authentic, as
16    88 at FTC-RAD-002-           are genuine, who prepared      established by the
      0133017 (“The legal          them, whether Mr. Foti         evidence the FTC
17
      department has informed      ever received, knew about      submitted in support of
18    me that due to the           or had anything to do with     the fact. The evidence is
19    strength of your case they   them and whether any of        not hearsay because it is
      would like to schedule a     them were ever used in         an opposing party’s
20
      time to have you come        any presentations to           statement. Finding
21    down to our office to meet   consumers.)                    documents on a
22    with the attorney to go      No evidence Exs. 87 or         receivership computer
23    over your potential case     88 were used in any            from the defendant’s
      as soon as possible.”);      presentations to               office or from the
24
      DE 284-8, Theisman           consumers. In addition,        defendants’ premises
25    Decl. at Page ID 7486,       the documents speak for        taken over by the
26    7609-7652 ¶¶ 4.u & 4.v.      themselves. No promises        receivership in fact makes
27
                                   are made. All clients          it more likely it was used.
                                   signed agreements              Foti’s cited evidence does
28
                                   confirming that no             not address and/or
                                               115
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                                       #:11317




1     Uncontroverted Fact/      Defendants’ Responses     FTC’s Reply
      Support
2
                                guarantees were made to controvert the fact at
3                               them (Receiver's           issue.
4                               Preliminary Report (DE-
5                               41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
6
                                Kolodziej Decl. at Page
7                               ID 2022 and 2033; DE
8                               17-3, Kolodziej Decl. at
                                Page ID 2029 and 2039-
9
                                2040; DE 17-3 Kolodziej
10                              Decl. at Page ID 2046;
11                              DE-6, Rios at Page ID
12                              2139; DE 17-6, Rios
                                Decl. at Page ID 2151;
13
                                DE 17-1, Irannejad Decl.
14                              at Page ID 1984; DE 17-
15                              1, Irannejad Decl. at
16
                                Page ID 1988; DE 17-1,
                                Irannejad at Page ID
17
                                1994-95; DE 17-4,
18                              Leonido Decl. at Page
19                              2085; DE 17-4, Leonido
                                Decl. at Page 2091; DE
20
                                17-7, Lujan Decl. at Page
21                              ID 2180; DE 17-7, Lujan
22                              Decl. at Page 2185; DE
23                              17-7, Lujan Decl. at Page
                                ID 2191; DE 17-4, Nava
24
                                Decl. at Page ID 2099;
25                              DE 17-4, Nava Decl. at
26                              Page ID 2104; DE-17-5,
                                Navarro Decl. at Page ID
27
                                2114; DE 17-5 Navarro
28                              Decl. at Page ID 2118;

                                          116
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                                       #:11318




1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
                                DE 17-5 Navarro Decl. at
3                               Page ID 2123-24).
4     117. At times, Corporate Marshall: This Defendant        Undisputed as to
5     Defendants’ sales people lacks the knowledge or          Marshall. He does not
      would tell consumers that information and belief to      offer any admissible
6
      the Corporate Defendants’ dispute or declare this fact   evidence capable of
7     lawyers “previously       undisputed, as this alleged    controverting the fact at
8     represented these very    fact occurred prior to this    issue.
9
      same banks we are         Defendant’s involvement
      suing.”                   with Advantis Law
10
      Ex. 86 at FTC-RAD-001- Group, P.C. or the other
11    0171373 (“The nation’s    individual defendants in
12    top trial lawyers have    this action.
      banded together. These
13
      are the lawyers who       Foti: DENY - Objections        Undisputed as to Foti.
14    previously represented    (irrelevant; failure to        The fact is relevant. The
15    these very same banks we authenticate; hearsay. No       document(s) are genuine
16    are suing; (Now let’s go  foundation the documents       and authentic, as
      to the second paragraph) are genuine, who prepared       established by the
17
      the lawyers who know      them, whether Mr. Foti         evidence the FTC
18    their way around the      ever received, knew about      submitted in support of
19    courthouses better than   or had anything to do with     the fact. The evidence is
      anyone.”); DE 284-8,      them and whether any of        not hearsay because it is
20
      Theisman Decl. at Page    them were ever used in         an opposing party’s
21    ID 7485, 7592-7608 ¶ 4.t. any presentations to           statement. Finding
22                              consumers.)                    documents on a
23                              No evidence Ex. 86 was         receivership computer
                                used in any presentations      from the defendant’s
24
                                to consumers. In               office or from the
25                              addition, the documents        defendants’ premises
26                              speak for themselves. No       taken over by the
27
                                promises are made. All         receivership in fact makes
                                clients signed agreements      it more likely it was used.
28
                                confirming that no             Foti’s cited evidence does
                                             117
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 121 of 402 Page ID
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1     Uncontroverted Fact/      Defendants’ Responses       FTC’s Reply
      Support
2
                                guarantees were made to not address and/or
3                               them (Receiver's           controvert the fact at
4                               Preliminary Report (DE- issue.
5                               41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
6
                                Kolodziej Decl. at Page
7                               ID 2022 and 2033; DE
8                               17-3, Kolodziej Decl. at
                                Page ID 2029 and 2039-
9
                                2040; DE 17-3 Kolodziej
10                              Decl. at Page ID 2046;
11                              DE-6, Rios at Page ID
12                              2139; DE 17-6, Rios
                                Decl. at Page ID 2151;
13
                                DE 17-1, Irannejad Decl.
14                              at Page ID 1984; DE 17-
15                              1, Irannejad Decl. at
16
                                Page ID 1988; DE 17-1,
                                Irannejad at Page ID
17
                                1994-95; DE 17-4,
18                              Leonido Decl. at Page
19                              2085; DE 17-4, Leonido
                                Decl. at Page 2091; DE
20
                                17-7, Lujan Decl. at Page
21                              ID 2180; DE 17-7, Lujan
22                              Decl. at Page 2185; DE
23                              17-7, Lujan Decl. at Page
                                ID 2191; DE 17-4, Nava
24
                                Decl. at Page ID 2099;
25                              DE 17-4, Nava Decl. at
26                              Page ID 2104; DE-17-5,
                                Navarro Decl. at Page ID
27
                                2114; DE 17-5 Navarro
28                              Decl. at Page ID 2118;

                                           118
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                                       #:11320




1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   DE 17-5 Navarro Decl. at
3                                  Page ID 2123-24).
4     118. The Corporate           Marshall: This Defendant       Undisputed as to
5     Defendants’ sales scripts    lacks the knowledge or         Marshall. He does not
      instructed sales people to   information and belief to      offer any admissible
6
      tell consumers:              dispute or declare this fact   evidence capable of
7     “[Brookstone                 undisputed, as this alleged    controverting the fact at
8     Law/Advantis Law] is a       fact occurred prior to this    issue.
9
      nationwide law firm that     Defendant’s involvement
      focuses [mainly] on civil    with Advantis Law
10
      litigation.”                 Group, P.C. or the other
11    DE 41-2 at Page IDs          individual defendants in
12    2517 & 2523; DE 284-4,       this action.
      Chang Decl. at Page ID
13
      7248 ¶ 4.e & 4.f.            Foti: DENY - Objections        Undisputed as to Foti.
14                                 (irrelevant; failure to        The fact is relevant. The
15                                 authenticate; hearsay. No      document(s) are genuine
16                                 foundation the documents       and authentic, as
                                   are genuine, who prepared      established by the
17
                                   them, whether Mr. Foti         evidence the FTC
18                                 ever received, knew about      submitted in support of
19                                 or had anything to do with     the fact. The evidence is
                                   them and whether any of        not hearsay because it is
20
                                   them were ever used in         an opposing party’s
21                                 any presentations to           statement. Finding
22                                 consumers.)                    documents on a
23                                 No evidence SE-41-2 at         receivership computer
                                   Page IDs 2517 & 2523           from the defendant’s
24
                                   were used in any               office or from the
25                                 presentations to               defendants’ premises
26                                 consumers. In addition,        taken over by the
27
                                   the documents speak for        receivership in fact makes
                                   themselves. No promises        it more likely it was used.
28
                                   are made. All clients          Foti’s cited evidence does
                                               119
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1     Uncontroverted Fact/      Defendants’ Responses       FTC’s Reply
      Support
2
                                signed agreements          not address and/or
3                               confirming that no         controvert the fact at
4                               guarantees were made to issue.
5                               them (Receiver's
                                Preliminary Report (DE-
6
                                41-4), Exh. 19 pg. 2; Exh.
7                               20, p. 2; DE 17-3,
8                               Kolodziej Decl. at Page
                                ID 2022 and 2033; DE
9
                                17-3, Kolodziej Decl. at
10                              Page ID 2029 and 2039-
11                              2040; DE 17-3 Kolodziej
12                              Decl. at Page ID 2046;
                                DE-6, Rios at Page ID
13
                                2139; DE 17-6, Rios
14                              Decl. at Page ID 2151;
15                              DE 17-1, Irannejad Decl.
16
                                at Page ID 1984; DE 17-
                                1, Irannejad Decl. at
17
                                Page ID 1988; DE 17-1,
18                              Irannejad at Page ID
19                              1994-95; DE 17-4,
                                Leonido Decl. at Page
20
                                2085; DE 17-4, Leonido
21                              Decl. at Page 2091; DE
22                              17-7, Lujan Decl. at Page
23                              ID 2180; DE 17-7, Lujan
                                Decl. at Page 2185; DE
24
                                17-7, Lujan Decl. at Page
25                              ID 2191; DE 17-4, Nava
26                              Decl. at Page ID 2099;
                                DE 17-4, Nava Decl. at
27
                                Page ID 2104; DE-17-5,
28                              Navarro Decl. at Page ID

                                           120
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    2114; DE 17-5 Navarro
3                                   Decl. at Page ID 2118;
4                                   DE 17-5 Navarro Decl. at
5                                   Page ID 2123-24).
      119. Sales scripts            Marshall: This Defendant       Undisputed as to
6
      instruct sales people to      lacks the knowledge or         Marshall. He does not
7     say: “We are currently        information and belief to      offer any admissible
8     reviewing potential           dispute or declare this fact   evidence capable of
9
      litigation cases from bank    undisputed, as this alleged    controverting the fact at
      records and we feel your      fact occurred prior to this    issue.
10
      file fits our nationwide      Defendant’s involvement
11    litigation case against the   with Advantis Law
12    Banks.”                       Group, P.C. or the other
      Ex. 86 at FTC-RAD-001-        individual defendants in
13
      0171362; Ex. 87 at FTC-       this action.
14    RAD-001-0089955; DE
15    284-8, Theisman Decl. at      Foti: DENY - Objections        Undisputed as to Foti.
16    Page ID 7485, 7579-85         (irrelevant; failure to        The fact is relevant. The
      ¶¶ 4.t & 4.u.                 authenticate; hearsay. No      document(s) are genuine
17
                                    foundation the documents       and authentic, as
18                                  are genuine, who prepared      established by the
19                                  them, whether Mr. Foti         evidence the FTC
                                    ever received, knew about      submitted in support of
20
                                    or had anything to do with     the fact. The evidence is
21                                  them and whether any of        not hearsay because it is
22                                  them were ever used in         an opposing party’s
23                                  any presentations to           statement. Finding
                                    consumers.)                    documents on a
24
                                    No evidence Exs. 86 or 87      receivership computer
25                                  were used in any               from the defendant’s
26                                  presentations to               office or from the
27
                                    consumers. In addition,        defendants’ premises
                                    the documents speak for        taken over by the
28
                                    themselves. No promises        receivership in fact makes
                                                121
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                are made. All clients        it more likely it was used.
3                               signed agreements            Foti’s cited evidence does
4                               confirming that no           not address and/or
5                               guarantees were made to      controvert the fact at
                                them (Receiver's             issue.
6
                                Preliminary Report (DE-
7                               41-4), Exh. 19 pg. 2; Exh.
8                               20, p. 2; DE 17-3,
                                Kolodziej Decl. at Page
9
                                ID 2022 and 2033; DE
10                              17-3, Kolodziej Decl. at
11                              Page ID 2029 and 2039-
12                              2040; DE 17-3 Kolodziej
                                Decl. at Page ID 2046;
13
                                DE-6, Rios at Page ID
14                              2139; DE 17-6, Rios
15                              Decl. at Page ID 2151;
16
                                DE 17-1, Irannejad Decl.
                                at Page ID 1984; DE 17-
17
                                1, Irannejad Decl. at
18                              Page ID 1988; DE 17-1,
19                              Irannejad at Page ID
                                1994-95; DE 17-4,
20
                                Leonido Decl. at Page
21                              2085; DE 17-4, Leonido
22                              Decl. at Page 2091; DE
23                              17-7, Lujan Decl. at Page
                                ID 2180; DE 17-7, Lujan
24
                                Decl. at Page 2185; DE
25                              17-7, Lujan Decl. at Page
26                              ID 2191; DE 17-4, Nava
                                Decl. at Page ID 2099;
27
                                DE 17-4, Nava Decl. at
28                              Page ID 2104; DE-17-5,

                                           122
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1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
                                Navarro Decl. at Page ID
3                               2114; DE 17-5 Navarro
4                               Decl. at Page ID 2118;
5                               DE 17-5 Navarro Decl. at
                                Page ID 2123-24).
6
      120. Sales scripts        Marshall: This Defendant       Undisputed as to
7     instruct sales people to  lacks the knowledge or         Marshall. He does not
8     say: “These lawyers have information and belief to       offer any admissible
9
      filed multiple mass       dispute or declare this fact   evidence capable of
      joinder cases against     undisputed, as this alleged    controverting the fact at
10
      Bank of America           fact occurred prior to this    issue.
11    (Countrywide) and Wells Defendant’s involvement
12    Fargo and additional      with Advantis Law
      litigation against (there Group, P.C. or the other
13
      bank if applicable) These individual defendants in
14    Banks have admitted       this action.
15    defrauding hundreds of
16    thousands of              Foti: DENY - Objections        Undisputed as to Foti.
      Homeowners. (Now 3        (irrelevant; failure to        The fact is relevant. The
17
      sentences below it says)  authenticate; hearsay. No      document(s) are genuine
18    This case is now going    foundation the documents       and authentic, as
19    national. Recently Bank   are genuine, who prepared      established by the
      of America was forced to them, whether Mr. Foti          evidence the FTC
20
      admit that it had been    ever received, knew about      submitted in support of
21    defrauding the            or had anything to do with     the fact. The evidence is
22    government in foreclosing them and whether any of        not hearsay because it is
23    on mortgages              them were ever used in         an opposing party’s
      nationwide.”              any presentations to           statement. Finding
24
      Ex. 86 at FTC-RAD-001- consumers.)                       documents on a
25    0171364; DE 284-8,        No evidence Ex. 86 was         receivership computer
26    Theisman Decl. at Page    used in any presentations      from the defendant’s
27
      ID 7485, 7592-7608 ¶ 4.t. to consumers. In               office or from the
                                addition, the documents        defendants’ premises
28
                                speak for themselves. No       taken over by the
                                             123
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                promises are made. All       receivership in fact makes
3                               clients signed agreements    it more likely it was used.
4                               confirming that no           Foti’s cited evidence does
5                               guarantees were made to      not address and/or
                                them (Receiver's             controvert the fact at
6
                                Preliminary Report (DE-      issue.
7                               41-4), Exh. 19 pg. 2; Exh.
8                               20, p. 2; DE 17-3,
                                Kolodziej Decl. at Page
9
                                ID 2022 and 2033; DE
10                              17-3, Kolodziej Decl. at
11                              Page ID 2029 and 2039-
12                              2040; DE 17-3 Kolodziej
                                Decl. at Page ID 2046;
13
                                DE-6, Rios at Page ID
14                              2139; DE 17-6, Rios
15                              Decl. at Page ID 2151;
16
                                DE 17-1, Irannejad Decl.
                                at Page ID 1984; DE 17-
17
                                1, Irannejad Decl. at
18                              Page ID 1988; DE 17-1,
19                              Irannejad at Page ID
                                1994-95; DE 17-4,
20
                                Leonido Decl. at Page
21                              2085; DE 17-4, Leonido
22                              Decl. at Page 2091; DE
23                              17-7, Lujan Decl. at Page
                                ID 2180; DE 17-7, Lujan
24
                                Decl. at Page 2185; DE
25                              17-7, Lujan Decl. at Page
26                              ID 2191; DE 17-4, Nava
                                Decl. at Page ID 2099;
27
                                DE 17-4, Nava Decl. at
28                              Page ID 2104; DE-17-5,

                                           124
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  Navarro Decl. at Page ID
3                                 2114; DE 17-5 Navarro
4                                 Decl. at Page ID 2118;
5                                 DE 17-5 Navarro Decl. at
                                  Page ID 2123-24).
6
      121. Brookstone never       Marshall: This Defendant       Undisputed as to
7     maintained more than one lacks the knowledge or            Marshall. He does not
8     office with actual          information and belief to      offer any admissible
9
      employees.                  dispute or declare this fact   evidence capable of
      DE 284-13, Theisman         undisputed, as this alleged    controverting the fact at
10
      Decl. at Page ID 8054 ¶     fact occurred prior to this    issue.
11    15, Att. 12, Foti Depo. at Defendant’s involvement
12    41:21-42:1, (“Q. So         with Advantis Law
      talking generally about     Group, P.C. or the other
13
      Brookstone law, was         individual defendants in
14    Brookstone Law a            this action.
15    national law firm? A. I
16    don’t believe so. Q. How Foti: Admit                       Undisputed as to Foti.
      many offices did it have?
17
      A. I’ve only seen one at a
18    time. That’s what I
19    knew.”); DE 284-14,
      Madden July 2017 Decl.
20
      at Page ID 8126, 8285 ¶
21    2.h, Att. 8, Marshall
22    Depo. at 73:13-18 (“Q.
23    How many offices did
      Advantis have? A. That I
24
      was familiar with? I was
25    familiar with one office at
26    a time. There was an
27
      office in Irvine for some
      time, and then there was
28
      an office in Santa Ana.
                                              125
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      Those are the only offices
3     I visited, and those are the
4     only offices I’m familiar
5     with.”).
      122. Brookstone                Marshall: This Defendant       Undisputed as to
6
      received ethics advice that    lacks the knowledge or         Marshall. He does not
7     it should not claim to be a    information and belief to      offer any admissible
8     national law firm.             dispute or declare this fact   evidence capable of
9
      DE 284-8, at Page ID           undisputed, as this alleged    controverting the fact at
      7487, DE 284-11, at Page       fact occurred prior to this    issue.
10
      ID 7823-27 Theisman            Defendant’s involvement
11    Decl. ¶ 4.iii, (attaching      with Advantis Law
12    and authenticating FTC-        Group, P.C. or the other
      RAD-001-0164311 to             individual defendants in
13
      0164315, and stating on        this action.
14    FTC-RAD-001-0164313
15    “we believe that               Foti: DENY - Objections        Undisputed as to Foti.
16    Brookstone holding itself      (irrelevant; failure to        The fact is relevant. The
      out as a ‘national law         authenticate; hearsay;         document(s) are genuine
17
      firm’ could be misleading      subject to attorney-client     and authentic, as
18    under Rule 1-400”).            communication and work         established by the
19                                   product privilege asserted     evidence the FTC
                                     previously by Mr.              submitted in support of
20
                                     Torchia. No foundation         the fact. The evidence is
21                                   the documents are              not hearsay to the extent
22                                   genuine, who prepared          not offered for the truth of
23                                   them, whether Mr. Foti         the matter asserted. All
                                     ever received, knew about      parties potentially holding
24
                                     or had anything to do with     a relevant attorney-client
25                                   them and whether any of        privilege have waived that
26                                   them were ever used in         privilege. See Madden 8-
27
                                     any presentations to           14-17 Decl. ¶ 5.
                                     consumers. In addition,        Foti’s cited evidence does
28
                                     advice related to              not controvert the fact at
                                                 126
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   supervision of                 issue.
3                                  nonattorneys regarding
4                                  the dispensation of "legal
5                                  advice" under state ethics
                                   laws, not any claims
6
                                   relating to this action.)
7                                  Thurman Decl.,
8                                  Attachment 54 (Vito
                                   clawback request - FTC-
9
                                   RFP-0149575-0149576)
10
      123. The Corporate           Marshall: This Defendant       Undisputed as to
11    Defendants’ sales scripts lacks the knowledge or            Marshall. He does not
12    instructed sales people to information and belief to        offer any admissible
      tell consumers:              dispute or declare this fact   evidence capable of
13
      “[Brookstone                 undisputed, as this alleged    controverting the fact at
14    Law/Advantis Law] has        fact occurred prior to this    issue.
15    teamed up with some of       Defendant’s involvement
16    the top trial lawyers in the with Advantis Law
      country. These attorneys Group, P.C. or the other
17
      have filed multi-plaintiff individual defendants in
18    litigation cases against     this action.
19    some of the country’s
      largest banks. The banks Foti: DENY - Objections            Undisputed as to Foti.
20
      were charged with            (irrelevant; failure to        The fact is relevant. The
21    committing the biggest       authenticate; hearsay. No      document(s) are genuine
22    corporate fraud in United foundation the documents          and authentic, as
23    States history and for       are genuine, who prepared      established by the
      trying to foreclose on       them, whether Mr. Foti         evidence the FTC
24
      homes they do not own.       ever received, knew about      submitted in support of
25    The Department of Justice or had anything to do with        the fact. The evidence is
26    and the State Attorney       them and whether any of        not hearsay because it is
27
      Generals have reached a      them were ever used in         an opposing party’s
      historic settlement with     any presentations to           statement. Finding
28
      some of these same banks consumers.)                        documents on a
                                               127
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1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      and if you are a               No evidence DE-41-2 at       receivership computer
3     homeowner that is              Page IDS 2517 and 2523       from the defendant’s
4     struggling to pay your         or Exhs. 86 to 88 were       office or from the
5     mortgage, facing               used in any presentations    defendants’ premises
      foreclosure, or if you have    to consumers. In             taken over by the
6
      already lost your home to      addition, the documents      receivership in fact makes
7     foreclosure, it is possible    speak for themselves. No     it more likely it was used.
8     that this settlement could     promises are made. All       Foti’s cited evidence does
      help you.”                     clients signed agreements    not address and/or
9
      DE 41-2 at Page IDs            confirming that no           controvert the fact at
10    2517 & 2523; DE 284-4,         guarantees were made to      issue.
11    Chang Decl. at Page ID         them (Receiver's
12    7248 ¶ 4.e & 4.f; See also     Preliminary Report (DE-
      Ex. 86 at FTC-RAD-001-         41-4), Exh. 19 pg. 2; Exh.
13
      0171362 & FTC-RAD-             20, p. 2; DE 17-3,
14    001-0171370                    Kolodziej Decl. at Page
15    (“Brookstone Law has           ID 2022 and 2033; DE
16
      teamed up with some of         17-3 Kolodziej Decl. at
      the top trial lawyers in the   Page ID 2029 and 2039-
17
      country; these lawyers         2040; DE 17-3 Kolodziej
18    have filed a mass joinder      Decl. at Page ID 2046;
19    case (which is a form of a     DE-6, Rios at Page ID
      Class Action) against          2139; DE 17-6, Rios
20
      some of the largest banks      Decl. at Page ID 2151;
21    in the country. Recently       DE 17-1, Irannejad Decl.
22    in the news, all fifty state   at Page ID 1984; DE 17-
23    Attorney Generals have         1, Irannejad Decl. at
      announced actions              Page ID 1988; DE 17-1,
24
      against the lenders for        Irannejad at Page ID
25    their wrongdoing. We           1994-95; DE 17-4,
26    feel you might be a part of    Leonido Decl. at Page
      these potential claims         2085; DE 17-4, Leonido
27
      against the banks.”); Ex.      Decl. at Page 2091; DE
28    87 at FTC-RAD-001-             17-7, Lujan Decl. at Page

                                                128
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                                       #:11330




1     Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
      Support
2
      0089955 (“Brookstone         ID 2180; DE 17-7, Lujan
3     Law Firm has teamed up       Decl. at Page 2185; DE
4     with some of the top trial   17-7, Lujan Decl. at Page
5     lawyers in the country;      ID 2191; DE 17-4, Nava
      these lawyers have filed a   Decl. at Page ID 2099;
6
      mass joinder case (which     DE 17-4, Nava Decl. at
7     is a form of a Class         Page ID 2104; DE-17-5,
8     Action) against some of      Navarro Decl. at Page ID
      the largest banks in the     2114; DE 17-5 Navarro
9
      country. Recently in the     Decl. at Page ID 2118;
10    news, all fifty state        DE 17-5 Navarro Decl. at
11    Attorney Generals have       Page ID 2123-24).
12    announced actions
      against the lenders for
13
      their wrongdoing. We
14    feel you might be part of
15    these potential claims
16
      against the banks.”); Ex.
      88 at FTC-RAD-002-
17
      0133014 (“Brookstone
18    Law has teamed up with
19    some of the top trial
      lawyers in the country.
20
      These lawyers have filed
21    multi-plaintiff litigation
22    against the largest banks
23    in the nation, for
      committing the biggest
24
      corporate fraud in United
25    States history. The five
26    major banking institutions
      have admitted to
27
      wrongdoing and have
28    reached a settlement with

                                             129
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 133 of 402 Page ID
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      all fifty state Attorney
3     Generals. These actions
4     have placed increased
5     pressure on the lenders to
      improve and remedy the
6
      harms, misrepresentations
7     and fraud committed
8     within their illegal loan
      practices.”); DE 284-8,
9
      Theisman Decl. at Page
10    ID 7485-86, 7592-7652
11    ¶¶ 4.t, 4.u & 4.v.
12    124. The Corporate            Marshall: This Defendant       Undisputed as to
      Defendants’ sales scripts     lacks the knowledge or         Marshall. He does not
13
      instructed sales people to    information and belief to      offer any admissible
14    tell consumers: As you        dispute or declare this fact   evidence capable of
15    look at our “website you      undisputed, as this alleged    controverting the fact at
16    will see a list of some       fact occurred prior to this    issue.
      important case results that   Defendant’s involvement
17
      we have achieved as of        with Advantis Law
18    today.                        Group, P.C. or the other
19    [Brookstone/Advantis] is      individual defendants in
      a Pioneer in Mass Tort        this action.
20
      litigation and all of our
21    landmark cases are still      Foti: DENY - Objections        Undisputed as to Foti.
22    going through the court       (irrelevant; failure to        The fact is relevant. The
23    system. We have had           authenticate; hearsay. No      document(s) are genuine
      some phenomenal results       foundation the documents       and authentic, as
24
      in our individual cases       are genuine, who prepared      established by the
25    and have been able to         them, whether Mr. Foti         evidence the FTC
26    save hundreds of homes        ever received, knew about      submitted in support of
27
      and have achieved many        or had anything to do with     the fact. The evidence is
      confidential settlements.”    them and whether any of        not hearsay because it is
28
      DE 41-2 at Page IDs           them were ever used in         an opposing party’s
                                                130
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      2519 & 2525; DE 284-4,       any presentations to         statement. Finding
3     Chang Decl. at Page ID       consumers.)                  documents on a
4     7248 ¶¶ 4.e & 4.f. See       No evidence DE-41-2 at       receivership computer
5     also Ex. 88 at FTC-RAD-      Page IDS 2519 and 2523       from the defendant’s
      002-0133016 (“Our cases      or Exhs. 86 to 88 were       office or from the
6
      are now proceeding into      used in any presentations    defendants’ premises
7     trial court, and the         to consumers. In             taken over by the
8     numbers of plaintiffs from   addition, the documents      receivership in fact makes
      around the country are       speak for themselves. No     it more likely it was used.
9
      expanding. It may be that    promises are made. All       Foti’s cited evidence does
10    the banks are unable to      clients signed agreements    not address and/or
11    show they own any of         confirming that no           controvert the fact at
12    their promissory notes, or   guarantees were made to      issue.
      that the banks have made     them (Receiver's
13
      errors that will cause       Preliminary Report (DE-
14    other penalties to be        41-4), Exh. 19 pg. 2; Exh.
15    levied against them. In      20, p. 2; DE 17-3,
16
      the case below, the          Kolodziej Decl. at Page
      attorneys have racked up     ID 2022 and 2033; DE
17
      consecutive wins in each     17-3, Kolodziej Decl. at
18    round against the            Page ID 2029 and 2039-
19    Banks.”); Ex. 86 at FTC-     2040; DE 17-3 Kolodziej
      RAD-001-0171364              Decl. at Page ID 2046;
20
      (same); DE 284-8,            DE-6, Rios at Page ID
21    Theisman Decl. at Page       2139; DE 17-6, Rios
22    ID 7485-86, 7592-7608,       Decl. at Page ID 2151;
23    7615-52 ¶¶ 4.t & 4.v.        DE 17-1, Irannejad Decl.
                                   at Page ID 1984; DE 17-
24
                                   1, Irannejad Decl. at
25                                 Page ID 1988; DE 17-1,
26                                 Irannejad at Page ID
                                   1994-95; DE 17-4,
27
                                   Leonido Decl. at Page
28                                 2085; DE 17-4, Leonido

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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   Decl. at Page 2091; DE
3                                  17-7, Lujan Decl. at Page
4                                  ID 2180; DE 17-7, Lujan
5                                  Decl. at Page 2185; DE
                                   17-7, Lujan Decl. at Page
6
                                   ID 2191; DE 17-4, Nava
7                                  Decl. at Page ID 2099;
8                                  DE 17-4, Nava Decl. at
                                   Page ID 2104; DE-17-5,
9
                                   Navarro Decl. at Page ID
10                                 2114; DE 17-5 Navarro
11                                 Decl. at Page ID 2118;
12                                 DE 17-5 Navarro Decl. at
                                   Page ID 2123-24).
13
      125. The Corporate           Marshall: This Defendant       Undisputed as to
14    Defendants’ sales scripts    lacks the knowledge or         Marshall. He does not
15    instructed sales people to   information and belief to      offer any admissible
16    tell consumers:              dispute or declare this fact   evidence capable of
      “[Brookstone                 undisputed, as this alleged    controverting the fact at
17
      Law/Advantis Law] is         fact occurred prior to this    issue.
18    comprised of legal           Defendant’s involvement
19    professionals and            with Advantis Law
      attorneys who specialize     Group, P.C. or the other
20
      in Real Estate and           individual defendants in
21    financial transactions.      this action.
22    Already, these lawyers
23    have filed multiple mass     Foti: DENY - Objections        Undisputed as to Foti.
      tort actions against Bank    (irrelevant; failure to        The fact is relevant. The
24
      of America, JP Morgan        authenticate; hearsay. No      document(s) are genuine
25    Chase, Citibank, GMAC,       foundation the documents       and authentic, as
26    Aurora, Wells Fargo,and      are genuine, who prepared      established by the
27
      numerous individual          them, whether Mr. Foti         evidence the FTC
      complaints”                  ever received, knew about      submitted in support of
28
      DE 41-2 at Page IDs          or had anything to do with     the fact. The evidence is
                                               132
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
      2519 & 2525; DE 284-4,    them and whether any of      not hearsay because it is
3     Chang Decl. at Page ID    them were ever used in       an opposing party’s
4     7248 ¶¶ 4.e & 4.f.        any presentations to         statement. Finding
5                               consumers.)                  documents on a
                                No evidence DE-41-2 at       receivership computer
6
                                Page IDS 2519 and 2523       from the defendant’s
7                               were used in any             office or from the
8                               presentations to             defendants’ premises
                                consumers. In addition,      taken over by the
9
                                the documents speak for      receivership in fact makes
10                              themselves. No promises      it more likely it was used.
11                              are made. All clients        Foti’s cited evidence does
12                              signed agreements            not address and/or
                                confirming that no           controvert the fact at
13
                                guarantees were made to      issue.
14                              them (Receiver's
15                              Preliminary Report (DE-
16
                                41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
17
                                Kolodziej Decl. at Page
18                              ID 2022 and 2033; DE
19                              17-3, Kolodziej Decl. at
                                Page ID 2029 and 2039-
20
                                2040; DE 17-3 Kolodziej
21                              Decl. at Page ID 2046;
22                              DE-6, Rios at Page ID
23                              2139; DE 17-6, Rios
                                Decl. at Page ID 2151;
24
                                DE 17-1, Irannejad Decl.
25                              at Page ID 1984; DE 17-
26                              1, Irannejad Decl. at
                                Page ID 1988; DE 17-1,
27
                                Irannejad at Page ID
28                              1994-95; DE 17-4,

                                           133
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    Leonido Decl. at Page
3                                   2085; DE 17-4, Leonido
4                                   Decl. at Page 2091; DE
5                                   17-7, Lujan Decl. at Page
                                    ID 2180; DE 17-7, Lujan
6
                                    Decl. at Page 2185; DE
7                                   17-7, Lujan Decl. at Page
8                                   ID 2191; DE 17-4, Nava
                                    Decl. at Page ID 2099;
9
                                    DE 17-4, Nava Decl. at
10                                  Page ID 2104; DE-17-5,
11                                  Navarro Decl. at Page ID
12                                  2114; DE 17-5 Navarro
                                    Decl. at Page ID 2118;
13
                                    DE 17-5 Navarro Decl. at
14                                  Page ID 2123-24). Foti
15                                  Decl. 42, 44, 70.
16    126. At least one script      Marshall: This Defendant       Undisputed as to
      instructed sales people to    lacks the knowledge or         Marshall. He does not
17
      tell consumers: “You will     information and belief to      offer any admissible
18    see that the judge has        dispute or declare this fact   evidence capable of
19    stated in court, that the     undisputed, as this alleged    controverting the fact at
      whole matter is of intense    fact occurred prior to this    issue.
20
      interest of the U.S.          Defendant’s involvement
21    congress, as well as the      with Advantis Law
22    central bank. Now             Group, P.C. or the other
23    (Name) if some of the         individual defendants in
      claims pressed are proven     this action.
24
      and successful and a
25    request to be tried in a      Foti: DENY - Objections        Undisputed as to Foti.
26    jury court is achieved, the   (irrelevant; failure to        The fact is relevant. The
27
      judge states that the         authenticate; hearsay. No      document(s) are genuine
      punitive damages or           foundation the documents       and authentic, as
28
      reasonable outcome of the     are genuine, who prepared      established by the
                                                134
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      case would be a judgment    them, whether Mr. Foti       evidence the FTC
3     and or settlement would     ever received, knew about    submitted in support of
4     be in the billions. So as   or had anything to do with   the fact. The evidence is
5     you can see this case is    them and whether any of      not hearsay because it is
      starting to get a lot of    them were ever used in       an opposing party’s
6
      attention and we are        any presentations to         statement. Finding
7     achieving very serious      consumers.)                  documents on a
8     results.”                   No evidence Ex. 86 was       receivership computer
      Ex. 86 at FTC-RAD-001-      used in any presentations    from the defendant’s
9
      0171364; DE 284-8,          to consumers. In             office or from the
10    Theisman Decl. at Page      addition, the documents      defendants’ premises
11    ID 7485, 7592-7608 ¶ 4.t.   speak for themselves. No     taken over by the
12                                promises are made. All       receivership in fact makes
                                  clients signed agreements    it more likely it was used.
13
                                  confirming that no           Foti’s cited evidence does
14                                guarantees were made to      not address and/or
15                                them (Receiver's             controvert the fact at
16
                                  Preliminary Report (DE-      issue.
                                  41-4), Exh. 19 pg. 2; Exh.
17
                                  20, p. 2; DE 17-3,
18                                Kolodziej Decl. at Page
19                                ID 2022 and 2033; DE
                                  17-3, Kolodziej Decl. at
20
                                  Page ID 2029 and 2039-
21                                2040; DE 17-3 Kolodziej
22                                Decl. at Page ID 2046;
23                                DE-6, Rios at Page ID
                                  2139; DE 17-6, Rios
24
                                  Decl. at Page ID 2151;
25                                DE 17-1, Irannejad Decl.
26                                at Page ID 1984; DE 17-
                                  1, Irannejad Decl. at
27
                                  Page ID 1988; DE 17-1,
28                                Irannejad at Page ID

                                             135
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   1994-95; DE 17-4,
3                                  Leonido Decl. at Page
4                                  2085; DE 17-4, Leonido
5                                  Decl. at Page 2091; DE
                                   17-7, Lujan Decl. at Page
6
                                   ID 2180; DE 17-7, Lujan
7                                  Decl. at Page 2185; DE
8                                  17-7, Lujan Decl. at Page
                                   ID 2191; DE 17-4, Nava
9
                                   Decl. at Page ID 2099;
10                                 DE 17-4, Nava Decl. at
11                                 Page ID 2104; DE-17-5,
12                                 Navarro Decl. at Page ID
                                   2114; DE 17-5 Navarro
13
                                   Decl. at Page ID 2118;
14                                 DE 17-5 Navarro Decl. at
15                                 Page ID 2123-24).
16    127. The Corporate           Marshall: This Defendant       Undisputed as to
      Defendants’ sales scripts    lacks the knowledge or         Marshall. He does not
17
      instructed sales people to   information and belief to      offer any admissible
18    tell consumers: “The         dispute or declare this fact   evidence capable of
19    five major banking           undisputed, as this alleged    controverting the fact at
      institutions have admitted   fact occurred prior to this    issue.
20
      to wrongdoing and have       Defendant’s involvement
21    reached a settlement with    with Advantis Law
22    all fifty state Attorney     Group, P.C. or the other
23    Generals. These actions      individual defendants in
      have placed increased        this action.
24
      pressure on the lenders to
25    improve and remedy the       Foti: DENY - Objections        Undisputed as to Foti.
26    harms, misrepresentations    (irrelevant; failure to        The fact is relevant. The
27
      and fraud committed          authenticate; hearsay. No      document(s) are genuine
      within their illegal loan    foundation the documents       and authentic, as
28
      practices.”                  are genuine, who prepared      established by the
                                               136
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      Ex. 88 at FTC-RAD-002-      them, whether Mr. Foti       evidence the FTC
3     0133014; DE 284-8,          ever received, knew about    submitted in support of
4     Theisman Decl. at Page      or had anything to do with   the fact. The evidence is
5     ID 7486, 7615-7652 ¶ 4.v.   them and whether any of      not hearsay because it is
                                  them were ever used in       an opposing party’s
6
                                  any presentations to         statement. Finding
7                                 consumers.)                  documents on a
8                                 No evidence Ex. 88 was       receivership computer
                                  used in any presentations    from the defendant’s
9
                                  to consumers. In             office or from the
10                                addition, the documents      defendants’ premises
11                                speak for themselves. No     taken over by the
12                                promises are made. All       receivership in fact makes
                                  clients signed agreements    it more likely it was used.
13
                                  confirming that no           Foti’s cited evidence does
14                                guarantees were made to      not address and/or
15                                them (Receiver's             controvert the fact at
16
                                  Preliminary Report (DE-      issue.
                                  41-4), Exh. 19 pg. 2; Exh.
17
                                  20, p. 2; DE 17-3,
18                                Kolodziej Decl. at Page
19                                ID 2022 and 2033; DE
                                  17-3, Kolodziej Decl. at
20
                                  Page ID 2029 and 2039-
21                                2040; DE 17-3 Kolodziej
22                                Decl. at Page ID 2046;
23                                DE-6, Rios at Page ID
                                  2139; DE 17-6, Rios
24
                                  Decl. at Page ID 2151;
25                                DE 17-1, Irannejad Decl.
26                                at Page ID 1984; DE 17-
                                  1, Irannejad Decl. at
27
                                  Page ID 1988; DE 17-1,
28                                Irannejad at Page ID

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 1994-95; DE 17-4,
3                                Leonido Decl. at Page
4                                2085; DE 17-4, Leonido
5                                Decl. at Page 2091; DE
                                 17-7, Lujan Decl. at Page
6
                                 ID 2180; DE 17-7, Lujan
7                                Decl. at Page 2185; DE
8                                17-7, Lujan Decl. at Page
                                 ID 2191; DE 17-4, Nava
9
                                 Decl. at Page ID 2099;
10                               DE 17-4, Nava Decl. at
11                               Page ID 2104; DE-17-5,
12                               Navarro Decl. at Page ID
                                 2114; DE 17-5 Navarro
13
                                 Decl. at Page ID 2118;
14                               DE 17-5 Navarro Decl. at
15                               Page ID 2123-24).
16
                                 Thurman Decl.,
                                 Attachment 65 (state
17
                                 settlements)
18    128. The Corporate         Marshall: This Defendant       Undisputed as to
19    Defendants’ sales scripts lacks the knowledge or          Marshall. He does not
      instructed sales people to information and belief to      offer any admissible
20
      tell consumers: “Our       dispute or declare this fact   evidence capable of
21    cases are now proceeding undisputed, as this alleged      controverting the fact at
22    into trial court, and the  fact occurred prior to this    issue.
23    numbers of plaintiffs from Defendant’s involvement
      around the country are     with Advantis Law
24
      expanding. It may be that Group, P.C. or the other
25    the banks are unable to    individual defendants in
26    show they own any of       this action.
27
      their promissory notes, or
      that the banks have made Foti: DENY - Objections          Undisputed as to Foti.
28
      errors that will cause     (irrelevant; failure to        The fact is relevant. The
                                             138
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 142 of 402 Page ID
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      other penalties to be       authenticate; hearsay. No    document(s) are genuine
3     levied against them. In     foundation the documents     and authentic, as
4     the case below, the         are genuine, who prepared    established by the
5     attorneys have racked up    them, whether Mr. Foti       evidence the FTC
      consecutive wins in each    ever received, knew about    submitted in support of
6
      round against the Banks.”   or had anything to do with   the fact. The evidence is
7     Ex. 88 at FTC-RAD-002-      them and whether any of      not hearsay because it is
8     0133016; DE 284-8,          them were ever used in       an opposing party’s
      Theisman Decl. at Page      any presentations to         statement. Finding
9
      ID 7486, 7615-7652 ¶ 4.v.   consumers.)                  documents on a
10                                No evidence Ex. 88 was       receivership computer
11                                used in any presentations    from the defendant’s
12                                to consumers. In             office or from the
                                  addition, the documents      defendants’ premises
13
                                  speak for themselves. No     taken over by the
14                                promises are made. All       receivership in fact makes
15                                clients signed agreements    it more likely it was used.
16
                                  confirming that no           Foti’s cited evidence does
                                  guarantees were made to      not address and/or
17
                                  them (Receiver's             controvert the fact at
18                                Preliminary Report (DE-      issue.
19                                41-4), Exh. 19 pg. 2; Exh.
                                  20, p. 2; DE 17-3,
20
                                  Kolodziej Decl. at Page
21                                ID 2022 and 2033; DE
22                                17-3, Kolodziej Decl. at
23                                Page ID 2029 and 2039-
                                  2040; DE 17-3 Kolodziej
24
                                  Decl. at Page ID 2046;
25                                DE-6, Rios at Page ID
26                                2139; DE 17-6, Rios
                                  Decl. at Page ID 2151;
27
                                  DE 17-1, Irannejad Decl.
28                                at Page ID 1984; DE 17-

                                             139
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
                                  1, Irannejad Decl. at
3                                 Page ID 1988; DE 17-1,
4                                 Irannejad at Page ID
5                                 1994-95; DE 17-4,
                                  Leonido Decl. at Page
6
                                  2085; DE 17-4, Leonido
7                                 Decl. at Page 2091; DE
8                                 17-7, Lujan Decl. at Page
                                  ID 2180; DE 17-7, Lujan
9
                                  Decl. at Page 2185; DE
10                                17-7, Lujan Decl. at Page
11                                ID 2191; DE 17-4, Nava
12                                Decl. at Page ID 2099;
                                  DE 17-4, Nava Decl. at
13
                                  Page ID 2104; DE-17-5,
14                                Navarro Decl. at Page ID
15                                2114; DE 17-5 Navarro
16
                                  Decl. at Page ID 2118;
                                  DE 17-5 Navarro Decl. at
17
                                  Page ID 2123-24).
18    129. Over the phone,        Marshall: This Defendant       Undisputed as to
19    Advantis sales people       lacks the knowledge or         Marshall. He does not
      would claim Wright as       information and belief to      offer any admissible
20
      Advantis’, pointing the     dispute or declare this fact   evidence capable of
21    caller to the Advantis      undisputed, as this alleged    controverting the fact at
22    website and saying: “As     fact occurred prior to this    issue.
23    you scroll down [the        Defendant’s involvement
      website] you will see one   with Advantis Law
24
      of our prominent cases      Group, P.C. or the other
25    called Wright v. Bank of    individual defendants in
26    America. Do you see it?     this action.
27
      [YES] Great, the Wright
      case is probably one of     Foti: DENY - Objections        Undisputed as to Foti.
28
      the most controversial      (irrelevant; failure to        The fact is relevant. The
                                              140
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      existing Mass Torts           authenticate; hearsay. No    document(s) are genuine
3     against a major lender in     foundation the documents     and authentic, as
4     the nation, . . . If you      are genuine, who prepared    established by the
5     scroll down you will be       them, whether Mr. Foti       evidence the FTC
      able to find the many         ever received, knew about    submitted in support of
6
      amendments that we have       or had anything to do with   the fact. The evidence is
7     collectively filed with our   them and whether any of      not hearsay because it is
8     associate counsel             them were ever used in       an opposing party’s
      Brookstone Law.”              any presentations to         statement. Finding
9
      DE 41-2 at Page ID            consumers.)                  documents on a
10    2525; DE 284-4, Chang         No evidence DE 41-2 at       receivership computer
11    Decl. at Page ID 7248 ¶       Page ID 2525 was used in     from the defendant’s
12    4.f.                          any presentations to         office or from the
                                    consumers. In addition,      defendants’ premises
13
                                    the documents speak for      taken over by the
14                                  themselves. No promises      receivership in fact makes
15                                  are made. All clients        it more likely it was used.
16
                                    signed agreements            Foti’s cited evidence does
                                    confirming that no           not address and/or
17
                                    guarantees were made to      controvert the fact at
18                                  them (Receiver's             issue.
19                                  Preliminary Report (DE-
                                    41-4), Exh. 19 pg. 2; Exh.
20
                                    20, p. 2; DE 17-3,
21                                  Kolodziej Decl. at Page
22                                  ID 2022 and 2033; DE
23                                  17-3, Kolodziej Decl. at
                                    Page ID 2029 and 2039-
24
                                    2040; DE 17-3 Kolodziej
25                                  Decl. at Page ID 2046;
26                                  DE-6, Rios at Page ID
                                    2139; DE 17-6, Rios
27
                                    Decl. at Page ID 2151;
28                                  DE 17-1, Irannejad Decl.

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 at Page ID 1984; DE 17-
3                                1, Irannejad Decl. at
4                                Page ID 1988; DE 17-1,
5                                Irannejad at Page ID
                                 1994-95; DE 17-4,
6
                                 Leonido Decl. at Page
7                                2085; DE 17-4, Leonido
8                                Decl. at Page 2091; DE
                                 17-7, Lujan Decl. at Page
9
                                 ID 2180; DE 17-7, Lujan
10                               Decl. at Page 2185; DE
11                               17-7, Lujan Decl. at Page
12                               ID 2191; DE 17-4, Nava
                                 Decl. at Page ID 2099;
13
                                 DE 17-4, Nava Decl. at
14                               Page ID 2104; DE-17-5,
15                               Navarro Decl. at Page ID
16
                                 2114; DE 17-5 Navarro
                                 Decl. at Page ID 2118;
17
                                 DE 17-5 Navarro Decl. at
18                               Page ID 2123-24).
19    130. Over the phone,       Marshall: This Defendant       Undisputed as to
      Advantis sales people      lacks the knowledge or         Marshall. He does not
20
      would say “we have         information and belief to      offer any admissible
21    teamed up with             dispute or declare this fact   evidence capable of
22    Brookstone Law on this     undisputed, as this alleged    controverting the fact at
23    very High profile case and fact occurred prior to this    issue.
      have associated on many Defendant’s involvement
24
      other cases.”              with Advantis Law
25    DE 41-2 at Page ID         Group, P.C. or the other
26    2525; DE 284-4, Chang      individual defendants in
27
      Decl. at Page ID 7248 ¶    this action.
      4.f.
28
                                 Foti: DENY - Objections        Undisputed as to Foti.
                                             142
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                (irrelevant; failure to      The fact is relevant. The
3                               authenticate; hearsay. No    document(s) are genuine
4                               foundation the documents     and authentic, as
5                               are genuine, who prepared    established by the
                                them, whether Mr. Foti       evidence the FTC
6
                                ever received, knew about    submitted in support of
7                               or had anything to do with   the fact. The evidence is
8                               them and whether any of      not hearsay because it is
                                them were ever used in       an opposing party’s
9
                                any presentations to         statement. Finding
10                              consumers.)                  documents on a
11                              No evidence DE 41-2 at       receivership computer
12                              Page ID 2525 was used in     from the defendant’s
                                any presentations to         office or from the
13
                                consumers. In addition,      defendants’ premises
14                              the documents speak for      taken over by the
15                              themselves. No promises      receivership in fact makes
16
                                are made. All clients        it more likely it was used.
                                signed agreements            Foti’s cited evidence does
17
                                confirming that no           not address and/or
18                              guarantees were made to      controvert the fact at
19                              them (Receiver's             issue.
                                Preliminary Report (DE-
20
                                41-4), Exh. 19 pg. 2; Exh.
21                              20, p. 2; DE 17-3,
22                              Kolodziej Decl. at Page
23                              ID 2022 and 2033; DE
                                17-3, Kolodziej Decl. at
24
                                Page ID 2029 and 2039-
25                              2040; DE 17-3 Kolodziej
26                              Decl. at Page ID 2046;
                                DE-6, Rios at Page ID
27
                                2139; DE 17-6, Rios
28                              Decl. at Page ID 2151;

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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  DE 17-1, Irannejad Decl.
3                                 at Page ID 1984; DE 17-
4                                 1, Irannejad Decl. at
5                                 Page ID 1988; DE 17-1,
                                  Irannejad at Page ID
6
                                  1994-95; DE 17-4,
7                                 Leonido Decl. at Page
8                                 2085; DE 17-4, Leonido
                                  Decl. at Page 2091; DE
9
                                  17-7, Lujan Decl. at Page
10                                ID 2180; DE 17-7, Lujan
11                                Decl. at Page 2185; DE
12                                17-7, Lujan Decl. at Page
                                  ID 2191; DE 17-4, Nava
13
                                  Decl. at Page ID 2099;
14                                DE 17-4, Nava Decl. at
15                                Page ID 2104; DE-17-5,
16
                                  Navarro Decl. at Page ID
                                  2114; DE 17-5 Navarro
17
                                  Decl. at Page ID 2118;
18                                DE 17-5 Navarro Decl. at
19                                Page ID 2123-24).
      131. Another document, Marshall: This Defendant            Undisputed as to
20
      titled “Objection           lacks the knowledge or         Marshall. He does not
21    Techniques,” instructed     information and belief to      offer any admissible
22    sales people, when          dispute or declare this fact   evidence capable of
23    challenged on how much undisputed, as this alleged         controverting the fact at
      the mass joinder was        fact occurred prior to this    issue.
24
      going to cost, to say: “So Defendant’s involvement
25    what your saying is that    with Advantis Law
26    you want to [sic] the most Group, P.C. or the other
27
      cost effective program      individual defendants in
      available, the fact is that this action.
28
      Brookstone law has been
                                              144
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      assisting homeowners like     Foti: DENY - Objections      Undisputed as to Foti.
3     you for many years, what      (irrelevant; failure to      The fact is relevant. The
4     this means to you is that     authenticate; hearsay. No    document(s) are genuine
5     we have helped thousands      foundation the documents     and authentic, as
      of homeowners save their      are genuine, who prepared    established by the
6
      homes either through          them, whether Mr. Foti       evidence the FTC
7     litigation, bankruptcy, or    ever received, knew about    submitted in support of
8     some other form of legal      or had anything to do with   the fact. The evidence is
      aide [sic], and you do        them and whether any of      not hearsay because it is
9
      want to you’re your home      them were ever used in       an opposing party’s
10    don’t you?” The               any presentations to         statement. Finding
11    Objection Techniques          consumers.)                  documents on a
12    document also instructed      No evidence DE 41-2 at       receivership computer
      sales people to tell a        Page ID 2525 was used in     from the defendant’s
13
      customer who didn’t want      any presentations to         office or from the
14    to pay anything because       consumers. In addition,      defendants’ premises
15    they were tired of losing     the documents speak for      taken over by the
16
      money on their property:      themselves. No promises      receivership in fact makes
      “Sir, I know exactly how      are made. All clients        it more likely it was used.
17
      you feel and the bottom       signed agreements            Foti’s cited evidence does
18    line is, if we can’t custom   confirming that no           not address and/or
19    tailor a program that         guarantees were made to      controvert the fact at
      benefits you and your         them (Receiver's             issue.
20
      family we won’t get to        Preliminary Report (DE-
21    write and you won’t sign      41-4), Exh. 19 pg. 2; Exh.
22    it correct?”                  20, p. 2; DE 17-3,
23    DE 41-2 at Page ID            Kolodziej Decl. at Page
      2529; DE 284-4, Chang         ID 2022 and 2033; DE
24
      Decl. at Page ID 7248 ¶       17-3, Kolodziej Decl. at
25    4.g.                          Page ID 2029 and 2039-
26                                  2040; DE 17-3 Kolodziej
                                    Decl. at Page ID 2046;
27
                                    DE-6, Rios at Page ID
28                                  2139; DE 17-6, Rios

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 Decl. at Page ID 2151;
3                                DE 17-1, Irannejad Decl.
4                                at Page ID 1984; DE 17-
5                                1, Irannejad Decl. at
                                 Page ID 1988; DE 17-1,
6
                                 Irannejad at Page ID
7                                1994-95; DE 17-4,
8                                Leonido Decl. at Page
                                 2085; DE 17-4, Leonido
9
                                 Decl. at Page 2091; DE
10                               17-7, Lujan Decl. at Page
11                               ID 2180; DE 17-7, Lujan
12                               Decl. at Page 2185; DE
                                 17-7, Lujan Decl. at Page
13
                                 ID 2191; DE 17-4, Nava
14                               Decl. at Page ID 2099;
15                               DE 17-4, Nava Decl. at
16
                                 Page ID 2104; DE-17-5,
                                 Navarro Decl. at Page ID
17
                                 2114; DE 17-5 Navarro
18                               Decl. at Page ID 2118;
19                               DE 17-5 Navarro Decl. at
                                 Page ID 2123-24).
20
      132. In another            Marshall: This Defendant       Undisputed as to
21    document, sales people     lacks the knowledge or         Marshall. He does not
22    are directed to address    information and belief to      offer any admissible
23    questions about whether    dispute or declare this fact   evidence capable of
      the mass joinder is better undisputed, as this alleged    controverting the fact at
24
      or different than a loan   fact occurred prior to this    issue.
25    modification by stating:   Defendant’s involvement
26    “Over the past few years   with Advantis Law
27
      we have taken the steps to Group, P.C. or the other
      build solid relationships  individual defendants in
28
      with the major banking     this action.
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1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      institutions to provide our
3     clients with the relief they   Foti: DENY - Objections      Undisputed as to Foti.
4     seek. By Having the            (irrelevant; failure to      The fact is relevant. The
5     backing of a                   authenticate; hearsay. No    document(s) are genuine
      REPUTABLE law Firm             foundation the documents     and authentic, as
6
      that has formed a strong       are genuine, who prepared    established by the
7     relationship with the          them, whether Mr. Foti       evidence the FTC
8     lenders as we have, you        ever received, knew about    submitted in support of
      can rest assured that we       or had anything to do with   the fact. The evidence is
9
      will be able to get you and    them and whether any of      not hearsay because it is
10    your family a permanent        them were ever used in       an opposing party’s
11    solution.”                     any presentations to         statement. Finding
12    Ex. 88 at FTC-RAD-002-         consumers.)                  documents on a
      0133025; DE 284-8,             No evidence Ex. 88 was       receivership computer
13
      Theisman Decl. at Page         used in any presentations    from the defendant’s
14    ID 7486, 7615-7652 ¶ 4.v.      to consumers. In             office or from the
15                                   addition, the documents      defendants’ premises
16
                                     speak for themselves. No     taken over by the
                                     promises are made. All       receivership in fact makes
17
                                     clients signed agreements    it more likely it was used.
18                                   confirming that no           Foti’s cited evidence does
19                                   guarantees were made to      not address and/or
                                     them (Receiver's             controvert the fact at
20
                                     Preliminary Report (DE-      issue.
21                                   41-4), Exh. 19 pg. 2; Exh.
22                                   20, p. 2; DE 17-3,
23                                   Kolodziej Decl. at Page
                                     ID 2022 and 2033; DE
24
                                     17-3, Kolodziej Decl. at
25                                   Page ID 2029 and 2039-
26                                   2040; DE 17-3 Kolodziej
                                     Decl. at Page ID 2046;
27
                                     DE-6, Rios at Page ID
28                                   2139; DE 17-6, Rios

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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                Decl. at Page ID 2151;
3                               DE 17-1, Irannejad Decl.
4                               at Page ID 1984; DE 17-
5                               1, Irannejad Decl. at
                                Page ID 1988; DE 17-1,
6
                                Irannejad at Page ID
7                               1994-95; DE 17-4,
8                               Leonido Decl. at Page
                                2085; DE 17-4, Leonido
9
                                Decl. at Page 2091; DE
10                              17-7, Lujan Decl. at Page
11                              ID 2180; DE 17-7, Lujan
12                              Decl. at Page 2185; DE
                                17-7, Lujan Decl. at Page
13
                                ID 2191; DE 17-4, Nava
14                              Decl. at Page ID 2099;
15                              DE 17-4, Nava Decl. at
16
                                Page ID 2104; DE-17-5,
                                Navarro Decl. at Page ID
17
                                2114; DE 17-5 Navarro
18                              Decl. at Page ID 2118;
19                              DE 17-5 Navarro Decl. at
                                Page ID 2123-24).
20
      133. The scripts and      Marshall: This Defendant       Undisputed as to
21    email correspondence      lacks the knowledge or         Marshall. He does not
22    with the sales people     information and belief to      offer any admissible
23    emphasize that the sales  dispute or declare this fact   evidence capable of
      people were supposed to   undisputed, as this alleged    controverting the fact at
24
      ask about consumers’      fact occurred prior to this    issue.
25    “harms”—why consumers Defendant’s involvement
26    were falling behind on    with Advantis Law
27
      their mortgage or feel    Group, P.C. or the other
      they were harmed by their individual defendants in
28
      banks—and then to         this action.
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      “repeat the harms” and
3     state that because of the    Foti: DENY - Objections      Undisputed as to Foti.
4     “strength of your case”      (irrelevant; failure to      The fact is relevant. The
5     the consumer should          authenticate; hearsay. No    document(s) are genuine
      come in for an in person     foundation the documents     and authentic, as
6
      meeting to further discuss   are genuine, who prepared    established by the
7     the mass joinder             them, whether Mr. Foti       evidence the FTC
8     litigation.                  ever received, knew about    submitted in support of
      DE 41-2 at Page IDs          or had anything to do with   the fact. The evidence is
9
      2518 & 2524 (directing       them and whether any of      not hearsay because it is
10    sales people to ask “Do      them were ever used in       an opposing party’s
11    you feel that you have       any presentations to         statement. Finding
12    been harmed,                 consumers.)                  documents on a
      misrepresented or            No evidence DE 41-2 at       receivership computer
13
      defrauded by your            Page IDs 2518 & 2524,        from the defendant’s
14    lender,” and directing       Exhs. 87 and 88 or FTC-      office or from the
15    them to say, “IF HAVE        RAD-002-0411571 were         defendants’ premises
16
      HARMS REPEAT (LH1,           used in any presentations    taken over by the
      LH2, LH3) back to them.      to consumers. In             receivership in fact makes
17
      ‘Due to the fact you have    addition, the documents      it more likely it was used.
18    LH1, LH2, and LH3 we         speak for themselves. No     Foti’s cited evidence does
19    believe you can be a         promises are made. All       not address and/or
      possible candidate for our   clients signed agreements    controvert the fact at
20
      program’.”); Ex. 87 at       confirming that no           issue.
21    FTC-RAD-001-0089958          guarantees were made to
22    (“The legal department       them (Receiver's
23    has informed me that due     Preliminary Report (DE-
      to the strength of your      41-4), Exh. 19 pg. 2; Exh.
24
      case they would like to      20, p. 2; DE 17-3,
25    schedule a time to have      Kolodziej Decl. at Page
26    you come down to our         ID 2022 and 2033; DE
      office to meet with the      17-3, Kolodziej Decl. at
27
      attorney at no charge to     Page ID 2029 and 2039-
28    go over your potential       2040; DE 17-3 Kolodziej

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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      case as soon as                Decl. at Page ID 2046;
3     possible.”); Ex. 88 at         DE-6, Rios at Page ID
4     FTC-RAD-002-0133018            2139; DE 17-6, Rios
5     (“Legal has informed that      Decl. at Page ID 2151;
      due to the strength of your    DE 17-1, Irannejad Decl.
6
      case you are able to           at Page ID 1984; DE 17-
7     proceed further with the       1, Irannejad Decl. at
8     litigation process. . . .”);   Page ID 1988; DE 17-1,
      DE 284-8, Theisman             Irannejad at Page ID
9
      Decl. at Page ID 7486,         1994-95; DE 17-4,
10    7609-7652 ¶¶ 4.u & 4.v;        Leonido Decl. at Page
11    id. DE 284-8, Page ID          2085; DE 17-4, Leonido
12    7489, DE 284-12, Page          Decl. at Page 2091; DE
      ID 7972 at ¶ 4.uuuu            17-7, Lujan Decl. at Page
13
      (authenticating and            ID 2180; DE 17-7, Lujan
14    attaching FTC-RAD-002-         Decl. at Page 2185; DE
15    0411571, an email from         17-7, Lujan Decl. at Page
16
      Todd Siedel to Banking         ID 2191; DE 17-4, Nava
      Specialists, cc’ing Foti,      Decl. at Page ID 2099;
17
      stating: “Going forward        DE 17-4, Nava Decl. at
18    it is imperative you do        Page ID 2104; DE-17-5,
19    your job correctly,            Navarro Decl. at Page ID
      REPEAT THE HARMS!              2114; DE 17-5 Navarro
20
      DUE TO THE                     Decl. at Page ID 2118;
21    STRENGTH OF YOUR               DE 17-5 Navarro Decl. at
22    CASE!”).                       Page ID 2123-24).
23    134. Brookstone’s ethics       Marshall: This Defendant       Undisputed as to
      counsel warned that            lacks the knowledge or         Marshall. He does not
24
      Brookstone may have            information and belief to      offer any admissible
25    been improperly playing        dispute or declare this fact   evidence capable of
26    on potential clients’          undisputed, as this alleged    controverting the fact at
27
      emotions:                      fact occurred prior to this    issue.
      “For instance, in the          Defendant’s involvement
28
      document entitled ‘CLR         with Advantis Law
                                                 150
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1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      Work Flow – Resource           Group, P.C. or the other
3     Management Temp’,              individual defendants in
4     Brookstone directs client      this action.
5     litigation representatives
      to listen for ‘emotions and    Foti: DENY - Objections      Undisputed as to Foti.
6
      clients pains brought on       (irrelevant; failure to      The fact is relevant. The
7     by bank and [to] notate        authenticate; hearsay;       document(s) are genuine
8     them on intake form.           subject to attorney-client   and authentic, as
      LISTEN! LISTEN!                communication and work       established by the
9
      LISTEN!.’ This could be        product privilege asserted   evidence the FTC
10    taken to suggest               previously by Mr.            submitted in support of
11    Brookstone is evaluating       Torchia. No foundation       the fact. The evidence is
12    and directing its efforts at   the documents are            not hearsay to the extent
      those who are in a             genuine, who prepared        not offered for the truth of
13
      suffering emotional state.     them, whether Mr. Foti       the matter asserted. All
14    There is a risk that           ever received, knew about    parties potentially holding
15    communications by              or had anything to do with   a relevant attorney-client
16
      Brookstone personnel           them and whether any of      privilege have waived that
      could come under               them were ever used in       privilege. See Madden 8-
17
      Standard 3 of CRPC 1-          any presentations to         14-17 Decl. ¶ 5.
18    400. Standard 3 presumes       consumers. In addition,      Foti’s cited evidence does
19    a violation if a               advice related to            not controvert the fact at
      communication is               supervision of               issue.
20
      ‘delivered to a potential      nonattorneys regarding
21    client whom the member         the dispensation of "legal
22    knows or should                advice" under state ethics
23    reasonably know is in          laws, not any claims
      such a physical,               relating to this action.)
24
      emotional, or mental state     Thurman Decl.,
25    that he or she would not       Attachment 54 (Vito
26    be expected to exercise        clawback request - FTC-
      reasonable judgment as to      RFP-0149575-0149576)
27
      the retention of counsel.’
28    We have not looked into

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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      whether any behavior
3     could violate other laws,
4     such as elder abuse laws.
5     The language above
      highlights the care that
6
      must be taken when
7     creating and reviewing
8     scripts.”
      DE 284-8, Theisman
9
      Decl. at Page ID 7487 ¶
10    4.hhh.
11    135. CLR Work Flow          Marshall: This Defendant       Undisputed as to
12    document states: “CLR       lacks the knowledge or         Marshall. He does not
      listens for emotions and    information and belief to      offer any admissible
13
      clients pains brought on    dispute or declare this fact   evidence capable of
14    by bank and will notate     undisputed, as this alleged    controverting the fact at
15    them on intake form.        fact occurred prior to this    issue.
16    LISTEN! LISTEN!             Defendant’s involvement
      LISTEN!”                    with Advantis Law
17
      Ex. 86 at FTC-RAD-001-      Group, P.C. or the other
18    0171366; DE 284-8,          individual defendants in
19    Theisman Decl. at Page      this action.
      ID 7485, 7592-7608 ¶ 4.t.
20
                                  Foti: DENY - Objections        Undisputed as to Foti.
21                                (irrelevant; failure to        The fact is relevant. The
22                                authenticate; hearsay. No      document(s) are genuine
23                                foundation the documents       and authentic, as
                                  are genuine, who prepared      established by the
24
                                  them, whether Mr. Foti         evidence the FTC
25                                ever received, knew about      submitted in support of
26                                or had anything to do with     the fact. The evidence is
27
                                  them and whether any of        not hearsay because it is
                                  them were ever used in         an opposing party’s
28
                                  any presentations to           statement. Finding
                                              152
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                consumers.)                  documents on a
3                               No evidence Exh. 86 was      receivership computer
4                               used in any presentations    from the defendant’s
5                               to consumers. In             office or from the
                                addition, the documents      defendants’ premises
6
                                speak for themselves. No     taken over by the
7                               promises are made. All       receivership in fact makes
8                               clients signed agreements    it more likely it was used.
                                confirming that no           Foti’s cited evidence does
9
                                guarantees were made to      not address and/or
10                              them (Receiver's             controvert the fact at
11                              Preliminary Report (DE-      issue.
12                              41-4), Exh. 19 pg. 2; Exh.
                                20, p. 2; DE 17-3,
13
                                Kolodziej Decl. at Page
14                              ID 2022 and 2033; DE
15                              17-3, Kolodziej Decl. at
16
                                Page ID 2029 and 2039-
                                2040; DE 17-3 Kolodziej
17
                                Decl. at Page ID 2046;
18                              DE-6, Rios at Page ID
19                              2139; DE 17-6, Rios
                                Decl. at Page ID 2151;
20
                                DE 17-1, Irannejad Decl.
21                              at Page ID 1984; DE 17-
22                              1, Irannejad Decl. at
23                              Page ID 1988; DE 17-1,
                                Irannejad at Page ID
24
                                1994-95; DE 17-4,
25                              Leonido Decl. at Page
26                              2085; DE 17-4, Leonido
                                Decl. at Page 2091; DE
27
                                17-7, Lujan Decl. at Page
28                              ID 2180; DE 17-7, Lujan

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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   Decl. at Page 2185; DE
3                                  17-7, Lujan Decl. at Page
4                                  ID 2191; DE 17-4, Nava
5                                  Decl. at Page ID 2099;
                                   DE 17-4, Nava Decl. at
6
                                   Page ID 2104; DE-17-5,
7                                  Navarro Decl. at Page ID
8                                  2114; DE 17-5 Navarro
                                   Decl. at Page ID 2118;
9
                                   DE 17-5 Navarro Decl. at
10                                 Page ID 2123-24).
11
            a.      The Corporate Defendants Convinced Consumers to Pay Advance
12               Fees.
13    136. Consumers were          Marshall: This Defendant       Undisputed as to
14    told they were likely to     lacks the knowledge or         Marshall. He does not
15
      prevail in their mass        information and belief to      offer any admissible
      joinder litigation.          dispute or declare this fact   evidence capable of
16
      DE 186-4, Torchia Decl.      undisputed, as this alleged    controverting the fact at
17    at Page ID 5373-75, ¶¶ 9-    fact occurred prior to this    issue.
18    14, and Page ID 5384-88      Defendant’s involvement
      (legal analysis would tell   with Advantis Law
19
      clients they had claims);    Group, P.C. or the other
20    DE 17-2, Kolodziej Decl.     individual defendants in
21    at Page ID 1999-2000, ¶      this action.
22    8, and Page ID 2005-10;
      DE 17-6, Rios Decl. at       Foti: DENY - Objections        Undisputed as to Foti.
23
      Page ID 2132, ¶ 7, and       (irrelevant; hearsay; lack     The fact is relevant. The
24    Page ID 2142-47; DE 17-      of personal knowledge          evidence is not hearsay
25    1, Irannejad Decl. at        based on witness'              because it is either
      Page ID 1977, ¶¶ 9-12;       testimony ("My                 statements based on
26
      DE 17, C. Durrett Decl.      understanding is that ...")    personal knowledge or an
27    at Page ID 1968, ¶ 11;       No basis stated for            opposing party’s
28    DE 17, Chapman Decl. at      declarant's                    statement. Torchia’s
      Page ID 1945, ¶¶ 4-5;        "understanding."               statements include proper
                                               154
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      DE 17-4, Leonido Decl. at   Acknowledges he did not      foundation, as one of the
3     Page ID 2077, ¶¶ 8-9;       "complete," "produce or      control people of the
4     DE 17-7, Lujan Decl. at     review" any of the the       business and its activities.
5     Page ID 2170, ¶¶ 7-8;       legal analysis reports; no   Dr. Isaacson’s report is
      DE 17-4, Nava Decl. at      evidence of Mr. Foti 's      appropriate expert
6
      Page ID 2095, ¶¶ 6-7;       knowledge or                 testimony under Rule 702
7     DE 17-5, Navarro Decl.      involvement; Expert          and so is both admissible
8     at Page ID 2108, ¶ 5; DE    Report: Fails to comply      and does not constitute
      284-6, Expert Report        with FRE 702 and the         hearsay.
9
      Submitted by Dr. Bruce      Daubert standard; double            Foti’s cited
10    Isaacson Measuring the      hearsay.)                    evidence does not address
11    Experiences of              The documents speak for      or controvert the fact at
12    Consumers Who Retained      themselves. No promises      issue.
      Brookstone Law Firm         are made. All clients
13
      (“Isaacson Expert           signed agreements
14    Report”) at Page ID 7303    confirming that no
15    ¶ 2.i.                      guarantees were made to
16
                                  them (Receiver's
                                  Preliminary Report (DE-
17
                                  41-4), Exh. 19 pg. 2; Exh.
18                                20, p. 2; DE 17-3,
19                                Kolodziej Decl. at Page
                                  ID 2022 and 2033; DE
20
                                  17-3, Kolodziej Decl. at
21                                Page ID 2029 and 2039-
22                                2040; DE 17-3 Kolodziej
23                                Decl. at Page ID 2046;
                                  DE-6, Rios at Page ID
24
                                  2139; DE 17-6, Rios
25                                Decl. at Page ID 2151;
26                                DE 17-1, Irannejad Decl.
                                  at Page ID 1984; DE 17-
27
                                  1, Irannejad Decl. at
28                                Page ID 1988; DE 17-1,

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 Irannejad at Page ID
3                                1994-95; DE 17-4,
4                                Leonido Decl. at Page
5                                2085; DE 17-4, Leonido
                                 Decl. at Page 2091; DE
6
                                 17-7, Lujan Decl. at Page
7                                ID 2180; DE 17-7, Lujan
8                                Decl. at Page 2185; DE
                                 17-7, Lujan Decl. at Page
9
                                 ID 2191; DE 17-4, Nava
10                               Decl. at Page ID 2099;
11                               DE 17-4, Nava Decl. at
12                               Page ID 2104; DE-17-5,
                                 Navarro Decl. at Page ID
13
                                 2114; DE 17-5 Navarro
14                               Decl. at Page ID 2118;
15                               DE 17-5 Navarro Decl. at
16
                                 Page ID 2123-24).
      137. Consumers were        Marshall: This Defendant       Undisputed as to
17
      told they were likely to   lacks the knowledge or         Marshall. He does not
18    obtain monetary relief,    information and belief to      offer any admissible
19    including $75,000 or       dispute or declare this fact   evidence capable of
      more.                      undisputed, as this alleged    controverting the fact at
20
      DE 17-1, Irannejad Decl. fact occurred prior to this      issue.
21    at Page ID 1978-79, ¶¶     Defendant’s involvement
22    12 & 14; DE 17, C.         with Advantis Law
23    Durrett Decl. at Page ID Group, P.C. or the other
      1968, ¶ 11; DE 17-6, Rios individual defendants in
24
      Decl. at Page ID 2132, ¶ this action.
25    6; DE 17-7, Lujan Decl.
26    at Page ID 2170, ¶ 8; DE Foti: DENY - Objections          Undisputed as to Foti.
27
      17-4, Nava Decl. at Page (failure to authenticate;        The fact is relevant. The
      ID 2095, ¶¶ 6-7; DE 17- hearsay; irrelevant - no          document(s) are genuine
28
      2, Kolodziej Decl. at Page evidence of Mr. Foti's         and authentic, as
                                             156
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      ID 2000, ¶ 9; DE 17-5,        knowledge or                 established by the
3     Navarro Decl. at Page ID      involvement; Hearsay;        evidence the FTC
4     2108, ¶ 6; DE 284-8,          Expert Report: Hearsay,      submitted in support of
5     Page ID 7488, DE 284-         other grounds stated in      the fact. The evidence is
      12, Page ID 7926-28,          motion to exclude;           not hearsay because it is
6
      Theisman Decl. at ¶           The documents speak for      either statements based on
7     4.pppp (authenticating        themselves. No promises      personal knowledge or an
8     and attaching FTC-RAD-        are made. All clients        opposing party’s
      002-0256242 to 0256244,       signed agreements            statement. Finding
9
      an email in which a           confirming that no           documents on a
10    Brookstone associated         guarantees were made to      receivership computer or
11    lawyer writes: “Bottom        them (Receiver's             the receivership premises
12    line—prospective clients      Preliminary Report (DE-      in fact makes it more
      are being given the           41-4), Exh. 19 pg. 2; Exh.   likely it was used. Dr.
13
      numbers of $75,000 in         20, p. 2; DE 17-3,           Isaacson’s report is
14    general damages and           Kolodziej Decl. at Page      appropriate expert
15    $750,000 in punitive          ID 2022 and 2033; DE         testimony under Rule 702
16
      damages. No mental            17-3 Kolodziej Decl. at      and so is both admissible
      gymnastics related to         Page ID 2029 and 2039-       and does not constitute
17
      ‘guarantee’, ‘promise’,       2040; DE 17-3 Kolodziej      hearsay.
18    ‘no guarantee’,               Decl. at Page ID 2046;              Foti’s cited
19    ‘estimate’, ‘likely’,         DE-6, Rios at Page ID        evidence does not address
      ‘unlikely’, etc. can change   2139; DE 17-6, Rios          or controvert the fact at
20
      that fact. The prospective    Decl. at Page ID 2151;       issue.
21    client hears numbers only.    DE 17-1, Irannejad Decl.
22    That’s how any                at Page ID 1984; DE 17-
23    reasonable outside person     1, Irannejad Decl. at
      wil look at that. But, hey,   Page ID 1988; DE 17-1,
24
      that’s just one person’s      Irannejad at Page ID
25    opinion.”); DE 284-14,        1994-95; DE 17-4,
26    Madden July 2017 Decl.        Leonido Decl. at Page
      at Page ID 8126, 8420 ¶       2085; DE 17-4, Leonido
27
      3, Att. 15, Marshall’s        Decl. at Page 2091; DE
28    First RFAs, RFA 75            17-7, Lujan Decl. at Page

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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      admitted pursuant to        ID 2180; DE 17-7, Lujan
3     FRCP 36(a)(3); DE 284-      Decl. at Page 2185; DE
4     6, Isaacson Expert Report   17-7, Lujan Decl. at Page
5     at Page ID 7303, 7333,      ID 2191; DE 17-4, Nava
      7334 ¶¶ 2, 91 & 95.         Decl. at Page ID 2099;
6
                                  DE 17-4, Nava Decl. at
7                                 Page ID 2104; DE-17-5,
8                                 Navarro Decl. at Page ID
                                  2114; DE 17-5 Navarro
9
                                  Decl. at Page ID 2118;
10                                DE 17-5 Navarro Decl. at
11                                Page ID 2123-24). DE
12                                17, C. Durrett Decl. at
                                  Page ID 1968, ¶ 11: Not
13
                                  supported by statement
14                                made in declaration
15                                (”When questioned about
16
                                  particular potential
                                  claims he explained in
17
                                  detail why he thought we
18                                had a case. He said our
19                                case looked pretty good.
                                  He said we shouldn’t run
20
                                  out and buy a new car
21                                because it wasn’t
22                                guaranteed, but that we
23                                had a good case.”); She
                                  knew Mr. Watanabe was
24
                                  not a lawyer (Para. 8);
25                                Kolodzieg: testified before
26                                Judge Carter he had
                                  participated in litigation
27
                                  before retaining
28                                Brookstone and knew

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1     Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
      Support
2
                               there were “no
3                              guarantees”in litigation
4                              ("The judge could rule
5                              against you?); Thurman
                               Decl., Attachment 66
6
                               (Kolodziej Carter 8/3/16)
7     138. Consumers were      Marshall: This Defendant       Undisputed as to
8     told they were likely to lacks the knowledge or         Marshall. He does not
9
      obtain a loan            information and belief to      offer any admissible
      modification.            dispute or declare this fact   evidence capable of
10
      DE 17-4, Nava Decl. at   undisputed, as this alleged    controverting the fact at
11    Page ID 2095, ¶¶ 6-7;    fact occurred prior to this    issue.
12    DE 17-2, Kolodziej Decl. Defendant’s involvement
      at Page ID 1999-2000, ¶ with Advantis Law
13
      9; DE 17, Chapman Decl. Group, P.C. or the other
14    at Page ID 1946, ¶ 7     individual defendants in
15                             this action.
16
                                 Foti: DENY - Objections      Undisputed as to Foti.
17
                                 (failure to authenticate;    The fact is relevant. The
18                               hearsay; irrelevant - no     document(s) are genuine
19                               evidence of Mr. Foti's       and authentic, as
                                 knowledge or                 established by the
20
                                 involvement; Hearsay;        evidence the FTC
21                               Expert Report: Hearsay,      submitted in support of
22                               other grounds stated in      the fact. The evidence is
23                               motion to exclude;           not hearsay because it is
                                 The documents speak for      either statements based on
24
                                 themselves. No promises      personal knowledge or an
25                               are made. All clients        opposing party’s
26                               signed agreements            statement. This fact is
27
                                 confirming that no           supported by declarations
                                 guarantees were made to      from consumers testifying
28
                                 them (Receiver's             to their interactions with
                                            159
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                Preliminary Report (DE-      the Corporate Defendants.
3                               41-4), Exh. 19 pg. 2; Exh.   Dr. Isaacson’s report is
4                               20, p. 2; DE 17-3,           appropriate expert
5                               Kolodziej Decl. at Page      testimony under Rule 702
                                ID 2022 and 2033; DE         and so is both admissible
6
                                17-3 Kolodziej Decl. at      and does not constitute
7                               Page ID 2029 and 2039-       hearsay.
8                               2040; DE 17-3 Kolodziej             Foti’s cited
                                Decl. at Page ID 2046;       evidence does not address
9
                                DE-6, Rios at Page ID        or controvert the fact at
10                              2139; DE 17-6, Rios          issue.
11                              Decl. at Page ID 2151;
12                              DE 17-1, Irannejad Decl.
                                at Page ID 1984; DE 17-
13
                                1, Irannejad Decl. at
14                              Page ID 1988; DE 17-1,
15                              Irannejad at Page ID
16
                                1994-95; DE 17-4,
                                Leonido Decl. at Page
17
                                2085; DE 17-4, Leonido
18                              Decl. at Page 2091; DE
19                              17-7, Lujan Decl. at Page
                                ID 2180; DE 17-7, Lujan
20
                                Decl. at Page 2185; DE
21                              17-7, Lujan Decl. at Page
22                              ID 2191; DE 17-4, Nava
23                              Decl. at Page ID 2099;
                                DE 17-4, Nava Decl. at
24
                                Page ID 2104; DE-17-5,
25                              Navarro Decl. at Page ID
26                              2114; DE 17-5 Navarro
                                Decl. at Page ID 2118;
27
                                DE 17-5 Navarro Decl. at
28                              Page ID 2123-24). DE

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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
                                  17, C. Durrett Decl. at
3                                 Page ID 1968, ¶ 11: Not
4                                 supported by statement
5                                 made in declaration
                                  (”When questioned about
6
                                  particular potential
7                                 claims he explained in
8                                 detail why he thought we
                                  had a case. He said our
9
                                  case looked pretty good.
10                                He said we shouldn’t run
11                                out and buy a new car
12                                because it wasn’t
                                  guaranteed, but that we
13
                                  had a good case.”); She
14                                knew Mr. Watanabe was
15                                not a lawyer (Para. 8);
16
                                  Kolodzieg: testified before
                                  Judge Carter he had
17
                                  participated in litigation
18                                before retaining
19                                Brookstone and knew
                                  there were “no
20
                                  guarantees”in litigation
21                                ("The judge could rule
22                                against you?); Thurman
23                                Decl., Attachment 66
      139. Consumers were         Marshall: This Defendant       Undisputed as to
24
      told they were likely to    lacks the knowledge or         Marshall. He does not
25    have their mortgage notes   information and belief to      offer any admissible
26    voided or obtain their      dispute or declare this fact   evidence capable of
27
      homes free and clear.       undisputed, as this alleged    controverting the fact at
      DE 17-6, Rios Decl. at      fact occurred prior to this    issue.
28
      Page ID 2132, ¶ 6; DE       Defendant’s involvement
                                              161
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      17-7, Lujan Decl. at Page   with Advantis Law
3     ID 2170, ¶ 8; DE 284-14,    Group, P.C. or the other
4     Isaacson Expert Report at   individual defendants in
5     Page ID 7430 ¶ 110;         this action.
      Madden July 2017 Decl.
6
      at Page ID 8126, 8420 ¶     Foti: DENY - Objections      Undisputed as to Foti.
7     3, Att. 15, Marshall’s      (failure to authenticate;    The fact is relevant. The
8     First RFAs, RFA 78          hearsay; irrelevant - no     document(s) are genuine
      admitted pursuant to        evidence of Mr. Foti's       and authentic, as
9
      FRCP 36(a)(3).              knowledge or                 established by the
10                                involvement; Hearsay;        evidence the FTC
11                                Expert Report: Fails to      submitted in support of
12                                comply with FRE 702 and      the fact. The evidence is
                                  the Daubert standard;        not hearsay because it is
13
                                  double hearsay.              either statements based on
14                                The documents speak for      personal knowledge or an
15                                themselves. No promises      opposing party’s
16
                                  are made. All clients        statement. Finding
                                  signed "no guarantee"        documents on a
17
                                  agreements; Receiver's       receivership computer or
18                                Preliminary Report (DE-      the receivership premises
19                                41-4), Exh. 19 pg. 2; Exh.   in fact makes it more
                                  20, p. 2; DE 17-3,           likely it was used. Dr.
20
                                  Kolodziej Decl. at Page      Isaacson’s report is
21                                ID 2022 and 2033; DE         appropriate expert
22                                17-3 Kolodziej Decl. at      testimony under Rule 702
23                                Page ID 2029 and 2039-       and so is both admissible
                                  2040; DE 17-3 Kolodziej      and does not constitute
24
                                  Decl. at Page ID 2046;       hearsay.
25                                DE-6, Rios at Page ID               Foti’s cited
26                                2139; DE 17-6, Rios          evidence does not address
                                  Decl. at Page ID 2151;       or controvert the fact at
27
                                  DE 17-1, Irannejad Decl.     issue.
28                                at Page ID 1984; DE 17-

                                             162
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  1, Irannejad Decl. at
3                                 Page ID 1988; DE 17-1,
4                                 Irannejad at Page ID
5                                 1994-95; DE 17-4,
                                  Leonido Decl. at Page
6
                                  2085; DE 17-4, Leonido
7                                 Decl. at Page 2091; DE
8                                 17-7, Lujan Decl. at Page
                                  ID 2180; DE 17-7, Lujan
9
                                  Decl. at Page 2185; DE
10                                17-7, Lujan Decl. at Page
11                                ID 2191; DE 17-4, Nava
12                                Decl. at Page ID 2099;
                                  DE 17-4, Nava Decl. at
13
                                  Page ID 2104; DE-17-5,
14                                Navarro Decl. at Page ID
15                                2114; DE 17-5 Navarro
16
                                  Decl. at Page ID 2118;
                                  DE 17-5 Navarro Decl. at
17
                                  Page ID 2123-24;
18    140. In an email            Marshall: This Defendant       Undisputed as to
19    exchange in May 2012, an lacks the knowledge or            Marshall. He does not
      attorney associated with    information and belief to      offer any admissible
20
      Brookstone wrote:           dispute or declare this fact   evidence capable of
21    “Bottom line—               undisputed, as this alleged    controverting the fact at
22    prospective clients are     fact occurred prior to this    issue.
23    being given the numbers     Defendant’s involvement
      of $75,000 in general       with Advantis Law
24
      damages and $750,000 in Group, P.C. or the other
25    punitive damages. No        individual defendants in
26    mental gymnastics related this action.
27
      to ‘guarantee’, ‘promise’, Marshall Decl., at ¶ --.
      ‘no guarantee’, ‘estimate’,
28
      ‘likely’, ‘unlikely’, etc.  Foti: DENY - Objections        Undisputed as to Foti.
                                              163
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      can change that fact. The     (irrelevant - no evidence    The fact is relevant. The
3     prospective client hears      email was directed to,       document(s) are genuine
4     numbers only. That’s          received by or reviewed      and authentic, as
5     how any reasonable            by Mr. Foti; failure to      established by the
      outside person will look at   authenticate; hearsay. No    evidence the FTC
6
      that. But, hey, that’s just   foundation the email is      submitted in support of
7     one person’s opinion.”        genuine, who prepared it,    the fact. The evidence is
8     DE 284-8, at Page ID          whether Mr. Foti ever        not hearsay as a statement
      7488, DE 284-12, at Page      received, reviewed, knew     of a party opponent.
9
      ID 7926-28, Theisman          about or had anything to     Finding documents on a
10    Decl. ¶ 4.pppp.               do with it.)                 defendant’s computer or
11                                                               on-site at the receivership
12                                                               defendant’s premises in
                                                                 fact makes it more likely
13
                                                                 it was used.
14                                                               For support, Foti cites no
15                                                               evidence to controvert the
16
                                                                 fact at issue.
      141. During in person         Marshall: This Defendant Undisputed as to
17
      meetings, Banking             lacks the knowledge or       Marshall. He does not
18    Specialists show              information and belief to offer any admissible
19    consumers a “Legal            dispute or declare this fact evidence capable of
      Analysis” that would          undisputed, as this alleged controverting the fact at
20
      invariably state that         fact occurred prior to this issue.
21    consumers had multiple        Defendant’s involvement
22    valid causes of action        with Advantis Law
23    against their lenders with    Group, P.C. or the other
      no discussion of any          individual defendants in
24
      defenses the lenders may      this action.
25    have or discussions of the
26    relative weakness of the      Foti: DENY - DE 186-4,       Undisputed as to Foti.
27
      various claims.               Torchia Decl: lack of        The fact is relevant.
      DE 186-4, Torchia Decl.       foundation ("My              Torchia’s statements
28
      at Page ID 5373-75, ¶¶ 9-     understanding is that ..."   include proper
                                               164
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1     Uncontroverted Fact/           Defendants’ Responses            FTC’s Reply
      Support
2
      14, and Page ID 5384-88,       No personal knowledge or         foundation, as one of the
3     Att. A (“My                    other basis stated for his       control people of the
4     understanding is that the      understanding.                   business and its activities.
5     vast majority of the Legal     Acknowledges he did not                 Foti’s cited
      Analysis reports told          "complete," "produce or          evidence does not address
6
      clients they that they [sic]   review" the reports);            or controvert the fact at
7     had a valid legal claim        irrelevant (no evidence of       issue.
8     (e.g., fraudulent              Foti involvement);
      concealment, intentional       DE 186-4, Torchia Decl.
9
      misrepresentations,              ("My understanding is
10    negligent                      that ..." No basis stated
11    misrepresentation, breach      for his understanding.
12    of contract) against their     Acknowledges he did not
      lender and/or other third      "complete," "produce or
13
      party;” “Signing clients       review" the reports);
14    up for a Legal Analysis        Thurman Decl.,
15    report was Damian              Attachments 43 (Mr.
16
      Kutzner’s idea and its         Torchia's description of
      main purpose was to get        the "thorough analysis" of
17
      people in the door as          the client's chain of title in
18    clients. . . . Specifically,   the preliminary legal
19    the Legal Analysis would       analysis reports prepared
      tell the client the causes     by the law firm for some
20
      of action the client had       but not all clients)
21    against their lender
22    and/or other third party.
23    Contrary to the
      statements in the Legal
24
      Analysis, these documents
25    were not thorough legal
26    analyses of the clients’
      possible claims. For
27
      instance, although the
28    Legal Analysis would

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1     Uncontroverted Fact/        Defendants’ Responses      FTC’s Reply
      Support
2
      state consumers had valid
3     causes of action against
4     their lenders, it would not
5     discuss or identify any
      defenses to these claims
6
      or weaknesses of these
7     claims. Furthermore,
8     although the Legal
      Analysis purported to be
9
      an examination of the
10    client’s specific
11    circumstances, the
12    discussion of the client’s
      particular facts and
13
      analysis of those facts was
14    cursory.”); DE 17-2,
15    Kolodziej Decl. at Page
16
      ID 2005-10 (a “Legal
      Analysis” for Ronald
17
      Kolodziej, identifying
18    several causes of action
19    against his lender without
      any discussion of any
20
      defenses the lender may
21    have); DE 17-6, Rios
22    Decl. at Page ID 2142-47
23    (a “Legal Analysis” for
      Mario Rios, identifying
24
      several causes of action
25    against his lender without
26    any discussion of any
      defenses the lender may
27
      have).
28
      142. The “Legal             Marshall: This Defendant   Undisputed as to
                                            166
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      Analysis” would state:        lacks the knowledge or         Marshall. He does not
3     “A thorough and               information and belief to      offer any admissible
4     comprehensive analysis        dispute or declare this fact   evidence capable of
5     was completed on all loan     undisputed, as this alleged    controverting the fact at
      documents supplied;” and      fact occurred prior to this    issue.
6
      “The purpose of this          Defendant’s involvement
7     report is to flush out some   with Advantis Law
8     of those claims and to        Group, P.C. or the other
      insure that you have a        individual defendants in
9
      valid claim against your      this action.
10    lender.”
11    DE 186-4, Torchia Decl.       Foti: DENY - DE 186-4,         Undisputed as to Foti.
12    at Page ID 5373, ¶ 10;        Torchia Decl: lack of          The fact is relevant.
      DE 17-2, Kolodziej Decl.      foundation ("My                Torchia’s statements
13
      at Page ID 2005; DE 17-       understanding is that ..."     include proper
14    6, Rios Decl. at Page ID      No personal knowledge or       foundation, as one of the
15    2142.                         other basis stated for his     control people of the
16
                                    understanding.                 business and its activities.
                                    Acknowledges he did not               Foti’s cited
17
                                    "complete," "produce or        evidence does not address
18                                  review" the reports);          or controvert the fact at
19                                  irrelevant (no evidence of     issue.
                                    Foti involvement);
20
                                    DE 186-4, Torchia Decl.
21                                  ("My understanding is
22                                  that ..." No basis stated
23                                  for his understanding.
                                    Acknowledges he did not
24
                                    "complete," "produce or
25                                  review" the reports);
26                                  Thurman Decl.,
                                    Attachments 43 (Mr.
27
                                    Torchia's description of
28                                  the "thorough analysis" of

                                                167
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1     Uncontroverted Fact/           Defendants’ Responses            FTC’s Reply
      Support
2
                                     the client's chain of title in
3                                    the preliminary legal
4                                    analysis reports prepared
5                                    by the law firm for some
                                     but not all clients)
6
      143. The “Legal                Marshall: This Defendant         Undisputed as to
7     Analysis” provided to          lacks the knowledge or           Marshall. He does not
8     clients was not completed      information and belief to        offer any admissible
9
      by a lawyer or reviewed        dispute or declare this fact     evidence capable of
      by a lawyer prior to being     undisputed, as this alleged      controverting the fact at
10
      shown or explained to a        fact occurred prior to this      issue.
11    client.                        Defendant’s involvement
12    DE 284-13, Theisman            with Advantis Law
      Decl. at Page ID 8085 ¶        Group, P.C. or the other
13
      15, Att. 12, Foti Depo. at     individual defendants in
14    262:7-10, (“Q. Is the          this action.
15    legal analysis completed
16    by a lawyer? A. A legal        Foti: DENY - DE 186-4,           Undisputed as to Foti.
      analysis was actually, I       Torchia Decl: lack of            The fact is relevant.
17
      believe, completed by an       foundation ("My                  Torchia’s statements
18    expert who was familiar        understanding is that ..."       include proper
19    with title documents.”);       No personal knowledge or         foundation, as one of the
      DE 186-4, Torchia Decl.        other basis stated for his       control people of the
20
      at Page ID 5373-74, ¶ 11       understanding.                   business and its activities.
21    (“Although identified as       Acknowledges he did not                 Foti’s cited
22    Legal Analysis reports,        "complete," "produce or          evidence does not address
23    lawyers did not complete       review" the reports);            or controvert the fact at
      the reports for the clients.   irrelevant (no evidence of       issue.
24
      . . . Brookstone lawyers       Foti involvement);
25    did not produce or review      DE 186-4, Torchia Decl.
26    these documents before         ("My understanding is
27
      they were shared with          that ..." No basis stated
      clients.”).                    for his understanding.
28
                                     Acknowledges he did not
                                                 168
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                 "complete," "produce or
3                                review" the reports);
4                                Thurman Decl.,
5                                Attachments 43 (Mr.
                                 Torchia's description of
6
                                 the "thorough analysis" of
7                                the client's chain of title in
8                                the preliminary legal
                                 analysis reports prepared
9
                                 by the law firm for some
10                               but not all clients)
11    144. Banking Specialists Marshall: This Defendant           Undisputed as to
12    would present the “Legal lacks the knowledge or             Marshall. He does not
      Analysis” to potential     information and belief to        offer any admissible
13
      mass joinder clients.      dispute or declare this fact     evidence capable of
14    DE 186-4, Torchia Decl. undisputed, as this alleged         controverting the fact at
15    at Page ID 5374-75, ¶ 13 fact occurred prior to this        issue.
16    (“Typically, the Banking Defendant’s involvement
      Specialist would meet      with Advantis Law
17
      with the client after the  Group, P.C. or the other
18    Legal Analysis report was individual defendants in
19    prepared and were          this action.
      principally responsible
20
      for reviewing and          Foti: DENY - DE 186-4,           Undisputed as to Foti.
21    explaining the Legal       Torchia Decl: lack of            The fact is relevant.
22    Analysis report to         foundation ("My                  Torchia’s statements
23    Brookstone clients. The    understanding is that ..."       include proper
      protocol I established was No personal knowledge or         foundation, as one of the
24
      to have an attorney        other basis stated for his       control people of the
25    present at some point      understanding.                   business and its activities.
26    during the meeting with    Acknowledges he did not                 Foti’s cited
27
      the client about the Legal "complete," "produce or          evidence does not address
      Analysis report and to     review" the reports);            or controvert the fact at
28
      answer client questions. I irrelevant (no evidence of       issue.
                                               169
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      now understand that this    Foti involvement);
3     protocol was not            DE 186-4, Torchia Decl.
4     regularly followed by the   ("My understanding is
5     Banking Specialists.”);     that ..." No basis stated
      DE 17, C. Durrett Decl.     for his understanding.
6
      at Page ID 1967-68, ¶¶      Acknowledges he did not
7     10-11; DE 17-2,             "complete," "produce or
8     Kolodziej Decl. at Page     review" the reports);
      ID 1999-2000, ¶¶7-9; DE     Thurman Decl.,
9
      17-7, Lujan Decl. at Page   Attachments 43 (Mr.
10    ID 2169-70, ¶¶ 5-6.         Torchia's description of
11                                the "thorough analysis" of
12                                the client's chain of title in
                                  the preliminary legal
13
                                  analysis reports prepared
14                                by the law firm for some
15                                but not all clients).
16
                                  Declaration reflects that
                                  legal analyses were
17
                                  presented to only three of
18                                the nine consumers who
19                                submitted declarations.
      145. Teresa Irannejad       Marshall: This Defendant         Undisputed as to
20
      testifies that she met with lacks the knowledge or           Marshall. He does not
21    a Brookstone                information and belief to        offer any admissible
22    representative, Salvador    dispute or declare this fact     evidence capable of
23    Auciello, who told her she undisputed, as this alleged       controverting the fact at
      would need to pay an        fact occurred prior to this      issue.
24
      additional $605 in cash     Defendant’s involvement
25    for the “Legal Analysis.” with Advantis Law
26    DE 17-1, Irannejad Decl. Group, P.C. or the other
27
      at Page 1977, ¶ 7.          individual defendants in
                                  this action.
28

                                                170
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                  Foti: DENY - Objection        Undisputed as to Foti.
3                                 (hearsay; irrelevant as to    The fact is relevant. The
4                                 Mr. Foti since no             evidence is not hearsay
5                                 evidence he was aware of      because it is either
                                  or involved in the            statements based on
6
                                  transaction)                  personal knowledge or an
7                                 Ms. Irannejad testified       opposing party’s
8                                 she signed several            statement.
                                  agreements stating there             Foti’s cited
9
                                  were no guarantees or         evidence does not address
10                                promises made to her. DE      or controvert the fact at
11                                17-1, Irannejad Decl. at      issue.
12                                Page ID 1984; DE 17-1,
                                  Irannejad Decl. at Page
13
                                  ID 1988; DE 17-1,
14                                Irannejad Decl. at Page
15                                1994-95;
16    146. Teresa Irannejad       Marshall: This Defendant      Undisputed as to
      testifies that a Brookstone lacks the knowledge or        Marshall. He does not
17
      representative, Salvador    information and belief to     offer any admissible
18    Auciello, told her: “I did dispute or declare this fact   evidence capable of
19    not have to make my         undisputed, as this alleged   controverting the fact at
      mortgage payments to        fact occurred prior to this   issue.
20
      BoA while I was paying      Defendant’s involvement
21    Brookstone. I did not       with Advantis Law
22    have enough money to        Group, P.C. or the other
23    pay both Brookstone and individual defendants in
      BoA. I stopped paying       this action.
24
      my BoA mortgage at that
25    point.”                     Foti: DENY - Objection        Undisputed as to Foti.
26    DE 17-1, Irannejad Decl. (hearsay; irrelevant as to       The fact is relevant. The
27
      at Page 1977, ¶ 8.          Mr. Foti since no             evidence is not hearsay
                                  evidence he was aware of      because it is either
28
                                  or involved in the            statements based on
                                             171
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                  transaction)                  personal knowledge or an
3                                 Ms. Irannejad testified       opposing party’s
4                                 she signed several            statement.
5                                 agreements stating there             Foti’s cited
                                  were no guarantees or         evidence does not address
6
                                  promises made to her. DE      or controvert the fact at
7                                 17-1, Irannejad Decl. at      issue.
8                                 Page ID 1984; DE 17-1,
                                  Irannejad Decl. at Page
9
                                  ID 1988; DE 17-1,
10                                Irannejad Decl. at Page
11                                1994-95;
12    147. Teresa Irannejad       Marshall: This Defendant      Undisputed as to
      testifies that after paying lacks the knowledge or        Marshall. He does not
13
      for her “Legal Analysis,” information and belief to       offer any admissible
14    she received a phone call dispute or declare this fact    evidence capable of
15    from a Brookstone           undisputed, as this alleged   controverting the fact at
16    representative, Salvador    fact occurred prior to this   issue.
      Auciello, who “told me he Defendant’s involvement
17
      had received the legal      with Advantis Law
18    analysis and the lawyer     Group, P.C. or the other
19    said it was a good case     individual defendants in
      and Brookstone could        this action.
20
      help me if they got
21    involved. He told me I      Foti: DENY - Objection        Undisputed as to Foti.
22    would need to come into     (hearsay; irrelevant as to    The fact is relevant. The
23    the Brookstone office       Mr. Foti since no             evidence is not hearsay
      again to get signed up      evidence he was aware of      because it is either
24
      with Brookstone.”           or involved in the            statements based on
25    DE 17-1, Irannejad Decl. transaction)                     personal knowledge or an
26    at Page ID 1977, ¶ 9.       Ms. Irannejad testified       opposing party’s
27
                                  she signed several            statement.
                                  agreements stating there            Foti’s cited
28
                                  were no guarantees or         evidence does not address
                                             172
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                 promises made to her. DE      or controvert the fact at
3                                17-1, Irannejad Decl. at      issue.
4                                Page ID 1984; DE 17-1,
5                                Irannejad Decl. at Page
                                 ID 1988; DE 17-1,
6
                                 Irannejad Decl. at Page
7                                1994-95;
8     148. Teresa Irannejad      Marshall: This Defendant      Undisputed as to
9
      testifies: “When I went to lacks the knowledge or        Marshall. He does not
      Brookstone, I met with     information and belief to     offer any admissible
10
      Anthony Stout. Anthony dispute or declare this fact      evidence capable of
11    Stout showed me the legal undisputed, as this alleged    controverting the fact at
12    analysis report and we     fact occurred prior to this   issue.
      went through it page by    Defendant’s involvement
13
      page. Anthony Stout told with Advantis Law
14    me that Countrywide had Group, P.C. or the other
15    done things they           individual defendants in
16    shouldn’t have on my       this action.
      mortgage. He said they
17
      charged me a half-point    Foti: DENY - Objection        Undisputed as to Foti.
18    for a ‘stated income’ loan (hearsay; irrelevant as to    The fact is relevant. The
19    even though I had          Mr. Foti since no             evidence is not hearsay
      provided them with pay     evidence he was aware of      because it is either
20
      stubs. He said             or involved in the            statements based on
21    Countrywide had changed transaction)                     personal knowledge or an
22    the mortgage to a balloon Ms. Irannejad testified        opposing party’s
23    payment even though I      she signed several            statement.
      had said I didn’t want a   agreements stating there             Foti’s cited
24
      balloon payment.”          were no guarantees or         evidence does not address
25    DE 17-1, Irannejad Decl. promises made to her. DE        or controvert the fact at
26    at Page ID 1978, ¶ 10.     17-1, Irannejad Decl. at      issue.
27
                                 Page ID 1984; DE 17-1,
                                 Irannejad Decl. at Page
28
                                 ID 1988; DE 17-1,
                                             173
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  Irannejad Decl. at Page
3                                 1994-95;
4     149. Teresa Irannejad       Marshall: This Defendant       Undisputed as to
5     testifies: “Anthony Stout lacks the knowledge or           Marshall. He does not
      told me Brookstone could information and belief to         offer any admissible
6
      represent me and that I     dispute or declare this fact   evidence capable of
7     had a good case. He said undisputed, as this alleged       controverting the fact at
8     there was no risk of losing fact occurred prior to this    issue.
9
      because Countrywide had Defendant’s involvement
      already been sued and       with Advantis Law
10
      lost. Anthony Stout told    Group, P.C. or the other
11    me that the minimum         individual defendants in
12    amount I would get was      this action.
      $75,000 and it could be as Marshall Decl., at ¶ --.
13
      much as $160,000
14    because Countrywide had Foti: DENY- Objection              Undisputed as to Foti.
15    made my mortgage a          (hearsay; irrelevant as to     The fact is relevant. The
16    ‘stated income’ loan with Mr. Foti since no                evidence is not hearsay
      a balloon payment. He       evidence he was aware of       because it is either
17
      told me the lawyers said I or involved in the              statements based on
18    was guaranteed $75,000. transaction)                       personal knowledge or an
19    He also said I would get    Ms. Irannejad testified        opposing party’s
      the money back that I       she signed several             statement.
20
      paid to Brookstone in       agreements stating there              Foti’s cited
21    fees.”                      were no guarantees or          evidence does not address
22    DE 17-1, Irannejad Decl. promises made to her. DE          or controvert the fact at
23    at Page ID 1978, ¶ 12.      17-1, Irannejad Decl. at       issue.
                                  Page ID 1984; DE 17-1,
24
                                  Irannejad Decl. at Page
25                                ID 1988; DE 17-1,
26                                Irannejad Decl. at Page
27
                                  1994-95;
      150. Teresa Irannejad       Marshall: This Defendant       Undisputed as to
28
      testifies: “Before signing lacks the knowledge or          Marshall. He does not
                                              174
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      the retainer agreement, I     information and belief to      offer any admissible
3     asked Anthony Stout           dispute or declare this fact   evidence capable of
4     about the disclaimer in the   undisputed, as this alleged    controverting the fact at
5     agreement saying that         fact occurred prior to this    issue.
      there was no guarantee,       Defendant’s involvement
6
      but that he had told me I     with Advantis Law
7     was guaranteed at least       Group, P.C. or the other
8     $75,000. He said that it      individual defendants in
      was just legal words in       this action.
9
      the retainer and they had     Marshall Decl., at ¶ --.
10    to use them in the
11    agreement, but there was      Foti: ADMIT - Objection        Undisputed as to Foti.
12    no risk of losing. He said    (hearsay; irrelevant as to
      I shouldn’t pay attention     Mr. Foti since no
13
      to the disclaimer because     evidence he was aware of
14    the case against              or involved in the
15    Countrywide had already       transaction)
16
      been proven. Anthony          Ms. Irannejad testified
      Stout said trust me, I can    she signed several
17
      assure you that you will      agreements stating there
18    get $75,000 and the           were no guarantees or
19    money you paid to             promises made to her. DE
      Brookstone back.”             17-1, Irannejad Decl. at
20
      DE 17-1, Irannejad Decl.      Page ID 1984; DE 17-1,
21    at Page ID 1979, ¶ 14.        Irannejad Decl. at Page
22                                  ID 1988; DE 17-1,
23                                  Irannejad Decl. at Page
                                    1994-95;
24
      151. Corina Durrett           Marshall: This Defendant       Undisputed as to
25    testifies being told by a     lacks the knowledge or         Marshall. He does not
26    Banking Specialist: “He       information and belief to      offer any admissible
27
      said our case looked          dispute or declare this fact   evidence capable of
      pretty good. He said we       undisputed, as this alleged    controverting the fact at
28
      shouldn’t run out and buy     fact occurred prior to this    issue.
                                                175
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      a new car because it        Defendant’s involvement
3     wasn’t guaranteed, but      with Advantis Law
4     that we had a good case.    Group, P.C. or the other
5     He said that we could win   individual defendants in
      over $1.0 million,          this action.
6
      counting punitive           Marshall Decl., at ¶ --.
7     damages.”
8     DE 17, C. Durrett Decl.     Foti: DENY - Objection         Undisputed as to Foti.
      at Page ID 1968, ¶ 11.      (hearsay; irrelevant as to     The fact is relevant. The
9
                                  Mr. Foti since no              evidence is not hearsay
10                                evidence he was aware of       because it is either
11                                or involved in the             statements based on
12                                transaction)                   personal knowledge or an
                                  "When questioned about         opposing party’s
13
                                  particular potential           statement.
14                                claims he explained in                Foti’s cited
15                                detail why he thought we       evidence does not address
16
                                  had a case. He said our        or controvert the fact at
                                  case looked pretty good.       issue.
17
                                  He said we shouldn't run
18                                out and buy a new car
19                                because it wasn't
                                  guaranteed, but that we
20
                                  had a good case." Ms.
21                                Durrett also testified she
22                                knew Mr. Watanabe was
23                                not a lawyer (DE-17, C.
                                  Durrett Decl. at Page ID
24
                                  1968, ¶ 8).
25    152. Mario Rios             Marshall: This Defendant       Undisputed as to
26    testifies: “The             lacks the knowledge or         Marshall. He does not
27
      Brookstone Law              information and belief to      offer any admissible
      representatives told me     dispute or declare this fact   evidence capable of
28
      that they would file a      undisputed, as this alleged    controverting the fact at
                                              176
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      lawsuit on my behalf         fact occurred prior to this    issue.
3     against my lender, Bank      Defendant’s involvement
4     of America, and that the     with Advantis Law
5     lawsuit would get me at      Group, P.C. or the other
      least $75,000 off the        individual defendants in
6
      principal of my house,       this action.
7     and that it might remove     Marshall Decl., at ¶ --.
8     the entire mortgage from
      my house.”                   Foti: DENY - Objection         Undisputed as to Foti.
9
      DE 17-6, Rios Decl. at       (hearsay; irrelevant as to     The fact is relevant. The
10    Page ID 2132, ¶ 6.           Mr. Foti since no              evidence is not hearsay
11                                 evidence he was aware of       because it is either
12                                 or involved in the             statements based on
                                   transaction)                   personal knowledge or an
13
                                   Mr. Rios signed multiple       opposing party’s
14                                 agreements confirming          statement.
15                                 there were no guarantees.             Foti’s cited
16
                                   DE 17-6, Rios Decl. at         evidence does not address
                                   Page ID 2139; DE 17-6,         or controvert the fact at
17
                                   Rios Decl. at Page ID          issue.
18                                 2151;
19    153. Mario Rios              Marshall: This Defendant       Undisputed as to
      testifies: “The              lacks the knowledge or         Marshall. He does not
20
      Brookstone Law               information and belief to      offer any admissible
21    representatives told me      dispute or declare this fact   evidence capable of
22    that Brookstone Law had      undisputed, as this alleged    controverting the fact at
23    a great chance of            fact occurred prior to this    issue.
      succeeding in the lawsuit.   Defendant’s involvement
24
      They said that although it   with Advantis Law
25    may take some time,          Group, P.C. or the other
26    Brookstone Law would         individual defendants in
27
      succeed eventually.”         this action.
      DE 17-6, Rios Decl. at
28
      Page ID 2132, ¶ 7.           Marshall Decl., at ¶ --.
                                               177
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
3                                  Foti: DENY - Objection        Undisputed as to Foti.
4                                  (hearsay; irrelevant as to    The fact is relevant. The
5                                  Mr. Foti since no             evidence is not hearsay
                                   evidence he was aware of      because it is either
6
                                   or involved in the            statements based on
7                                  transaction)                  personal knowledge or an
8                                  Mr. Rios signed multiple      opposing party’s
                                   agreements confirming         statement.
9
                                   there were no promises or            Foti’s cited
10                                 guarantees. DE 17-6,          evidence does not address
11                                 Rios Decl. at Page ID         or controvert the fact at
12                                 2139; DE 17-6, Rios           issue.
                                   Decl. at Page ID 2151.
13
      154. Jesse Chapman           Marshall: This Defendant      Undisputed as to
14    testifies that Banking       lacks the knowledge or        Marshall. He does not
15    Specialists told him:        information and belief to     offer any admissible
16    “Stout and Watanabe told dispute or declare this fact      evidence capable of
      us that we would have a      undisputed, as this alleged   controverting the fact at
17
      very good case against       fact occurred prior to this   issue.
18    our lender because the       Defendant’s involvement
19    lender failed to disclose to with Advantis Law
      us that our mortgage was Group, P.C. or the other
20
      an interest only loan.”      individual defendants in
21    DE 17, Chapman Decl. at this action.
22    Page ID 1945, ¶ 4.
23                                 Marshall Decl., at ¶ --.
24
                                   Foti: DENY - Objection        Undisputed as to Foti.
25                                 (hearsay; irrelevant as to    The fact is relevant. The
26                                 Mr. Foti since no             evidence is not hearsay
27
                                   evidence he was aware of      because it is either
                                   or involved in the            statements based on
28
                                   transaction)                  personal knowledge or an
                                              178
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
                                  Mr. Chapman signed             opposing party’s
3                                 multiple agreements            statement.
4                                 confirming there were no              Foti’s cited
5                                 promises or guarantees.        evidence does not address
                                  DE-17, Chapman Decl. at        or controvert the fact at
6
                                  Page ID 1951 ¶ 7; 1957,        issue.
7                                 ¶ 1(e).
8     155. Jesse Chapman          Marshall: This Defendant       Undisputed as to
9
      testifies that Banking      lacks the knowledge or         Marshall. He does not
      Specialists told him:       information and belief to      offer any admissible
10
      “Stout and Watanabe         dispute or declare this fact   evidence capable of
11    further stated that we      undisputed, as this alleged    controverting the fact at
12    were very good              fact occurred prior to this    issue.
      candidates and were         Defendant’s involvement
13
      entitled to a refund as a   with Advantis Law
14    result of litigation        Group, P.C. or the other
15    between the Department      individual defendants in
16    of Justice and Bank of      this action.
      America.”                   Marshall Decl., at ¶ --.
17
      DE 17, Chapman Decl. at
18    Page ID 1945, ¶ 5.          Foti: DENY - Objection         Undisputed as to Foti.
19                                (hearsay; irrelevant as to     The fact is relevant. The
                                  Mr. Foti since no              evidence is not hearsay
20
                                  evidence he was aware of       because it is either
21                                or involved in the             statements based on
22                                transaction)                   personal knowledge or an
23                                Mr. Chapman signed             opposing party’s
                                  multiple agreements            statement.
24
                                  confirming there were no              Foti’s cited
25                                promises or guarantees.        evidence does not address
26                                DE-17, Chapman Decl. at        or controvert the fact at
27
                                  Page ID 1951 ¶ 7; 1957,        issue.
                                  ¶ 1(e).
28
      156. Richard Leonido        Marshall: This Defendant       Undisputed as to
                                              179
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      testifies: “I also spoke       lacks the knowledge or         Marshall. He does not
3     with some other                information and belief to      offer any admissible
4     Brookstone Law P.C.            dispute or declare this fact   evidence capable of
5     employees who assured          undisputed, as this alleged    controverting the fact at
      me that I had a good case      fact occurred prior to this    issue.
6
      against my lender. . . . At    Defendant’s involvement
7     the time that I signed up, I   with Advantis Law
8     was told that the litigation   Group, P.C. or the other
      would, at the very least,      individual defendants in
9
      put me in a better position    this action.
10    on my mortgage.”
11    DE 17-4, Leonido Decl. at Foti: DENY - Objection              Undisputed as to Foti.
12    Page ID 2077, ¶¶ 8-9.     (hearsay; irrelevant as to          The fact is relevant. The
                                Mr. Foti since no                   evidence is not hearsay
13
                                evidence he was aware of            because it is either
14                              or involved in the                  statements based on
15                              transaction)                        personal knowledge or an
16
                                Mr. Leonido signed                  opposing party’s
                                multiple agreements                 statement.
17
                                confirming there were no                   Foti’s cited
18                              promises or guarantees.             evidence does not address
19                              DE 17-4, Leonido Decl. at           or controvert the fact at
                                Page ID 2085; DE 17-4,              issue.
20
                                Leonido Decl at Page ID
21                              2091.
22    157. Malu Lujan testifies Marshall: This Defendant            Undisputed as to
23    “Senior Banking           lacks the knowledge or              Marshall. He does not
      Specialist” Richard       information and belief to           offer any admissible
24
      Taylor, “told me that he  dispute or declare this fact        evidence capable of
25    had been a loan           undisputed, as this alleged         controverting the fact at
26    underwriter at the time I fact occurred prior to this         issue.
27
      re-financed my mortgage Defendant’s involvement
      with JP Morgan and based with Advantis Law
28
      on my documents it was    Group, P.C. or the other
                                                 180
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      likely JP Morgan and the    individual defendants in
3     mortgage broker had         this action.
4     likely committed fraud.     Marshall Decl., at ¶ --.
5     He said they must have
      falsified the loan        Foti: DENY - Objection         Undisputed as to Foti.
6
      documentation in          (hearsay; irrelevant as to     The fact is relevant. The
7     originating my loan       Mr. Foti since no              evidence is not hearsay
8     because it would have     evidence he was aware of       because it is either
      been otherwise impossible or involved in the             statements based on
9
      to get a stated income    transaction)                   personal knowledge or an
10    loan with those terms at  Mr. Lujan signed multiple      opposing party’s
11    that time.”               agreements confirming          statement.
12    DE 17-7, Lujan Decl. at   there were no promises or             Foti’s cited
      Page ID 2170, ¶ 7.        guarantees. DE 17-7,           evidence does not address
13
                                Lujan Decl. at Page ID         or controvert the fact at
14                              2180; DE 17-7, Lujan           issue.
15                              Decl. at Page ID 2185;
16
                                DE 17-7, Lujan Decl. at
                                Page 2191.
17
      158. Malu Lujan testifies Marshall: This Defendant       Undisputed as to
18    “Senior Banking           lacks the knowledge or         Marshall. He does not
19    Specialist” Richard       information and belief to      offer any admissible
      Taylor, “told me that     dispute or declare this fact   evidence capable of
20
      Brookstone would          undisputed, as this alleged    controverting the fact at
21    probably be able to get   fact occurred prior to this    issue.
22    me ‘free and clear’ on my Defendant’s involvement
23    loan, that I would owe    with Advantis Law
      nothing on my mortgage    Group, P.C. or the other
24
      due to my lender’s fraud. individual defendants in
25    He also said Brookstone   this action.
26    would seek compensatory Marshall Decl., at ¶ --.
27
      damages up to $75,000
      and punitive damages of   Foti: DENY - Objection         Undisputed as to Foti.
28
      $675,000 per plaintiff.   (hearsay; irrelevant as to     The fact is relevant. The
                                             181
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1     Uncontroverted Fact/         Defendants’ Responses      FTC’s Reply
      Support
2
      Richard Taylor told me    Mr. Foti since no             evidence is not hearsay
3     that Brookstone had       evidence he was aware of      because it is either
4     already been offered      or involved in the            statements based on
5     substantial settlements bytransaction)                  personal knowledge or an
      JP Morgan. He estimated   Mr. Lujan signed multiple     opposing party’s
6
      settlement would take up  agreements confirming         statement.
7     to one year to complete.” there were no promises or            Foti’s cited
8     DE 17-7, Lujan Decl. at   guarantees. DE 17-7,          evidence does not address
      Page ID 2170, ¶ 8.        Lujan Decl. at Page ID        or controvert the fact at
9
                                2180; DE 17-7, Lujan          issue.
10                              Decl. at Page ID 2185;
11                              DE 17-7, Lujan Decl. at
12                              Page 2191.
      159. Michael Nava         Marshall: This Defendant      Undisputed as to
13
      testifies: “I spoke to    lacks the knowledge or        Marshall. He does not
14    Anthony Stout from        information and belief to     offer any admissible
15    Brookstone who told me I dispute or declare this fact   evidence capable of
16    had a number of different undisputed, as this alleged   controverting the fact at
      counts on which to sue    fact occurred prior to this   issue.
17
      Chase Bank and            Defendant’s involvement
18    Brookstone would sue      with Advantis Law
19    Chase Bank for me.        Group, P.C. or the other
      Anthony Stout told me     individual defendants in
20
      that the counts against   this action.
21    Chase Bank were           Marshall Decl., at ¶ --.
22    fraudulent concealment,
23    intentional               Foti: DENY - Objection        Undisputed as to Foti.
      misrepresentation, and    (hearsay; irrelevant as to    The fact is relevant. The
24
      negligence. I asked for a Mr. Foti since no             evidence is not hearsay
25    copy of the preliminary   evidence he was aware of      because it is either
26    report at least twice.    or involved in the            statements based on
27
      Brookstone never          transaction)                  personal knowledge or an
      provided the preliminary Mr. Nava signed multiple       opposing party’s
28
      report to me.”            agreements confirming         statement.
                                             182
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      DE 17-4, Nava Decl. at       there were no promises or             Foti’s cited
3     Page ID 2094-95, ¶ 5.        guarantees. DE 17-4,           evidence does not address
4                                  Nava Decl. at Page ID          or controvert the fact at
5                                  2099; DE 17-4, Nava            issue.
                                   Decl. at Page ID 2104.
6
      160. Michael Nava            Marshall: This Defendant       Undisputed as to
7     testifies: “Brookstone       lacks the knowledge or         Marshall. He does not
8     offered to file a lawsuit on information and belief to      offer any admissible
9
      my behalf as part of the     dispute or declare this fact   evidence capable of
      Potter v. Chase case.        undisputed, as this alleged    controverting the fact at
10
      Anthony Stout told me        fact occurred prior to this    issue.
11    that I could get $75,000     Defendant’s involvement
12    for my participation in the with Advantis Law
      joint lawsuit. He also said Group, P.C. or the other
13
      I could get an additional    individual defendants in
14    $750,000 due to my           this action.
15    individual
16    circumstances.”              Marshall Decl., at ¶ --.
      DE 17-4, Nava Decl. at
17
      Page ID 2095, ¶ 6.           Foti: DENY - Objection         Undisputed as to Foti.
18                                 (hearsay; irrelevant as to     The fact is relevant. The
19                                 Mr. Foti since no              evidence is not hearsay
                                   evidence he was aware of       because it is either
20
                                   or involved in the             statements based on
21                                 transaction)                   personal knowledge or an
22                                 Mr. Nava signed multiple       opposing party’s
23                                 agreements confirming          statement.
                                   there were no promises or             Foti’s cited
24
                                   guarantees. DE 17-4,           evidence does not address
25                                 Nava Decl. at Page ID          or controvert the fact at
26                                 2099; DE 17-4, Nava            issue.
27
                                   Decl. at Page ID 2104.
      161. Michael Nava            Marshall: This Defendant       Undisputed as to
28
      testifies: “Anthony Stout lacks the knowledge or            Marshall. He does not
                                               183
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      told me that I definitely    information and belief to      offer any admissible
3     had a very strong case, it   dispute or declare this fact   evidence capable of
4     was basically a done deal,   undisputed, as this alleged    controverting the fact at
5     and filing the lawsuit       fact occurred prior to this    issue.
      would get me those           Defendant’s involvement
6
      results. He said I could     with Advantis Law
7     get the $75,000, and the     Group, P.C. or the other
8     bank would try to            individual defendants in
      negotiate the $750,000       this action.
9
      claim by lowering my         Marshall Decl., at ¶ --.
10    loan amount.”
11    DE 17-4, Nava Decl. at       Foti: DENY - Objection         Undisputed as to Foti.
12    Page ID 2095, ¶ 7.           (hearsay; irrelevant as to     The fact is relevant. The
                                   Mr. Foti since no              evidence is not hearsay
13
                                   evidence he was aware of       because it is either
14                                 or involved in the             statements based on
15                                 transaction)                   personal knowledge or an
16
                                   Mr. Nava signed multiple       opposing party’s
                                   agreements confirming          statement.
17
                                   there were no promises or             Foti’s cited
18                                 guarantees. DE 17-4,           evidence does not address
19                                 Nava Decl. at Page ID          or controvert the fact at
                                   2099; DE 17-4, Nava            issue.
20
                                   Decl. at Page ID 2104.
21
22    162. Ronald Kolodziej        Marshall: This Defendant       Undisputed as to
23    testifies being told by a    lacks the knowledge or         Marshall. He does not
      Banking Specialist: “[I]t    information and belief to      offer any admissible
24
      was not a question of        dispute or declare this fact   evidence capable of
25    whether I would win my       undisputed, as this alleged    controverting the fact at
26    cases, but how much          fact occurred prior to this    issue.
27
      money I would get. He        Defendant’s involvement
      never identified not         with Advantis Law
28
      winning as a                 Group, P.C. or the other
                                               184
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1     Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
      Support
2
      consideration.”            individual defendants in
3     DE 17-2, Kolodziej Decl.   this action.
4     at Page ID 1999-2000, ¶    Marshall Decl., at ¶ --.
5     8.
                                 Foti: DENY - Objection       Undisputed as to Foti.
6
                                 (hearsay; irrelevant as to   The fact is relevant. The
7                                Mr. Foti since no            evidence is not hearsay
8                                evidence he was aware of     because it is either
                                 or involved in the           statements based on
9
                                 transaction)                 personal knowledge or an
10                               Mr. Kolodziej signed         opposing party’s
11                               multiple agreements          statement.
12                               confirming there were no            Foti’s cited
                                 promises or guarantees.      evidence does not address
13
                                 DE 17-3, Kolodziej Decl.     or controvert the fact at
14                               at Page ID 2022 and          issue.
15                               2033; DE 17-3, Kolodziej
16
                                 Decl. at Page ID 2029
                                 and 2039-40; DE 17-3,
17
                                 Kolodziej Decl. at Page
18                               ID 2046.
19    163. Ronald Kolodziej      Marshall: This Defendant     Undisputed as to
      testifies being told by a  lacks the knowledge or       Marshall. He does not
20
      Banking Specialist:        information and belief to    offer any admissible
21    “Brookstone told me that dispute or declare this fact   evidence capable of
22    I would win at least some undisputed, as this alleged   controverting the fact at
23    loan forgiveness through fact occurred prior to this    issue.
      the lawsuit. They said     Defendant’s involvement
24
      that my potential recovery with Advantis Law
25    was two to three hundred Group, P.C. or the other
26    thousand dollars, and a    individual defendants in
27
      drastically reduced        this action.
      interest rate. Brookstone Marshall Decl., at ¶ --.
28
      told me that based on the
                                            185
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      value of my properties, I   Foti: DENY - Objection         Undisputed as to Foti.
3     could expect to recover a   (hearsay; irrelevant as to     The fact is relevant. The
4     couple hundred thousand     Mr. Foti since no              evidence is not hearsay
5     dollars.”                   evidence he was aware of       because it is either
      DE 17-2, Kolodziej Decl.    or involved in the             statements based on
6
      at Page ID 2000, ¶ 9.       transaction)                   personal knowledge or an
7                                 Mr. Kolodziej signed           opposing party’s
8                                 multiple agreements            statement.
                                  confirming there were no              Foti’s cited
9
                                  promises or guarantees.        evidence does not address
10                                DE 17-3, Kolodziej Decl.       or controvert the fact at
11                                at Page ID 2022 and            issue.
12                                2033; DE 17-3, Kolodziej
                                  Decl. at Page ID 2029
13
                                  and 2039-40; DE 17-3,
14                                Kolodziej Decl. at Page
15                                ID 2046.
16    164. Ronald Kolodziej       Marshall: This Defendant       Undisputed as to
      testifies being told by a   lacks the knowledge or         Marshall. He does not
17
      Banking Specialist: “I      information and belief to      offer any admissible
18    would be added to a         dispute or declare this fact   evidence capable of
19    lawsuit against Bank of     undisputed, as this alleged    controverting the fact at
      America (“BOA”), who        fact occurred prior to this    issue.
20
      now owned Countrywide,      Defendant’s involvement
21    very shortly. He said       with Advantis Law
22    BOA would probably not      Group, P.C. or the other
23    want to go to court and     individual defendants in
      would want to settle the    this action.
24
      case. I was told that it    Marshall Decl., at ¶ --.
25    would take three to six
26    months to get the loan      Foti: DENY - Objection         Undisputed as to Foti.
27
      forgiveness and reduced     (hearsay; irrelevant as to     The fact is relevant. The
      interest rate.”             Mr. Foti since no              evidence is not hearsay
28
      DE 17-2, Kolodziej Decl.    evidence he was aware of       because it is either
                                              186
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      at Page ID 2000, ¶ 10.      or involved in the             statements based on
3                                 transaction)                   personal knowledge or an
4                                 Mr. Kolodziej signed           opposing party’s
5                                 multiple agreements            statement.
                                  confirming there were no              Foti’s cited
6
                                  promises or guarantees.        evidence does not address
7                                 DE 17-3, Kolodziej Decl.       or controvert the fact at
8                                 at Page ID 2022 and            issue.
                                  2033; DE 17-3, Kolodziej
9
                                  Decl. at Page ID 2029
10                                and 2039-40; DE 17-3,
11                                Kolodziej Decl. at Page
12                                ID 2046.
      165. Raymond Navarro Marshall: This Defendant              Undisputed as to
13
      testifies to a conversation lacks the knowledge or         Marshall. He does not
14    “with a Brookstone Law      information and belief to      offer any admissible
15    P.C. employee who told      dispute or declare this fact   evidence capable of
16    me that based on what I     undisputed, as this alleged    controverting the fact at
      owed on my house, and       fact occurred prior to this    issue.
17
      the practices of my         Defendant’s involvement
18    lender, Wells Fargo, I was with Advantis Law
19    a good candidate for        Group, P.C. or the other
      litigation.”                individual defendants in
20
      DE 17-5, Navarro Decl.      this action.
21    at Page ID 2108, ¶ 5.       Marshall Decl., at ¶ --.
22
23                                 Foti: DENY - Objection        Undisputed as to Foti.
                                   (hearsay; irrelevant as to    The fact is relevant. The
24
                                   Mr. Foti since no             evidence is not hearsay
25                                 evidence he was aware of      because it is either
26                                 or involved in the            statements based on
27
                                   transaction)                  personal knowledge or an
                                   Mr. Navarro signed            opposing party’s
28
                                   multiple agreements           statement.
                                              187
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   confirming there were no              Foti’s cited
3                                  promises or guarantees.        evidence does not address
4                                  DE 17-5, Navarro Decl.         or controvert the fact at
5                                  at Page ID 2114; DE 17-        issue.
                                   5, Navarro Decl. at Page
6
                                   ID 2118; DE 17-5,
7                                  Navarro Decl. at Page ID
8                                  2123-24.
9
      166. Raymond Navarro         Marshall: This Defendant       Undisputed as to
      testifies: “On September     lacks the knowledge or         Marshall. He does not
10
      8, 2011, I went to the       information and belief to      offer any admissible
11    Brookstone Law P.C.          dispute or declare this fact   evidence capable of
12    offices and met with a       undisputed, as this alleged    controverting the fact at
      Brookstone Law P.C.          fact occurred prior to this    issue.
13
      employee. At this            Defendant’s involvement
14    meeting, I was told I        with Advantis Law
15    should expect to recover     Group, P.C. or the other
16    $75,000 for both the         individual defendants in
      original loan and the loan   this action.
17
      modification and that my     Marshall Decl., at ¶ --.
18    girlfriend, who was also
19    on the loans, should also    Foti: DENY - Objection         Undisputed as to Foti.
      expect to recover $75,000    (hearsay; irrelevant as to     The fact is relevant. The
20
      for both the original loan   Mr. Foti since no              evidence is not hearsay
21    and the loan modification.   evidence he was aware of       because it is either
22    In total, we were told we    or involved in the             statements based on
23    should expect to recover     transaction)                   personal knowledge or an
      $300,000 from Wells          Mr. Navarro signed             opposing party’s
24
      Fargo, less Brookstone       multiple agreements            statement.
25    Law P.C.’s fee.”             confirming there were no       Foti’s cited evidence does
26    DE 17-5, Navarro Decl.       promises or guarantees.        not address or controvert
27
      at Page ID 2108, ¶ 6.        DE 17-5, Navarro Decl.         the fact at issue.
                                   at Page ID 2114; DE 17-
28
                                   5, Navarro Decl. at Page
                                               188
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 ID 2118; DE 17-5,
3                                Navarro Decl. at Page ID
4                                2123-24.
5     167. Many if not most of Marshall: This Defendant         Undisputed as to
      the meetings with          lacks the knowledge or         Marshall. He does not
6
      Banking Specialists were information and belief to        offer any admissible
7     not attended by attorneys. dispute or declare this fact   evidence capable of
8     DE 186-4, Torchia Decl. undisputed, as this alleged       controverting the fact at
9
      at Page ID 5375, ¶ 13      fact occurred prior to this    issue.
      (“The protocol I           Defendant’s involvement
10
      established was to have    with Advantis Law
11    an attorney present at     Group, P.C. or the other
12    some point during the      individual defendants in
      meeting with the client    this action. Marshall
13
      about the Legal Analysis Decl., at ¶ --.
14    report and to answer
15    client questions. I now    Foti: DENY - Objection         Undisputed as to Foti.
16    understand that this       (hearsay; irrelevant as to     The fact is relevant. The
      protocol was not           Mr. Foti since no              evidence is not hearsay
17
      regularly followed by the evidence he was aware of        because it is either
18    Banking Specialists.”);    or involved in the             statements based on
19    DE 284-13, Theisman        transaction)                   personal knowledge or an
      Decl. at Page ID 8078 ¶    Thurman Decl.,                 opposing party’s
20
      15, Att. 12, Foti Depo. at Attachment 53 (Torchia         statement.
21    181:17-182:6 (“Q. Is it    testimony re: attorneys at            Foti’s cited
22    your understanding that    meetings)                      evidence does not address
23    everybody met with an                                     or controvert the fact at
      attorney? A. No. I know                                   issue.
24
      that there was times that
25    that didn’t happen
26    because of the attorneys
27
      being busy or whatnot,
      but I’m not sure how often
28
      or the – when that
                                             189
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1     Uncontroverted Fact/        Defendants’ Responses   FTC’s Reply
      Support
2
      happened. Q. Do you
3     think it would be more
4     likely that somebody
5     would not meet with an
      attorney than that that
6
      they would? A. Well, I
7     guess it would depend on
8     staffing at that point. I
      don’t know. There was
9
      times that, you know,
10    there was more attorneys
11    than clients, and then
12    there was times that there
      was more clients than
13
      attorneys. So I don’t – I
14    don’t – I don’t know the
15    averages. Q. But at the
16
      very least there are
      people who met with just
17
      the banking specialist and
18    not an attorney; right? A.
19    I would say that’s
      accurate.”); DE 17-5,
20
      Navarro Decl. at Page ID
21    2108, 2110, ¶¶ 7, 12
22    (stating that at the end of
23    his sales meeting he was
      introduced to man who
24
      claimed to be Torchia, but
25    then when Navarro took
26    Brookstone to small
      claims court to recover
27
      the fees he paid to
28    Brookstone, the

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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Brookstone lawyer that
3     entered an appearance in
4     small claims court as
5     Torchia was not the man
      he had been introduced to
6
      at the end of the sales
7     meeting); DE 17,
8     Chapman Decl. at Page
      ID 1945-64 (reporting
9
      that he met with
10    “representatives” and
11    that after he signed up
12    could never get an
      appointment or phone call
13
      with an attorney); DE 17,
14    C. Durrett Decl. at 1966,
15    ¶ 8 (an attorney only took
16
      part for 10 minutes of the
      sales process); DE 17-7,
17
      Lujan Decl. at 2169-70,
18    ¶¶ 6-8 (talked only with
19    non-attorneys).
      168. Consumers paid for      Marshall: This Defendant       Undisputed as to
20
      the “Legal Analysis,” in     lacks the knowledge or         Marshall. He does not
21    amounts ranging from         information and belief to      offer any admissible
22    $895-$1500.                  dispute or declare this fact   evidence capable of
23    DE 186-4,Torchia Decl.       undisputed, as this alleged    controverting the fact at
      at Page ID 5373, ¶ 10        fact occurred prior to this    issue.
24
      (“Clients typically paid     Defendant’s involvement
25    $895 for a ‘Legal            with Advantis Law
26    Analysis’ report.”); DE      Group, P.C. or the other
27
      284-13, Theisman Decl.       individual defendants in
      at Page ID 8085 ¶ 15, Att.   this action.
28
      12, Foti Depo. at 263:4-8;   Marshall Decl., at ¶ --.
                                               191
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      DE 17, Chapman Decl. at
3     Page ID 1950; DE 17, C.      Foti: DENY - Objection        Undisputed as to Foti.
4     Durrett Decl. at Page ID     (hearsay; irrelevant as to    The fact is relevant. The
5     1966-67, ¶ 8 (“We agreed     Mr. Foti since no             evidence is not hearsay
      to pay Brookstone $895 to    evidence he was aware of      because it is either
6
      prepare an analysis          or involved in the            statements based on
7     report to check our          transaction)                  personal knowledge or an
8     mortgage records for         Thurman Decl.,                opposing party’s
      issues and evaluate          Attachment 43 (Torchia        statement.
9
      whether we had claims        testimony - not all clients          Foti’s cited
10    against Chase Bank.”);       purchased, "Some do,          evidence does not address
11    DE 17-1, Irannejad Decl.     some don’t.")                 or controvert the fact at
12    at Page ID 1976-77, ¶ 7                                    issue.
      (“He said the cost of the
13
      legal analysis was $895.
14    I gave him a check for
15    that amount, but he said
16
      Brookstone would not
      cash the check before I
17
      received the legal
18    analysis. I signed an
19    agreement with
      Brookstone to have them
20
      do the legal analysis.
21    (Attachment A.)
22    Approximately two days
23    later, he called me and
      said the cost had changed
24
      and that I would need to
25    pay $1500 for the legal
26    analysis. I paid Salvador
      Auiello the difference in
27
      cash that day.”); DE 17-
28    2, Kolodziej Decl. at Page

                                              192
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1     Uncontroverted Fact/        Defendants’ Responses   FTC’s Reply
      Support
2
      ID 1998-99, ¶ 5 (“The fee
3     for each legal analysis
4     was $895. For the three
5     legal analyses, I paid
      Brookstone a total of
6
      $2685.”); DE 17-4,
7     Leonido Decl. at Page ID
8     2076-77, ¶ 5 (“The
      paralegal told me that it
9
      looked like I had a case
10    against my lender but that
11    I would need to spend
12    $1,250 on a further legal
      analysis to determine
13
      what laws had been
14    broken. The paralegal
15    told me that Brookstone
16
      Law P.C. would
      reimburse me this money
17
      if I did not have a case. I
18    agreed to this and paid
19    the $1,250.”); DE 17-7,
      Lujan Decl. at Page ID
20
      2169, ¶ 5 (“He told me
21    Brookstone would offer
22    me a special deal and do
23    the initial legal research
      for $895 and $1000 a
24
      month for three months to
25    participate in the case.”);
26    DE 17-4, Nava Decl. at
      Page ID 2094, ¶ 4 (“I
27
      paid Brookstone $1300 to
28    do a preliminary report

                                           193
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      about whether I had a
3     case against Chase
4     Bank.”); DE 17-5,
5     Navarro Decl. at Page
      2108, ¶ 7 (“I signed two
6
      agreements. The first one
7     was for a legal analysis,
8     and I paid $895 under
      that agreement.”); DE
9
      17-6, Rios Decl. at Page
10    ID 2132, ¶ 9 (“First, on
11    May 30, 2013, I paid
12    $895 for a review of my
      mortgage documents.”).
13
      169. Consumers paid an        Marshall: This Defendant       Undisputed as to
14    initial fee for the mass      lacks the knowledge or         Marshall. He does not
15    joinder litigations, always   information and belief to      offer any admissible
16    exceeding $1,000.             dispute or declare this fact   evidence capable of
      DE 17, Chapman Decl. at       undisputed, as this alleged    controverting the fact at
17
      Page ID 1946, ¶ 7             fact occurred prior to this    issue.
18    (“Under this agreement,       Defendant’s involvement
19    we agreed to pay an           with Advantis Law
      initial fee of $3,000,        Group, P.C. or the other
20
      spread over five              individual defendants in
21    payments, as well as a        this action.
22    monthly fee of $250.”);       Marshall Decl., at ¶ --.
23    DE 17, C. Durrett Decl.
      at Page ID 1968, ¶ 12         Foti: DENY - Objection         Undisputed as to Foti.
24
      (“[I]nitial payment of        (hearsay; irrelevant as to     The fact is relevant. The
25    $3000, paid in                Mr. Foti since no              evidence is not hearsay
26    installments of $1000, and    evidence he was aware of       because it is either
27
      monthly payments of $250      or involved in the             statements based on
      for 12 months, followed       transaction)                   personal knowledge or an
28
      by monthly payments of        Foti Decl. ¶ 75 and 76         opposing party’s
                                                194
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1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
      $59.99.”); DE 17-1,       (some paid nothing)      statement.
3     Irannejad Decl. at Page                                   Foti cites only his
4     ID 1991 ($4,500 over five                          self-serving declaration,
5     payments); DE 17-2,                                which cannot controvert a
      Kolodziej Decl. at Page                            fact on summary
6
      ID 2001, ¶ 12 (referring                           judgment, and the cited
7     to his Attachment B,                               reference does not address
8     paying $6,250); DE 17-4,                           the fact at issue.
      Leonido Decl. at Page ID
9
      2077, ¶ 8 ($1,500); DE
10    17-7, Lujan Decl. at Page
11    ID 2170-71, ¶ 9 (“In
12    April 2013, I signed the
      Contingency Fee
13
      Agreement and agreed to
14    pay Brookstone $3,000 in
15    $1,000 installment
16
      payments. . . .”); DE 17-
      4, Nava Decl. at Page ID
17
      2095, ¶ 8 (“I paid
18    Brookstone $3,000 in
19    three $1,000 monthly
      payments from July-
20
      September 2013 to file a
21    case against Chase Bank
22    for me.”); DE 17-5,
23    Navarro Decl. at Page ID
      2108, ¶ 7 (“The second
24
      agreement was for the
25    mass joinder litigation,
26    and I agreed to pay
      $3,000 plus $250 per
27
      month during the course
28    of the litigation.”); DE

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1     Uncontroverted Fact/        Defendants’ Responses      FTC’s Reply
      Support
2
      17-6, Rios Decl. at Page
3     ID 2132-33, ¶ 12 (“[O]n
4     June 10, 2013, I signed a
5     retainer agreement with
      Brookstone Law, paying
6
      $1,500 upfront and
7     agreeing to pay an
8     additional $250 per
      month.”); DE 284-14,
9
      Madden July 2017 Decl.
10    at Page ID 8126, 8419 ¶
11    3, Att. 15, Marshall’s
12    First RFAs, RFAs 70
      admitted pursuant to
13
      FRCP 36(a)(3); DE 284-
14    14, Madden July 2017
15    Decl. at Page ID 8126-27,
16
      8423-26 ¶¶ 4-5, Att. 16
      (excerpts of Marshall
17
      First Int. Resp., Int. Nos.
18    7-8 identifying no
19    defenses and identifying
      no individuals or entities
20
      suggesting any Defendant
21    is not liable), Att. 17,
22    (excerpts of Marshall
23    First RFP Resp., RFP No.
      23 identifying no
24
      documents tending to
25    disprove or call into
26    question that Corporate
      Defendants would receive
27
      advance fees.).
28
      170. Consumers paid         Marshall: This Defendant   Undisputed as to
                                            196
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      monthly fees, in many        lacks the knowledge or         Marshall. He does not
3     instances $250 per month.    information and belief to      offer any admissible
4     DE 17, Chapman Decl. at      dispute or declare this fact   evidence capable of
5     Page ID 1946, ¶ 7            undisputed, as this alleged    controverting the fact at
      (“Under this agreement,      fact occurred prior to this    issue.
6
      we agreed to pay an          Defendant’s involvement
7     initial fee of $3,000,       with Advantis Law
8     spread over five             Group, P.C. or the other
      payments, as well as a       individual defendants in
9
      monthly fee of $250.”);      this action.
10    DE 17, C. Durrett Decl.      Marshall Decl., at ¶ --.
11    at Page ID 1968, ¶ 12
12    (“[I]nitial payment of       Foti: DENY - Objection         Undisputed as to Foti.
      $3000, paid in               (hearsay; irrelevant as to     The fact is relevant. The
13
      installments of $1000, and   Mr. Foti since no              evidence is not hearsay
14    monthly payments of $250     evidence he was aware of       because it is either
15    for 12 months, followed      or involved in the             statements based on
16
      by monthly payments of       transaction)                   personal knowledge or an
      $59.99.”); DE 17-1,          Only nine declarations         opposing party’s
17
      Irannejad Decl. at Page      obtained in context of         statement. The evidence
18    1991 (“A monthly legal       legal services provided on     he cites does not address
19    fee of $250.00.”); DE 17-    behalf of 2,468 plaintiffs.    or controvert the fact at
      3, Kolodziej Decl. at Page                                  issue.
20
      ID 2025 ($250 monthly                                              He cites no
21    fee); DE 17-4, Leonido                                      evidence to controvert the
22    Decl. at Page ID 2077, ¶                                    fact at issue.
23    8 (“250 per month
      thereafter for 12 months
24
      and then a $59.99
25    monthly fee for the
26    duration of the
      litigation.”); DE 17-7,
27
      Lujan Decl. at Page ID
28    2170-71, ¶ 9 (“The

                                               197
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      Contingency Fee
3     Agreement also required
4     a $250 monthly payment
5     for 12 months.”); DE 17-
      4, Nava Decl. at Page ID
6
      2095, ¶ 9 (“Pursuant to
7     the agreement, I paid
8     Brookstone a $250
      monthly fee from October
9
      2013-November 2014.”);
10    DE 17-5, Navarro Decl.
11    at Page ID 2108, ¶ 7
12    (“The second agreement
      was for the mass joinder
13
      litigation, and I agreed to
14    pay $3,000 plus $250 per
15    month during the course
16
      of the litigation.”); DE
      17-6, Rios Decl. at Page
17
      ID 2132-33, ¶ 12 (“[O]n
18    June 10, 2013, I signed a
19    retainer agreement with
      Brookstone Law, paying
20
      $1,500 upfront and
21    agreeing to pay an
22    additional $250 per
23    month.”).
      171. The Corporate            Marshall: This Defendant       Undisputed as to
24
      Defendants did not            lacks the knowledge or         Marshall. He does not
25    deposit the fees it           information and belief to      offer any admissible
26    collected into client trust   dispute or declare this fact   evidence capable of
27
      accounts or an IOLTA          undisputed, as this alleged    controverting the fact at
      account.                      fact occurred prior to this    issue.
28
      DE 284-5, Second              Defendant’s involvement
                                                198
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      Declaration of Emil T.       with Advantis Law
3     George dated July 6,         Group, P.C. or the other
4     2017 (“George July 6,        individual defendants in
5     2017 Decl.”) at Page ID      this action.
      7265-66 ¶ 5; DE 284-14,      Marshall Decl., at ¶ --.
6
      Madden July 2017 Decl.
7     at Page ID 8126, 8419 ¶     Foti: DENY - irrelevant        Undisputed as to Foti.
8     3, Att. 15, Marshall’s      (no evidence Mr. Foti had      The fact is relevant. He
      First RFAs, RFA 71          any signing authority on       cites no evidence to
9
      admitted pursuant to        any banking or merchant        controvert the fact at
10    FRCP 36(a)(3) .             processing accounts or         issue.
11                                had any involvement with
12                                depositing any funds on
                                  behalf of Corporate
13
                                  Defendants)
14    172. Brookstone             Marshall: This Defendant       Undisputed as to
15    received ethics advice that lacks the knowledge or         Marshall. He does not
16    its “non-refundable” flat   information and belief to      offer any admissible
      fees were not true retainer dispute or declare this fact   evidence capable of
17
      fees: “The retainer         undisputed, as this alleged    controverting the fact at
18    agreements should be        fact occurred prior to this    issue.
19    amended to remove the       Defendant’s involvement
      language that the retainer with Advantis Law
20
      fees are non-refundable     Group, P.C. or the other
21    unless the payment is       individual defendants in
22    used to insure availability this action.
23    and not to any extent to    Marshall Decl., at ¶ --.
      compensate Brookstone
24
      for providing legal         Foti: DENY - Objections        Undisputed as to Foti.
25    services. Given that        (irrelevant; failure to        The fact is relevant. The
26    Brookstone’s attorneys do authenticate; hearsay;           document(s) are genuine
27
      not currently keep track of subject to attorney-client     and authentic, as
      the time spent on each      communication and work         established by the
28
      client, it would be         product privilege asserted     evidence the FTC
                                              199
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1     Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
      Support
2
      difficult for Brookstone to
                                previously by Mr.              submitted in support of
3     track the time spent in   Torchia. No foundation         the fact. The evidence is
4     case a client terminates  the documents are              not hearsay to the extent
5     Brookstone’s              genuine, who prepared          not offered for the truth of
      representation before the them, whether Mr. Foti         the matter asserted. All
6
      matter is resolved or     ever received, knew about      parties potentially holding
7     adjudicated. We           or had anything to do with     a relevant attorney-client
8     recommend that            them and whether any of        privilege have waived that
      Brookstone’s lawyers      them were ever used in         privilege. See Madden 8-
9
      begin keeping track of    any presentations to           14-17 Decl. ¶ 5.
10    their time to provide a   consumers. In addition,        Foti’s cited evidence does
11    basis to show that fees   advice related to              not controvert the fact at
12    have been earned.”        supervision of                 issue.
      DE 284-8, at Page ID      nonattorneys regarding
13
      7487, DE 284-10, DE       the dispensation of "legal
14    284-11, at Page ID 7803-  advice" under state ethics
15    7822, Theisman Decl. ¶    laws, not any claims
16
      4.hhh                     relating to this action.)
                                Thurman Decl.,
17
                                Attachment 54 (Vito
18                              clawback request - FTC-
19                              RFP-0149575-0149576)
      173. Brookstone           Marshall: This Defendant       Undisputed as to
20
      received ethics advice    lacks the knowledge or         Marshall. He does not
21    noting that Brookstone    information and belief to      offer any admissible
22    did not perform conflicts dispute or declare this fact   evidence capable of
23    checks when retaining     undisputed, as this alleged    controverting the fact at
      clients and stating that  fact occurred prior to this    issue.
24
      this was problematic.     Defendant’s involvement
25    DE 284-8, at Page ID      with Advantis Law
26    7487, DE 284-10, DE       Group, P.C. or the other
27
      284-11, at Page ID 7803- individual defendants in
      7822, Theisman Decl. at ¶ this action.
28
      4.hhh.                    Marshall Decl., at ¶ --.
                                              200
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
3                                 Foti: DENY - Objections       Undisputed as to Foti.
4                                 (irrelevant; failure to       The fact is relevant. The
5                                 authenticate; hearsay;        document(s) are genuine
                                  subject to attorney-client    and authentic, as
6
                                  communication and work        established by the
7                                 product privilege asserted    evidence the FTC
8                                 previously by Mr.             submitted in support of
                                  Torchia. No foundation        the fact. The evidence is
9
                                  the documents are             not hearsay to the extent
10                                genuine, who prepared         not offered for the truth of
11                                them, whether Mr. Foti        the matter asserted. All
12                                ever received, knew about     parties potentially holding
                                  or had anything to do with    a relevant attorney-client
13
                                  them and whether any of       privilege have waived that
14                                them were ever used in        privilege. See Madden 8-
15                                any presentations to          14-17 Decl. ¶ 5.
16
                                  consumers. In addition,       Foti’s cited evidence does
                                  advice related to             not controvert the fact at
17
                                  supervision of                issue.
18                                nonattorneys regarding
19                                the dispensation of "legal
                                  advice" under state ethics
20
                                  laws, not any claims
21                                relating to this action.)
22                                Thurman Decl.,
23                                Attachment 54 (Vito
                                  clawback request - FTC-
24
                                  RFP-0149575-0149576)
25    174. FTC’s requests for Marshall: This Defendant          Undisputed as to
26    production of documents lacks the knowledge or            Marshall. He does not
27
      8-15 issued to Foti sought information and belief to      offer any admissible
      all documents supporting dispute or declare this fact     evidence capable of
28
      or tending to disprove that undisputed, as this alleged   controverting the fact at
                                             201
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1     Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
      Support
2
      consumers would win           fact occurred prior to this   issue.
3     their mass joinder            Defendant’s involvement
4     lawsuits, obtain a            with Advantis Law
5     financial benefit, be added   Group, P.C. or the other
      to mass joinder lawsuits,     individual defendants in
6
      or that the Corporate         this action.
7     Defendants had the            Marshall Decl., at ¶ --.
8     experience and capability
      to litigate the mass          Foti: DENY - Objection        Undisputed as to Foti. He
9
      joinders as promised. In      (assertion contitutes [sic]   makes no cognizable
10    response, Foti produced       argument).                    objection and cites no
11    no documents                  The fact that Foti has no     evidence to controvert the
12    controverting the FTC’s       documents in his              fact at issue.
      evidence that these claims    possession, in light of the
13
      were made and that they       fact that all of his
14    were false.                   documents relating to this
15    DE 284-8, Theisman            action were either seized
16
      Decl. at Page ID 7490 ¶       at the Brookstone
      12.                           premises on June 2, 2016,
17
                                    or seized from his home
18                                  on October 22, 2016, does
19                                  not establish any of
                                    Plaintiff's claims. More
20
                                    importantly, as a non-
21                                  attorney who relied on the
22                                  attorneys who researched,
23                                  filed and prosecuted the
                                    lawsuits on behalf of the
24
                                    Law Firms' clients, Mr.
25                                  Foti had no knowledge
26                                  regarding the facts and
                                    legal arguments
27
                                    supporting the claims, the
28                                  benefits to consumers

                                                202
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                and/or the capability of
3                               the Brookstone attorneys.
4                               However, Mr. Foti's
5                               genuine belief that such
                                was the case is shown by
6
                                the fact that he and his
7                               wife retained Brookstone
8                               to represent them in the
                                Potter action and paid the
9
                                firm $20,000 for its
10                              services. In addition, in
11                              December 2014, the
12                              California Court of
                                Appeals held that by the
13
                                third amended complaint,
14                              the Brookstone attorneys’
15                              claims “had crystallized
16
                                into four causes of action:
                                intentional
17
                                misrepresentation,
18                              negligent
19                              misrepresentation, unfair
                                competition, and wrongful
20
                                foreclosure. The first
21                              three apply to all
22                              plaintiffs, the foreclosure
23                              claim to only 90 of them.
                                The wrongful foreclosure
24
                                claim, interestingly
25                              enough, presents as
26                              pristine a common issue
                                of law as it is possible to
27
                                imagine: Its theory is that
28                              the various individual

                                           203
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   foreclosures were all
3                                  unlawful because the
4                                  eventual trustees who
5                                  foreclosed on the loan
                                   were not the original
6
                                   agents designated in the
7                                  loan papers. The claim
8                                  thus presents a tidy,
                                   discrete question of law
9
                                   common to all 90
10                                 foreclosure plaintiffs.”
11                                 Peterson v. Bank of
12                                 America Corp., 232 Cal.
                                   App. 4th 238, 246
13
                                   (Cal.App. 2014), DE-12,
14                                 pg. 174; Thurman Decl.,
15                                 Attachment 46; Foti Decl,
16
                                   42, 44, 70.

17          a.     A Consumer Survey Confirms The Misrepresentations Were
                 Made.
18
      175. Dr. Bruce Isaacson      Marshall: This Defendant   Undisputed as to
19
      of MMR Strategy Group        lacks the knowledge or     Marshall. He does not
20    conducted a survey of the    information and belief to  offer any admissible
21    Corporate Defendants’        dispute or declare this fact
                                                              evidence capable of
22    clients in accordance with   undisputed.                controverting the fact at
      standard procedures.                                    issue.
23
      DE 284-6, Isaacson           Foti: DENY - Objections Undisputed as to Foti.
24    Expert Report at Page ID     (expert report fails to    The fact is relevant. Dr.
25    7306, 7310, 7318-20 ¶ 12,    comply with FRE 702 and Isaacson’s report is
      27, 50-52.                   the Daubert standard;      appropriate expert
26
                                   irrelevant; double         testimony under Rule 702
27                                 hearsay.)                  and so is both admissible
28                                 See objections to Isaacsen and does not constitute
                                   Report                     hearsay.
                                               204
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 208 of 402 Page ID
                                       #:11406




1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      176. Dr. Isaacson found       Marshall:
3     that “80.4% of all
4     respondents answered that     Foti: DENY - Objections      Undisputed as to Foti.
5     Brookstone’s                  (expert report fails to      The fact is relevant. Dr.
      representatives said or       comply with FRE 702 and      Isaacson’s report is
6
      suggested that hiring         the Daubert standard;        appropriate expert
7     Brookstone would              irrelevant; double           testimony under Rule 702
8     definitely or probably        hearsay.)                    and so is both admissible
      achieve at least one of the   See objections to Isaacsen   and does not constitute
9
      following five outcomes:      Report                       hearsay.
10    respondents would (1)
11    win a lawsuit against the
12    company that holds their
      mortgage; (2) have the
13
      terms of their mortgage
14    changed; (3) receive
15    money; (4) have their
16
      mortgage voided; and/or
      (5) get their property free
17
      and clear of their
18    mortgage.”
19    DE 284-6, Isaacson
      Expert Report at Page ID
20
      7303 ¶ 2.
21    177. Dr. Isaacson found       Marshall: No response        Undisputed as to
22    that 64.5% of the survey                                   Marshall.
23    respondents “indicated
      that Brookstone’s             Foti: DENY - Objections      Undisputed as to Foti.
24
      representatives said or       (expert report fails to      The fact is relevant. Dr.
25    suggested they would          comply with FRE 702 and      Isaacson’s report is
26    definitely or probably win    the Daubert standard;        appropriate expert
27
      their lawsuit.”               irrelevant; double           testimony under Rule 702
      DE 284-6, Isaacson            hearsay.)                    and so is both admissible
28
      Expert Report at Page ID      See objections to Isaacsen   and does not constitute
                                                205
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      7303 ¶ 2.i.                   Report                       hearsay.
3     178. Dr. Isaacson asked       Marshall: No response        Undisputed as to
4     the survey respondents an                                  Marshall.
5     open-ended question at
      the beginning of the          Foti: DENY - Objections      Undisputed as to Foti.
6
      survey about what             (expert report fails to      The fact is relevant. Dr.
7     Brookstone                    comply with FRE 702 and      Isaacson’s report is
8     representatives said or       the Daubert standard;        appropriate expert
9
      suggested they would          irrelevant; double           testimony under Rule 702
      achieve by hiring             hearsay.)                    and so is both admissible
10
      Brookstone, more than         See objections to Isaacsen   and does not constitute
11    70% provided an answer        Report                       hearsay.
12    in their own words
      referencing one of the
13
      following three themes:
14    (1) obtaining money or a
15    settlement, getting their
16    loan reduced or modified,
      or eliminating their loan;
17
      (2) joining a lawsuit,
18    suing lender or banks, or
19    class action; or (3) saving
      their house from
20
      foreclosure or keeping or
21    saving their home.
22    DE 284-6, Isaacson
23    Expert Report at Page ID
      7322, 7323 ¶¶ 59 (Table
24
      A), 63.
25    179. Dr. Isaacson asked       Marshall: No response        Undisputed as to
26    the survey respondents an                                  Marshall.
27
      open-ended question at
      the beginning of the          Foti: DENY - Objections      Undisputed as to Foti.
28
      survey about what they        (expert report fails to      The fact is relevant. Dr.
                                               206
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 210 of 402 Page ID
                                       #:11408




1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      thought hiring Brookstone     comply with FRE 702 and      Isaacson’s report is
3     would achieve, and more       the Daubert standard;        appropriate expert
4     than 20% answered by          irrelevant; double           testimony under Rule 702
5     complaining about             hearsay.)                    and so is both admissible
      Brookstone, including the     See objections to Isaacsen   and does not constitute
6
      following statements:         Report                       hearsay.
7     “They stole my money
8     and lied to me.”
      “We gave them about
9
      $15,000 and they packed
10    and left town like a bunch
11    of thieves.”
12    “A lot of lies and
      promises. They took
13
      money from me and
14    nothing happened.”
15    DE 284-6, Isaacson
16
      Expert Report at Page ID
      7324-25 ¶¶ 66-67.
17
      180. Dr. Isaacson found       Marshall: No response        Undisputed as to
18    that if a consumer recalled                                Marshall.
19    a certain claim being
      made, more than 79%           Foti: DENY - Objections      Undisputed as to Foti.
20
      would state they were told    (expert report fails to      The fact is relevant. Dr.
21    that result was definite or   comply with FRE 702 and      Isaacson’s report is
22    probable.                     the Daubert standard;        appropriate expert
23    DE 284-6, Isaacson            irrelevant; double           testimony under Rule 702
      Expert Report at Page ID      hearsay.)                    and so is both admissible
24
      7326-29, 7332-33, 7335-       See objections to Isaacsen   and does not constitute
25    38 ¶¶ 73-74 (Table D),        Report                       hearsay.
26    80-81 (Table G), 90-91
27
      (Table K), 99-100 (Table
      O), 104-05 (Table Q).
28
      181. Dr. Isaacson found       Marshall: No response        Undisputed as to
                                               207
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                                       #:11409




1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      that 54.3% of the survey                                   Marshall.
3     respondents “indicated
4     that Brookstone’s             Foti: DENY - Objections      Undisputed as to Foti.
5     representatives said or       (expert report fails to      The fact is relevant. Dr.
      suggested that they would     comply with FRE 702 and      Isaacson’s report is
6
      definitely or probably        the Daubert standard;        appropriate expert
7     receive money.”               irrelevant; double           testimony under Rule 702
8     DE 284-6, Isaacson            hearsay.)                    and so is both admissible
      Expert Report at Page ID      See objections to Isaacsen   and does not constitute
9
      7303 ¶ 2.                     Report                       hearsay.
10
      182. Dr. Isaacson found       Marshall: No response        Undisputed as to
11    that of those who reported                                 Marshall.
12    being told they would
      definitely or probably        Foti: DENY - Objections      Undisputed as to Foti.
13
      obtain money as a result      (expert report fails to      The fact is relevant. Dr.
14    of hiring Brookstone,         comply with FRE 702 and      Isaacson’s report is
15    “80.4% answered $75,000       the Daubert standard;        appropriate expert
16    or more, including 51.7%      irrelevant; double           testimony under Rule 702
      who answered $300,000         hearsay.)                    and so is both admissible
17
      or more.”                     See objections to Isaacsen   and does not constitute
18    DE 284-6, Isaacson            Report                       hearsay.
19    Expert Report at Page ID
      7334 ¶ 95.
20
      183. Dr. Isaacson             Marshall: No response        Undisputed as to
21    concluded:                                                 Marshall.
22    “Based on the findings
23    from my survey of             Foti: DENY - Objections      Undisputed as to Foti.
      customers who had             (expert report fails to      The fact is relevant. Dr.
24
      retained Brookstone, I        comply with FRE 702 and      Isaacson’s report is
25    conclude that a substantial   the Daubert standard;        appropriate expert
26    percentage of respondents     irrelevant; double           testimony under Rule 702
27
      hired Brookstone to           hearsay.)                    and so is both admissible
      obtain a settlement or a      See objections to Isaacsen   and does not constitute
28
      modification relating to      Report                       hearsay.
                                               208
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      their mortgage, to join a
3     lawsuit, or to save a home
4     from foreclosure.”
5     DE 284-6, Isaacson
      Expert Report at Page ID
6
      7339 ¶ 109.
7     184. Dr. Isaacson             Marshall: No Response        Undisputed as to
8     concluded:                                                 Marshall.
9
      “Based on the findings
      from my survey, I also        Foti: DENY - Objections      Undisputed as to Foti.
10
      conclude that a substantial   (expert report fails to      The fact is relevant. Dr.
11    percentage of respondents     comply with FRE 702 and      Isaacson’s report is
12    believe that Brookstone’s     the Daubert standard;        appropriate expert
      representatives said or       irrelevant; double           testimony under Rule 702
13
      suggested that the            hearsay.)                    and so is both admissible
14    respondents will              See objections to Isaacsen   and does not constitute
15    definitely or probably: (a)   Report                       hearsay.
16    win their lawsuit against
      the company that holds
17
      their mortgage, and/or (b)
18    achieve outcomes such as
19    changing the terms of
      their mortgage, receiving
20
      money, having their
21    mortgage voided, or
22    getting their property free
23    and clear of their
      mortgage.”
24
      DE 284-6, Isaacson
25    Expert Report at Page ID
26    7340 ¶ 110.
27          a.     The MARS Rule Requires Certain Disclosures, None of Which
28               Were Made.
      185. The Corporate            Marshall: This Defendant     Undisputed as to
                                               209
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      Defendants’ mailers,        lacks the knowledge or         Marshall. He does not
3     websites, and retainer      information and belief to      offer any admissible
4     agreements did not          dispute or declare this fact   evidence capable of
5     include the disclosures     undisputed, as this alleged    controverting the fact at
      identified in 12 C.F.R. §   fact occurred prior to this    issue.
6
      1015.4.                     Defendant’s involvement
7     DE 17, Chapman Decl. at     with Advantis Law
8     Page ID 1948 (mailer);      Group, P.C. or the other
      id. at Page ID 1949-63      individual defendants in
9
      (agreements); DE 17, C.     this action. This
10    Durrett Decl. a Page ID     Defendant did not have
11    1971-72 (mailer); DE 17-    knowledge of or any
12    1, Irannejad Decl. at       involvement with
      Page ID 1982-92             marketing or advertising.
13
      (agreements); DE 17-1,      Marshall Decl., at ¶ --.
14    Irannejad Decl. at Page
15    ID at 1993-97 (second       Foti: DENY - Objections        Undisputed as to Foti.
16
      half of agreement); DE      (irrelevant where no           The fact is relevant.
      17-3, Kolodziej Decl. at    evidence of Mr. Foti's                Foti cites only his
17
      Page ID 2021-50             involvement in or              self-serving declaration,
18    (agreements); DE 17-4,      knowledge of any mailer,       which cannot controvert a
19    Leonido Decl. at Page ID    website or retainer            fact on summary
      2084-93 (agreement); DE     agreement requirements         judgment, and the cited
20
      17-7, Lujan Decl. at Page   and where no showing           reference does not address
21    ID 2175-76 (mailer); id.    that Corporate Defendants      the fact at issue.
22    at Page ID 2178-87          activities were "mortgage
23    (agreements); DE 17-8,      assistance services.")
      Lujan Decl. at Page ID      Foti Decl. ¶ 16.d., 18, 19,
24
      2188-93 (second half of     20, 24, 26, 29, 31.
25    agreement); id. at Page
26    ID 2194 (mailer); DE 17-
      4, Nava Decl. at Page ID
27
      2098-99 (first two pages
28    of agreement); DE 17-5,

                                              210
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1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
      Nava Decl, at Page ID
3     2100-06 (remainder of
4     agreement); DE 17-5,
5     Navarro Decl. at Page ID
      2112-25 (agreements); id.
6
      at Page ID 2128-29 (one
7     mailer and first page of
8     second mailer); DE 17-6,
      Navarro Decl. at Page ID
9
      2130 (second page of
10    mailer); DE 17-6, Rios
11    Decl. at Page ID 2135-36
12    (mailer); DE 17-6, Rios
      Decl. at Page ID 2137-41,
13
      2148-53 (agreements);
14    DE 41-2 at Page ID
15    2508-11, 2515 (mailers);
16
      DE 284-4, Chang Decl. at
      Page ID 7248 ¶¶ 4.a, 4.b,
17
      4.d; DE 41-3 at Page ID
18    2578-84 (agreement); DE
19    284-4, Chang Decl. at
      Page ID 7248 ¶ 4.o; DE
20
      41-4 at Page ID 2586-
21    2618 (agreements); DE
22    284-4, Chang Decl. at
23    Page ID 7248-49 ¶¶ 4.p,
      4.q, 4.r; DE 14-4, Gales
24
      Decl. at Page ID 1268-
25    1366 (Brookstone Law
26    website); DE 14-4, Gales
      Decl. at Page ID 1367-76
27
      (Advantis Law website);
28    Ex. 73 at FTC-RAD-002-

                                          211
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1     Uncontroverted Fact/       Defendants’ Responses            FTC’s Reply
      Support
2
      0284832 (mailer); Ex. 75
3     at FTC-RAD-001-
4     0221284-85; Ex. 76 at
5     FTC-RAD-002-0373032-
      33 (mailer); Ex. 77 at
6
      FTC-RAD-002-0373017
7     (mailer); Ex. 79 at FTC-
8     RAD-001-0088986-87
      (mailer); Ex. 80 (Ex. 79
9
      mailer was sent); DE 284-
10    8, Theisman Decl. at Page
11    ID 7485, 7571-7574,
12    7576-7591 ¶¶ 4.l, 4.n,
      4.o, 4.p, 4.q, 4.r, & 4.s;
13
      id. DE 284-8, Page ID
14    7487, 7486, DE 284-11,
15    Page ID 7843-46, DE
16
      284-10, Page ID 7754-58
      at 4.ooo, 4.ss & 4.rr; DE
17
      284-14, Madden July
18    2017 Decl. at Page ID
19    8126, 8420, ¶ 3, Att. 15,
      Marshall’s First RFAs,
20
      RFAs 82-83 admitted
21    pursuant to FRCP
22    36(a)(3).
23          a.     Consumers Do Not Receive the Promised Benefits.
24    186. Torchia declared:       Marshall: This Defendant       Undisputed as to
25    “Neither Brookstone nor      lacks the knowledge or         Marshall. He does not
      Advantis has ever won a      information and belief to      offer any admissible
26
      mass joinder case.           dispute or declare this fact   evidence capable of
27    Because there is always      undisputed, as this alleged    controverting the fact at
28    risk in litigation, I knew   fact occurred prior to this    issue.
      there was a possibility      Defendant’s involvement
                                               212
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      that we could in fact lose     with Advantis Law
3     all of the lawsuits and that   Group, P.C. or the other
4     payment to Brookstone          individual defendants in
5     and Advantis would             this action.
      increase those consumers’      Marshall Decl., at ¶ --.
6
      losses.”
7     DE 186-4, Torchia Decl.        Foti: ADMIT                    Undisputed as to Foti.
8     at Page ID 5375, ¶ 14.
9
      187. Of all of the mass        Marshall: This Defendant       Undisputed as to
      joinder cases filed prior to   lacks the knowledge or         Marshall. He does not
10
      2016, all but Wright had       information and belief to      offer any admissible
11    been dismissed and none        dispute or declare this fact   evidence capable of
12    had resulted in a judgment     undisputed, as this alleged    controverting the fact at
      for plaintiffs.                fact occurred prior to this    issue.
13
      DE 12, Madden May 2016         Defendant’s involvement
14    Decl. at Page ID 353, Att.     with Advantis Law
15    1, Page ID 361, Att. 2;        Group, P.C. or the other
16    Page ID 377, Att. 4; Page      individual defendants in
      ID 414, 418, Att. 6; Page      this action.
17
      ID 420, 434, Atts. 7-8;        Marshall Decl., at ¶ --.
18    Page ID 439, 442-43,
19    455-56, Atts. 9-11; Page       Foti: DENY                     Undisputed as to Foti. He
      ID 457, Att. 12; Page ID       Thurman Decl.,                 cites only evidence of
20
      463, 480, 482, Atts. 14 &      Attachment 49, 50, 51,         additional cases filed after
21    16; Page ID 489, 491 Att.      and 52 (Cases still            January 1, 2016, which
22    17; Page ID 498, 502 Att.      pending after January 1,       does not controvert the
23    19; Page ID 512, 515, Att.     2016: Abdullah Aslami vs.      fact at issue.
      21; Page ID 600, 603, Att.     National Default
24
      26; DE 13, Madden May          Servicing Corporation
25    2016 Decl. at Page ID          (30-2016-00844390-CU-
26    726, 732, Att. 29; See DE      OR-CJC); Lawley vs.
27
      17, Chapman Decl. at           Bank of America NA (37-
      Page ID 1947, ¶¶ 11-12;        2016)-00011715-CU-OR-
28
      DE 17, C. Durrett Decl. a       CTL); Karie Wasinack
                                                 213
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      Page ID 1968-70, ¶¶ 15-     vs. Quality Loan Service
3     22; DE 17-1, Irannejad      Corp. (RIC 1601230);
4     Decl. at Page ID 1979-81,   John P. Wright vs. Bank
5     ¶¶ 16-22; DE 17-2 ,         of America, N.A. (30-
      Kolodziej Decl. at Page     2011-00449059-CU-MT-
6
      ID 2002-04, ¶¶ 16-22;       CXC); 80 additional
7     DE 17-4, Leonido Decl. at   Wright plaintiffs added in
8     Page ID 2077-79, ¶¶ 10-     May 2016.)
      14; DE 17-7, Lujan Decl.
9
      at Page ID 2171-72, ¶¶
10    10-14; DE 17-4, Nava
11    Decl. at Page ID 2095-96,
12    ¶¶ 10-12; DE 17-5,
      Navarro Decl. at Page ID
13
      2109-10, ¶¶ 8-13; DE 17-
14    6, Rios Decl. at Page ID
15    2133, ¶¶ 13-16.
16    188. Although Wright is     Marshall: Disputed.          Undisputed as to
      still active, it has not    Petersen v. Bank of          Marshall. He does not
17
      progressed beyond the       America, 232 Cal. App.       offer any admissible
18    filing of a complaint.      4th 238, 254 (2014).         evidence capable of
19    DE 284-14, Madden July                                   controverting the fact at
      2017 Decl. at Page ID                                    issue, including his self-
20
      8124, 8129-73 ¶ 2.a, Att.                                serving declaration, which
21    1.                                                       cannot be used to create a
22                                                             genuine dispute as to a
23                                                             material fact on summary
                                                               judgment.
24
25
26                                Foti: ADMIT                  Undisputed as to Foti.
27
                                  As the appellate court
                                  stated in the Wright case,
28
                                  "In this case it will
                                             214
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1     Uncontroverted Fact/           Defendants’ Responses      FTC’s Reply
      Support
2
                                     obviously be a while
3                                    before this complaint is
4                                    ready for the prime time
5                                    of a trial." Peterson v.
                                     Bnak of America Corp.,
6
                                     232 Cal.App.4th 238, 254
7                                    n.19 (Cal.App. 2014)
8     189. On appeal in              Marshall: Disputed.        Undisputed as to
9
      Wright, the California         Marshall Decl., at ¶ --.   Marshall. He does not
      Court of Appeal stated                                    offer any admissible
10
      that Brookstone’s                                         evidence capable of
11    complaint, as filed, was                                  controverting the fact at
12    not viable and criticized it                              issue, including his self-
      as “scattered and                                         serving declaration, which
13
      desultory allegations.”                                   cannot be used to create a
14    Petersen v. Bank of                                       genuine dispute as to a
15    America, 232 Cal. App.                                    material fact on summary
16    4th 238, 254 (2014).                                      judgment.

17
                                     Foti: ADMIT                Undisputed as to Foti.
18                                   However, the California
19                                   Court of Appeals also
                                     stated that by the time of
20
                                     the third amended
21                                   complaint, the Brookstone
22                                   attorneys’ claims “had
23                                   crystallized into four
                                     causes of action:
24
                                     intentional
25                                   misrepresentation,
26                                   negligent
27
                                     misrepresentation, unfair
                                     competition, and wrongful
28
                                     foreclosure. The first
                                                215
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                   three apply to all
3                                  plaintiffs, the foreclosure
4                                  claim to only 90 of them.
5                                  The wrongful foreclosure
                                   claim, interestingly
6
                                   enough, presents as
7                                  pristine a common issue
8                                  of law as it is possible to
                                   imagine: Its theory is that
9
                                   the various individual
10                                 foreclosures were all
11                                 unlawful because the
12                                 eventual trustees who
                                   foreclosed on the loan
13
                                   were not the original
14                                 agents designated in the
15                                 loan papers. The claim
16
                                   thus presents a tidy,
                                   discrete question of law
17
                                   common to all 90
18                                 foreclosure plaintiffs.”
19                                 Peterson v. Bank of
                                   America Corp., 232 Cal.
20
                                   App. 4th 238, 246
21                                 (Cal.App. 2014).
22    190. Currently in            Marshall: Disputed.           Undisputed as to
23    Wright, a demurrer is                                      Marshall. He does not
      pending and many of the                                    offer any admissible
24
      plaintiffs have stipulated                                 evidence capable of
25    to a dismissal with                                        controverting the fact at
26    prejudice in exchange for                                  issue, including his self-
27
      Bank of America agreeing                                   serving declaration, which
      not to seek costs.                                         cannot be used to create a
28
      DE 284-14, Madden July                                     genuine dispute as to a
                                              216
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 220 of 402 Page ID
                                       #:11418




1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      2017 Decl. at Page ID                                       material fact on summary
3     8124, 8129-8258 ¶¶ 2.a-                                     judgment.
4     e, Att. 1-5.
5                                 Foti: DENY - Objection          Undisputed as to Foti.
                                  (irrelevant where FTC           The fact is relevant.
6
                                  injunction has denied                  Foti cites only his
7                                 plaintiffs their counsel in     self-serving declaration,
8                                 the Wright action;              which cannot controvert a
                                  irrelevant as to Mr. Foti       fact on summary
9
                                  where no evidence he had        judgment, and the cited
10                                any knowledge or                reference does not address
11                                involvement regarding the       the fact at issue.
12                                handling or status of any
                                  of the legal actions)
13
                                  Foti Decl. ¶ 57, 58, 75,
14                                76, 7, 78, 79, 80
15    191. Brookstone lost a      Marshall: This Defendant        Undisputed as to
16    number of mass joinder      lacks the knowledge or          Marshall. He does not
      cases on the merits.        information and belief to       offer any admissible
17
      DE 12, Madden May           dispute or declare this fact    evidence capable of
18    2016 Decl., at Page ID      undisputed, as this alleged     controverting the fact at
19    414, 418, Att. 6; 463, 480, fact occurred prior to this     issue.
      482, Atts. 14 & 16; Page Defendant’s involvement
20
      ID 512, 515, Att. 21; DE    with Advantis Law
21    13 at Page ID 727, 732,     Group, P.C. or the other
22    Att. 29.                    individual defendants in
23                                this action.
                                  Marshall Decl., at ¶ --.
24
25                                 Foti: DENY - Objection         Undisputed as to Foti.
26                                 (misstates the evidence -      The fact is relevant and
27
                                   none of the outcomes           supported by the cited
                                   were the result of trials on   evidence.
28
                                   the merits or even                   Foti cites no
                                               217
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 221 of 402 Page ID
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
                                   summary judgment             evidence to controvert the
3                                  determinations against the fact at issue.
4                                  plaintiffs; irrelevant as to
5                                  Mr. Foti where no
                                   evidence he had any
6
                                   knowledge or
7                                  involvement regarding the
8                                  handling or status of any
                                   of the legal actions)
9
                                   DE 12, Madden May
10                                 2016 Decl., at Page ID
11                                 414, 418, Att. 6; 463, 480,
12                                 482, Atts. 14 & 16; Page
                                   ID 512, 515, Att. 21; DE
13
                                   13 at Page ID 727, 732,
14                                 Att. 29. Tarkowski
15                                 deposition (Thurman
16
                                   Decl., Att. 73, pgs. 98:4-
                                   99:16, 117-119:10)
17
      192. In Wells Fargo          Marshall:                    Undisputed as to
18    Bank Mortgage Cases,                                      Marshall. He does not
19    JCCP No. 4711,                                            offer any admissible
      Coordinated Actions                                       evidence capable of
20
      Mireles, et al. v. Wells                                  controverting the fact at
21    Fargo Bank N.A., et al.                                   issue.
22    No. BC467652 and
23    Roberts, et al. v. Wells     Foti: DENY - Objection       Undisputed as to Foti.
      Fargo Bank N.A., et al.      (irrelevant as to Mr. Foti   The fact is relevant.
24
      No. 34-2011-00110146, a      where no evidence he had            Foti cites only his
25    September 12, 2013           any knowledge or             self-serving declaration,
26    decision sustained Wells     involvement regarding the    which cannot controvert a
27
      Fargo’s demurrer without     handling or status of any    fact on summary
      leave to amend, finding:     of the legal actions)        judgment, and the cited
28
      the complaint “is recycled   Foti Decl. ¶ 57, 58, 75,     reference does not address
                                              218
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 222 of 402 Page ID
                                       #:11420




1     Uncontroverted Fact/        Defendants’ Responses   FTC’s Reply
      Support
2
      from other cases, by other 76, 7, 78, 79, 80        the fact at issue.
3     plaintiffs, represented by
4     other lawyers, against
5     other defendants.” at p. 1;
      the complaint “matches
6
      the invalid complaint
7     described in the Bank of
8     America case.
      Comparing the two
9
      documents establishes
10    that the pleading by Luis
11    Mireles in this case is
12    unoriginal. As the Bank
      of America complaint
13
      lacked merit, so too does
14    this complaint lack
15    merit.” at p. 2;
16
      “Copycat allegations
      warrant the same legal
17
      fate as earlier and more
18    original pleadings that
19    themselves – at the
      pleading stage –
20
      completely and
21    conclusively failed.” at
22    pp. 8-9;
23    “Mireles has not shown a
      reasonable probability he
24
      could cure the pleading
25    defects. At oral
26    argument, the court
      inquired on this topic.
27
      Mireles’s reply illustrated
28    the gulf between his

                                           219
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 223 of 402 Page ID
                                       #:11421




1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      concept of a curative
3     amendment and the
4     requirements of the law.”
5     at p. 16.
      DE 284-14, Madden July
6
      2017 Decl. at Page ID
7     8125, 8263-64, 8270-71,
8     8278 ¶ 2.g, Att. 7.
9
      193. In Potter v. JP        Marshall: This Defendant       Undisputed as to
      Morgan Chase Bank, N.A.     lacks the knowledge or         Marshall. He does not
10
      et al., BC 459627,          information and belief to      offer any admissible
11    California Superior Court   dispute or declare this fact   evidence capable of
12    for Los Angeles County,     undisputed, as this alleged    controverting the fact at
      judgment was entered in     fact occurred prior to this    issue.
13
      favor of JP Morgan          Defendant’s involvement
14    Chase.                      with Advantis Law
15    DE 12, Madden May           Group, P.C. or the other
16    2016 Decl. at Page ID       individual defendants in
      512, 515, Att. 21.          this action.
17
                                  Marshall Decl., at ¶ --.
18
19                               Foti: ADMIT                     Undisputed as to Foti.
                                 Foti Decl. 78; Tarkowski
20
                                 deposition (Thurman
21                               Decl., Att. 73, pgs. 98:4-
22                               99:16, 117-119:10)
23    194. In Norberto Flores Marshall: This Defendant           Undisputed as to
      Zenteno et al. v. Aurora   lacks the knowledge or          Marshall. He does not
24
      Loan Services, LLC et al., information and belief to       offer any admissible
25    BC460262, California       dispute or declare this fact    evidence capable of
26    Superior Court for Los     undisputed, as this alleged     controverting the fact at
27
      Angeles County,            fact occurred prior to this     issue.
      judgment was entered in    Defendant’s involvement
28
      favor of defendants.       with Advantis Law
                                              220
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                                       #:11422




1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
      DE 13, Madden May          Group, P.C. or the other
3     2016 Decl. at Page ID      individual defendants in
4     727, 732, Att. 29.         this action.
5                                Marshall Decl., at ¶ --.

6
                                Foti: DENY - Objection         Undisputed as to Foti.
7                               (irrelevant as to Mr. Foti     The fact is relevant.
8                               where no evidence he had              Foti cites only his
                                any knowledge or               self-serving declaration,
9
                                involvement regarding the      which cannot controvert a
10                              handling or status of any      fact on summary
11                              of the legal actions)          judgment, and the cited
12                              Foti Decl ¶ 57, 58, 75, 76,    reference does not address
                                7, 78, 79, 80                  the fact at issue.
13
      195. In James Hughes et Marshall: This Defendant         Undisputed as to
14    al. v. Ocwen Financial    lacks the knowledge or         Marshall. He does not
15    Corp. et al., BC559747,   information and belief to      offer any admissible
16    California Superior Court dispute or declare this fact   evidence capable of
      for Los Angeles County,   undisputed, as this alleged    controverting the fact at
17
      the mass joinder was      fact occurred prior to this    issue.
18    dismissed for want of     Defendant’s involvement
19    prosecution.              with Advantis Law
      DE 12, Madden May         Group, P.C. or the other
20
      2016 Decl. at Page ID     individual defendants in
21    457, Att. 12.             this action.
22                              Marshall Decl., at ¶ --.
23
                                 Foti: DENY - Objection        Undisputed as to Foti.
24
                                 (irrelevant as to Mr. Foti    The fact is relevant.
25                               where no evidence he had             Foti cites only his
26                               any knowledge or              self-serving declaration,
27
                                 involvement regarding the     which cannot controvert a
                                 handling or status of any     fact on summary
28
                                 of the legal actions)         judgment, and the cited
                                             221
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
                                  Foti Decl ¶ 57, 58, 75,        reference does not address
3                                 76,7, 78, 79, 80               the fact at issue.
4     196. In many instances,     Marshall: This Defendant       Undisputed as to
5     Brookstone voluntarily      lacks the knowledge or         Marshall. He does not
      dismissed mass joinder      information and belief to      offer any admissible
6
      actions it had filed.       dispute or declare this fact   evidence capable of
7     DE 12, Madden May           undisputed, as this alleged    controverting the fact at
8     2016 Decl. at Page ID       fact occurred prior to this    issue.
9
      353, 360 Att. 1, Page ID    Defendant’s involvement
      361, 371 Att. 2, Page ID    with Advantis Law
10
      377, 384, Att. 4, Page ID   Group, P.C. or the other
11    439, 442, 455-56, Atts.     individual defendants in
12    10-11, Page ID 489, 491     this action.
      Att. 17, Page ID 498, 502   Marshall Decl., at ¶ --.
13
      Att. 19.
14                                Foti: DENY - Objection      Undisputed as to Foti.
15                                (irrelevant as to Mr. Foti  The fact is relevant.
16                                where no evidence he had           Foti cites only his
                                  any knowledge or            self-serving declaration,
17
                                  involvement regarding the   which cannot controvert a
18                                handling or status of any   fact on summary
19                                of the legal actions)       judgment, and the cited
                                                              reference does not address
20
                                  Foti Decl ¶ 57, 58, 75, 76, the fact at issue.
21                                7, 78, 79, 80
22    197. The Corporate          Marshall: This Defendant Undisputed as to
23    Defendants did not seek     lacks the knowledge or      Marshall. He does not
      to void consumers’          information and belief to offer any admissible
24
      mortgage notes through      dispute or declare part of evidence capable of
25    mass joinder litigation     this fact undisputed, as    controverting the fact at
26    arguing “the debt isn’t     this alleged fact occurred issue.
27
      void, just the sale. The    prior to this Defendant’s
      property is still subject   involvement with
28
      to the same                 Advantis Law Group,
                                              222
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 226 of 402 Page ID
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1     Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
      Support
2
      encumbrances as existed    P.C. or the other
3     prior to the wrongful      individual defendants in
4     foreclosure sale.”         this action. Disputed. To
5     (emphasis in original).    the extent “Advantis”
      DE 13-3, Madden May        refers to Advantis Law
6
      2016 Decl. at Page ID      Group, P.C.
7     919, 942-43, Att. 50,      Marshall Decl., at ¶ --.
8     Potter v. JP Morgan
      Chase Bank N.A., No. 11- Foti: DENY - Objection         Undisputed as to Foti.
9
      10255 (C.D. Cal.) (Pltf. (irrelevant as to Mr. Foti     The fact is relevant.
10    Reply in Support of      where no evidence he had              Foti cites only his
11    Motion to Remand, at 15- any knowledge or               self-serving declaration,
12    16, (DE 24)).            involvement regarding the      which cannot controvert a
                               handling or status of any      fact on summary
13
                               of the legal actions)          judgment, and the cited
14                             Foti Decl ¶ 57, 58, 75, 76,    reference does not address
15                             7, 78, 79, 80                  the fact at issue.
16    198. Neither Brookstone Marshall: This Defendant        Undisputed as to
      nor Advantis ever        lacks the knowledge or         Marshall. He does not
17
      succeeded in a mass      information and belief to      offer any admissible
18    joinder case it filed.   dispute or declare this fact   evidence capable of
19    DE 186-4, Torchia Decl. undisputed, as this alleged     controverting the fact at
      at Page ID 5375, ¶ 14;   fact occurred prior to this    issue.
20
      DE 284-14, Madden July Defendant’s involvement
21    2017 Decl. at Page ID    with Advantis Law
22    8126, 8419-20 ¶ 3, Att.  Group, P.C. or the other
23    15, Marshall’s First     individual defendants in
      RFAs, RFAs 69, 76-77, 79 this action.
24
      admitted pursuant to     Marshall Decl., at ¶ --.
25    FRCP 36(a)(3).
26                             Foti: DENY - Objection         Undisputed as to Foti.
27
                               (irrelevant as to Mr. Foti     The fact is relevant.
                               where no evidence he had              Foti cites only his
28
                               any knowledge or               self-serving declaration,
                                            223
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    involvement regarding the      which cannot controvert a
3                                   handling or status of any      fact on summary
4                                   of the legal actions)          judgment, and the cited
5                                   Foti Decl ¶ 57, 58, 75, 76,    reference does not address
                                    7, 78, 79, 80                  the fact at issue.
6
      199. Some consumers           Marshall: This Defendant       Undisputed as to
7     who paid to be mass           lacks the knowledge or         Marshall. He does not
8     joinder clients were never    information and belief to      offer any admissible
9
      added to a mass joinder       dispute or declare this fact   evidence capable of
      case.                         undisputed, as this alleged    controverting the fact at
10
      DE 16, Kennedy Decl. at       fact occurred prior to this    issue.
11    Page ID 1562, 1580,           Defendant’s involvement
12    1589, Att. 1.C (Decision,     with Advantis Law
      In the Matter of: Vito        Group, P.C. or the other
13
      Torchia, Jr., Member No.      individual defendants in
14    244687, Case Nos. 12-O-       this action.
15    11847-RAP (12-O-              Marshall Decl., at ¶ --.
16    13469); 12-O-14081; 12-
      O-14522; 12-O-16003;          Foti: DENY - Objection         Undisputed as to Foti.
17
      12-O-17260; 12-O-             (irrelevant as to Mr. Foti     The fact is relevant.
18    17119; 12-O-18135 (State      where no evidence he had              In response, Foti
19    Bar Court of California       any knowledge or               cites his self-serving
      (Aug. 6, 2014))); id. at      involvement regarding the      declaration, which cannot
20
      Page ID 1641, 1642, Att.      handling or status of any      controvert a fact on
21    1.K (Decision and Order       of the legal actions)          summary judgment, and
22    of Involuntary Inactive       Foti Decl ¶ 57, 58, 75, 76,    the cited reference does
23    Enrollment, In the Matter     7, 78, 79, 80; Thurman         not address the fact at
      of: Vito Torchia, Jr., Case   Decl., Attachment 70.          issue. The other evidence
24
      Nos. 13-O-14835 (13-O-                                       cited does not controvert
25    15422); 14-O-01008 (14-                                      the fact at issue.
26    O-02316); 14-O-02698-
27
      YDR, (State Bar Court of
      California (Nov. 12,
28
      2015))); DE 284-14,
                                                224
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 228 of 402 Page ID
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      Madden July 2017 Decl.
3     at Page ID 8126, 8420 ¶
4     3, Att. 15, Marshall’s
5     First RFAs, RFA 81
      admitted pursuant to
6
      FRCP 36(a)(3).
7     200. The California Bar     Marshall: This Defendant       Undisputed as to
8     found Torchia “lacked       lacks the knowledge or         Marshall. He does not
9
      and continues to lack the   information and belief to      offer any admissible
      law-office-management       dispute or declare this fact   evidence capable of
10
      skills and basic            undisputed, as this alleged    controverting the fact at
11    knowledge of mortgage       fact occurred prior to this    issue.
12    lending law and             Defendant’s involvement
      bankruptcy law necessary    with Advantis Law
13
      to adequately and           Group, P.C. or the other
14    properly represent some     individual defendants in
15    4,000 mortgage loan         this action.
16    clients and to adequately   Marshall Decl., at ¶ --.
      supervise a law office
17
      staff of 30 to 40           Foti: DENY - Objection         Undisputed as to Foti.
18    employees.”                 (irrelevant as to Mr. Foti     The fact is relevant.
19    DE 16, Kennedy Decl. at     where no evidence he had              Foti cites only his
      Page ID 1565, Att. 1.C      any knowledge or               self-serving declaration,
20
      (Decision, In the Matter    involvement regarding the      which cannot controvert a
21    of: Vito Torchia, Jr.,      handling or status of any      fact on summary
22    Member No. 244687,          of the legal actions)          judgment, and the cited
23    Case Nos. 12-O-11847-       Foti Decl ¶ 57, 58             reference does not address
      RAP (12-O-13469); 12-O-                                    the fact at issue.
24
      14081; 12-O-14522; 12-
25    O-16003; 12-O-17260;
26    12-O-17119; 12-O-18135
27
      (State Bar Court of
      California (Aug. 6,
28
      2014))).
                                              225
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      201. Tarkowski was first     Marshall: This Defendant       Undisputed as to
3     admitted to the California   lacks the knowledge or         Marshall. He does not
4     Bar in 2014.                 information and belief to      offer any admissible
5     DE 16-1, Kennedy Decl.       dispute or declare this fact   evidence capable of
      at Page ID 1647.             undisputed, as this alleged    controverting the fact at
6
                                   fact occurred prior to this    issue.
7                                  Defendant’s involvement
8                                  with Advantis Law
                                   Group, P.C. or the other
9
                                   individual defendants in
10                                 this action.
11                                 Marshall Decl., at ¶ --.
12
                                 Foti: DENY - Objection           Undisputed as to Foti.
13
                                 (irrelevant as to Mr. Foti       The fact is relevant.
14                               where no evidence he had                Foti cites only his
15                               any knowledge or                 self-serving declaration,
16
                                 involvement regarding the        which cannot controvert a
                                 handling or status of any        fact on summary
17
                                 of the legal actions)            judgment, and the cited
18                               Foti Decl. ¶ 75, 76, 77,         reference does not address
19                               78, 79, 80                       the fact at issue.
      202. Tarkowski had little Marshall: This Defendant          Undisputed as to
20
      mortgage lender litigation lacks the knowledge or           Marshall. He does not
21    experience prior to        information and belief to        offer any admissible
22    working for the Corporate dispute or declare this fact      evidence capable of
23    Defendants.                undisputed, as this alleged      controverting the fact at
      DE 186-3, Tarkowski        fact occurred prior to this      issue.
24
      Decl. at Page ID 5356-57, Defendant’s involvement
25    ¶¶ 2-3, 6.                 with Advantis Law
26                               Group, P.C. or the other
27
                                 individual defendants in
                                 this action.
28
                                 Marshall Decl., at ¶ --.
                                               226
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
3                               Foti: DENY - Objection        Undisputed as to Foti.
4                               (irrelevant as to Mr. Foti    The fact is relevant.
5                               where no evidence he had             Foti cites only his
                                any knowledge or              self-serving declaration,
6
                                involvement regarding the     which cannot controvert a
7                               handling or status of any     fact on summary
8                               of the legal actions)         judgment, and the cited
                                Foti Decl. ¶ 75, 76, 77,      reference does not address
9
                                78, 79, 80                    the fact at issue.
10
      203. Marshall had no      Marshall: Undisputed.         Undisputed as to
11    prior mass joinder        That is one of the big        Marshall. He does not
12    litigation experience.    reasons Marshall sought       offer any admissible
      DE 284-14, Madden July    to coordinate with the        evidence capable of
13
      2017 Decl. at Page ID     individual co-                controverting the fact at
14    8125, Page ID 8283 ¶      defendants— they had          issue.
15    2.h, Att. 8, Marshall     foreclosure joinder
16    Depo. at 19:11-20.        lawsuit experience and
                                Marshall had the deeper
17
                                foreclosure law
18                              experience overall. It was
19                              never a secret that
                                Marshall sought to make
20
                                their cases more
21                              successful. In turn, if and
22                              when Marshall filed
23                              joinder cases, which never
                                happened, Marshall
24
                                would benefit and his new
25                              Adavantis Law Group
26                              clients would benefit.
27
                                Foti: DENY - Objection        Undisputed as to Foti.
28
                                (irrelevant as to Mr. Foti    The fact is relevant.
                                            227
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   where no evidence he had              Foti cites only his
3                                  any knowledge or               self-serving declaration,
4                                  involvement regarding the      which cannot controvert a
5                                  handling or status of any      fact on summary
                                   of the legal actions)          judgment, and the cited
6
                                   Foti Decl. ¶ 75, 76, 77,       reference does not address
7                                  78, 79, 80                     the fact at issue.
8     204. Many of the             Marshall: Disputed. A          Undisputed as to
9
      complaints Marshall has      significant number of          Marshall. He does not
      filed on behalf of his       foreclosure cases              offer any admissible
10
      clients are dismissed        Marshall has settled and       evidence capable of
11    without leave to amend       “won.”                         controverting the fact at
12    for failure to allege        Marshall Decl., at ¶ --.       issue.
      cognizable claims.
13
      DE 284-14, Madden July       Foti: DENY - Objection         Undisputed as to Foti.
14    2017 Decl. at Page ID        (irrelevant as to Mr. Foti     The fact is relevant.
15    8125-26, 8316-8365, ¶¶       where no evidence he had              Foti cites only his
16    2.j-m, Atts. 10-13.          any knowledge or               self-serving declaration,
                                   involvement regarding the      which cannot controvert a
17
                                   handling or status of any      fact on summary
18                                 of the legal actions)          judgment, and the cited
19                                 Foti Decl. ¶ 75, 76, 77,       reference does not address
                                   78, 79, 80                     the fact at issue.
20
21
            a.      In May 2016, the Corporate Defendants Sent Out “Account Due”
                 Letters Demanding an Additional $5,000.
22
      205. On May 5, 2016,         Marshall: This Defendant       Undisputed as to
23
      Brookstone mass mailed       lacks the knowledge or         Marshall. He does not
24    an “ACCOUNT DUE”             information and belief to      offer any admissible
25    letter to clients claiming   dispute or declare this fact   evidence capable of
      each owed Brookstone         undisputed, as this alleged    controverting the fact at
26
      $5,000 for past work done    fact occurred prior to or      issue.
27    on the Wright appeal.        without this Defendant’s
28    DE 41-2 at Page ID           involvement with
      2543-45; DE 41-3 at          Advantis Law Group,
                                               228
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 232 of 402 Page ID
                                       #:11430




1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      Page ID 2547-74; DE         P.C. or the other
3     284-4, Chang Decl. at       individual defendants in
4     Page ID 7248 ¶¶ 4.l, 4.m.   this action.
5                                 Marshall Decl., at ¶ --.

6
                                  Foti: DENY - Objections       Undisputed as to Foti.
7                                 (irrelevant - no evidence     The fact is relevant. The
8                                 regarding when mailed, to     FTC’s evidence shows
                                  whom mailed, how many         that the letters were in
9
                                  mailed or who mailed; no      fact sent to consumers.
10                                evidence that any clients            Foti cites no
11                                made any payments based       evidence to controverting
12                                on any letters; no            the fact at issue.
                                  evidence Jeremy
13
                                  approved or directly
14                                participated in preparation
15                                or mailing of letters or
16
                                  that he was aware of the
                                  amounts billed and how
17
                                  they were calculated;
18                                hearsay).
19                                Not a single one of the
                                  FTC's declarants claims
20
                                  they paid any money to
21                                the Corporate Defendants
22                                in response to the
23                                "Account Due" letters.
                                  (DE 17, Chapman Decl.
24
                                  at Page ID 1945-47; DE
25                                17, C. Durrett Decl.”) at
26                                Page ID 1965-70; DE 17-
                                  1, Irannejad Decl. at
27
                                  Page ID 1976-81; DE 17-
28                                2, Kolodziej Decl. at Page

                                             229
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 233 of 402 Page ID
                                       #:11431




1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 1998-2004; DE 17-4,
3                                Leonido Decl. at Page
4                                2076-79; DE 17-4, Nava
5                                Decl. at Page ID 2094-
                                 2096; DE 17-5, Navarro
6
                                 Decl. at Page ID 2107-
7                                11; DE 17-6, Rios Decl.
8                                at Page ID 2131-34; DE
                                 17- 7, Lujan Decl. at
9
                                 Page ID 2168-74). No
10                               other evidence submitted
11                               reflecting any payments
12                               received in response to
                                 the "Account Due" letters.
13
      206. The “Account Due” Marshall: This Defendant           Undisputed as to
14    letter claimed: “Your file lacks the knowledge or         Marshall. He does not
15    needs your immediate       information and belief to      offer any admissible
16    attention as we show there dispute or declare this fact   evidence capable of
      is an outstanding balance. undisputed, as this alleged    controverting the fact at
17
      We need this to be cleared fact occurred prior to or      issue.
18    up with accounting so we without this Defendant’s
19    can continue to represent involvement with
      you as a plaintiff on this Advantis Law Group,
20
      case.”                     P.C. or the other
21    DE 41-2 at Page ID         individual defendants in
22    2543; DE 284-4, Chang      this action.
23    Decl. at Page ID 7248 ¶    Marshall Decl., at ¶ --.
      4.l.
24
                                 Foti: DENY - Objections        Undisputed as to Foti.
25                               (irrelevant - no evidence      The fact is relevant. The
26                               regarding when mailed, to      FTC’s evidence shows
27
                                 whom mailed, how many          that the letters were in
                                 mailed or who mailed; no       fact sent to consumers.
28
                                 evidence that any clients             Foti cites no
                                             230
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 234 of 402 Page ID
                                       #:11432




1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
                                made any payments based evidence to controverting
3                               on any letters; no          the fact at issue.
4                               evidence Jeremy
5                               approved or directly
                                participated in preparation
6
                                or mailing of letters or
7                               that he was aware of the
8                               amounts billed and how
                                they were calculated;
9
                                hearsay).
10                              Not a single one of the
11                              FTC's declarants claims
12                              they paid any money to
                                the Corporate Defendants
13
                                in response to the
14                              "Account Due" letters.
15                              (DE 17, Chapman Decl.
16
                                at Page ID 1945-47; DE
                                17, C. Durrett Decl.”) at
17
                                Page ID 1965-70; DE 17-
18                              1, Irannejad Decl. at
19                              Page ID 1976-81; DE 17-
                                2, Kolodziej Decl. at Page
20
                                1998-2004; DE 17-4,
21                              Leonido Decl. at Page
22                              2076-79; DE 17-4, Nava
23                              Decl. at Page ID 2094-
                                2096; DE 17-5, Navarro
24
                                Decl. at Page ID 2107-
25                              11; DE 17-6, Rios Decl.
26                              at Page ID 2131-34; DE
                                17- 7, Lujan Decl. at
27
                                Page ID 2168-74). No
28                              other evidence submitted

                                          231
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 235 of 402 Page ID
                                       #:11433




1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 reflecting any payments
3                                received in response to
4                                the "Account Due" letters.
5     207. The “Account Due” Marshall: This Defendant           Undisputed as to
      letter claimed: “We do     lacks the knowledge or         Marshall. He does not
6
      have several options for information and belief to        offer any admissible
7     you in order to make it    dispute or declare this fact   evidence capable of
8     financially feasible for   undisputed, as this alleged    controverting the fact at
9
      you to continue to have    fact occurred prior to or      issue.
      our firm represent you     without this Defendant’s
10
      in this case. Attached     involvement with
11    please find an invoice for Advantis Law Group,
12    services provided and an P.C. or the other
      amount that is currently   individual defendants in
13
      due.” (bold in original).  this action.
14    DE 41-2 at Page ID         Marshall Decl., at ¶ --.
15    2543; DE 284-4, Chang
16    Decl. at Page ID 7248 ¶    Foti: DENY - Objections        Undisputed as to Foti.
      4.l.                       (irrelevant - no evidence      The fact is relevant. The
17
                                 regarding when mailed, to      FTC’s evidence shows
18                               whom mailed, how many          that the letters were in
19                               mailed or who mailed; no       fact sent to consumers.
                                 evidence that any clients             Foti cites no
20
                                 made any payments based        evidence to controverting
21                               on any letters; no             the fact at issue.
22                               evidence Jeremy
23                               approved or directly
                                 participated in preparation
24
                                 or mailing of letters or
25                               that he was aware of the
26                               amounts billed and how
27
                                 they were calculated;
                                 hearsay).
28
                                 Not a single one of the
                                             232
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 236 of 402 Page ID
                                       #:11434




1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                FTC's declarants claims
3                               they paid any money to
4                               the Corporate Defendants
5                               in response to the
                                "Account Due" letters.
6
                                (DE 17, Chapman Decl.
7                               at Page ID 1945-47; DE
8                               17, C. Durrett Decl.”) at
                                Page ID 1965-70; DE 17-
9
                                1, Irannejad Decl. at
10                              Page ID 1976-81; DE 17-
11                              2, Kolodziej Decl. at Page
12                              1998-2004; DE 17-4,
                                Leonido Decl. at Page
13
                                2076-79; DE 17-4, Nava
14                              Decl. at Page ID 2094-
15                              2096; DE 17-5, Navarro
16
                                Decl. at Page ID 2107-
                                11; DE 17-6, Rios Decl.
17
                                at Page ID 2131-34; DE
18                              17- 7, Lujan Decl. at
19                              Page ID 2168-74). No
                                other evidence submitted
20
                                reflecting any payments
21                              received in response to
22                              the "Account Due" letters.
23    208. The “Account Due” Marshall: This Defendant          Undisputed as to
      letter claimed: “Call     lacks the knowledge or         Marshall. He does not
24
      today to get your account information and belief to      offer any admissible
25    off ‘Accounting Hold.’”   dispute or declare this fact   evidence capable of
26    DE 41-2 at Page ID        undisputed, as this alleged    controverting the fact at
27
      2543; DE 284-4, Chang     fact occurred prior to or      issue.
      Decl. at Page ID 7248 ¶   without this Defendant’s
28
      4.l.                      involvement with
                                             233
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 237 of 402 Page ID
                                       #:11435




1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                Advantis Law Group,
3                               P.C. or the other
4                               individual defendants in
5                               this action.
                                Marshall Decl., at ¶ --.
6
7                               Foti: DENY - Objections       Undisputed as to Foti.
8                               (irrelevant - no evidence     The fact is relevant. The
                                regarding when mailed, to     FTC’s evidence shows
9
                                whom mailed, how many         that the letters were in
10                              mailed or who mailed; no      fact sent to consumers.
11                              evidence that any clients            Foti cites no
12                              made any payments based       evidence to controverting
                                on any letters; no            the fact at issue.
13
                                evidence Jeremy
14                              approved or directly
15                              participated in preparation
16
                                or mailing of letters or
                                that he was aware of the
17
                                amounts billed and how
18                              they were calculated;
19                              hearsay).
                                Not a single one of the
20
                                FTC's declarants claims
21                              they paid any money to
22                              the Corporate Defendants
23                              in response to the
                                "Account Due" letters.
24
                                (DE 17, Chapman Decl.
25                              at Page ID 1945-47; DE
26                              17, C. Durrett Decl.”) at
                                Page ID 1965-70; DE 17-
27
                                1, Irannejad Decl. at
28                              Page ID 1976-81; DE 17-

                                           234
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 238 of 402 Page ID
                                       #:11436




1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  2, Kolodziej Decl. at Page
3                                 1998-2004; DE 17-4,
4                                 Leonido Decl. at Page
5                                 2076-79; DE 17-4, Nava
                                  Decl. at Page ID 2094-
6
                                  2096; DE 17-5, Navarro
7                                 Decl. at Page ID 2107-
8                                 11; DE 17-6, Rios Decl.
                                  at Page ID 2131-34; DE
9
                                  17- 7, Lujan Decl. at
10                                Page ID 2168-74). No
11                                other evidence submitted
12                                reflecting any payments
                                  received in response to
13
                                  the "Account Due" letters.
14    209. The “Account Due” Marshall: This Defendant            Undisputed as to
15    letter attached an invoice, lacks the knowledge or         Marshall. He does not
16    claiming $5,000 was due information and belief to          offer any admissible
      for over 1,800 hours        dispute or declare this fact   evidence capable of
17
      purportedly spent working undisputed, as this alleged      controverting the fact at
18    on the Wright appeal.       fact occurred prior to or      issue.
19    DE 41-2 at Page ID          without this Defendant’s
      2543-44; DE 284-4,          involvement with
20
      Chang Decl. at Page ID      Advantis Law Group,
21    7248 ¶ 4.l.                 P.C. or the other
22                                individual defendants in
23                                this action.
                                  Marshall Decl., at ¶ --.
24
25                                 Foti: DENY - Objections       Undisputed as to Foti.
26                                 (irrelevant - no evidence     The fact is relevant. The
27
                                   regarding when mailed, to     FTC’s evidence shows
                                   whom mailed, how many         that the letters were in
28
                                   mailed or who mailed; no      fact sent to consumers.
                                              235
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1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
                                evidence that any clients          Foti cites no
3                               made any payments based evidence to controverting
4                               on any letters; no          the fact at issue.
5                               evidence Jeremy
                                approved or directly
6
                                participated in preparation
7                               or mailing of letters or
8                               that he was aware of the
                                amounts billed and how
9
                                they were calculated;
10                              hearsay).
11                              Not a single one of the
12                              FTC's declarants claims
                                they paid any money to
13
                                the Corporate Defendants
14                              in response to the
15                              "Account Due" letters.
16
                                (DE 17, Chapman Decl.
                                at Page ID 1945-47; DE
17
                                17, C. Durrett Decl.”) at
18                              Page ID 1965-70; DE 17-
19                              1, Irannejad Decl. at
                                Page ID 1976-81; DE 17-
20
                                2, Kolodziej Decl. at Page
21                              1998-2004; DE 17-4,
22                              Leonido Decl. at Page
23                              2076-79; DE 17-4, Nava
                                Decl. at Page ID 2094-
24
                                2096; DE 17-5, Navarro
25                              Decl. at Page ID 2107-
26                              11; DE 17-6, Rios Decl.
                                at Page ID 2131-34; DE
27
                                17- 7, Lujan Decl. at
28                              Page ID 2168-74). No

                                          236
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  other evidence submitted
3                                 reflecting any payments
4                                 received in response to
5                                 the "Account Due" letters.
      210. The “Account Due” Marshall: This Defendant            Undisputed as to
6
      letter attached an invoice, lacks the knowledge or         Marshall. He does not
7     claiming 1,237 hours had information and belief to         offer any admissible
8     been worked on the          dispute or declare this fact   evidence capable of
9
      opening appeal brief for    undisputed, as this alleged    controverting the fact at
      the Wright v. Bank of       fact occurred prior to or      issue.
10
      America appeal.             without this Defendant’s
11    DE 41-2 at Page ID          involvement with
12    2543-44; DE 284-4,          Advantis Law Group,
      Chang Decl. at Page ID      P.C. or the other
13
      7248 ¶ 4.l                  individual defendants in
14                                this action.
15                                Marshall Decl., at ¶ --.
16
                                   Foti: DENY - Objections       Undisputed as to Foti.
17
                                   (irrelevant - no evidence     The fact is relevant. The
18                                 regarding when mailed, to     FTC’s evidence shows
19                                 whom mailed, how many         that the letters were in
                                   mailed or who mailed; no      fact sent to consumers.
20
                                   evidence that any clients            Foti cites no
21                                 made any payments based       evidence to controverting
22                                 on any letters; no            the fact at issue.
23                                 evidence Jeremy
                                   approved or directly
24
                                   participated in preparation
25                                 or mailing of letters or
26                                 that he was aware of the
27
                                   amounts billed and how
                                   they were calculated;
28
                                   hearsay).
                                              237
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 241 of 402 Page ID
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1     Uncontroverted Fact/       Defendants’ Responses          FTC’s Reply
      Support
2
                                 Not a single one of the
3                                FTC's declarants claims
4                                they paid any money to
5                                the Corporate Defendants
                                 in response to the
6
                                 "Account Due" letters.
7                                (DE 17, Chapman Decl.
8                                at Page ID 1945-47; DE
                                 17, C. Durrett Decl.”) at
9
                                 Page ID 1965-70; DE 17-
10                               1, Irannejad Decl. at
11                               Page ID 1976-81; DE 17-
12                               2, Kolodziej Decl. at Page
                                 1998-2004; DE 17-4,
13
                                 Leonido Decl. at Page
14                               2076-79; DE 17-4, Nava
15                               Decl. at Page ID 2094-
16
                                 2096; DE 17-5, Navarro
                                 Decl. at Page ID 2107-
17
                                 11; DE 17-6, Rios Decl.
18                               at Page ID 2131-34; DE
19                               17- 7, Lujan Decl. at
                                 Page ID 2168-74). No
20
                                 other evidence submitted
21                               reflecting any payments
22                               received in response to
23                               the "Account Due" letters.
      211. The Corporate         Marshall: This Defendant       Undisputed as to
24
      Defendants did not track   lacks the knowledge or         Marshall. He does not
25    the hours worked by        information and belief to      offer any admissible
26    attorneys on matters or    dispute or declare this fact   evidence capable of
27
      projects related to the    undisputed, as this alleged    controverting the fact at
      mass joinder litigation.   fact occurred prior to or      issue.
28
      DE 186-3, Tarkowski        without this Defendant’s
                                             238
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Decl., at Page ID 5363-      involvement with
3     64, ¶ 22; DE 186-4,          Advantis Law Group,
4     Torchia Decl., at Page ID    P.C. or the other
5     5381-82, ¶¶ 28-30; DE        individual defendants in
      284-14, Madden July          this action.
6
      2017 Decl. at Page ID        Marshall Decl., at ¶ --.
7     8126, 8419 ¶ 3, Att. 15,
8     Marshall’s First RFAs,       Foti: DENY                     Undisputed as to Foti.
      RFA 73 admitted              Foti Decl. 43, 44; MT                 In response, Foti
9
      pursuant to FRCP             MSJ Decl. Attachment 17        cites his self-serving
10    36(a)(3).                    (Vito State Bar testimony:     declaration, which cannot
11                                 "there is a protocol that I    controvert a fact on
12                                 established in which the       summary judgment. The
                                   assisting managing             other evidence he cites
13
                                   attorney at the time would     does not indicate that the
14                                 be responsible for looking     Corporate Defendants in
15                                 into the allegations,          fact tracked the hours that
16
                                   gathering documents,           they worked.
                                   time sheets, whatever,
17
                                   depending on what they
18                                 were asking for ... if they
19                                 wanted refunds of money,
                                   then I would review it.");
20
                                   Thurman Decl.,
21                                 Attachment 55, 56;
22    212. The “Account Due” Marshall: This Defendant             Undisputed as to
23    letter went to clients who lacks the knowledge or           Marshall. He does not
      had not agreed to            information and belief to      offer any admissible
24
      additional billings, clients dispute or declare this fact   evidence capable of
25    who had regularly made       undisputed, as this alleged    controverting the fact at
26    their monthly payments,      fact occurred prior to or      issue.
27
      and even some clients        without this Defendant’s
      who had long since           involvement with
28
      terminated Brookstone.       Advantis Law Group,
                                               239
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 243 of 402 Page ID
                                       #:11441




1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
      DE 41-3 at Page ID        P.C. or the other
3     2547-74; Chang Decl. at   individual defendants in
4     ¶ 4.m.                    this action.
5                               Marshall Decl., at ¶ --.

6
                                Foti: DENY - Objections       Undisputed as to Foti.
7                               (irrelevant - no evidence     The fact is relevant. The
8                               regarding when mailed, to     FTC’s evidence shows
                                whom mailed, how many         that the letters were in
9
                                mailed or who mailed; no      fact sent to consumers.
10                              evidence that any clients     The evidence is not
11                              made any payments based       hearsay because it is an
12                              on any letters; no            opposing party’s
                                evidence Jeremy               statement.
13
                                approved or directly                 Foti cites no
14                              participated in preparation   evidence to controverting
15                              or mailing of letters or      the fact at issue.
16
                                that he was aware of the
                                amounts billed and how
17
                                they were calculated;
18                              hearsay)
19                              Not a single one of the
                                FTC's declarants claims
20
                                they paid any money to
21                              the Corporate Defendants
22                              in response to the
23                              "Account Due" letters.
                                (DE 17, Chapman Decl.
24
                                at Page ID 1945-47; DE
25                              17, C. Durrett Decl.”) at
26                              Page ID 1965-70; DE 17-
                                1, Irannejad Decl. at
27
                                Page ID 1976-81; DE 17-
28                              2, Kolodziej Decl. at Page

                                           240
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   1998-2004; DE 17-4,
3                                  Leonido Decl. at Page
4                                  2076-79; DE 17-4, Nava
5                                  Decl. at Page ID 2094-
                                   2096; DE 17-5, Navarro
6
                                   Decl. at Page ID 2107-
7                                  11; DE 17-6, Rios Decl.
8                                  at Page ID 2131-34; DE
                                   17- 7, Lujan Decl. at
9
                                   Page ID 2168-74). No
10                                 other evidence submitted
11                                 reflecting any payments
12                                 received in response to
                                   the "Account Due" letters.
13
      Consumers paid more than $18 Million.
14
15
      213. From January 1,         Marshall: This Defendant       Undisputed as to
      2011 through June 2,         lacks the knowledge or         Marshall. He does not
16
      2016, the Corporate          information and belief to      offer any admissible
17    Defendants had revenues      dispute or declare this fact   evidence capable of
18    of $18,146,866.34 taking     undisputed, as this alleged    controverting the fact at
      into account refunds,        fact occurred prior to or      issue.
19
      chargebacks, and transfers   without this Defendant’s
20    among the Corporate          involvement with
21    Defendants’ bank             Advantis Law Group,
22    accounts.                    P.C. or the other
      DE 284-5, George July 6,     individual defendants in
23
      2017 Decl. at Page ID        this action.
24    7271 ¶ 9, Att. B.            Marshall Decl., at ¶ --.
25
                                   Foti: DENY                     Undisputed as to Foti.
26
                                   Thurman Decl.,                        The document Foti
27                                 Attachment 39; FTC's           cites to in response is not
28                                 Updated Response to            accompanied by any
                                   Interrogatory No. 1 (FTC-      testimony explaining that
                                              241
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                                       #:11443




1     Uncontroverted Fact/       Defendants’ Responses       FTC’s Reply
      Support
2
                                 RFP-0152760)                 the spreadsheet included
3                                                             all revenues and so does
4                                                             not controvert Mr.
5                                                             George’s testimony of the
                                                              revenue figure based on
6
                                                              his review of the
7                                                             Corporate Defendants’
8                                                             bank statements.
9
      214. From February 27, Marshall: This Defendant Undisputed as to
      2015 through June 2016, lacks the knowledge or          Marshall. He does not
10
      the Corporate Defendants information and belief to offer any admissible
11    had revenues of            dispute or declare this fact evidence capable of
12    $1,784,022.61 taking into undisputed, as this alleged controverting the fact at
      account refunds,           fact occurred prior to or    issue.
13
      chargebacks, and transfers without this Defendant’s
14    among the Corporate        involvement with
15    Defendants’ bank           Advantis Law Group,
16    accounts.                  P.C. or the other
      DE 284-5, George July 6, individual defendants in
17
      2017 Decl. at Page ID      this action.
18    7272 ¶ 10, Att. C.         Marshall Decl., at ¶ --.
19
                                 Foti: DENY                  Undisputed as to Foti.
20
                                 Thurman Decl.,                     The document Foti
21                               Attachment 39; FTC's        cites to in response is not
22                               Updated Response to         accompanied by any
23                               Interrogatory No. 1 (FTC-   testimony explaining that
                                 RFP-0152760)                the spreadsheet included
24
                                                             all revenues and so does
25                                                           not controvert Mr.
26                                                           George’s testimony of the
27
                                                             revenue figure based on
                                                             his review of the
28
                                                             Corporate Defendants’
                                            242
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                                                  bank statements.
3
      Foti and Marshall Were Directly Involved in the Wrongful Conduct.
4
5           a.    From the Beginning, Foti Was a Manager.
6     215. Foti began working      Marshall: This Defendant       Undisputed as to
      with Brookstone in late      lacks the knowledge or         Marshall. He does not
7
      2010.                        information and belief to      offer any admissible
8     DE 78-1, Declaration of      dispute or declare this fact   evidence capable of
9     Jeremy Foti in Support of    undisputed, as this alleged    controverting the fact at
10    Opposition to Preliminary    fact occurred prior to or      issue.
      Injunction (“Foti July       without this Defendant’s
11
      2016 Decl.”) at Page ID      involvement with
12    3538, ¶¶ 9-10; id. at Page   Advantis Law Group,
13    ID 3544-50; DE 152-1,        P.C. or the other
      Declaration of Jeremy        individual defendants in
14
      Foti in Support of           this action.
15    Defendant’s Response to      Marshall Decl., at ¶ --.
16    Plaintiff’s Objections to
17    Proposed Findings of         Foti: ADMIT - Objections
      Fact and Receiver’s          (irrelevant; failure to
18
      Supplemental Report          authenticate; hearsay. No
19    (“Foti Nov. 2016 Decl.”)     foundation the documents
20    at Page ID 4757-59; Ex.      are genuine, who prepared
21
      91 (email from Foti to       them, whether Mr. Foti
      Kutzner regarding            ever received, knew about Undisputed as to Foti.
22
      Brookstone sales script      or had anything to do with
23    dated November 18,           them and whether any of
24    2010); Ex. 97 (email from    them were ever used in
      Foti to Kutzner and other    any presentations to
25
      Brookstone employees re      consumers.)
26    sales dated December 10,     Foti Decl., ¶ 16.d. and 18
27    2010); DE 284-8,
28    Theisman Decl. at Page
      ID 7486, 7653-56, 7685
                                               243
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1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
      ¶¶ 4.w & 4.cc; id. at DE
3     284-8, Page ID 7489, DE
4     284-12, Page ID 7973-74
5     ¶ 4.vvvv (authenticating
      and attaching FTC-RAD-
6
      002-0457531 to 0457532,
7     email from Foti to
8     Kutzner regarding
      bringing on Brookstone
9
      employees dated
10    November 30, 2010); id at
11    DE 284-8, Page ID 7487,
12    DE 284-10, Page ID
      7790-93 ¶ 4.ddd
13
      (authenticating and
14    attaching FTC-RAD-001-
15    0131338 to 0131341,
16
      email dated November 16,
      2010 from Kutzner to Foti
17
      attaching Brookstone
18    script); id. at DE 284-8,
19    Page ID 7487, DE 284-
      11, 78547 ¶ 4.ttt
20
      (authenticating and
21    attaching FTC-RAD-001-
22    0201437, email dated
23    November 17, 2010 from
      Foti to Kutzner replying
24
      to email from Kutzner
25    attaching a Brookstone
26    sales script, stating:
      “Send me the rest of your
27
      scripts. I am putting an
28    ad in to hire people and

                                          244
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1     Uncontroverted Fact/         Defendants’ Responses   FTC’s Reply
      Support
2
      have leads starting on
3     Thursday. We are set to
4     have our screeners
5     answer calls as soon as
      tomorrow. If calls dump
6
      into screens they will get
7     all the mortgage info then
8     transfer the call over to
      your QC person. I think
9
      the flow can be a little
10    smoother that is why I
11    want to look at the scripts.
12    I will work on a little bit
      shorter process, but will
13
      still have the same effect
14    with the client. Let me
15    know what you think.”);
16
      id. at DE 284-8, Page ID
      7487, DE 284-11, 7855 ¶
17
      4.rrr (authenticating and
18    attaching FTC-RAD-001-
19    0195945, email exchange
      dated December 2, 2010,
20
      with Foti regarding a
21    shared calendar for
22    Brookstone); id. at DE
23    284-8, Page ID 7487, DE
      284-11, 7854 ¶ 4.qqq
24
      (authenticating and
25    attaching FTC-RAD-001-
26    0191412, email from Foti
      to Kutzner regarding
27
      “our deal,” and stating,
28    among other things,

                                            245
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1     Uncontroverted Fact/      Defendants’ Responses    FTC’s Reply
      Support
2
      “[p]rofits to be split
3     50/50”); id. at DE 284-8,
4     Page ID 7487, DE 284-
5     11, 7858 ¶ 4.uuu
      (authenticating and
6
      attaching FTC-RAD-001-
7     0204736, an email
8     exchange dated December
      6, 2010, with Foti asking
9
      what to do about
10    Brookstone’s phone
11    provider being down); id.
12    at DE 284-8, Page ID
      7487, DE 284-11, 7856, ¶
13
      4.sss (authenticating and
14    attaching FTC-RAD-001-
15    0196601, email dated
16
      December 7, 2010, with
      Foti asking for a
17
      “company employee list”
18    to be sent to
19    jeremyf@brookstone-
      law.com”); id. at DE 284-
20
      8, Page ID 7487, DE 284-
21    11, 7847-53 ¶ 4.ppp
22    (authenticating and
23    attaching FTC-RAD-001-
      0191405 to 0191411,
24
      email dated December 16,
25    2010 with Foti requesting
26    an estimate for business
      cards and attaching
27
      proofs of the cards
28    including one listing his

                                          246
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      title as “Managing
3     Team”); DE 284-7, Lobo
4     Decl. at Page ID 7472¶ 4,
5     Att. 1 at 4.
      216. In an email dated         Marshall: This Defendant       Undisputed as to
6
      November 17, 2010, in          lacks the knowledge or         Marshall. He does not
7     response to an email from      information and belief to      offer any admissible
8     Kutzner attaching a            dispute or declare this fact   evidence capable of
9
      Brookstone script, Foti        undisputed, as this alleged    controverting the fact at
      writes to Kutzner: “Send       fact occurred prior to or      issue.
10
      me the rest of your            without this Defendant’s
11    scripts. I am putting an       involvement with
12    ad in to hire people and       Advantis Law Group,
      have leads starting on         P.C. or the other
13
      Thursday. We are set to        individual defendants in
14    have our screeners answer      this action.
15    calls as soon as tomorrow.     Marshall Decl., at ¶ --.
16    If calls dump into screens
      they will get all the          Foti: ADMIT - Objections Undisputed as to Foti.
17
      mortgage info then             (irrelevant; failure to
18    transfer the call over to      authenticate; hearsay. No
19    your QC person. I think        foundation the documents
      the flow can be a little       are genuine, who prepared
20
      smoother that is why I         them, whether Mr. Foti
21    want to look at the scripts.   ever received, knew about
22    I will work on a little bit    or had anything to do with
23    shorter process, but will      them and whether any of
      still have the same effect     them were ever used in
24
      with the client. Let me        any presentations to
25    know what you think.”          consumers.)
26    Theisman Decl. at DE           Foti Decl., ¶ 16.d. and 18
27
      284-8, Page ID 7487, DE
      284-11, 7857 ¶ 4.ttt; id. at
28
      DE 284-8, Page ID 7487,
                                                 247
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      DE 284-10, Page ID
3     7790-93 ¶ 4.ddd
4     (authenticating and
5     attaching FTC-RAD-001-
      0131338 to 0131341,
6
      email dated November 16,
7     2010 from Kutzner to Foti
8     attaching Brookstone
      script).
9
      217. In an email dated      Marshall: This Defendant       Undisputed as to
10
      November 30, 2010, Foti     lacks the knowledge or         Marshall. He does not
11    tells Kutzner he is         information and belief to      offer any admissible
12    bringing in numerous        dispute or declare this fact   evidence capable of
      employees, several of       undisputed, as this alleged    controverting the fact at
13
      whom are sales people       fact occurred prior to or      issue.
14    and are former employees    without this Defendant’s
15    of Plan Right Group, and    involvement with
16    further states: “It is go   Advantis Law Group,
      time let’s hit it full      P.C. or the other
17
      throttle.”                  individual defendants in
18    Theisman Decl. at DE        this action.
19    284-8, Page ID 7489, DE     Marshall Decl., at ¶ --.
      284-12, Page ID 7973-74
20
      ¶ 4.vvvv.                   Foti: DENY - Objections        Undisputed as to Foti.
21                                (irrelevant; failure to        The fact is relevant. The
22                                authenticate; hearsay. No      document(s) are genuine
23                                foundation the documents       and authentic, as
                                  are genuine, who prepared      established by the
24
                                  them, whether Mr. Foti         evidence the FTC
25                                ever received, knew about      submitted in support of
26                                or had anything to do with     the fact for this paragraph.
27
                                  them.)                         The evidence is not
                                  Foti Decl., ¶ 32, (Plan        hearsay because it is an
28
                                  Right); DE-284-7, Lobo         opposing party’s
                                              248
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                                       #:11450




1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                  Decl., Att. 1. Page ID      statement. Finding
3                                 7475-76.                    documents on a
4                                                             receivership computer
5                                                             from the defendant’s
                                                              office or from the
6
                                                              defendants’ premises
7                                                             taken over by the
8                                                             receivership in fact makes
                                                              it more likely it was used.
9
                                                                     In response, Foti
10                                                            cites his self-serving
11                                                            declaration, which cannot
12                                                            controvert a fact on
                                                              summary judgment, and
13
                                                              the cited reference does
14                                                            not address the fact at
15                                                            issue. The other evidence
16
                                                              cited does not controvert
                                                              the fact at issue.
17
      218. In an email from      Marshall: This Defendant Undisputed as to
18    Foti to Kutzner dated      lacks the knowledge or       Marshall. He does not
19    December 3, 2010, Foti     information and belief to offer any admissible
      writes:                    dispute or declare this fact evidence capable of
20
      “Here is the way I see our undisputed, as this alleged controverting the fact at
21    deal being structured so   fact occurred prior to or    issue.
22    look it over and make any without this Defendant’s
23    changes or suggestions     involvement with
      you might have.            Advantis Law Group,
24
                                 P.C. or the other
25     1) Investment to be       individual defendants in
        split 50/50              this action.
26
27     2) Investment to be       Marshall Decl., at ¶ --.

28
        paid back by applying
        80% of the net profit    Foti: DENY - Objections Undisputed as to Foti.
                                             249
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
        per month until           (irrelevant; failure to      The fact is relevant. The
3       everyone’s investment     authenticate; hearsay. No    document(s) are genuine
4       has been paid back.       foundation the documents     and authentic, as
5                                 are genuine, who prepared    established by the
       3) Profits to be split     them, whether Mr. Foti       evidence the FTC
6       50/50                     ever received, knew about    submitted in support of
7                                 or had anything to do with   the fact for this paragraph.
       4) All decisions to be
8       agreed on and             them.)                       The evidence is not
        discussed.                Foti Decl., ¶ 86,            hearsay because it is an
9
                                  (December 2010 email)        opposing party’s
10     5) Salaries for all                                     statement. Finding
11      ACTIVE working                                         documents on a
12      employee’s                                             receivership computer
                                                               from the defendant’s
13     6) Start date income
                                                               office or from the
14      and expenses to be
                                                               defendants’ premises
        effective 11-29-10 this
15                                                             taken over by the
        past Monday
16
                                                               receivership in fact makes
       7) Shared employee’s                                    it more likely it was used.
17
        must be agreed on by                                          In response, Foti
18      all parties before such                                cites only his self-serving
19      share shall take place                                 declaration, which cannot
                                                               controvert a fact on
20
       8) Any past expenses                                    summary judgment, and
21      for either party to be                                 the cited reference to the
22      paid by that party in                                  Foti Decl. does not
        full                                                   address the fact at issue.
23
24     9) All expenses to be
25
        agreed upon

26     10) Agreement can
27      only be broken if
        BOTH parties agree
28
       11) All parts of
                                             250
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1     Uncontroverted Fact/        Defendants’ Responses           FTC’s Reply
      Support
2
        litigation business to be
3       split 50/50 regardless of
4       who brings it in
5
       12) Any NEW outside
6        ventures should be
7        50/50 as well
      That all I can think of as
8
      of now but I am sure you
9     will come up with some
10    things.”
11    Theisman Decl. at DE
      284-8, Page ID 7487, DE
12
      284-11, 7854 ¶ 4.qqq.
13    219. Foti had authority      Marshall: This Defendant       Undisputed as to
14    to issue refunds to          lacks the knowledge or         Marshall. He does not
      Brookstone clients.          information and belief to      offer any admissible
15
      Theisman Decl. at DE         dispute or declare this fact   evidence capable of
16    284-8, Page ID 7487, DE      undisputed, as this alleged    controverting the fact at
17    284-10, Page ID 7776 ¶       fact occurred prior to or      issue.
18    4.aaa; DE 284-7, Lobo        without this Defendant’s
      Decl. at Page ID 7467 ¶      involvement with
19
      7.                           Advantis Law Group,
20                                 P.C. or the other
21                                 individual defendants in
22
                                   this action.
                                   Marshall Decl., at ¶ --.
23
24                                 Foti: DENY - Objections        Undisputed as to Foti.
25                                 (irrelevant; failure to        The fact is relevant. The
                                   authenticate; hearsay. No      document(s) are genuine
26
                                   foundation the documents       and authentic, as
27                                 are genuine, who prepared      established by the
28                                 them, whether Mr. Foti         evidence the FTC
                                   ever received, knew about      submitted in support of
                                               251
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1     Uncontroverted Fact/      Defendants’ Responses          FTC’s Reply
      Support
2
                                or had anything to do with     the fact for this paragraph.
3                               them.)                         The evidence is not
4                               Foti, 39, 67 (no authority     hearsay because it is an
5                               to authorize refunds); MT      opposing party’s
                                MSJ Decl., Attachments         statement. Finding
6
                                11 (Torchia testimony: "I      documents on a
7                               would have had to              receivership computer
8                               [approve a refund]"), 16       from the defendant’s
                                (Torchia testimony: His        office or from the
9
                                assistant attorney "had        defendants’ premises
10                              certain authority to           taken over by the
11                              handle certain matters on      receivership in fact makes
12                              his own," "as long as it       it more likely it was used.
                                didn't have to do with                In response, Foti
13
                                money. If it had to do         cites his self-serving
14                              with money, we would sit       declaration, which cannot
15                              down" and "if he felt that     controvert a fact on
16
                                there might be some            summary judgment, and
                                refund due, ... I would go     the cited reference does
17
                                over it with him"), 17         not address the fact at
18                              ("there is a protocol that I   issue. The other evidence
19                              established in which the       cited does not controvert
                                assisting managing             the fact at issue.
20
                                attorney at the time would     Although he cites to
21                              be responsible for looking     “protocol,” the evidence
22                              into the allegations,          he cites acknowledges the
23                              gathering documents,           protocol was not
                                time sheets, whatever,         followed.
24
                                depending on what they
25                              were asking for ... if they
26                              wanted refunds of money,
                                then I would review it.");
27
                                Damian Kutzner's
28                              Executive Employment

                                            252
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1     Uncontroverted Fact/      Defendants’ Responses          FTC’s Reply
      Support
2
                                Agreement; Lobo email
3                               (FTC-RAD- 001-
4                               0080085) states: "Per
5                               Vito the two of you have
                                the authority to issue
6
                                refunds. So whenever
7                               there is a refund request I
8                               need an email from either
                                of you confirming it is ok
9
                                to issue the refund & the
10                              amount of the refund."
11                              Although it has produced
12                              hundreds of thousands of
                                documents and had
13
                                access to thousands of
14                              emails, the FTC has failed
15                              to identify a single email
16
                                or other document where
                                Mr. Foti approved a
17
                                refund.
18    220. One of the           Marshall: This Defendant       Undisputed as to
19    Corporate Defendants’     lacks the knowledge or         Marshall. He does not
      phone directories         information and belief to      offer any admissible
20
      identified Foti as        dispute or declare this fact   evidence capable of
21    “management.”             undisputed, as this alleged    controverting the fact at
22    DE 41-5 at Page ID        fact occurred prior to or      issue.
23    2640; DE 284-4, Chang     without this Defendant’s
      Decl. at Page ID 7249 ¶   involvement with
24
      4.u.                      Advantis Law Group,
25                              P.C. or the other
26                              individual defendants in
27
                                this action.
                                Marshall Decl., at ¶ --.
28

                                            253
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                  Foti: DENY - Objections      Undisputed as to Foti.
3                                 (irrelevant; failure to      The fact is relevant. The
4                                 authenticate; hearsay. No    document(s) are genuine
5                                 foundation the documents     and authentic, as
                                  are genuine, who prepared    established by the
6
                                  them, whether Mr. Foti       evidence the FTC
7                                 ever received, knew about    submitted in support of
8                                 or had anything to do with   the fact for this paragraph.
                                  them.)                       The evidence is not
9
                                  Foti Decl. 33, 34, 36 (not   hearsay because it is an
10                                an Executive); Thurman       opposing party’s
11                                Decl., Attachment 48         statement. Finding
12                                (Kutzner employment          documents on a
                                  agreement)                   receivership computer
13
                                                               from the defendant’s
14                                                             office or from the
15                                                             defendants’ premises
16
                                                               taken over by the
                                                               receivership in fact makes
17
                                                               it more likely it was used.
18                                                                    In response, Foti
19                                                             cites his self-serving
                                                               declaration, which cannot
20
                                                               controvert a fact on
21                                                             summary judgment, and
22                                                             the cited reference does
23                                                             not address the fact at
                                                               issue. The other evidence
24
                                                               cited does not controvert
25                                                             the fact at issue.
26    221. One of the             Marshall: This Defendant Undisputed as to
27
      Corporate Defendants’       lacks the knowledge or       Marshall. He does not
      phone directories           information and belief to offer any admissible
28
      identified Foti as “VP of   dispute or declare this fact evidence capable of
                                             254
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      Marketing.”                  undisputed, as this alleged controverting the fact at
3     DE 41-5 at Page ID           fact occurred prior to or   issue.
4     2641; DE 284-4, Chang        without this Defendant’s
5     Decl. at Page ID 7249 ¶      involvement with
      4.u; Theisman Decl. at       Advantis Law Group,
6
      DE 284-8, Page ID 7487,      P.C. or the other
7     DE 284-10, Page ID           individual defendants in
8     7769-71 ¶ 4.yy               this action.
      (authenticating and          Marshall Decl., at ¶ --.
9
      attaching FTC-RAD-001-
10    0079758 to 0079759, an       Foti: DENY - Objections      Undisputed as to Foti.
11    email dated July 12, 2012,   (irrelevant; failure to      The fact is relevant. The
12    to “Brookstone All,”         authenticate; hearsay. No    document(s) are genuine
      recovered from one of        foundation the documents     and authentic, as
13
      Foti’s computers,            are genuine, who prepared    established by the
14    attaching phone directory    them, whether Mr. Foti       evidence the FTC
15    identifying Foti as VP of    ever received, knew about    submitted in support of
16
      Marketing).                  or had anything to do with   the fact for this paragraph.
                                   them.)                       The evidence is not
17
                                   Foti Decl. (not an           hearsay because it is an
18                                 Executive); Thurman          opposing party’s
19                                 Decl., Attachment 48         statement. Finding
                                   (Kutzner employment          documents on a
20
                                   agreement)                   receivership computer
21                                                              from the defendant’s
22                                                              office or from the
23                                                              defendants’ premises
                                                                taken over by the
24
                                                                receivership in fact makes
25                                                              it more likely it was used.
26                                                                     In response, Foti
                                                                cites his self-serving
27
                                                                declaration, which cannot
28                                                              controvert a fact on

                                              255
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                                               summary judgment, and
3                                                              the cited reference does
4                                                              not address the fact at
5                                                              issue. The other evidence
                                                               cited does not controvert
6
                                                               the fact at issue.
7     222. Foti was copied on     Marshall: This Defendant Undisputed as to
8     an email from a             lacks the knowledge or       Marshall. He does not
9
      Brookstone employee to      information and belief to offer any admissible
      Brookstone’s landlord       dispute or declare this fact evidence capable of
10
      attaching a “Tenant         undisputed, as this alleged controverting the fact at
11    Contact Information”        fact occurred prior to or    issue.
12    document listing Foti as    without this Defendant’s
      the person with signature   involvement with
13
      authority and identifying   Advantis Law Group,
14    him as an “Executive.”      P.C. or the other
15    Theisman Decl. at DE        individual defendants in
16    284-8, Page ID 7486, DE     this action.
      284-10, 7752-53 ¶ 4.qq.     Marshall Decl., at ¶ --.
17
18                                Foti: DENY - Objections      Undisputed as to Foti.
19                                (irrelevant; failure to      The fact is relevant. The
                                  authenticate; hearsay. No    document(s) are genuine
20
                                  foundation the documents     and authentic, as
21                                are genuine, who prepared    established by the
22                                them, whether Mr. Foti       evidence the FTC
23                                ever received, knew about    submitted in support of
                                  or had anything to do with   the fact for this paragraph.
24
                                  them.)                       The evidence is not
25                                Foti Decl. 33, 34, 36 (not   hearsay because it is an
26                                an Executive); Thurman       opposing party’s
27
                                  Decl., Attachment 48         statement. Finding
                                  (Kutzner employment          documents on a
28
                                  agreement)                   receivership computer
                                             256
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                                               from the defendant’s
3                                                              office or from the
4                                                              defendants’ premises
5                                                              taken over by the
                                                               receivership in fact makes
6
                                                               it more likely it was used.
7                                                                     In response, Foti
8                                                              cites his self-serving
                                                               declaration, which cannot
9
                                                               controvert a fact on
10                                                             summary judgment, and
11                                                             the cited reference does
12                                                             not address the fact at
                                                               issue. The other evidence
13
                                                               cited does not controvert
14                                                             the fact at issue.
15    223. When Foti applied      Marshall: This Defendant Undisputed as to
16    for health insurance, he    lacks the knowledge or       Marshall. He does not
      claimed to be               information and belief to offer any admissible
17
      Brookstone’s CFO.           dispute or declare this fact evidence capable of
18    DE 69-2, Chang July         undisputed, as this alleged controverting the fact at
19    2016 Decl., at Page ID      fact occurred prior to or    issue.
      3273-77, Att. 2, at Page    without this Defendant’s
20
      ID 3273 (Foti health care   involvement with
21    application); , DE 284-8,   Advantis Law Group,
22    Theisman Decl. at Page      P.C. or the other
23    ID 7489 ¶ 7 (attaching      individual defendants in
      excerpt of Foti RFA         this action.
24
      answer admitting he         Marshall Decl., at ¶ --.
25    signed this health care
26    application, response to    Foti: DENY - Objections      Undisputed as to Foti.
27
      RFAs 8 & 9).                (irrelevant; failure to      The fact is relevant. The
                                  authenticate; hearsay; no    document(s) are genuine
28
                                  foundation the email or      and authentic, as
                                             257
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                the written "CFO" is          established by the
3                               genuine, that Mr. Foti sent   evidence the FTC
4                               or received a copy of it,     submitted in support of
5                               knew about it or had          the fact for this paragraph.
                                anything to do with it in     The evidence is not
6
                                the form presented here.      hearsay because it is an
7                               Although Mr Foti has          opposing party’s
8                               admitted he signed the        statement. Finding
                                healthcare application, he    documents on a
9
                                denies he wrote or saw        receivership computer
10                              the "CFO" on the              from the defendant’s
11                              document.)                    office or from the
12                              Foti Decl. 36, 37 (re:        defendants’ premises
                                "CFO"); DE 69-2, Chang        taken over by the
13
                                July 2016 Decl. at Page       receivership in fact makes
14                              ID 3267-3268, 3273,           it more likely it was used.
15                              3277, Att. 2.                        In response, Foti
16
                                                              cites his self-serving
                                                              declaration, which cannot
17
                                                              controvert a fact on
18                                                            summary judgment, and
19                                                            the cited reference does
                                                              not address the fact at
20
                                                              issue. The other evidence
21                                                            cited does not controvert
22                                                            the fact at issue. In fact,
23                                                            as the FTC cited, Foti
                                                              admitted the application,
24
                                                              with the designation of
25                                                            CFO and employee of
26                                                            Brookstone, is genuine
                                                              and authentic.
27
      224. Brookstone’s         Marshall: This Defendant      Undisputed as to
28
      bookkeeper created a      lacks the knowledge or        Marshall. He does not
                                           258
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1     Uncontroverted Fact/      Defendants’ Responses          FTC’s Reply
      Support
2
      chart showing the         information and belief to      offer any admissible
3     payments to Brookstone    dispute or declare this fact   evidence capable of
4     employees, and Foti,      undisputed, as this alleged    controverting the fact at
5     along with Kutzner, is    fact occurred prior to or      issue.
      identified as an          without this Defendant’s
6
      “executive.”              involvement with
7     DE 41-5 at Page ID        Advantis Law Group,
8     2669; DE 284-4, Chang     P.C. or the other
      Decl. at Page ID 7249 ¶   individual defendants in
9
      4.z.                      this action.
10                              Marshall Decl., at ¶ --.
11
12                              Foti: DENY - Objections        Undisputed as to Foti.
                                (irrelevant; failure to        The fact is relevant. The
13
                                authenticate; hearsay. No      document(s) are genuine
14                              foundation the documents       and authentic, as
15                              are genuine, who prepared      established by the
16
                                them, whether Mr. Foti         evidence the FTC
                                ever received, knew about      submitted in support of
17
                                or had anything to do with     the fact. The evidence is
18                              them.)                         not hearsay as a statement
19                                                             of a party opponent.
                                                               Finding documents on a
20
                                                               defendant’s computer or
21                                                             on-site at the receivership
22                                                             defendant’s premises in
23                                                             fact makes it more likely
                                                               it was used.
24
                                                               For support, Foti cites no
25                                                             evidence to controvert the
26                                                             fact at issue.
27
      225. In the chart created Marshall: This Defendant       Undisputed as to
      by Brookstone’s           lacks the knowledge or         Marshall. He does not
28
      bookkeeper, Foti received information and belief to      offer any admissible
                                            259
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1     Uncontroverted Fact/      Defendants’ Responses          FTC’s Reply
      Support
2
      the same amount of        dispute or declare this fact evidence capable of
3     income from Brookstone    undisputed, as this alleged controverting the fact at
4     as Torchia and Kutzner.   fact occurred prior to or    issue.
5     DE 41-5 at Page ID        without this Defendant’s
      2668-72; DE 284-4,        involvement with
6
      Chang Decl. at Page ID    Advantis Law Group,
7     7249 ¶ 4.z; DE 284-7,     P.C. or the other
8     Lobo Decl. at Page ID     individual defendants in
      7467 ¶ 6.                 this action.
9
                                Marshall Decl., at ¶ --.
10
11                              Foti: DENY - Objections        Undisputed as to Foti.
12                              (irrelevant; failure to        The fact is relevant. The
                                authenticate; hearsay. No      document(s) are genuine
13
                                foundation the documents       and authentic, as
14                              are genuine, who prepared      established by the
15                              them, whether Mr. Foti         evidence the FTC
16
                                ever received, knew about      submitted in support of
                                or had anything to do with     the fact. The evidence is
17
                                them.) No authentication       not hearsay because it is
18                              of who created chart -         an opposing party’s
19                              Lobo declaration fails to      statement. Finding
                                state the time period when     documents on a
20
                                she claims Foti received       receivership computer
21                              the same amounts;              from the defendant’s
22                              acknowledges that she did      office or from the
23                              very little or no work         defendants’ premises
                                from August 2014 to            taken over by the
24
                                September 2015 and             receivership in fact makes
25                              worked from home from          it more likely it was used.
26                              October 2013 to August         Foti’s cited evidence does
                                2014 and September 2015        not address and/or
27
                                to June 2016; Irrelevant       controvert the fact at
28                              (the fact that Foti received   issue.

                                            260
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   the same amount of
3                                  income from Brookstone
4                                  as Torchia and Kutzner
5                                  during the referenced time
                                   period does not establish
6
                                   either that Foti had any
7                                  ownership interest or any
8                                  ability to control
                                   Brookstone).
9
                                   DE-284-7, Lobo Decl., ¶
10                                 2. ("From October 2013
11                                 until August 2014, I
12                                 worked part-time for
                                   Brookstone Law from my
13
                                   home for approximately
14                                 15 hours a week. From
15                                 August 2014 until mid-
16
                                   October 2014, I did very
                                   little work for Brookstone
17
                                   Law. From November
18                                 2014 until September
19                                 2015, I did no work for
                                   Brookstone. I worked for
20
                                   Brookstone Law part time
21                                 from September 2015 to
22                                 June 2016.")
23    226. Brookstone’s            Marshall: This Defendant       Undisputed as to
      bookkeeper created and       lacks the knowledge or         Marshall. He does not
24
      distributed “daily cash      information and belief to      offer any admissible
25    position” reports to Foti,   dispute or declare this fact   evidence capable of
26    Kutzner, and Torchia.        undisputed, as this alleged    controverting the fact at
27
      DE 284-7, Lobo Decl. at      fact occurred prior to or      issue.
      Page ID 7467 ¶ 7.            without this Defendant’s
28
                                   involvement with
                                               261
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                Advantis Law Group,
3                               P.C. or the other
4                               individual defendants in
5                               this action.
                                Marshall Decl., at ¶ --.
6
7                               Foti: DENY - Objections      Undisputed as to Foti.
8                               (irrelevant; failure to      The fact is relevant. The
                                authenticate; hearsay. No    document(s) are genuine
9
                                foundation the documents     and authentic, as
10                              are genuine, who prepared    established by the
11                              them, whether Mr. Foti       evidence the FTC
12                              ever received, knew about    submitted in support of
                                or had anything to do with   the fact for this paragraph.
13
                                them. Not unusual Mr.        The evidence is not
14                              Foti would receive these     hearsay because it is an
15                              in light of his budgeting    opposing party’s
16
                                and forecasting              statement. Finding
                                responsibilities - do not    documents on a
17
                                establish any ability to     receivership computer
18                              control).                    from the defendant’s
19                              Foti Decl. 15, 16 (re: his   office or from the
                                responsibilities)            defendants’ premises
20
                                                             taken over by the
21                                                           receivership in fact makes
22                                                           it more likely it was used.
23                                                                  In response, Foti
                                                             cites only his self-serving
24
                                                             declaration, which cannot
25                                                           controvert a fact on
26                                                           summary judgment, and
                                                             the cited reference to the
27
                                                             Foti Decl. does not
28                                                           address the fact at issue.

                                           262
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      227. Foti, Kutzner, and      Marshall: This Defendant       Undisputed as to
3     Torchia all signed their     lacks the knowledge or         Marshall. He does not
4     initials to a document       information and belief to      offer any admissible
5     titled “Deal Memo.”          dispute or declare this fact   evidence capable of
      DE 41-5 at Page ID           undisputed, as this alleged    controverting the fact at
6
      2681; Ex. 68; DE 284-8,      fact occurred prior to or      issue.
7     Theisman Decl. at Page       without this Defendant’s
8     ID 7485, 7540 ¶ 4.j; DE      involvement with
      284-13, Theisman Decl.       Advantis Law Group,
9
      at Page ID 8059 ¶ 15, Att.   P.C. or the other
10    12, Foti Depo. at 74:12-     individual defendants in
11    18 (“It’s not my             this action.
12    signature. It’s my           Marshall Decl., at ¶ --.
      initials.”); DE 284-8,
13
      Theisman Decl. at Page       Foti: ADMIT                Undisputed as to Foti.
14    ID 7489 ¶ 7 (attaching       Foti Decl. 33, 34
15    excerpts of Foti’s           (explaining Deal Memo);
16
      response to RFA 38           MAT MSJ Decl.,
      admitting the Deal Memo      Attachments 1
17
      is authentic, response to    (Brookstone Law, P.C.
18    RFA 38).                     Statement of Information”
19                                 dated December 11,
                                   2013), 2 (Brookstone
20
                                   accountant's testimony
21                                 that 2012 K-1 shows Vito
22                                 Torchia was "100%
23                                 owner " of Brookstone), 3
                                   (Resolution of the
24
                                   Shareholders of
25                                 Brookstone Law, P.C.,
26                                 Stock Certificate Transfer
                                   dated July 8, 2015), 4
27
                                   (Memorandum of
28                                 Understanding between

                                               263
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1     Uncontroverted Fact/        Defendants’ Responses     FTC’s Reply
      Support
2
                                  Law Offices of Jonathan
3                                 Tarkowski and
4                                 Brookstone Law, P.C.
5                                 dated June 30, 2014), 5
                                  (Attachment C-1 Standard
6
                                  Law Corporation
7                                 Guarantee), 6 (Torchia
8                                 State Bar Testimony that
                                  he was the CEO,
9
                                  president and managing
10                                attorney of Brookstone), 7
11                                (Memorandum of
12                                Understanding between
                                  Law Offices of Vito
13
                                  Torchia, Jr., Esq. and
14                                Advantis Law, P.C. dated
15                                July 8, 2015); Thurman
16
                                  Decl., Attachment 68
                                  (Certified copy of
17
                                  Attachment C-1 Standard
18                                Law Corporation
19                                Guarantee produced by
                                  California State Bar);
20
                                  Thurman Decl.,
21                                Attachment 48 (Kutzner's
22                                Executive Employment
23                                Agreement); DE-78-1,
                                  Pages 3544-50
24
                                  (Independent consulting
25                                and business services
26                                agreement).
27
      228. The “Deal Memo,”       Marshall: This Defendant Undisputed as to
      in a provision related to   lacks the knowledge or     Marshall. He does not
28
      the day-to-day              information and belief to offer any admissible
                                            264
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1     Uncontroverted Fact/          Defendants’ Responses       FTC’s Reply
      Support
2
      management of                 dispute or declare this fact evidence capable of
3     Brookstone, states:           undisputed, as this alleged controverting the fact at
4     “[T]here will be a            fact occurred prior to or    issue.
5     majority rule in the voting   without this Defendant’s
      decision amongst the          involvement with
6
      shareholders of the firm      Advantis Law Group,
7     and non-attorneys             P.C. or the other
8     (Employees) Jeremy Foti       individual defendants in
      and Damian Kutzner.”          this action.
9
      DE 41-5 at Page ID            Marshall Decl., at ¶ --.
10    2681; Ex. 68; DE 284-8,
11    Theisman Decl. at Page        Foti: ADMIT                Undisputed as to Foti.
12    ID 7485, 7540 ¶ 4.j; DE       Foti Decl. 33, 34 (Deal
      284-8, Theisman Decl. at      Memo); MAT MSJ Decl.,
13
      Page ID 7489 ¶ 7              Attachments 1
14    (attaching excerpts of        (Brookstone Law, P.C.
15    Foti’s response to RFAs       Statement of Information”
16
      admitting the Deal Memo       dated December 11,
      is authentic, response to     2013), 2 (Brookstone
17
      RFA 38).                      accountant's testimony
18                                  that 2012 K-1 shows Vito
19                                  Torchia was "100%
                                    owner " of Brookstone), 3
20
                                    (Resolution of the
21                                  Shareholders of
22                                  Brookstone Law, P.C.,
23                                  Stock Certificate Transfer
                                    dated July 8, 2015), 4
24
                                    (Memorandum of
25                                  Understanding between
26                                  Law Offices of Jonathan
                                    Tarkowski and
27
                                    Brookstone Law, P.C.
28                                  dated June 30, 2014), 5

                                               265
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1     Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
      Support
2
                               (Attachment C-1 Standard
3                              Law Corporation
4                              Guarantee), 6 (Torchia
5                              State Bar Testimony that
                               he was the CEO,
6
                               president and managing
7                              attorney of Brookstone), 7
8                              (Memorandum of
                               Understanding between
9
                               Law Offices of Vito
10                             Torchia, Jr., Esq. and
11                             Advantis Law, P.C. dated
12                             July 8, 2015); Thurman
                               Decl., Attachment 68
13
                               (Certified copy of
14                             Attachment C-1 Standard
15                             Law Corporation
16
                               Guarantee produced by
                               California State Bar);
17
                               Thurman Decl.,
18                             Attachment 48 (Kutzner's
19                             Executive Employment
                               Agreement); DE-78-1,
20
                               Pages 3544-50
21                             (Independent consulting
22                             and business services
23                             agreement).
      229. Foti later provided Marshall: This Defendant       Undisputed as to
24
      loan funding to          lacks the knowledge or         Marshall. He does not
25    Brookstone in accordance information and belief to      offer any admissible
26    with the “Deal Memo”     dispute or declare this fact   evidence capable of
27
      agreement.               undisputed, as this alleged    controverting the fact at
      DE 284-13, Theisman      fact occurred prior to or      issue.
28
      Decl. at Page ID 8059 ¶  without this Defendant’s
                                            266
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      15, Att. 12, Foti Depo. at    involvement with
3     76:6-12 (“Q. Did you          Advantis Law Group,
4     ever provide loan funding     P.C. or the other
5     to Brookstone? A. I did.      individual defendants in
      I provided Vito [Torchia]     this action.
6
      personally with funds.        Marshall Decl., at ¶ --.
7     I’m not sure of the exact
8     amounts, but it was           Foti: DENY                     Undisputed as to Foti.
      always, you know,             Foti Decl. 33                         Foti cites only his
9
      approached by Vito                                           self-serving declaration,
10    [Torchia] about, ‘Hey, I                                     which cannot controvert a
11    need to be able to pay this                                  fact on summary
12    or pay that,’ and so I                                       judgment
      would consider it from
13
      time to time.”).
14    230. In 2015, Kutzner         Marshall: This Defendant       Undisputed as to
15    sent the “Deal Memo” to       lacks the knowledge or         Marshall. He does not
16    a third party, explaining     information and belief to      offer any admissible
      that he and Foti were         dispute or declare this fact   evidence capable of
17
      “partners” of Brookstone.     undisputed, as this alleged    controverting the fact at
18    Ex. 69 (email from            fact occurred prior to or      issue.
19    Kutzner to Pepe Abad,         without this Defendant’s
      copying Foti, attaching       involvement with
20
      the Deal Memo, and            Advantis Law Group,
21    stating “Psss. . Look at      P.C. or the other
22    the Deal memo we all          individual defendants in
23    signed. . . . I am sending    this action.
      this to you as we are         Marshall Decl., at ¶ --.
24
      partners NOW and you
25    should understand all         Foti: DENY - Objections        Undisputed as to Foti.
26    sides! Not just one!”);       (irrelevant; failure to        The fact is relevant. The
27
      DE 284-8, Theisman            authenticate; hearsay. No      document(s) are genuine
      Decl. at Page ID 7485,        foundation the documents       and authentic, as
28
      7541-7640 ¶ 4.k.              are genuine, who prepared      established by the
                                                267
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                them, whether Mr. Foti       evidence the FTC
3                               ever received, knew about    submitted in support of
4                               or had anything to do with   the fact for this paragraph.
5                               them.)                       The evidence is not
                                Foti Decl. 33, 34 (Deal      hearsay because it is an
6
                                Memo); MAT MSJ Decl.,        opposing party’s
7                               Attachments 1                statement. Finding
8                               (Brookstone Law, P.C.        documents on a
                                Statement of Information”    receivership computer
9
                                dated December 11,           from the defendant’s
10                              2013), 2 (Brookstone         office or from the
11                              accountant's testimony       defendants’ premises
12                              that 2012 K-1 shows Vito     taken over by the
                                Torchia was "100%            receivership in fact makes
13
                                owner " of Brookstone), 3    it more likely it was used.
14                              (Resolution of the                  In response, Foti
15                              Shareholders of              cites his self-serving
16
                                Brookstone Law, P.C.,        declaration, which cannot
                                Stock Certificate Transfer   controvert a fact on
17
                                dated July 8, 2015), 4       summary judgment, and
18                              (Memorandum of               the cited reference does
19                              Understanding between        not address the fact at
                                Law Offices of Jonathan      issue. The other evidence
20
                                Tarkowski and                cited does not controvert
21                              Brookstone Law, P.C.         the fact at issue.
22                              dated June 30, 2014), 5
23                              (Attachment C-1 Standard
                                Law Corporation
24
                                Guarantee), 6 (Torchia
25                              State Bar Testimony that
26                              he was the CEO,
                                president and managing
27
                                attorney of Brookstone), 7
28                              (Memorandum of

                                           268
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   Understanding between
3                                  Law Offices of Vito
4                                  Torchia, Jr., Esq. and
5                                  Advantis Law, P.C. dated
                                   July 8, 2015); Thurman
6
                                   Decl., Attachment 68
7                                  (Certified copy of
8                                  Attachment C-1 Standard
                                   Law Corporation
9
                                   Guarantee produced by
10                                 California State Bar);
11                                 Thurman Decl.
12                                 Attachment 48 (Kutzner's
                                   Executive Employment
13
                                   Agreement); DE-78-1,
14                                 Pages 3544-50
15                                 (Independent consulting
16
                                   and business services
                                   agreement).
17
      231. Foti has declared       Marshall: This Defendant       Undisputed as to
18    that his role with the       lacks the knowledge or         Marshall. He does not
19    Corporate Defendants         information and belief to      offer any admissible
      included: (1) “ . . .        dispute or declare this fact   evidence capable of
20
      [M]anagement services        undisputed, as this alleged    controverting the fact at
21    related to referral          fact occurred prior to or      issue.
22    services, hiring/recruiting, without this Defendant’s
23    vendor relations, IT         involvement with
      relations, and data          Advantis Law Group,
24
      sources”; (2) “Obtain[ing] P.C. or the other
25    estimates and costs for      individual defendants in
26    expenses associated with this action.
27
      day to day operations”;      Marshall Decl., at ¶ --.
      (3) “Obtain[ing] or
28
      arrang[ing] for the          Foti: ADMIT                    Undisputed as to Foti.
                                               269
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      preparation of law firm      Foti Decl. ¶ 15, 16, 17
3     supplied creative content,   (re: duties)
4     advertising, campaign
5     management and other
      related services”; and (4)
6
      “Audit[ing] all invoices
7     and expenses provided by
8     third-parties to ensure
      accuracy, including but
9
      not limited to payroll
10    bonuses and employee
11    compensation.”
12    DE 78-1, Foti July Decl.
      at Page ID 3538-39, ¶ 10.
13
      232. Foti declares he        Marshall: This Defendant       Undisputed as to
14    was promised an “turnkey     lacks the knowledge or         Marshall. He does not
15    private office space free    information and belief to      offer any admissible
16    of charge” in whatever       dispute or declare this fact   evidence capable of
      offices Brookstone           undisputed, as this alleged    controverting the fact at
17
      maintained.                  fact occurred prior to or      issue.
18    DE 78-1, Foti July Decl.     without this Defendant’s
19    at Page ID 3546; DE          involvement with
      152-1, Declaration of        Advantis Law Group,
20
      Jeremy Foti in Support of    P.C. or the other
21    Defendant’s Response to      individual defendants in
22    Plaintiff’s Objections to    this action.
23    Proposed Findings of         Marshall Decl., at ¶ --.
      Fact and Receiver’s
24
      Supplemental Report          Foti: DENY - Objection         Undisputed as to Foti.
25    (“Foti Nov. Decl.”) at       (irrelevant - negotiations     The fact is relevant.
26    Page ID 4757.                for office space are not              Foti cites only his
27
                                   evidence of knowledge,         self-serving declaration,
                                   ownership or ability to        which cannot controvert a
28
                                   control)                       fact on summary
                                               270
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                  Foti Decl. ¶ 81 (re: office  judgment, and the cited
3                                 negotiations)                reference does not address
4                                                              the fact at issue.
5     233. Foti admits that he Marshall: This Defendant Undisputed as to
      occupied a “VP Office” at lacks the knowledge or         Marshall. He does not
6
      6 Hutton Centre, Suite      information and belief to offer any admissible
7     1000, Santa Ana, CA,        dispute or declare this fact evidence capable of
8     which, according to the     undisputed, as this alleged controverting the fact at
9
      Receiver’s diagram, was     fact occurred prior to or    issue.
      larger than all offices     without this Defendant’s
10
      occupied by any other       involvement with
11    Brookstone employee but Advantis Law Group,
12    Kutzner.                    P.C. or the other
      DE 41 at Page ID 2479       individual defendants in
13
      (“He operates from a        this action.
14    large, and upon our         Marshall Decl., at ¶ --.
15    arrival locked, office next
16    to Mr. Kutzner’s office.”); Foti: DENY - Objection       Undisputed as to Foti.
      DE 41-2 at 2498-99          (irrelevant - negotiations   The fact is relevant.
17
      (identifying Foti’s office  for office space are not            Foti cites only his
18    as the “VP Office”          evidence of knowledge,       self-serving declaration,
19    designated as “I” or        ownership or ability to      which cannot controvert a
      “111”); DE 284-8,           control)                     fact on summary
20
      Theisman Decl. at Page      Foti Decl. ¶ 81 (re: office judgment, and the cited
21    ID 7489 ¶ 7 (attaching      negotiations)                reference does not address
22    excerpts of Foti’s answers                               the fact at issue.
23    to RFAs in which he
      admits he occupied the
24
      office identified as
25    number 111 and
26    admitting the office
27
      locations of Kutzner and
      Broderick, responses to
28
      RFAs 111-13).
                                             271
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      234. Foti agreed to hold      Marshall: This Defendant       Undisputed as to
3     Brookstone “harmless          lacks the knowledge or         Marshall. He does not
4     from any and all claims       information and belief to      offer any admissible
5     brought by a third party. .   dispute or declare this fact   evidence capable of
      . .”                          undisputed, as this alleged    controverting the fact at
6
      DE 152-1, Foti Nov.           fact occurred prior to or      issue.
7     Decl., at Page ID 4758.       without this Defendant’s
8                                   involvement with
                                    Advantis Law Group,
9
                                    P.C. or the other
10                                  individual defendants in
11                                  this action.
12                                  Marshall Decl., at ¶ --.
13
                                    Foti: DENY - Objection         Undisputed as to Foti.
14                                  (missstates the evidence       The fact is relevant and
15                                  as a result of incomplete      supported by the cited
16
                                    citation; irrelevant - no      evidence.
                                    evidence unsigned                     Foti cites no
17
                                    sublease agreement             evidence to controvert the
18                                  between GAMC Services          fact at issue.
19                                  and Brookstone was ever
                                    executed
20
                                    Foti Decl. ¶ 14 (re:
21                                  indemnification); DE 152-
22                                  1, Foti Nov. Decl., at
23                                  Page ID 4758 (unsigned
                                    lease reflects that the
24
                                    parties reciprocally
25                                  proposed "to indemnity
26                                  and hold each other
                                    harmless from any and all
27
                                    claims brought by a third
28                                  party relating to one

                                                272
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
                                  another's businesses."
3     235. Brookstone’s ethics Marshall: This Defendant          Undisputed as to
4     counsel stated, in a memo lacks the knowledge or           Marshall. He does not
5     addressed to Torchia:       information and belief to      offer any admissible
      “You are the sole           dispute or declare this fact   evidence capable of
6
      shareholder of              undisputed, as this alleged    controverting the fact at
7     Brookstone. You             fact occurred prior to or      issue.
8     supervise the attorneys’    without this Defendant’s
9
      work, and the attorneys     involvement with
      seem to understand that     Advantis Law Group,
10
      you are the supervisory     P.C. or the other
11    lawyer at Brookstone. It individual defendants in
12    is less clear to us whether this action.
      the non-lawyer personnel Marshall Decl., at ¶ --.
13
      at Brookstone understand
14    that you are in charge of   Foti: DENY - Objections        Undisputed as to Foti.
15    supervising their work.”    (irrelevant; failure to        The fact is relevant. The
16    DE 284-8, Theisman          authenticate; hearsay;         document(s) are genuine
      Decl. at Page ID 7487,      subject to attorney-client     and authentic, as
17
      DE 284-10, DE 284-11,       communication and work         established by the
18    Page ID 7803-7822 ¶         product privilege asserted     evidence the FTC
19    4.hhh.                      previously by Mr.              submitted in support of
                                  Torchia. No foundation         the fact. The evidence is
20
                                  the documents are              not hearsay to the extent
21                                genuine, who prepared          not offered for the truth of
22                                them, whether Mr. Foti         the matter asserted. All
23                                ever received, knew about      parties potentially holding
                                  or had anything to do with     a relevant attorney-client
24
                                  them. In addition, advice      privilege have waived that
25                                related to supervision of      privilege. See Madden 8-
26                                nonattorneys regarding         14-17 Decl. ¶ 5.
27
                                  the dispensation of "legal     Foti’s cited evidence does
                                  advice" under state ethics     not controvert the fact at
28
                                  laws, not any claims           issue.
                                              273
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
                                   relating to this action.)
3                                  Thurman Decl.,
4                                  Attachment 54 (Vito
5                                  clawback request - FTC-
                                   RFP-0149575-0149576)
6
      236. Foti was                Marshall: This Defendant       Undisputed as to
7     responsible for              lacks the knowledge or         Marshall. He does not
8     determining the bonuses      information and belief to      offer any admissible
9
      for the Corporate            dispute or declare this fact   evidence capable of
      Defendants’ sales            undisputed, as this alleged    controverting the fact at
10
      personnel.                   fact occurred prior to or      issue.
11    DE 284-13, Theisman          without this Defendant’s
12    Decl. at Page ID 8081-82     involvement with
      ¶ 15, Att. 12, Foti Depo.    Advantis Law Group,
13
      at 216:21-217:6, 219:7-      P.C. or the other
14    13 (indicating he would      individual defendants in
15    “verify” “units” sold to     this action.
16    determine bonus              Marshall Decl., at ¶ --.
      amounts); DE 284-8,
17
      Theisman Decl. at Page       Foti: DENY - Objection         Undisputed as to Foti.
18    ID 7489 ¶ 7 (attaching       (misstates the testimony       The fact is relevant and
19    excerpts of Foti’s answers   stating that Mr. Foti          supported by the cited
      to RFAs, including where     "verified" and                 evidence.
20
      he admits he was             "calculated" bonuses, but             Foti cites no
21    “responsible for             failing to include that all    evidence to controvert the
22    calculating bonuses for      bonus payments were            fact at issue.
23    non-lawyer staff that        required to be approved
      worked as employees for      by Torchia or other
24
      Corporate Defendants, or     managing attorneys)
25    as contractors for           DE-186-4, Torchia Decl.,
26    Corporate Defendants”,       ¶16 ("Bonus calculations
27
      response to RFA 90).         were done primarily by
                                   Jeremy Foti. Damian
28
                                   Kutzner would approve
                                               274
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    the bonuses. I would sign
3                                   off on the bonuses based
4                                   on what Jeremy Foti and
5                                   Damian Kutzner provided
                                    to me."); MAT MSJ Decl.,
6
                                    Attachments 16 and 17
7                                   (Mr. Torchia's State Bar
8                                   testimony regarding his
                                    control over financial
9
                                    decisions at Brookstone).
10                                  Foti Decl. ¶ 16.c., 39, 59
11                                  (re: bonuses);
12    237. In determining           Marshall: This Defendant       Undisputed as to
      bonuses, Foti would           lacks the knowledge or         Marshall. He does not
13
      determine the payment         information and belief to      offer any admissible
14    status of a client and        dispute or declare this fact   evidence capable of
15    bonuses could be              undisputed, as this alleged    controverting the fact at
16    changed, including taking     fact occurred prior to or      issue.
      into account chargebacks      without this Defendant’s
17
      or if a client cancelled or   involvement with
18    obtained a refund.            Advantis Law Group,
19    DE 284-13, Theisman           P.C. or the other
      Decl. at Page ID 8082 ¶       individual defendants in
20
      15, Att. 12, Foti Depo. at    this action.
21    217:17-218:13; DE 284-        Marshall Decl., at ¶ --.
22    8, at Page ID 7488, DE
23    284-11, at Page ID 7866,      Foti: DENY - Objections        Undisputed as to Foti.
      Theisman Decl. ¶ 4.www        (irrelevant; failure to        The fact is relevant. The
24
      (authenticating and           authenticate; hearsay;         document(s) are genuine
25    attaching FTC-RAD-001-        misstates the testimony.       and authentic, as
26    0218348, email to Foti        No foundation the              established by the
27
      claiming right to bonuses,    documents are genuine,         evidence the FTC
      including taking into         who prepared them,             submitted in support of
28
      account chargebacks);         whether Mr. Foti ever          the fact for this paragraph.
                                                275
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      DE 69-2, Chang July           received, knew about or        The evidence is not
3     2016 Decl. at Page ID         had anything to do with        hearsay because it is an
4     3259-61 (email                them. Mr. Foti testified he    opposing party’s
5     correspondence with           "calculated" and               statement. Finding
      Brookstone sales person       "verified" bonuses, but all    documents on a
6
      about bonus amount,           bonus payments were            receivership computer
7     including deductions          required to be approved        from the defendant’s
8     where consumers signed        by Torchia or other            office or from the
      up for less lucrative deals   managing attorneys.            defendants’ premises
9
      and where there were          Torchia Decl., ¶16             taken over by the
10    chargebacks).                 ("Bonus calculations were      receivership in fact makes
11                                  done primarily by Jeremy       it more likely it was used.
12                                  Foti. Damian Kutzner                  In response, Foti
                                    would approve the              cites his self-serving
13
                                    bonuses. I would sign off      declaration, which cannot
14                                  on the bonuses based on        controvert a fact on
15                                  what Jeremy Foti and           summary judgment, and
16
                                    Damian Kutzner provided        the cited reference does
                                    to me."); MAT MSJ Decl.,       not address the fact at
17
                                    Attachments 16 and 17          issue. The other evidence
18                                  (Mr. Torchia's State Bar       cited does not controvert
19                                  testimony regarding his        the fact at issue.
                                    control over financial
20
                                    decisions at Brookstone).
21                                  Foti Decl. ¶ 15.c. and 39
22                                  re: bonuses;
23    238. Bonuses were             Marshall: This Defendant       Undisputed as to
      based on the number of        lacks the knowledge or         Marshall. He does not
24
      sales made by a sales         information and belief to      offer any admissible
25    person.                       dispute or declare this fact   evidence capable of
26    DE 284-13, Theisman           undisputed, as this alleged    controverting the fact at
27
      Decl. at Page ID 8081-82      fact occurred prior to or      issue.
      ¶ 15, Att. 12, Foti Depo.     without this Defendant’s
28
      at 217:7-13 (“Q. Right.       involvement with
                                                276
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      So the methodology would     Advantis Law Group,
3     be that they would submit    P.C. or the other
4     information to you           individual defendants in
5     indicating the number of     this action.
      units sold, ‘units’          Marshall Decl., at ¶ --.
6
      meaning the number of
7     clients who were             Foti: DENY - Objections      Undisputed as to Foti.
8     retained; and then           (irrelevant; failure to      The fact is relevant. The
      depending on the number      authenticate; hearsay;       document(s) are genuine
9
      of units that were sold,     subject to attorney-client   and authentic, as
10    they would receive an        communication and work       established by the
11    incentive payment; is that   product privilege asserted   evidence the FTC
12    accurate? A. That            previously by Mr.            submitted in support of
      sounds accurate.”); DE       Torchia. No foundation       the fact for this paragraph.
13
      284-8, Page ID 7487, DE      the documents are            The evidence is not
14    284-10, DE 284-11, Page      genuine, who prepared        hearsay because it is an
15    ID 7798-7822, Theisman       them, whether Mr. Foti       opposing party’s
16
      Decl. at ¶¶ 4.hhh & 4.ggg    ever received, knew about    statement. Finding
      (authenticating and          or had anything to do with   documents on a
17
      attaching FTC-RAD-001-       them. In addition, advice    receivership computer
18    0164070 to 0164089, at       related to supervision of    from the defendant’s
19    FTC-RAD-001-0164082,         nonattorneys regarding       office or from the
      and authenticating and       the dispensation of "legal   defendants’ premises
20
      attaching FTC-RAD-001-       advice" under state ethics   taken over by the
21    0163703 to 0163707, at       laws, not any claims         receivership in fact makes
22    FTC-RAD-001-0163706)         relating to this action.)    it more likely it was used.
23    (ethics opinions             Torchia Decl., ¶16           As noted elsewhere, any
      discussing Brookstone’s      ("Bonus calculations were    privilege associated with
24
      practice of bonuses based    done primarily by Jeremy     the ethics opinions has
25    on the number of sales);     Foti. Damian Kutzner         been waived.
26    DE 284-8, Page ID 7488,      would approve the                   In response, Foti
      DE 284-11, Page ID           bonuses. I would sign off    cites his self-serving
27
      7866, Theisman Decl. at ¶    on the bonuses based on      declaration, which cannot
28    4.www (authenticating        what Jeremy Foti and         controvert a fact on

                                              277
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      and attaching FTC-RAD-        Damian Kutzner provided        summary judgment, and
3     001-0218348, email to         to me."); MAT MSJ Decl.,       the cited reference does
4     Foti claiming right to        Attachments 16 and 17          not address the fact at
5     bonuses, including taking     (Mr. Torchia's State Bar       issue. The other evidence
      into account                  testimony regarding his        cited does not controvert
6
      chargebacks); DE 69-2,        control over financial         the fact at issue.
7     Chang July 2016 Decl. at      decisions at Brookstone).
8     Page ID 3259-61 (email        Foti Decl. ¶ 16.c., 39, 59
      correspondence with           (re: bonuses); Thurman
9
      Brookstone sales person       Decl., Attachment 54
10    about bonus amount,           (Vito clawback request -
11    including deductions          FTC-RFP-0149575-
12    where consumers signed        0149576)
      up for less lucrative deals
13
      and where there were
14    chargebacks).
15    239. Broderick, the           Marshall: This Defendant       Undisputed as to
16    purported “Managing           lacks the knowledge or         Marshall. He does not
      Attorney,” sought             information and belief to      offer any admissible
17
      approval from Foti for        dispute or declare this fact   evidence capable of
18    payment of bonuses for        undisputed, as this alleged    controverting the fact at
19    collections activities.       fact occurred prior to or      issue.
      DE 41-6 at Page ID            without this Defendant’s
20
      2714; DE 284-4, Chang         involvement with
21    Decl. at Page ID 7249 ¶       Advantis Law Group,
22    4.gg.                         P.C. or the other
23                                  individual defendants in
                                    this action.
24
                                    Marshall Decl., at ¶ --.
25
26                                  Foti: DENY - Objections        Undisputed as to Foti.
27
                                    (irrelevant; failure to        The fact is relevant. The
                                    authenticate; hearsay;         document(s) are genuine
28
                                    misstates the evidence;        and authentic, as
                                                278
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                subject to attorney-client    established by the
3                               communication and work        evidence the FTC
4                               product privilege asserted    submitted in support of
5                               previously by Mr.             the fact for this paragraph.
                                Torchia. No foundation        The evidence is not
6
                                the documents are             hearsay because it is an
7                               genuine, who prepared         opposing party’s
8                               them, whether Mr. Foti        statement. The other
                                ever received, knew about     objections do not appear
9
                                or had anything to do with    to apply to this fact or the
10                              them. In addition, advice     evidence cited.
11                              related to supervision of            Foti’s cited
12                              nonattorneys regarding        evidence does not
                                the dispensation of "legal    controvert the fact at
13
                                advice" under state ethics    issue.
14                              laws, not any claims
15                              relating to this action. No
16
                                indication from the
                                content of the email that
17
                                Mr. Broderick was
18                              requesting approval as
19                              opposed to instructing Mr.
                                Foti to make the payments
20
                                directed.)
21                              Torchia Decl., ¶16
22                              ("Bonus calculations were
23                              done primarily by Jeremy
                                Foti. Damian Kutzner
24
                                would approve the
25                              bonuses. I would sign off
26                              on the bonuses based on
                                what Jeremy Foti and
27
                                Damian Kutzner provided
28                              to me."); MAT MSJ Decl.,

                                           279
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    Attachments 16 and 17
3                                   (Mr. Torchia's State Bar
4                                   testimony regarding his
5                                   control over financial
                                    decisions at Brookstone).
6
                                    Foti Decl. ¶ 16.c., 39, 59
7                                   (re: bonuses);Thurman
8                                   Decl., Attachment 54
                                    (Vito clawback request -
9
                                    FTC-RFP-0149575-
10                                  0149576)
11    240. Brookstone               Marshall: This Defendant       Undisputed as to
12    obtained ethics advice        lacks the knowledge or         Marshall. He does not
      that paying sales people a information and belief to         offer any admissible
13
      bonus based on the            dispute or declare this fact   evidence capable of
14    number of clients retained undisputed, as this alleged       controverting the fact at
15    likely violated               fact occurred prior to or      issue.
16    Brookstone’s ethical          without this Defendant’s
      duties.                       involvement with
17
      DE 284-8, Page ID 7487, Advantis Law Group,
18    DE 284-10, DE 284-11,         P.C. or the other
19    Page ID 7803-7822,            individual defendants in
      Theisman Decl. at ¶ 4.hhh this action.
20
      (authenticating and           Marshall Decl., at ¶ --.
21    attaching FTC-RAD-001-
22    0164070 to 0164089, at        Foti: DENY - Objections        Undisputed as to Foti.
23    FTC-RAD-001-0164082, (irrelevant; failure to                 The fact is relevant. The
      stating: “Brookstone’s        authenticate; hearsay;         document(s) are genuine
24
      payments to CSRs of           subject to attorney-client     and authentic, as
25    bonuses based on a            communication and work         established by the
26    percentage of the clients’ product privilege asserted        evidence the FTC
27
      initial fees clearly violate previously by Mr.               submitted in support of
      this rule. It is possible the Torchia. No foundation         the fact. The evidence is
28
      bonuses to other non-         the documents are              not hearsay to the extent
                                                280
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      attorney personnel violate    genuine, who prepared        not offered for the truth of
3     this rule too, but we don’t   them, whether Mr. Foti       the matter asserted. All
4     have information about        ever received, knew about    parties potentially holding
5     how those bonuses are         or had anything to do with   a relevant attorney-client
      calculated. This is not to    them. In addition, advice    privilege have waived that
6
      say that a bonus cannot       related to supervision of    privilege. See Madden 8-
7     be paid to the CSRs. For      nonattorneys regarding       14-17 Decl. ¶ 5.
8     instance, the CSRs could      the dispensation of "legal   Foti’s cited evidence does
      be paid a bonus based on      advice" under state ethics   not controvert the fact at
9
      compliance with the           laws, not any claims         issue.
10    guidelines for their          relating to this action.)
11    performance. It is crucial    Thurman Decl.,
12    that any bonus or amount      Attachment 54 (Vito
      paid to a non-attorney        clawback request - FTC-
13
      could not be                  RFP-0149575-0149576)
14    characterized as fee-
15    sharing or as a referral
16
      fee.”); DE 284-8, Page
      ID 7487, DE 284-10,
17
      Page ID 7798-82,
18    Theisman Decl. at ¶ 4.ggg
19    (authenticating and
      attaching FTC-RAD-001-
20
      0163703 to 0163707, at
21    FTC-RAD-001-0163706
22    stating: “[I]t seems more
23    likely than not that the
      proposed bonus
24
      arrangement would be
25    found to violate CRPC 1-
26    320.”).
27
      241. At times, Foti           Marshall: This Defendant     Undisputed as to
      would send emails to the      lacks the knowledge or       Marshall. He does not
28
      Corporate Defendants’         information and belief to    offer any admissible
                                               281
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      sales personnel regarding    dispute or declare this fact evidence capable of
3     sales process and            undisputed, as this alleged controverting the fact at
4     guidelines.                  fact occurred prior to or    issue.
5     DE 284-8, Page ID 7486,      without this Defendant’s
      DE 284-10, Page ID           involvement with
6
      7759, Theisman Decl. at ¶    Advantis Law Group,
7     4.tt; id. at DE 284-8,       P.C. or the other
8     Page ID 7487, DE 284-        individual defendants in
      10, Page ID 7764 ¶ 4.ww      this action.
9
      (authenticating and          Marshall Decl., at ¶ --.
10    attaching FTC-RAD-001-
11    0072682, stating, among      Foti: DENY - Objections      Undisputed as to Foti.
12    other things: “I the [sic]   (irrelevant; failure to      The fact is relevant. The
      company is very              authenticate; hearsay. No    document(s) are genuine
13
      concerned with your          foundation the documents     and authentic, as
14    numbers! In Aug you sold     are genuine, who prepared    established by the
15    37 reports vs. only 10       them, whether Mr. Foti       evidence the FTC
16
      Litigations. These           ever received, knew about    submitted in support of
      numbers are unacceptable     or had anything to do with   the fact for this paragraph.
17
      and the company cannot       them.)                       The evidence is not
18    afford to pay a large        Foti Decl. 21, 31 (re:       hearsay because it is an
19    bonus for such a low         forwarding                   opposing party’s
      conversion ratio? I hope     documents/messages           statement. Finding
20
      you would agree that         within Brookstone);          documents on a
21    these numbers are not        Thurman Decl.,               receivership computer
22    what we were trying to       Attachment 59 (Rodriguez     from the defendant’s
23    accomplish with the new      Decl.)                       office or from the
      bonus system. If you can                                  defendants’ premises
24
      please email me back an                                   taken over by the
25    explanation on this so we                                 receivership in fact makes
26    can understand what                                       it more likely it was used.
      happened that would be                                           In response, Foti
27
      great.”); id. At DE 284-8,                                cites his self-serving
28    Page ID 7488, DE 284-                                     declaration, which cannot

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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      11, Page ID 7889-91 ¶                                     controvert a fact on
3     4.bbbb; id. at DE 284-8,                                  summary judgment. He
4     Page ID 7487, DE 284-                                     also cites to a single
5     10, Page ID 7762-63 ¶                                     declaration from a former
      4.vv.                                                     sales person who does not
6
                                                                testify to a fact
7                                                               controverting the fact at
8                                                               issue.
9
      242. At times, Foti          Marshall: This Defendant Undisputed as to
      monitored the use of         lacks the knowledge or       Marshall. He does not
10
      “leads” by sales people,     information and belief to offer any admissible
11    even instructing those       dispute or declare this fact evidence capable of
12    sales people to create       undisputed, as this alleged controverting the fact at
      Excel spreadsheets and       fact occurred prior to or    issue.
13
      then report to Foti on the   without this Defendant’s
14    status of a sales lead.      involvement with
15    DE 41-6 at Page ID           Advantis Law Group,
16    2736; DE 284-4, Chang        P.C. or the other
      Decl. at Page ID 7249 ¶      individual defendants in
17
      4.jj.                        this action.
18                                 Marshall Decl., at ¶ --.
19
                                   Foti: DENY - Objections      Undisputed as to Foti.
20
                                   (irrelevant; failure to      The fact is relevant. The
21                                 authenticate; hearsay. No    document(s) are genuine
22                                 foundation the documents     and authentic, as
23                                 are genuine, who prepared    established by the
                                   them, whether Mr. Foti       evidence the FTC
24
                                   ever received, knew about    submitted in support of
25                                 or had anything to do with   the fact for this paragraph.
26                                 them.)                       The evidence is not
27
                                   Foti Decl 31 (re:            hearsay because it is an
                                   following up on leads);      opposing party’s
28
                                   Thurman Decl.,               statement. Finding
                                              283
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                 Attachment 59 (Rodriguez documents on a
3                                Decl.)                       receivership computer
4                                                             from the defendant’s
5                                                             office or from the
                                                              defendants’ premises
6
                                                              taken over by the
7                                                             receivership in fact makes
8                                                             it more likely it was used.
                                                                     In response, Foti
9
                                                              cites his self-serving
10                                                            declaration, which cannot
11                                                            controvert a fact on
12                                                            summary judgment. He
                                                              also cites to a single
13
                                                              declaration from a former
14                                                            sales person who does not
15                                                            testify to a fact
16
                                                              controverting the fact at
                                                              issue.
17
      243. Foti received and Marshall: This Defendant Undisputed as to
18    then provided to sales     lacks the knowledge or       Marshall. He does not
19    people messages from       information and belief to offer any admissible
      potential clients, passing dispute or declare this fact evidence capable of
20
      them on as “leads.”        undisputed, as this alleged controverting the fact at
21    DE 284-8, Page ID 7487, fact occurred prior to or       issue.
22    DE 284-10, Page ID         without this Defendant’s
23    7797, Theisman Decl. at ¶ involvement with
      4.fff (authenticating and  Advantis Law Group,
24
      attaching FTC-RAD-001- P.C. or the other
25    0156323, email from a      individual defendants in
26    sales person to other      this action.
27
      Brookstone sales people    Marshall Decl., at ¶ --.
      stating:
28
      “Good afternoon,           Foti: DENY - Objections Undisputed as to Foti.
                                             284
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      Jeremy has been sending      (irrelevant; failure to      The fact is relevant. The
3     NEW Chase Bank               authenticate; hearsay. No    document(s) are genuine
4     leads/messages from our      foundation the documents     and authentic, as
5     answering service. I         are genuine, who prepared    established by the
      understand we’re all busy    them, whether Mr. Foti       evidence the FTC
6
      however, it is absolutely    ever received, knew about    submitted in support of
7     critical YOU                 or had anything to do with   the fact for this paragraph.
8     Call back all leads SAME     them.)                       The evidence is not
      DAY                          Foti Decl. ¶ 21, 22, 31      hearsay because it is an
9
      Put client info in ILS       (re: forwarding              opposing party’s
10    EVERY TIME                   documents within             statement. Finding
11    Schedule QUALITY             Brookstone/discuss when      documents on a
12    appointments for Banking     phone system was down,       receivership computer
      Specialists                  following up on leads);      from the defendant’s
13
      Please remember. . . .       Thurman Decl.,               office or from the
14    These clients are calling    Attachment 59 (Rodriguez     defendants’ premises
15    us, leaving a message and    Decl.)                       taken over by the
16
      NEED a call back                                          receivership in fact makes
      ASAP!!!!!!                                                it more likely it was used.
17
      Also… work closest to the                                        In response, Foti
18    MONEY! Things can                                         cites his self-serving
19    ONLY get better!”).                                       declaration, which cannot
                                                                controvert a fact on
20
                                                                summary judgment. He
21                                                              also cites to a single
22                                                              declaration from a former
23                                                              sales person who does not
                                                                testify to a fact
24
                                                                controverting the fact at
25                                                              issue.
26    244. On March 21,            Marshall: This Defendant Undisputed as to
27
      2016, Foti sent an email     lacks the knowledge or       Marshall. He does not
      to sales people stating:     information and belief to offer any admissible
28
      “Attached is a daily sales   dispute or declare this fact evidence capable of
                                              285
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      sheet that we can use as a   undisputed, as this alleged controverting the fact at
3     tracking tool for all of     fact occurred prior to or   issue.
4     your calls and               without this Defendant’s
5     appointments. Please take    involvement with
      a look at it and then go     Advantis Law Group,
6
      back and plug in the         P.C. or the other
7     numbers from this month.     individual defendants in
8     To start please email this   this action.
      to me at the end of each     Marshall Decl., at ¶ --.
9
      day so we can keep our
10    eye on the target.”          Foti: DENY - Objections      Undisputed as to Foti.
11    DE 284-8, Page ID 7488,      (irrelevant; failure to      The fact is relevant. The
12    DE 284-12, Page ID           authenticate; hearsay. No    document(s) are genuine
      7905-07, Theisman Decl.      foundation the documents     and authentic, as
13
      at ¶ 4.hhhh.                 are genuine, who prepared    established by the
14                                 them, whether Mr. Foti       evidence the FTC
15                                 ever received, knew about    submitted in support of
16
                                   or had anything to do with   the fact for this paragraph.
                                   them.)                       The evidence is not
17
                                   Foti Decl. ¶ 21 (re:         hearsay because it is an
18                                 forwarding                   opposing party’s
19                                 documents/messages           statement. Finding
                                   within Brookstone);          documents on a
20
                                   Thurman Decl.,               receivership computer
21                                 Attachment 59 (Rodriguez     from the defendant’s
22                                 Decl.)                       office or from the
23                                                              defendants’ premises
                                                                taken over by the
24
                                                                receivership in fact makes
25                                                              it more likely it was used.
26                                                                     In response, Foti
                                                                cites his self-serving
27
                                                                declaration, which cannot
28                                                              controvert a fact on

                                              286
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                                               summary judgment. He
3                                                              also cites to a single
4                                                              declaration from a former
5                                                              sales person who does not
                                                               testify to a fact
6
                                                               controverting the fact at
7                                                              issue.
8     245. On January 21,         Marshall: This Defendant Undisputed as to
9
      2011, Foti sent an email    lacks the knowledge or       Marshall. He does not
      to other Brookstone         information and belief to offer any admissible
10
      personnel on setting up     dispute or declare this fact evidence capable of
11    training meetings for sales undisputed, as this alleged controverting the fact at
12    staff.                      fact occurred prior to or    issue.
      DE 284-8, Page ID 7488, without this Defendant’s
13
      DE 284-12, Page ID          involvement with
14    7929-30, Theisman Decl. Advantis Law Group,
15    at ¶ 4.qqqq.                P.C. or the other
16                                individual defendants in
                                  this action.
17
                                  Marshall Decl., at ¶ --.
18
19                                Foti: DENY - Objections      Undisputed as to Foti.
                                  (irrelevant; failure to      The fact is relevant. The
20
                                  authenticate; hearsay. No    document(s) are genuine
21                                foundation the documents     and authentic, as
22                                are genuine, who prepared    established by the
23                                them, whether Mr. Foti       evidence the FTC
                                  ever received, knew about    submitted in support of
24
                                  or had anything to do with   the fact for this paragraph.
25                                them.                        The evidence is not
26                                Foti Decl. ¶ 21, 31 (re:     hearsay because it is an
27
                                  forwarding                   opposing party’s
                                  documents/messages           statement. Finding
28
                                  within Brookstone);          documents on a
                                             287
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 291 of 402 Page ID
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                  Thurman Decl.,             receivership computer
3                                 Attachment 59 (Rodriguez   from the defendant’s
4                                 Decl.); Email cited by     office or from the
5                                 FTC sought confirmation    defendants’ premises
                                  from managers regarding    taken over by the
6
                                  an upcoming office         receivership in fact makes
7                                 meeting Mr. Foti was       it more likely it was used.
8                                 NOT scheduled to lead             In response, Foti
                                  and reflects that Mr.      cites his self-serving
9
                                  Kutzner was in charge.     declaration, which cannot
10                                                           controvert a fact on
11                                                           summary judgment. He
12                                                           also cites to a single
                                                             declaration from a former
13
                                                             sales person who does not
14                                                           testify to a fact
15                                                           controverting the fact at
16
                                                             issue.
      246. Foti took part in    Marshall: This Defendant Undisputed as to
17
      meetings to determine the lacks the knowledge or       Marshall. He does not
18    sales process.            information and belief to offer any admissible
19    DE 284-13, Theisman       dispute or declare this fact evidence capable of
      Decl. at Page ID 8065,    undisputed, as this alleged controverting the fact at
20
      8067-68 ¶ 15, Att. 12,    fact occurred prior to or    issue.
21    Foti Depo. at 114:19-     without this Defendant’s
22    115:8, 124:21-125:11,     involvement with
23    (meetings regarding       Advantis Law Group,
      content of mailers); DE   P.C. or the other
24
      284-8, Page ID 7488, DE individual defendants in
25    284-12, Page ID 7929-30, this action.
26    Theisman Decl. at ¶       Marshall Decl., at ¶ --.
27
      4.qqqq; id. at DE 284-8,
      Page ID 7489, DE 284-     Foti: DENY - Objections Undisputed as to Foti.
28
      12, 7937-71 ¶ 4.tttt.     (irrelevant; failure to      The fact is relevant. The
                                             288
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                                       #:11490




1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
                                 authenticate; hearsay. No    document(s) are genuine
3                                foundation the documents     and authentic, as
4                                are genuine, who prepared    established by the
5                                them, whether Mr. Foti       evidence the FTC
                                 ever received, knew about    submitted in support of
6
                                 or had anything to do with   the fact for this paragraph.
7                                them.                        The evidence is not
8                                Foti Decl. ¶ 16.d., 18, 19,  hearsay because it is an
                                 20, 21, 26, 29, 31, 38 ;     opposing party’s
9
                                 Thurman Decl.,               statement. Finding
10                               Attachment 59 (Rodriguez     documents on a
11                               Decl.)                       receivership computer
12                                                            from the defendant’s
                                                              office or from the
13
                                                              defendants’ premises
14                                                            taken over by the
15                                                            receivership in fact makes
16
                                                              it more likely it was used.
                                                                     In response, Foti
17
                                                              cites his self-serving
18                                                            declaration, which cannot
19                                                            controvert a fact on
                                                              summary judgment. He
20
                                                              also cites to a single
21                                                            declaration from a former
22                                                            sales person who does not
23                                                            testify to a fact
                                                              controverting the fact at
24
                                                              issue.
25    247. At times, Foti        Marshall: This Defendant Undisputed as to
26    would distribute sales     lacks the knowledge or       Marshall. He does not
27
      scripts to sales people.   information and belief to offer any admissible
      Theisman Decl. at DE       dispute or declare this fact evidence capable of
28
      284-8, Page ID 7488, DE    undisputed, as this alleged controverting the fact at
                                            289
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      284-11, Page ID 7874-78     fact occurred prior to or    issue.
3     ¶ 4.yyy; id. at DE 284-8,   without this Defendant’s
4     Page ID 7488, DE 284-       involvement with
5     11, Page ID 7867-7873 ¶     Advantis Law Group,
      4.xxx; id. at DE 284-8,     P.C. or the other
6
      Page ID 7488, DE 284-       individual defendants in
7     11, Page ID 7879-83 ¶       this action.
8     4.zzz; id. at DE 284-8,     Marshall Decl., at ¶ --.
      Page ID 7488, DE 284-
9
      11, Page ID 7884-88 ¶       Foti: DENY - Objections      Undisputed as to Foti.
10    4.aaaa.                     (irrelevant; failure to      The fact is relevant. The
11                                authenticate; hearsay. No    document(s) are genuine
12                                foundation the documents     and authentic, as
                                  are genuine, who prepared    established by the
13
                                  them, whether Mr. Foti       evidence the FTC
14                                ever received, knew about    submitted in support of
15                                or had anything to do with   the fact for this paragraph.
16
                                  them.)                       The evidence is not
                                  Foti Decl. ¶ 21, 31;         hearsay because it is an
17
                                  Thurman Decl.,               opposing party’s
18                                Attachment 59 (Rodriguez     statement. Finding
19                                Decl.)                       documents on a
                                                               receivership computer
20
                                                               from the defendant’s
21                                                             office or from the
22                                                             defendants’ premises
23                                                             taken over by the
                                                               receivership in fact makes
24
                                                               it more likely it was used.
25                                                                    In response, Foti
26                                                             cites his self-serving
                                                               declaration, which cannot
27
                                                               controvert a fact on
28                                                             summary judgment. He

                                             290
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1     Uncontroverted Fact/       Defendants’ Responses       FTC’s Reply
      Support
2
                                                             also cites to a single
3                                                            declaration from a former
4                                                            sales person who does not
5                                                            testify to a fact
                                                             controverting the fact at
6
                                                             issue.
7     248. Torchia, the         Marshall: This Defendant Undisputed as to
8     purported owner of        lacks the knowledge or       Marshall. He does not
9
      Brookstone, declared:     information and belief to offer any admissible
      “Although Jeremy Foti     dispute or declare this fact evidence capable of
10
      was technically a         undisputed, as this alleged controverting the fact at
11    ‘consultant’ for          fact occurred prior to or    issue.
12    Brookstone, he was, along without this Defendant’s
      with Damian Kutzner,      involvement with
13
      responsible for all non-  Advantis Law Group,
14    legal aspects of          P.C. or the other
15    Brookstone’s operation.” individual defendants in
16    DE 186-4, Torchia Decl. this action.
      at Page ID 5371-72, ¶ 6. Marshall Decl., at ¶ --.
17
18                               Foti: DENY                  Undisputed as to Foti.
19                               MT MSJ Decl.,                      In response, he
                                 Attachment 11 (Torchia      cites to evidence that
20
                                 testimony: "I would have    others also may have had
21                               had to [approve a           control, which does not
22                               refund]"), 16 (Torchia      controvert the fact.
23                               State Bar testimony: His
                                 assistant attorney "had
24
                                 certain authority to
25                               handle certain matters on
26                               his own," "as long as it
27
                                 didn't have to do with
                                 money. If it had to do
28
                                 with money, we would sit
                                            291
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                down" and "if he felt that
3                               there might be some
4                               refund due, ... I would go
5                               over it with him"), 17
                                (Torchia State Bar
6
                                testimony: "there is a
7                               protocol that I established
8                               in which the assisting
                                managing attorney at the
9
                                time would be responsible
10                              for looking into the
11                              allegations, gathering
12                              documents, time sheets,
                                whatever, depending on
13
                                what they were asking for
14                              ... if they wanted refunds
15                              of money, then I would
16
                                review it."); Thurman
                                Decl., Attachment 59
17
                                (Peter Rodriguez Decl.);
18                              Thurman Decl.,
19                              Attachment 48 (Kutzner's
                                employment Agreement);
20
                                Kutzner's Stipulated
21                              Order;
22    249. Former Brookstone Marshall: This Defendant          Undisputed as to
23    and Advantis attorney     lacks the knowledge or         Marshall. He does not
      Jonathan Tarkowski        information and belief to      offer any admissible
24
      declares: “Damian         dispute or declare this fact   evidence capable of
25    Kutzner and Jeremy Foti, undisputed, as this alleged     controverting the fact at
26    another non-attorney,     fact occurred prior to or      issue.
27
      were responsible for      without this Defendant’s
      Brookstone/Advantis       involvement with
28
      financial matters. Damian Advantis Law Group,
                                             292
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      Kutzner and Jeremy Foti      P.C. or the other
3     supervised the individuals   individual defendants in
4     primarily responsible for    this action.
5     customer contact—the         Marshall Decl., at ¶ --.
      ‘Civil Litigation
6
      Representatives’ (CLRs)      Foti: DENY                    Undisputed as to Foti.
7     and ‘Banking                 MT MSJ Decl.,                        In response, he
8     Specialists.’”               Attachment 11 (Torchia        cites to evidence that
      DE 186-3, Tarkowski          testimony: "I would have      others also may have had
9
      Decl. at Page ID 5359, ¶     had to [approve a             control, which does not
10    9.                           refund]"), 16 (Torchia        controvert the fact.
11                                 State Bar testimony: His
12                                 assistant attorney "had
                                   certain authority to
13
                                   handle certain matters on
14                                 his own," "as long as it
15                                 didn't have to do with
16
                                   money. If it had to do
                                   with money, we would sit
17
                                   down" and "if he felt that
18                                 there might be some
19                                 refund due, ... I would go
                                   over it with him"), 17
20
                                   (Torchia State Bar
21                                 testimony: "there is a
22                                 protocol that I established
23                                 in which the assisting
                                   managing attorney at the
24
                                   time would be responsible
25                                 for looking into the
26                                 allegations, gathering
                                   documents, time sheets,
27
                                   whatever, depending on
28                                 what they were asking for

                                              293
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 ... if they wanted refunds
3                                of money, then I would
4                                review it."); Thurman
5                                Decl., Attachment 59
                                 (Peter Rodriguez Decl.);
6
                                 Thurman Decl.,
7                                Attachment 48 (Kutzner's
8                                employment Agreement);
                                 (DE-95-1) Kutzner
9
                                 Stipulated Order.
10
      250. In a deposition       Marshall: This Defendant       Undisputed as to
11    taken as a result of ULG’s lacks the knowledge or         Marshall. He does not
12    bankruptcy, Brookstone’s information and belief to        offer any admissible
      then bookkeeper,           dispute or declare this fact   evidence capable of
13
      Josephine Lobo, testified undisputed, as this alleged     controverting the fact at
14    that Brookstone’s          fact occurred prior to or      issue.
15    management was “Vito       without this Defendant’s
16    [Torchia], Damian          involvement with
      [Kutzner], and Jeremy      Advantis Law Group,
17
      [Foti].”                   P.C. or the other
18    DE 284-7, Lobo Decl. at    individual defendants in
19    Page ID 7477 ¶¶ 4-5, Att. this action.
      1 at 9.                    Marshall Decl., at ¶ --.
20
21                                Foti: DENY                    Undisputed as to Foti.
22                                MT MSJ Decl.,                        In response, he
23                                Attachment 11 (Torchia        cites to evidence that
                                  testimony: "I would have      others also may have had
24
                                  had to [approve a             control, which does not
25                                refund]"), 16 (Torchia        controvert the fact.
26                                State Bar testimony: His
27
                                  assistant attorney "had
                                  certain authority to
28
                                  handle certain matters on
                                             294
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 his own," "as long as it
3                                didn't have to do with
4                                money. If it had to do
5                                with money, we would sit
                                 down" and "if he felt that
6
                                 there might be some
7                                refund due, ... I would go
8                                over it with him"), 17
                                 (Torchia State Bar
9
                                 testimony: "there is a
10                               protocol that I established
11                               in which the assisting
12                               managing attorney at the
                                 time would be responsible
13
                                 for looking into the
14                               allegations, gathering
15                               documents, time sheets,
16
                                 whatever, depending on
                                 what they were asking for
17
                                 ... if they wanted refunds
18                               of money, then I would
19                               review it."); Thurman
                                 Decl., Attachment 59
20
                                 (Peter Rodriguez Decl.);
21                               Thurman Decl.,
22                               Attachment 48 (Kutzner's
23                               employment Agreement);
                                 (DE-95-1) Kutzner's
24
                                 Stipulated Order;
25    251. In a deposition       Marshall: This Defendant       Undisputed as to
26    taken as a result of ULG’s lacks the knowledge or         Marshall. He does not
27
      bankruptcy, Brookstone’s information and belief to        offer any admissible
      then bookkeeper,           dispute or declare this fact   evidence capable of
28
      Josephine Lobo, testified undisputed, as this alleged     controverting the fact at
                                             295
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      that Torchia, Kutzner, and   fact occurred prior to or    issue.
3     Foti received the same       without this Defendant’s
4     compensation from            involvement with
5     Brookstone.                  Advantis Law Group,
      DE 284-7, Lobo Decl. at      P.C. or the other
6
      Page ID 7481 ¶¶ 4 & 6,       individual defendants in
7     Att. 1 at 13.                this action.
8                                  Marshall Decl., at ¶ --.
9
                                 Foti: ADMIT, as of date        Undisputed as to Foti.
10                               of deposition (8/19/11) -
11                               Objection (irrelevant as to
12                               whether Corporate
                                 Defendants engaged in
13
                                 any violations or whether
14                               Mr. Foti had control or
15                               knowledge over the
16
                                 Corporate Defendants)
      252. A Brookstone          Marshall: This Defendant       Undisputed as to
17
      employee wrote an email lacks the knowledge or            Marshall. He does not
18    to Torchia, Kutzner, and   information and belief to      offer any admissible
19    Foti seeking their         dispute or declare this fact   evidence capable of
      approval to become the     undisputed, as this alleged    controverting the fact at
20
      direct supervisor over the fact occurred prior to or      issue.
21    sales operation.           without this Defendant’s
22    DE 284-8, at Page ID       involvement with
23    7487, DE 284-10, at Page Advantis Law Group,
      ID 7789, Theisman Decl. P.C. or the other
24
      at ¶ 4.ccc.                individual defendants in
25                               this action.
26                               Marshall Decl., at ¶ --.
27
                                   Foti: DENY - Objections      Undisputed as to Foti.
28
                                   (irrelevant; failure to      The fact is relevant. The
                                              296
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                authenticate; hearsay. No    document(s) are genuine
3                               foundation the documents     and authentic, as
4                               are genuine, who prepared    established by the
5                               them, whether Mr. Foti       evidence the FTC
                                ever received, knew about    submitted in support of
6
                                or had anything to do with   the fact for this paragraph.
7                               them. Fact that an           The evidence is not
8                               employee may have            hearsay because it is an
                                copied Foti on the email     opposing party’s
9
                                does not mean he had         statement. Finding
10                              authority to approve any     documents on a
11                              promotion.)                  receivership computer
12                              Foti Decl. ¶ 41 (no power    from the defendant’s
                                to fire); Thurman Decl.,     office or from the
13
                                Attachment 59 (Rodriguez     defendants’ premises
14                              Decl); Thurman Decl.,        taken over by the
15                              Attachment 48 (Kutzner       receivership in fact makes
16
                                Employment Agreement)        it more likely it was used.
                                                                    In response, Foti
17
                                                             cites his self-serving
18                                                           declaration, which cannot
19                                                           controvert a fact on
                                                             summary judgment. He
20
                                                             also cites to a single
21                                                           declaration from a former
22                                                           sales person who does not
23                                                           testify to a fact
                                                             controverting the fact at
24
                                                             issue. He cites to
25                                                           evidence that others also
26                                                           may have had control,
                                                             which does not controvert
27
                                                             the fact.
28
      253. Brookstone           Marshall: This Defendant     Undisputed as to
                                           297
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      obtained ethics advice,     lacks the knowledge or         Marshall. He does not
3     which was shared only       information and belief to      offer any admissible
4     with Torchia, Kutzner,      dispute or declare this fact   evidence capable of
5     and Foti.                   undisputed, as this alleged    controverting the fact at
      DE 284-8, Page ID 7487,     fact occurred prior to or      issue.
6
      DE 284-10, Page ID          without this Defendant’s
7     7798-7802, Theisman         involvement with
8     Decl. at ¶ 4.ggg            Advantis Law Group,
      (authenticating and         P.C. or the other
9
      attaching FTC-RAD-001-      individual defendants in
10    0163703 to 0163707,         this action.
11    cover email on memo         Marshall Decl., at ¶ --.
12    regarding Brookstone’s
      bonus structure, from       Foti: DENY - Objections        Undisputed as to Foti.
13
      Torchia to Kutzner and      (irrelevant; failure to        The fact is relevant. The
14    Foti, stating               authenticate; hearsay;         document(s) are genuine
15    “Confidential. Do not       subject to attorney-client     and authentic, as
16
      distribute.”); id. at DE    communication and work         established by the
      284-8, Page ID 7487, DE     product privilege asserted     evidence the FTC
17
      284-10, DE 284-11, Page     previously by Mr.              submitted in support of
18    ID 7803-7822 ¶ 4.hhh        Torchia. No foundation         the fact. The evidence is
19    (authenticating and         the documents are              not hearsay to the extent
      attaching FTC-RAD-001-      genuine, who prepared          not offered for the truth of
20
      0164070 to 0164089,         them, whether Mr. Foti         the matter asserted. All
21    cover email from Torchia    ever received, knew about      parties potentially holding
22    is to just Kutzner and      or had anything to do with     a relevant attorney-client
23    Foti); id. at DE 284-8,     them. In addition, advice      privilege have waived that
      Page ID 7487, DE 284-       related to supervision of      privilege. See Madden 8-
24
      11, Page ID 7823-27 ¶       nonattorneys regarding         14-17 Decl. ¶ 5.
25    4.iii (authenticating and   the dispensation of "legal     Foti’s cited evidence does
26    attaching FTC-RAD-001-      advice" under state ethics     not controvert the fact at
      0164311 to 0164315,         laws, not any claims           issue.
27
      cover email on memo         relating to this action.)
28    regarding Brookstone’s      Thurman Decl.,

                                              298
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      claim to be a national law   Attachment 54 (Vito
3     firm, from Torchia to        clawback request - FTC-
4     Kutzner and Foti, stating    RFP-0149575-0149576)
5     “This is Confidential
      Memo not to be
6
      distributed.”).
7     254. In response to the      Marshall: This Defendant       Undisputed as to
8     ethics opinion Foti          lacks the knowledge or         Marshall. He does not
9
      responded: “This looks       information and belief to      offer any admissible
      pretty good overall just     dispute or declare this fact   evidence capable of
10
      need to change a few         undisputed, as this alleged    controverting the fact at
11    things,” to which Kutzner    fact occurred prior to or      issue.
12    wrote: “You didn’t read      without this Defendant’s
      it?”                         involvement with
13
      DE 284-8, at Page ID         Advantis Law Group,
14    7487, DE 284-11, at Page     P.C. or the other
15    ID 7828, Theisman Decl.      individual defendants in
16    ¶ 4.jjj.                     this action.
                                   Marshall Decl., at ¶ --.
17
18                                 Foti: DENY - Objections        Undisputed as to Foti.
19                                 (irrelevant; failure to        The fact is relevant. The
                                   authenticate; hearsay;         document(s) are genuine
20
                                   misstates the evidence;        and authentic, as
21                                 subject to attorney-client     established by the
22                                 communication and work         evidence the FTC
23                                 product privilege asserted     submitted in support of
                                   previously by Mr.              the fact for this paragraph.
24
                                   Torchia. No foundation         The evidence is not
25                                 the documents are              hearsay for the reason
26                                 genuine, who prepared          offered. All parties
27
                                   them, whether Mr. Foti         potentially holding a
                                   ever received, knew about      relevant attorney-client
28
                                   or had anything to do with     privilege have waived that
                                               299
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                them. In addition, advice    privilege. See Madden 8-
3                               related to supervision of    14-17 Decl. ¶ 5.
4                               nonattorneys regarding              Foti’s cited
5                               the dispensation of "legal   evidence does not
                                advice" under state ethics   controvert the fact at
6
                                laws, not any claims         issue. He cites his self-
7                               relating to this action.     serving declaration, which
8                               Email reflects that          cannot controvert a fact
                                although it was not his      on summary judgment.
9
                                responsibility to            He also cites to a single
10                              implement, since he did      declaration from a former
11                              not supervise the relevant   sales person who does not
12                              areas, he expected and       testify to a fact
                                believed they would be       controverting the fact at
13
                                implemented. )               issue.
14                              Thurman Decl.,
15                              Attachment 53 (Vito
16
                                clawback request - FTC-
                                RFP-0149575-0149576);
17
                                Although not his
18                              responsibility to
19                              implement since he did
                                not supervise the relevant
20
                                areas, but email reflects
21                              that Mr. Foti expected
22                              and believed the proposed
23                              procedures would be
                                implemented. Thurman
24
                                Decl., Attachment 59
25                              (Rodriguez Decl.); Foti
26                              Decl. ¶ 15 and 16 (his
                                responsibilities)
27
      255. In response to one   Marshall: This Defendant     Undisputed as to
28
      piece of ethics advice,   lacks the knowledge or       Marshall. He does not
                                           300
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Foti wrote: “I think we      information and belief to      offer any admissible
3     need to keep in mind he is   dispute or declare this fact   evidence capable of
4     an ethic’s attorney so he    undisputed, as this alleged    controverting the fact at
5     is going to always say you   fact occurred prior to or      issue.
      shouldn’t do this you        without this Defendant’s
6
      shouldn’t do that.”          involvement with
7     DE 284-8, at Page ID         Advantis Law Group,
8     7486, DE 284-10, at Page     P.C. or the other
      ID 7760-6, Theisman          individual defendants in
9
      Decl. at ¶ 4.uu.             this action.
10                                 Marshall Decl., at ¶ --.
11
12                                 Foti: DENY - Objections        Undisputed as to Foti.
                                   (irrelevant; failure to        The fact is relevant. The
13
                                   authenticate; hearsay;         document(s) are genuine
14                                 misstates the evidence;        and authentic, as
15                                 subject to attorney-client     established by the
16
                                   communication and work         evidence the FTC
                                   product privilege asserted     submitted in support of
17
                                   previously by Mr.              the fact for this paragraph.
18                                 Torchia. No foundation         The evidence is not
19                                 the documents are              hearsay for the reason
                                   genuine, who prepared          offered. All parties
20
                                   them, whether Mr. Foti         potentially holding a
21                                 ever received, knew about      relevant attorney-client
22                                 or had anything to do with     privilege have waived that
23                                 them. In addition, advice      privilege. See Madden 8-
                                   related to supervision of      14-17 Decl. ¶ 5.
24
                                   nonattorneys regarding                Foti’s cited
25                                 the dispensation of "legal     evidence does not
26                                 advice" under state ethics     controvert the fact at
                                   laws, not any claims           issue. He cites his self-
27
                                   relating to this action.       serving declaration, which
28                                 FTC left out Mr. Foti's        cannot controvert a fact

                                               301
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                 statement: "We need to        on summary judgment.
3                                power forward and mend        He also cites to a single
4                                the holes in the ship."       declaration from a former
5                                Thurman Decl.,                sales person who does not
                                 Attachment 54 (Vito           testify to a fact
6
                                 clawback request - FTC-       controverting the fact at
7                                RFP-0149575-0149576);         issue.
8                                FTC's statement left out
                                 Mr. Foti's statement that,
9
                                 "We need to power
10                               forward and mend the
11                               holes in the ship."
12                               Although it was not his
                                 responsibility to
13
                                 implement the proposed
14                               changes, since he did not
15                               supervise the relevant
16
                                 areas, but Mr. Foti's
                                 email reflects that he
17
                                 expected and believed the
18                               proposed procedures
19                               would be implemented.
                                 Thurman Decl.,
20
                                 Attachment 59 (Rodriguez
21                               Decl.); Foti Decl. ¶ 15
22                               and 16 (his
23                               responsibilities)
      256. The FTC sought        Marshall: This Defendant      Undisputed as to
24
      discovery from Foti on his lacks the knowledge or        Marshall. He does not
25    control over the Corporate information and belief to     offer any admissible
26    Defendants and he did not dispute or declare this fact   evidence capable of
27
      identify or produce any    undisputed, as this alleged   controverting the fact at
      documents controverting fact occurred prior to or        issue.
28
      the FTC’s evidence.        without this Defendant’s
                                             302
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      DE 284-8, Theisman          involvement with
3     Decl. at Page ID 7489-90    Advantis Law Group,
4     ¶ 9.                        P.C. or the other
5                                 individual defendants in
                                  this action.
6
                                  Marshall Decl., at ¶ --.
7
8                                 Foti: DENY - Objection         Undisputed as to Foti.
                                  (irrelevant - Mr. Foti's       The fact is relevant. He
9
                                  inability to produce           cites no evidence to
10                                documents, where all of        controvert the fact at
11                                Mr. Foti's documents           issue.
12                                relevant to this action
                                  were previously seized at
13
                                  his home and office, does
14                                not constitute an
15                                admission of anything
16
                                  other than that he has no
                                  documents.
17
            a.    Foti Helped Draft Mailers and Sales Scripts.
18
      257. Foti owned and         Marshall: This Defendant       Undisputed as to
19
      controlled GAMC             lacks the knowledge or         Marshall. He does not
20    Services Inc. (“GAMC        information and belief to      offer any admissible
21    Services”).                 dispute or declare this fact   evidence capable of
22    DE 284-8, Theisman          undisputed, as this alleged    controverting the fact at
      Decl. at Page ID 7489 ¶ 7   fact occurred prior to or      issue.
23
      (attaching excerpts of      without this Defendant’s
24    Foti’s responses to RFAs,   involvement with
25    response to RFA 89).        Advantis Law Group,
                                  P.C. or the other
26
                                  individual defendants in
27                                this action.
28                                Marshall Decl., at ¶ --.

                                              303
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                Foti: ADMIT                     Undisputed as to Foti.
3     258. Foti owned and       Marshall: This Defendant        Undisputed as to
4     controlled DND            lacks the knowledge or          Marshall. He does not
5     Consulting Inc.           information and belief to       offer any admissible
      DE 284-8, Theisman        dispute or declare this fact    evidence capable of
6
      Decl. at Page ID 7489 ¶ 7 undisputed, as this alleged     controverting the fact at
7     (attaching excerpts of    fact occurred prior to or       issue.
8     Foti’s responses to RFAs, without this Defendant’s
9
      response to RFA 88).      involvement with
                                Advantis Law Group,
10
                                P.C. or the other
11                              individual defendants in
12                              this action.
                                Marshall Decl., at ¶ --.
13
14                               Foti: ADMIT                    Undisputed as to Foti.
15    259. Foti owned and        Marshall: This Defendant       Undisputed as to
16    controlled Webstar Inc.    lacks the knowledge or         Marshall. He does not
      (“Webstar”).               information and belief to      offer any admissible
17
      DE 284-8, Theisman         dispute or declare this fact   evidence capable of
18    Decl. at Page ID 7489 ¶ 7 undisputed, as this alleged     controverting the fact at
19    (attaching excerpts of     fact occurred prior to or      issue.
      Foti’s responses to RFAs, without this Defendant’s
20
      response to RFA 86); DE involvement with
21    284-13, Theisman Decl.     Advantis Law Group,
22    at Page ID 8071 ¶ 15, Att. P.C. or the other
23    12, Foti Depo. at 143:17- individual defendants in
      18 (Q. What was            this action.
24
      Webstar? A. Webstar        Marshall Decl., at ¶ --.
25    was an extension of
26    GAMC Services. . . .”) id. Foti: DENY - Objections        Undisputed as to Foti.
27
      DE 284-13, at Page ID      (irrelevant; failure to        The document(s) are
      8075, 158:22-159:12        authenticate; hearsay. No      genuine and authentic, as
28
      (noting that multiple      foundation the documents       established by the
                                             304
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      people knew he owned        are genuine, who prepared    evidence the FTC
3     Webstar).                   them, whether Mr. Foti       submitted in support of
4                                 ever received, knew about    the fact for this paragraph.
5                                 or had anything to do with   The evidence is not
                                  them.)                       hearsay because it is an
6
                                  Theisman Decl. at ¶ 7,       opposing party’s
7                                 MSJ Evid p. 243              statement. Finding
8                                 (attaching excerpts of       documents on a
                                  Foti’s responses to RFAs,    receivership computer
9
                                  response to RFA 86) (Mr.     from the defendant’s
10                                Foti has acknowledged        office or from the
11                                only that he controlled      defendants’ premises
12                                Webstar); Foti Decl. ¶ 73    taken over by the
                                  (re: Webstar)                receivership in fact makes
13
                                                               it more likely it was used.
14                                                             He testified at his
15                                                             deposition that he
16
                                                               purchased the company
                                                               and registered it. His
17
                                                               contrary statements in
18                                                             response to RFAs and in
19                                                             his self-serving
                                                               declaration cannot
20
                                                               controvert this fact.
21                                                             Furthermore, he does not
22                                                             deny that he in fact
23                                                             controlled the company.
      260. Foti, through          Marshall: This Defendant Undisputed as to
24
      GAMC Services and           lacks the knowledge or       Marshall. He does not
25    Webstar, arranged for the   information and belief to offer any admissible
26    Corporate Defendants’       dispute or declare this fact evidence capable of
27
      mailers to be sent to       undisputed, as this alleged controverting the fact at
      consumers.                  fact occurred prior to or    issue.
28
      DE 78-1, Foti July          without this Defendant’s
                                             305
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      Decl.at 3538; DE 284-13,      involvement with
3     Theisman Decl. at Page        Advantis Law Group,
4     ID 8063 ¶ 15, Att. 12,        P.C. or the other
5     Foti Depo. at 105:1-3         individual defendants in
      (“Q. Would you say that       this action.
6
      the direct mail was the
7     most commonly used form       Marshall Decl., at ¶ --.
8     of solicitation? A. I
      would probably say that       Foti: DENY                     Undisputed as to Foti.
9
      was correct.”); id. DE        Foti Decl. ¶ 16.d., 19, 20,           Foti’s cited
10    284-13 at Page ID 8064,       21, 23, 25, 38); Thurman       evidence does not
11    109:12-22, (“Q. And           Decl., Attachment 67           controvert the fact at
12    your consulting services,     (FTC-RAD-001-0099028           issue. He cites his self-
      did it have anything to do    ) (reflects that Mr. Foti      serving declaration, which
13
      with the mailers? A. As       did not send the mailer to     cannot controvert a fact
14    far as? Q. Anything. A.       the outside vendor but         on summary judgment.
15    Well, yeah. I would – I       was under the impression       Otherwise, he challenges
16
      would find services for       it was sent by Mr. Torchia     only one piece of
      them to get quotes on         had with the assistance of     evidence related to one
17
      whatever marketing they       Kevin and Josh                 mailer, which on its own
18    were seeking and see, you             ("This was done by     does not controvert the
19    know, how the pricing         Kevin, Josh and                fact at issue.
      would look; and, you          yourself?"). Mr. Kutzner
20
      know, based off of what       eventually responds,
21    Vito wanted to have go        stating, "No i just verified
22    out, rather be it mail or     that The printing house
23    whatever type of              for the mailers printed the
      marketing, he would say,      old one as we have been
24
      ‘Hey this is what I want to   back and forth on this for
25    do. Can you find some         months.")
26    vendors that will
      help?’”); id. DE 284-13,
27
      at Page ID 8064, 110:19-
28    23 (“Q. What I’m asking

                                                306
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      you is: You, as part of
3     your consulting services,
4     would provide the mailing
5     companies with proofs
      and copies of the mailers
6
      that they were instructed
7     to, then, send to
8     consumers? A. It’s – it’s
      possible.”); id. DE 284-
9
      13, at Page ID 8071,
10    144:10-13 (“Q. What
11    did Webstar do regarding
12    the marketing? A. It was
      a facilitator. It would
13
      locate the best marketing,
14    the lowest prices, and,
15    you know, who can do the
16
      best job and then
      subcontract them.”); DE
17
      78-1, Foti July 2016 Decl.
18    at page ID 3539, ¶ 10
19    (declaring his duties
      included “[o]btain[ing]
20
      or arrang[ing] for the
21    preparation of law firm
22    supplied creative content,
23    advertising, campaign
      management and other
24
      related services).
25    261. At times, Foti          Marshall: This Defendant       Undisputed as to
26    circulated the mailers to    lacks the knowledge or         Marshall. He does not
27
      Torchia.                     information and belief to      offer any admissible
      Ex. 75 (email from Foti to   dispute or declare this fact   evidence capable of
28
      Torchia attaching mailers    undisputed, as this alleged    controverting the fact at
                                               307
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      to be sent to consumers);    fact occurred prior to or     issue.
3     DE 284-8, Theisman           without this Defendant’s
4     Decl. at Page ID 7485,       involvement with
5     7576-78 ¶ 4.n; id. at DE     Advantis Law Group,
      284-8, Page ID 7486, DE      P.C. or the other
6
      284-10, Page ID 7757-58      individual defendants in
7     ¶ 4.ss (authenticating and   this action.
8     attaching FTC-RAD-001-       Marshall Decl., at ¶ --.
      0065189 to 0065190,
9
      email from Foti to           Foti: DENY - Objections       Undisputed as to Foti.
10    Torchia attaching a          (irrelevant; failure to       The fact is relevant. The
11    mailer).                     authenticate; hearsay;        document(s) are genuine
12                                 mischaracterizes the          and authentic, as
                                   evidence. No foundation       established by the
13
                                   the documents are             evidence the FTC
14                                 genuine, who prepared         submitted in support of
15                                 them, whether Mr. Foti        the fact for this paragraph.
16
                                   ever received, knew about     The evidence is not
                                   or had anything to do with    hearsay because it is an
17
                                   them.)                        opposing party’s
18                                 Foti Decl. ¶ 16.d., 19, 20,   statement. Finding
19                                 21, 23, 25, 38                documents on a
                                                                 receivership computer
20
                                                                 from the defendant’s
21                                                               office or from the
22                                                               defendants’ premises
23                                                               taken over by the
                                                                 receivership in fact makes
24
                                                                 it more likely it was used.
25                                                                      In response, Foti
26                                                               cites only his self-serving
                                                                 declaration, which cannot
27
                                                                 controvert a fact on
28                                                               summary judgment, and

                                              308
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                                             the cited reference to the
3                                                            Foti Decl. does not
4                                                            address the fact at issue.
5     262. Not all of the       Marshall: This Defendant Undisputed as to
      mailers sent to consumers lacks the knowledge or       Marshall. He does not
6
      were approved by          information and belief to offer any admissible
7     attorneys. Ex. 79 at FTC- dispute or declare this fact evidence capable of
8     RAD-001-0088985 (email undisputed, as this alleged controverting the fact at
9
      from Torchia to Kutzner   fact occurred prior to or    issue.
      and Foti stating: “SEE    without this Defendant’s
10
      THE ATTACHED              involvement with
11    MAILER. THIS WAS          Advantis Law Group,
12    NOT AUTHORIZED!           P.C. or the other
      WHO SENT THIS AND         individual defendants in
13
      WHEN WAS IT SENT.         this action.
14    THERE ARE SO MANY         Marshall Decl., at ¶ --.
15    THINGS WRONG WITH
16    THIS I CANNOT EVEN        Foti: DENY - Objections             Undisputed as to
      BEGIN TO LIST             (irrelevant; failure to      Foti. The fact is relevant.
17
      THEM.”);                  authenticate; hearsay;       The document(s) are
18    DE 284-8, Theisman        mischaracterizes the         genuine and authentic, as
19    Decl. at Page ID 7485,    evidence. No foundation      established by the
      7587-89 ¶ 4.r.            the documents are            evidence the FTC
20
                                genuine, who prepared        submitted in support of
21                              them, whether Mr. Foti       the fact. The evidence is
22                              ever received, knew about not hearsay because it is
23                              or had anything to do with an opposing party’s
                                them. No evidence Mr.        statement. Finding
24
                                Foti forwarded the mailer documents on a
25                              to the outside vendor.)      receivership computer
26                              Thurman Decl.,               from the defendant’s
27
                                Attachment 67 (FTC-          office or from the
                                RAD-001-0099028 )            defendants’ premises
28
                                (reflects that Mr. Foti did taken over by the
                                             309
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 not send the mailer to the     receivership in fact makes
3                                outside vendor but was         it more likely it was used.
4                                under the impression it        Foti’s cited evidence does
5                                was sent by Mr. Torchia        not address and/or
                                 had with the assistance of     controvert the fact at
6
                                 Kevin and Josh        ("This   issue.
7                                was done by Kevin, Josh
8                                and yourself?"). Mr.
                                 Kutzner eventually
9
                                 responds, stating, "No i
10                               just verified that The
11                               printing house for the
12                               mailers printed the old
                                 one as we have been back
13
                                 and forth on this for
14                               months.")
15    263. In March 2011, Foti Marshall: This Defendant         Undisputed as to
16    sent an email to Kutzner   lacks the knowledge or         Marshall. He does not
      and Torchia stating:       information and belief to      offer any admissible
17
      “Here is where we should dispute or declare this fact     evidence capable of
18    target until we run out of undisputed, as this alleged    controverting the fact at
19    local data.                fact occurred prior to or      issue.
      Min loan – 400K NOD        without this Defendant’s
20
      and late payments (no      involvement with
21    current loans) Chase,      Advantis Law Group,
22    Aurora, Wells, Citi,       P.C. or the other
23    Ocwen Add to mailer –      individual defendants in
      Mass joinder lawsuit       this action.
24
      claiming trial loan        Marshall Decl., at ¶ --.
25    modification fraud”.
26    Ex. 74; DE 284-8,          Foti: DENY - Objections        Undisputed as to Foti.
27
      Theisman Decl. at Page     (irrelevant; failure to        The fact is relevant. The
      ID 7485, 7579 ¶ 4.m.       authenticate; hearsay;         document(s) are genuine
28
                                 mischaracterizes the           and authentic, as
                                             310
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
                                   evidence. No foundation      established by the
3                                  the documents are            evidence the FTC
4                                  genuine, who prepared        submitted in support of
5                                  them, whether Mr. Foti       the fact for this paragraph.
                                   ever received, knew about    The evidence is not
6
                                   or had anything to do with   hearsay because it is an
7                                  them and no evidence         opposing party’s
8                                  whether communication        statement. Finding
                                   resulted in any consumers    documents on a
9
                                   receiving any mailers as a   receivership computer
10                                 result.)                     from the defendant’s
11                                 Foti Decl ¶ 16.d., 18, 19,   office or from the
12                                 20, 21, 26, 29, 31, 38       defendants’ premises
                                                                taken over by the
13
                                                                receivership in fact makes
14                                                              it more likely it was used.
15                                                                     In response, Foti
16
                                                                cites only his self-serving
                                                                declaration, which cannot
17
                                                                controvert a fact on
18                                                              summary judgment, and
19                                                              the cited reference to the
                                                                Foti Decl. does not
20
                                                                address the fact at issue.
21    264. Foti sent an email      Marshall: This Defendant Undisputed as to
22    to Kutzner, subject line     lacks the knowledge or       Marshall. He does not
23    “info for mailer,” stating   information and belief to offer any admissible
      “This is what I am           dispute or declare this fact evidence capable of
24
      thinking for inside          undisputed, as this alleged controverting the fact at
25    message for mailer” and      fact occurred prior to or    issue.
26    then included the            without this Defendant’s
27
      following text:              involvement with
      “We have been trying to      Advantis Law Group,
28
      reach you to discuss our     P.C. or the other
                                              311
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      landmark victory against     individual defendants in
3     Bank of America in           this action.
4     California supreme court.    Marshall Decl., at ¶ --.
5     Bank of America was not
      pleased with this decision   Foti: DENY - Objections       Undisputed as to Foti.
6
      as it now opens up many      (irrelevant; failure to       The fact is relevant. The
7     different legal channels     authenticate; hearsay. No     document(s) are genuine
8     on your case. Brookstone     foundation the documents      and authentic, as
      is preparing to sue the      are genuine, who prepared     established by the
9
      trustee assigned to          them, whether Mr. Foti        evidence the FTC
10    foreclose on your            ever received, knew about     submitted in support of
11    property for wrongful        or had anything to do with    the fact for this paragraph.
12    foreclosure and demand       them and whether any of       The evidence is not
      that they immediately        them were ever used in        hearsay because it is an
13
      cancel your sale date        any presentations to          opposing party’s
14    scheduled for                consumers.)                   statement. Finding
15    _____________. If you        Foti Decl. ¶ 16.d., 18, 19,   documents on a
16
      would like to be included    20, 21, 26, 29, 31, 38        receivership computer
      in this case we need to                                    from the defendant’s
17
      hear from you as soon as                                   office or from the
18    possible. This is a very                                   defendants’ premises
19    time sensitive matter so                                   taken over by the
      please call us at XXX                                      receivership in fact makes
20
      XXX XXXX.”                                                 it more likely it was used.
21    Ex. 78; DE 284-8,                                                 In response, Foti
22    Theisman Decl. at Page                                     cites only his self-serving
23    ID 7485, 7586 ¶ 4.q.                                       declaration, which cannot
                                                                 controvert a fact on
24
                                                                 summary judgment, and
25                                                               the cited reference to the
26                                                               Foti Decl. does not
                                                                 address the fact at issue.
27
      265. Foti provided text      Marshall: This Defendant      Undisputed as to
28
      for mailers to               lacks the knowledge or        Marshall. He does not
                                              312
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      subordinates at              information and belief to      offer any admissible
3     Brookstone, had              dispute or declare this fact   evidence capable of
4     subordinates create mailer   undisputed, as this alleged    controverting the fact at
5     proofs incorporating that    fact occurred prior to or      issue.
      text, and then further       without this Defendant’s
6
      arranged for those mailers   involvement with
7     to be distributed.           Advantis Law Group,
8     Ex. 76 (email chain          P.C. or the other
      showing Foti providing       individual defendants in
9
      text for a mailer to Josh    this action.
10    Cook, who then created a     Marshall Decl., at ¶ --.
11    mailer proof that Foti
12    then provided to             Foti: DENY - Objections        Undisputed as to Foti.
      Kutzner); Ex. 77 (email      (irrelevant; failure to        The fact is relevant. The
13
      chain showing Foti taking    authenticate; hearsay. No      document(s) are genuine
14    mailer completed by Cook     foundation the documents       and authentic, as
15    and identifying it as the    are genuine, who prepared      established by the
16
      final one in an email to     them, whether Mr. Foti         evidence the FTC
      bobby@clientprocessingc      ever received, knew about      submitted in support of
17
      enter.com); DE 284-8,        or had anything to do with     the fact. The evidence is
18    Theisman Decl. at Page       them and whether any of        not hearsay because it is
19    ID 7485, 7579-85 ¶¶ 4.o      them were ever used in         an opposing party’s
      & 4.p; id. at DE 284-8,      any presentations to           statement. Finding
20
      Page ID 7486, DE 284-        consumers.)                    documents on a
21    10, 7754-56 ¶ 4.rr           The FTC's email (FTC-          receivership computer
22    (authenticating and          RAD-001-0064644 to             from the defendant’s
23    attaching FTC-RAD-001-       0064646) makes clear           office or from the
      0064644 to 0064646,          that the mailer was            defendants’ premises
24
      email from Foti to a         reviewed and revised by        taken over by the
25    mailing vendor providing     Vito Torchia: "The head        receivership in fact makes
26    mailer).                     attorney made a few            it more likely it was used.
                                   changes to this mailer.        Foti’s cited evidence does
27
                                   Make sure the 800              not address and/or
28                                 number is the same as we       controvert the fact at

                                               313
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                 are sending out now and        issue.
3                                make sure this one goes
4                                out on next batch.
5                                Thanks." ; Foti Decl re:
                                 role on marketing
6
      266. Foti sent and         Marshall: This Defendant       Undisputed as to
7     received emails attaching lacks the knowledge or          Marshall. He does not
8     mailers sent to consumers. information and belief to      offer any admissible
9
      DE 284-8, Theisman         dispute or declare this fact   evidence capable of
      Decl. at Page ID 7487 ¶    undisputed, as this alleged    controverting the fact at
10
      4.ooo (authenticating and fact occurred prior to or       issue.
11    attaching FTC-RAD-001- without this Defendant’s
12    0183728 to 0183731, an     involvement with
      email from Torchia to      Advantis Law Group,
13
      Foti attaching an          P.C. or the other
14    approved mailer); id. at   individual defendants in
15    DE 284-8, Page ID 7486, this action.
16    DE 284-10, Page ID         Marshall Decl., at ¶ --.
      7757-58 ¶ 4.ss
17
      (authenticating and        Foti: DENY - Objections        Undisputed as to Foti.
18    attaching FTC-RAD-001- (irrelevant; failure to            The fact is relevant. The
19    0065189 to 0065190, an     authenticate; hearsay. No      document(s) are genuine
      email from Foti to         foundation the documents       and authentic, as
20
      Torchia attaching a        are genuine, who prepared      established by the
21    mailer).                   them, whether Mr. Foti         evidence the FTC
22                               ever received, knew about      submitted in support of
23                               or had anything to do with     the fact. The evidence is
                                 them and whether any of        not hearsay because it is
24
                                 them were ever used in         an opposing party’s
25                               any presentations to           statement. Finding
26                               consumers.)                    documents on a
27
                                 The FTC's email (FTC-          receivership computer
                                 RAD-001-0183728 to             from the defendant’s
28
                                 0183731) confirms that         office or from the
                                             314
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    Mr. Torchia reviewed and defendants’ premises
3                                   approved the mailer.     taken over by the
4                                                            receivership in fact makes
5                                                            it more likely it was used.
                                                             Foti’s cited evidence does
6
                                                             not address and/or
7                                                            controvert the fact at
8                                                            issue.
9
      267. Foti received draft      Marshall: This Defendant       Undisputed as to
10
      mailers from other sales      lacks the knowledge or         Marshall. He does not
11    staff.                        information and belief to      offer any admissible
12    DE 284-8, at Page ID          dispute or declare this fact   evidence capable of
      7486, DE 284-9, at Page       undisputed, as this alleged    controverting the fact at
13
      ID 7713-16Theisman            fact occurred prior to or      issue.
14    Decl. ¶ 4.kk; Ex. 76          without this Defendant’s
15    (email chain showing Foti     involvement with
16    providing text for a mailer   Advantis Law Group,
      to Josh Cook, who then        P.C. or the other
17
      created a mailer proof        individual defendants in
18    that Foti then provided to    this action.
19    Kutzner.); Ex. 77 (email      Marshall Decl., at ¶ --.
      chain showing Foti taking
20
      mailer completed by Cook      Foti: DENY - Objections        Undisputed as to Foti.
21    and identifying it as the     (irrelevant; failure to        The fact is relevant. The
22    final one in an email to      authenticate; hearsay. No      document(s) are genuine
23    bobby@clientprocessingc       foundation the documents       and authentic, as
      enter.com); DE 284-8,         are genuine, who prepared      established by the
24
      Theisman Decl. at Page        them, whether Mr. Foti         evidence the FTC
25    ID 7485, 7579-85 ¶ 4.o        ever received, knew about      submitted in support of
26    and 4.p; id. DE 284-8,        or had anything to do with     the fact. The evidence is
27
      Page ID 7486, DE 284-         them and whether any of        not hearsay because it is
      10, 7754-56 at ¶ 4.rr         them were ever used in         an opposing party’s
28
      (authenticating and           any presentations to           statement. Finding
                                                315
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      attaching FTC-RAD-001-      consumers.)                    documents on a
3     0064644 to 0064646,         The FTC's email (FTC-          receivership computer
4     email from Foti to a        RAD-001-0064644 to             from the defendant’s
5     mailing vendor providing    0064646) demonstrates          office or from the
      mailer).                    that the email was             defendants’ premises
6
                                  reviewed and revised by        taken over by the
7                                 Vito Torchia: "The head        receivership in fact makes
8                                 attorney made a few            it more likely it was used.
                                  changes to this mailer.        Foti’s cited evidence does
9
                                  Make sure the 800              not address and/or
10                                number is the same as we       controvert the fact at
11                                are sending out now and        issue.
12                                make sure this one goes
                                  out on next batch.
13
                                  Thanks."; Foti Decl. ¶
14                                16.d., 18, 19, 20, 21, 26,
15                                29, 31, 38 (re role in
16
                                  marketing)
      268. Foti was frequently Marshall: This Defendant          Undisputed as to
17
      included on emails to       lacks the knowledge or         Marshall. He does not
18    sales staff or emails       information and belief to      offer any admissible
19    regarding sales process.    dispute or declare this fact   evidence capable of
      Ex. 87 (Foti copied on      undisputed, as this alleged    controverting the fact at
20
      email to “Brookstone        fact occurred prior to or      issue.
21    Banking Specialists”);      without this Defendant’s
22    DE 284-8, Theisman          involvement with
23    Decl. at Page ID 7486,      Advantis Law Group,
      7609-7614 ¶ 4.u; id. at     P.C. or the other
24
      DE 284-8, Page ID 7486, individual defendants in
25    DE 284-9, Page ID 7717- this action.
26    20 ¶ 4.ll; id. at DE 284-8, Marshall Decl., at ¶ --.
27
      Page ID 7487, DE 284-
      10, Page ID 7765-68 ¶       Foti: DENY - Objections        Undisputed as to Foti.
28
      4.xx; id. at DE 284-8,      (irrelevant; failure to        The fact is relevant. The
                                              316
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      Page ID 7489, DE 284-        authenticate; hearsay. No document(s) are genuine
3     12, Page ID 7972 ¶           foundation the documents  and authentic, as
4     4.uuuu (authenticating       are genuine, who prepared established by the
5     and attaching FTC-RAD-       them, whether Mr. Foti    evidence the FTC
      002-0411571, an email        ever received, knew about submitted in support of
6
      from Todd Siedel to          or had anything to do withthe fact for this paragraph.
7     Banking Specialists,         them and whether any of   The evidence is not
8     cc’ing Foti); id. at DE      them were ever used in    hearsay because it is an
      284-8, Page ID 7488, DE      any communications with   opposing party’s
9
      284-12, Page ID 7931-32      consumers.)               statement. Finding
10    ¶ 4.rrrr; id. at DE 284-8,                             documents on a
                                   Foti Decl. ¶ 16.d., 18, 19,
11    Page ID 7488, DE 284-                                  receivership computer
                                   20, 21, 26, 29, 31, 38 (re:
12    12, Page ID 7937-71 ¶        role in marketing)        from the defendant’s
      4.tttt.                                                office or from the
13
                                                             defendants’ premises
14                                                           taken over by the
15                                                           receivership in fact makes
16
                                                             it more likely it was used.
                                                                    In response, Foti
17
                                                             cites only his self-serving
18                                                           declaration, which cannot
19                                                           controvert a fact on
                                                             summary judgment, and
20
                                                             the cited reference to the
21                                                           Foti Decl. does not
22                                                           address the fact at issue.
23    269. In November 2010, Marshall: This Defendant Undisputed as to
      Foti provided a copy of a lacks the knowledge or       Marshall. He does not
24
      sales script to Kutzner,  information and belief to offer any admissible
25    stating in the email      dispute or declare this fact evidence capable of
26    attaching the script:     undisputed, as this alleged controverting the fact at
27
      “Check it out made some fact occurred prior to or      issue.
      minor, but good changes.” without this Defendant’s
28
      Ex. 91; DE 284-8,         involvement with
                                              317
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      Theisman Decl. at Page        Advantis Law Group,
3     ID 7486, 7653-56 ¶ 4.w.       P.C. or the other
4                                   individual defendants in
5                                   this action.
                                    Marshall Decl., at ¶ --.
6
7                                   Foti: DENY - Objections        Undisputed as to Foti.
8                                   (irrelevant; failure to        The fact is relevant. The
                                    authenticate; hearsay. No      document(s) are genuine
9
                                    foundation the documents       and authentic, as
10                                  are genuine, who prepared      established by the
11                                  them, whether Mr. Foti         evidence the FTC
12                                  ever received, knew about      submitted in support of
                                    or had anything to do with     the fact. The evidence is
13
                                    them and whether any of        not hearsay as a statement
14                                  them were ever used in         of a party opponent.
15                                  any communications with        Finding documents on a
16
                                    consumers.)                    defendant’s computer or
                                                                   on-site at the receivership
17
                                                                   defendant’s premises in
18                                                                 fact makes it more likely
19                                                                 it was used.
                                                                   For support, Foti cites no
20
                                                                   evidence to controvert the
21                                                                 fact at issue.
22
23    270. In January 2011          Marshall: This Defendant       Undisputed as to
      Foti wrote an email           lacks the knowledge or         Marshall. He does not
24
      proposing language for        information and belief to      offer any admissible
25    sales people to use to        dispute or declare this fact   evidence capable of
26    close sales, including        undisputed, as this alleged    controverting the fact at
27
      lines like “If your case is   fact occurred prior to or      issue.
      not strong enough we          without this Defendant’s
28
      can’t risk the validity of    involvement with
                                                318
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      these cases so we would       Advantis Law Group,
3     not be able to represent      P.C. or the other
4     you” and “[t]hese             individual defendants in
5     attorneys are so sure that    this action.
      they will win that they       Marshall Decl., at ¶ --.
6
      will defer 95% of their fee
7     and charge it ONLY IF         Foti: DENY - Objections      Undisputed as to Foti.
8     THEY WIN.”                    (irrelevant. No foundation   The fact is relevant. The
      Ex. 96; DE 284-8,             whether the proposed         document(s) are genuine
9
      Theisman Decl. at Page        language was ever used in    and authentic, as
10    ID 7486, 7682-84 ¶ 4.bb.      any communications with      established by the
11                                  consumers.)                  evidence the FTC
12                                  Foti Deposition (JF          submitted in support of
                                    testified that he believes   the fact for this paragraph.
13
                                    he was directed by Vito to   The stated fact is limited
14                                  provide this language to     to Foti sending the text at
15                                  sales staff) - Exh. 96; Foti issue.
16
                                    Decl. ¶ 16.d., 18, 19, 20,          In response, Foti
                                    21, 26, 29, 31, 38 (re: role cites only his self-serving
17
                                    in marketing)                declaration to characterize
18                                                               the fact, which does not
19                                                               and cannot controvert the
                                                                 fact at issue.
20
      271. In December 2010         Marshall: This Defendant Undisputed as to
21    Foti wrote an email to        lacks the knowledge or       Marshall. He does not
22    sales staff directing them    information and belief to offer any admissible
23    to say the following: “As     dispute or declare this fact evidence capable of
      a case specialist it is my    undisputed, as this alleged controverting the fact at
24
      job to see if you are ready   fact occurred prior to or    issue.
25    to join the case. As you      without this Defendant’s
26    are aware the attorneys       involvement with
27
      have approved your case       Advantis Law Group,
      so all we need is the         P.C. or the other
28
      signed retainer and a         individual defendants in
                                                319
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      check to get this going.     this action.
3     Remember that 99% of         Marshall Decl., at ¶ --.
4     the law firms fees are
5     only earned if they win      Foti: DENY - Objections     Undisputed as to Foti.
      the case so they feel        (irrelevant. No foundation  The fact is relevant. The
6
      pretty good about your       whether the proposed        document(s) are genuine
7     chances of winning.”         language was ever used in   and authentic, as
8     Ex. 97; DE 284-8,            any communications with     established by the
      Theisman Decl. at Page       consumers.)                 evidence the FTC
9
      ID 7486, 7685 ¶ 4.cc.        Foti Deposition (JF         submitted in support of
10                                 testified that he believes  the fact for this paragraph.
11                                 he was directed by Vito to  The stated fact is limited
12                                 provide this language to    to Foti sending the text at
                                   sales staff) - Exh. 97; Fotiissue.
13
                                   Decl. ¶ 16.d., 18, 19, 20,         In response, Foti
14                                 21, 26, 29, 31, 38 (re: rolecites only his self-serving
15                                 in marketing)               declaration to characterize
16
                                                               the fact, which does not
                                                               and cannot controvert the
17
                                                               fact at issue.
18    272. In January 2014,       Marshall: This Defendant Undisputed as to
19    Foti sent an email          lacks the knowledge or       Marshall. He does not
      attaching a draft script to information and belief to offer any admissible
20
      Kutzner, among others,      dispute or declare this fact evidence capable of
21    and stating: “Please look undisputed, as this alleged controverting the fact at
22    at this and give any        fact occurred prior to or    issue.
23    feedback you have.”         without this Defendant’s
      DE 284-8, at Page ID        involvement with
24
      7488, DE 284-11, at Page Advantis Law Group,
25    ID 7879-83, Theisman        P.C. or the other
26    Decl. ¶ 4.zzz.              individual defendants in
27
                                  this action.
                                  Marshall Decl., at ¶ --.
28

                                               320
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                  Foti: DENY - Objections      Undisputed as to Foti.
3                                 (irrelevant; failure to      The fact is relevant. The
4                                 authenticate; hearsay. No    document(s) are genuine
5                                 foundation the documents     and authentic, as
                                  are genuine, who prepared    established by the
6
                                  them, whether Mr. Foti       evidence the FTC
7                                 ever received, knew about    submitted in support of
8                                 or had anything to do with   the fact for this paragraph.
                                  them and whether any of      The evidence is not
9
                                  them were ever used in       hearsay as a statement of
10                                any communications with      a party opponent. Finding
11                                consumers.)                  documents on a
12                                Foti Decl. ¶ 16.d., 18, 19,  defendant’s computer or
                                  20, 21, 26, 29, 31, 38 (re:  on-site at the receivership
13
                                  role in marketing)           defendant’s premises in
14                                                             fact makes it more likely
15                                                             it was used.
16
                                                                      In response, Foti
                                                               cites only his self-serving
17
                                                               declaration to characterize
18                                                             the fact, which does not
19                                                             and cannot controvert the
                                                               fact at issue.
20
      273. Over several years,    Marshall: This Defendant Undisputed as to
21    Foti was included on        lacks the knowledge or       Marshall. He does not
22    numerous emails             information and belief to offer any admissible
23    attaching scripts and       dispute or declare this fact evidence capable of
      drafts of scripts.          undisputed, as this alleged controverting the fact at
24
      Sometimes, the emails       fact occurred prior to or    issue.
25    asked for Foti’s input on   without this Defendant’s
26    scripts.                    involvement with
27
      Ex. 92 (email to Foti       Advantis Law Group,
      attaching a draft script    P.C. or the other
28
      and stating: “Please        individual defendants in
                                             321
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1     Uncontroverted Fact/             Defendants’ Responses        FTC’s Reply
      Support
2
      review and approve the           this action.
3     script.”); Ex. 93 (email to      Marshall Decl., at ¶ --.
4     Foti attaching a draft
5     script and stating:              Foti: DENY - Objections      Undisputed as to Foti.
      “Check it out and if okay.       (irrelevant; failure to      The fact is relevant. The
6
      . . I will finish the rest!”);   authenticate; hearsay. No    document(s) are genuine
7     Ex. 94 (email from               foundation the documents     and authentic, as
8     Kutzner to Foti attaching        are genuine, who prepared    established by the
      script and stating: “Can         them, whether Mr. Foti       evidence the FTC
9
      you look over this..             ever received, knew about    submitted in support of
10    Seems alittle to much!”);        or had anything to do with   the fact. The evidence is
11    DE 284-8, Theisman               them and whether any of      not hearsay as a statement
12    Decl. at Page ID 7486,           them were ever used in       of a party opponent.
      7657-78 ¶¶ 4.x, 4.y, &           any communications with      Finding documents on a
13
      4.z; id. DE 284-8, Page          consumers.)                  defendant’s computer or
14    ID 7487, DE 284-10,                                           on-site at the receivership
15    Page ID 7829-33 at ¶                                          defendant’s premises in
16
      4.kkk (authenticating and                                     fact makes it more likely
      attaching FTC-RAD-001-                                        it was used.
17
      0171170 to 0171174, an                                        For support, Foti cites no
18    email cc’ing Foti asking                                      evidence to controvert the
19    for approval for a “CLR                                       fact at issue.
      Work Flow”); id. at DE
20
      284-8, Page ID 7487, DE
21    284-10, Page ID 7790-93
22    ¶ 4.ddd (authenticating
23    and attaching FTC-RAD-
      001-0131388 to 0131341,
24
      email dated November 16,
25    2010 from Kutzner to Foti
26    attaching Brookstone
      script); id. at DE 284-8,
27
      Page ID 7487, DE 284-
28    11, 7857 ¶ 4.ttt; id at DE

                                                   322
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      284-8, Page ID 7486, DE
3     284-9, Page ID 7721-28 ¶
4     4.mm; id. at DE 284-8,
5     Page ID 7486, DE 284-9,
      Page ID 7729-36 ¶ 4.nn;
6
      id. at DE 284-8, Page ID
7     7486, DE 284-9, Page ID
8     7737-44 ¶ 4.oo; id. at DE
      284-8, Page ID 7486, DE
9
      284-9, Page ID 7745-51 ¶
10    4.pp (authenticating and
11    attaching FTC-RAD-001-
12    0049879 to 0049885,
      email to Kutzner and Foti
13
      with a draft script stating:
14    “Thoughts?”); id. at DE
15    284-8, Page ID 7487, DE
16
      284-10, Page ID 7772-75
      ¶ 4.zz; id. at DE 284-8,
17
      Page ID 7487, DE 284-
18    10, Page ID 7777-7788 ¶
19    4.bbb
      274. In September 2015,        Marshall: This Defendant       Undisputed as to
20
      Foti sent an email to a        lacks the knowledge or         Marshall. He does not
21    sales person, giving him       information and belief to      offer any admissible
22    language to include in an      dispute or declare this fact   evidence capable of
23    email to a Brookstone          undisputed, as this alleged    controverting the fact at
      client.                        fact occurred prior to or      issue.
24
      Theisman Decl. at DE           without this Defendant’s
25    284-8, Page ID 7488, DE        involvement with
26    284-12, Page ID 7914 ¶         Advantis Law Group,
27
      4.jjjj.                        P.C. or the other
                                     individual defendants in
28
                                     this action.
                                                 323
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1     Uncontroverted Fact/       Defendants’ Responses        FTC’s Reply
      Support
2
                                 Marshall Decl., at ¶ --.
3
4                                Foti: DENY - Objections    Undisputed as to Foti.
5                                (irrelevant; failure to    The fact is relevant. The
                                 authenticate; hearsay. No  document(s) are genuine
6
                                 foundation the documents   and authentic, as
7                                are genuine, who prepared  established by the
8                                them, whether Mr. Foti     evidence the FTC
                                 ever received, knew about  submitted in support of
9
                                 or had anything to do with the fact. The evidence is
10                               them and whether any of    not hearsay as a statement
11                               them were ever used in     of a party opponent.
12                               any communications with    Finding documents on a
                                 consumers.)                defendant’s computer or
13
                                                            on-site at the receivership
14                                                          defendant’s premises in
15                                                          fact makes it more likely
16
                                                            it was used.
                                                            For support, Foti cites no
17
                                                            evidence to controvert the
18                                                          fact at issue.
19    275. In April 2015,      Marshall: This Defendant Undisputed as to
      Kutzner sent an email to lacks the knowledge or       Marshall. He does not
20
      Foti stating: “Another   information and belief to offer any admissible
21    BIG issue we MUST        dispute or declare this fact evidence capable of
22    update the SCRIPT!! ME undisputed, as this alleged controverting the fact at
23    and YOU….. LETS DO fact occurred prior to or          issue.
      THIS!!!”                 without this Defendant’s
24
      Ex. 95; DE 284-8,        involvement with
25    Theisman Decl. at Page   Advantis Law Group,
26    ID 7486, 7679-81 ¶ 4.aa. P.C. or the other
27
                               individual defendants in
                               this action.
28
                               Marshall Decl., at ¶ --.
                                             324
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
3                                 Foti: DENY - Objections     Undisputed as to Foti.
4                                 (irrelevant; failure to     The fact is relevant. The
5                                 authenticate; hearsay. No   document(s) are genuine
                                  foundation the documents    and authentic, as
6
                                  are genuine, who prepared   established by the
7                                 them, whether Mr. Foti      evidence the FTC
8                                 ever received, knew about   submitted in support of
                                  or had anything to do with  the fact. The evidence is
9
                                  them and whether any of     not hearsay as a statement
10                                them were ever used in      of a party opponent.
11                                any communications with     Finding documents on a
12                                consumers.)                 defendant’s computer or
                                                              on-site at the receivership
13
                                                              defendant’s premises in
14                                                            fact makes it more likely
15                                                            it was used.
16
                                                              For support, Foti cites no
                                                              evidence to controvert the
17
                                                              fact at issue.
18    276. The FTC sought        Marshall: This Defendant Undisputed as to
19    discovery from Foti on his lacks the knowledge or       Marshall. He does not
      duties in drafting and     information and belief to offer any admissible
20
      creating marketing         dispute or declare this fact evidence capable of
21    materials for the          undisputed, as this alleged controverting the fact at
22    Corporate Defendants and fact occurred prior to or      issue.
23    he did not identify or     without this Defendant’s
      produce any documents      involvement with
24
      controverting the FTC’s    Advantis Law Group,
25    evidence.                  P.C. or the other
26    DE 284-8, Theisman         individual defendants in
27
      Decl. at Page ID 7490,     this action.
      8000-32 ¶ 10.              Marshall Decl., at ¶ --.
28

                                             325
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
                                     Foti: DENY - Objection         Undisputed as to Foti.
3                                    (irrelevant - Mr. Foti's       The fact is relevant.
4                                    inability to produce                  In response, Foti
5                                    documents, where all of        cites evidence that is not
                                     Mr. Foti's documents           relevant to the fact at
6
                                     relevant to this action        issue.
7                                    were previously seized at
8                                    his home and office, does
                                     not constitute an
9
                                     admission of anything
10                                   other than that he has no
11                                   documents.
12                                   See Updated
                                     Interrogatory Responses
13
      277. FTC sought                Marshall: This Defendant       Undisputed as to
14    discovery regarding any        lacks the knowledge or         Marshall. He does not
15    defenses Foti might            information and belief to      offer any admissible
16    assert, issuing an             dispute or declare this fact   evidence capable of
      interrogatory requiring        undisputed, as this alleged    controverting the fact at
17
      him to identify any            fact occurred prior to or      issue.
18    defenses he might assert       without this Defendant’s
19    and further identify all       involvement with
      individuals, entities, and     Advantis Law Group,
20
      documents that might           P.C. or the other
21    support those defenses.        individual defendants in
22    In response, Foti asserted     this action.
23    only that the FTC would        Marshall Decl., at ¶ --.
      not be able to prove he
24
      had control, participated      Foti: DENY - Objection         Undisputed as to Foti.
25    in the relevant acts, or had   (irrelevant - Mr. Foti's       The fact is relevant.
26    the relevant knowledge to      inability to produce                  In response, Foti
27
      hold him monetarily            documents, where all of        cites evidence that is not
      liable. He did not assert      Mr. Foti's documents           relevant to the fact at
28
      that the Corporate             relevant to this action        issue.
                                                 326
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      Defendants did not          were previously seized at
3     commit the alleged acts.    his home and office, does
4     He also did not identify    not constitute an
5     any affirmative defenses.   admission of anything
      DE 284-8, Theisman          other than that he has no
6
      Decl. at Page ID 7490,      documents.
7     8000-13 ¶ 11.               See Updated
8                                 Interrogatory Responses
9           a.     Foti Received and Responded to Consumer Complaints and
10
                 Otherwise Had Knowledge of Bad Acts.

11    278. Foti, at times,        Marshall: This Defendant       Undisputed as to
      would engage in             lacks the knowledge or         Marshall. He does not
12
      collection efforts for      information and belief to      offer any admissible
13    Brookstone, including       dispute or declare this fact   evidence capable of
14    bragging to Kutzner on      undisputed, as this alleged    controverting the fact at
15
      one occasion: “I took a     fact occurred prior to or      issue.
      small amount of them        without this Defendant’s
16
      (50) and closed 36.”        involvement with
17    Ex. 108; DE 284-8, at       Advantis Law Group,
18    Page ID 7486, DE 284-9,     P.C. or the other
      at Page ID 7704-07,         individual defendants in
19
      Theisman Decl. ¶ 4.ii.      this action.
20                                Marshall Decl., at ¶ --.
21
22                                Foti: DENY - Objections        Undisputed as to Foti.
                                  (irrelevant; failure to        The fact is relevant. The
23
                                  authenticate; hearsay. No      document(s) are genuine
24                                foundation the documents       and authentic, as
25                                are genuine, who prepared      established by the
                                  them, whether Mr. Foti         evidence the FTC
26
                                  ever received, knew about      submitted in support of
27                                or had anything to do with     the fact for this paragraph.
28                                them and whether any of        The evidence is not
                                  them were ever used in         hearsay because it is an
                                              327
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
                                  any communications with     opposing party’s
3                                 consumers.)                 statement. Finding
4                                 Foti Decl ¶ 53, 91 (re:     documents on a
5                                 collections)                receivership computer
                                                              from the defendant’s
6
                                                              office or from the
7                                                             defendants’ premises
8                                                             taken over by the
                                                              receivership in fact makes
9
                                                              it more likely it was used.
10                                                                   In response, Foti
11                                                            cites only his self-serving
12                                                            declaration, which cannot
                                                              controvert a fact on
13
                                                              summary judgment, and
14                                                            the cited reference to the
15                                                            Foti Decl. does not
16
                                                              address the fact at issue.
      279. The Receiver found Marshall: This Defendant Undisputed as to
17
      hundreds of                lacks the knowledge or       Marshall. He does not
18    “chargebacks” in Foti’s    information and belief to offer any admissible
19    office.                    dispute or declare this fact evidence capable of
      DE 69-2, Declaration of    undisputed, as this alleged controverting the fact at
20
      Andrew W. Robertson        fact occurred prior to or    issue.
21    (“Roberston Decl.”) at     without this Defendant’s
22    Page ID 3283-84, ¶ 8       involvement with
23    (attaching “true and       Advantis Law Group,
      correct redacted examples P.C. or the other
24
      of Advices of              individual defendants in
25    Chargebacks to             this action.
26    Brookstone Law from        Marshall Decl., at ¶ --.
27
      Merchant Services that
      were in a box on the floor Foti: DENY - Objections Undisputed as to Foti.
28
      of Jeremy Foti’s office at (irrelevant; failure to      The fact is relevant. The
                                             328
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 332 of 402 Page ID
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1     Uncontroverted Fact/           Defendants’ Responses         FTC’s Reply
      Support
2
      that time. The box             authenticate; hearsay. No
                                                            document(s) are genuine
3     contained hundreds of          foundation the documents
                                                            and authentic, as
4     envelopes with Merchant                               established by the
                                     are genuine, who prepared
5     Services Chargeback            them, whether Mr. Foti evidence the FTC
      notices.”), Page ID 3287-                             submitted in support of
                                     ever received, knew about
6
      88, Att. 1, 3307-11, Att. 4;   or had anything to do with
                                                            the fact for this paragraph.
7     DE 284-13, Theisman            them, how box came to be
                                                            The evidence is not
8     Decl. at Page ID 8088 ¶        in Foti's office, who  hearsay because it is an
      15, Att. 12, Foti Depo. at     placed it there or when,
                                                            opposing party’s
9
      291:8-292:10 (admitting        whether it had been    statement. Finding
10    he responded to consumer       opened, whether he everdocuments on a
11    chargebacks).                  looked at it).         receivership computer
12                                                          from the defendant’s
                                     Foti Decl. ¶ 66, 67, 68, 69
                                     re: chargebacks        office or from the
13
                                                            defendants’ premises
14                                                          taken over by the
15                                                          receivership in fact makes
16
                                                            it more likely it was used.
                                                                   In response, Foti
17
                                                            cites only his self-serving
18                                                          declaration, which cannot
19                                                          controvert a fact on
                                                            summary judgment, and
20
                                                            the cited reference to the
21                                                          Foti Decl. does not
22                                                          address the fact at issue.
23    280. Foti worked with    Marshall: This Defendant Undisputed as to
      others to respond to     lacks the knowledge or       Marshall. He does not
24
      chargebacks.             information and belief to offer any admissible
25    DE 284-7, Lobo Decl. at  dispute or declare this fact evidence capable of
26    Page ID 7467-68 ¶ 10;    undisputed, as this alleged controverting the fact at
27
      DE 284-8, at Page ID     fact occurred prior to or    issue.
      7488, DE 284-11, at Page without this Defendant’s
28
      ID 7859-65, Theisman     involvement with
                                                329
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Decl. ¶ 4.vvv; id. at DE     Advantis Law Group,
3     284-8, Page ID 7489, DE      P.C. or the other
4     284-12, Page ID 7978 ¶       individual defendants in
5     4.xxxx; id. at DE 284-8,     this action.
      Page ID 7489, DE 284-        Marshall Decl., at ¶ --.
6
      12, Page ID 7979 ¶
7     4.yyyy; DE 284-13,           Foti: ADMIT                 Undisputed as to Foti.
8     Theisman Decl. at Page       Foti Decl. ¶ 66, 67, 68, 69
      ID 8088 ¶ 15, Att. 12,
9
      Foti Depo. at 291:8-
10    292:10 (admitting he
11    responded to consumer
12    chargebacks).
      281. Foti received           Marshall: This Defendant       Undisputed as to
13
      emails from consumers        lacks the knowledge or         Marshall. He does not
14    complaining about the        information and belief to      offer any admissible
15    Corporate Defendants’        dispute or declare this fact   evidence capable of
16    services.                    undisputed, as this alleged    controverting the fact at
      Ex. 100 (Foti receiving      fact occurred prior to or      issue.
17
      and responding to a          without this Defendant’s
18    consumer complaint); Ex.     involvement with
19    107 (Foti directing          Advantis Law Group,
      another employee to          P.C. or the other
20
      address a written            individual defendants in
21    consumer complaint); DE      this action.
22    284-8, at Page ID 7486,      Marshall Decl., at ¶ --.
23    DE 284-9, at 7686-7695,
      7702-03, Theisman Decl.      Foti: DENY - Objections        Undisputed as to Foti.
24
      ¶¶ 4.dd, 4.ee, & 4.hh; id.   (irrelevant; failure to        The fact is relevant. The
25    DE 284-8, at Page ID         authenticate; hearsay. No      document(s) are genuine
26    7489 ¶ 7 (attaching          foundation the documents       and authentic, as
27
      excerpts of Foti’s           are genuine, who prepared      established by the
      responses to RFAs,           them, whether Mr. Foti         evidence the FTC
28
      request admitting he had     ever received, knew about      submitted in support of
                                               330
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      access to the                 or had anything to do with   the fact for this paragraph.
3     accounting@brookstonela       them. No evidence that       The evidence is not
4     w.com email address,          Mr. Foti routinely           hearsay because it is an
5     response to RFA 29); DE       reviewed emails sent to      opposing party’s
      41-3 at Page ID 2547-53       accounting@brookstonela      statement. Finding
6
      (complaint sent to            w.com.)                      documents on a
7     “accounting”); id. at         Foti Decl. ¶ 66, 67, 68,     receivership computer
8     Page ID 2559-65               69 re: chargebacks           from the defendant’s
      (complaints sent to                                        office or from the
9
      “accounting”); id. at                                      defendants’ premises
10    2576 (email complaint                                      taken over by the
11    sent to “accounting” to                                    receivership in fact makes
12    which Foti then directs                                    it more likely it was used.
      another employee to                                        Foti admits he used the
13
      respond); DE 284-4,                                        accounting@brookstonela
14    Chang Decl. at Page ID                                     w.com email address. DE
15    7248 ¶¶ 4.m & 4.n                                          284-8 at Page ID 7509-
16
      (authenticating                                            10.
      documents in DE 41-3);                                            In response, Foti
17
      DE 284-8, at Page ID                                       cites only his self-serving
18    7488, DE 284-11, at Page                                   declaration, which cannot
19    ID 7889-91, Theisman                                       controvert a fact on
      Decl. ¶ 4.bbbb                                             summary judgment, and
20
      (authenticating and                                        the cited reference does
21    attaching FTC-RAD-001-                                     not address the fact at
22    0232680 to 0232682,                                        issue.
23    email thread with a
      complaint from a
24
      consumer about an
25    individual lawsuit in
26    which nothing had been
      done as to which Foti
27
      instructed sales people to
28    call the client to save the

                                               331
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
      deal).
3     282. One “chargeback”          Marshall: This Defendant       Undisputed as to
4     document found in Foti’s       lacks the knowledge or         Marshall. He does not
5     office relates to a            information and belief to      offer any admissible
      particular client whose        dispute or declare this fact   evidence capable of
6
      signature block for the        undisputed, as this alleged    controverting the fact at
7     purported “Credit Card /       fact occurred prior to or      issue.
8     Debit Card                     without this Defendant’s
9
      Authorization” is at an        involvement with
      angle in comparison to the     Advantis Law Group,
10
      rest of the document, the      P.C. or the other
11    margins for the signature      individual defendants in
12    block portion of the           this action.
      document are narrower          Marshall Decl., at ¶ --.
13
      than the remainder of the
14    document, and the date of      Foti: DENY - Objections        Undisputed as to Foti.
15    the signature is for two       (irrelevant; failure to        The fact is relevant. The
16    years prior to the date of     authenticate; hearsay. No      document(s) are genuine
      the authorized charge.         foundation the documents       and authentic, as
17
      DE 284-8, Theisman             are genuine, who prepared      established by the
18    Decl. at Page ID 7489 ¶ 6      them, whether Mr. Foti         evidence the FTC
19    (authenticating and            ever received, knew about      submitted in support of
      attaching FTC-RFP-             or had anything to do with     the fact for this paragraph.
20
      0040099 to 0040112, at         them and whether any of        The evidence is not
21    FTC-RFP-0040102,               them were ever used in         hearsay because it is an
22    marked as “confidential”       any communications with        opposing party’s
23    pursuant to protective         consumers.)                    statement. Finding
      order and redacted for         The evidence shows the         documents on a
24
      use in this filing, DE 158).   authorization form on          receivership computer
25                                   Theisman Decl,                 from the defendant’s
26                                   Attachment 7, Page ID          office or from the
27
                                     7989 was either misdated       defendants’ premises
                                     or prepared AFTER the          taken over by the
28
                                     client retained the law        receivership in fact makes
                                                 332
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1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
                                firm on 9/4/12 (Pages          it more likely it was used.
3                               7990-99). DE-12, Page                 In response, Foti
4                               ID 214-216 demonstrates        offers no evidence, just
5                               that, after client retained    conjecture, which cannot
                                the law firm the client was    controvert the fact at
6
                                added as a Plaintiff in the    issue.
7                               Potter Third Amended
8                               Complaint on 2/7/13.
9
      283. In November and      Marshall: This Defendant       Undisputed as to
      December 2014, Foti       lacks the knowledge or         Marshall. He does not
10
      received consumer voice information and belief to        offer any admissible
11    messages directly from    dispute or declare this fact   evidence capable of
12    Brookstone’s answering    undisputed, as this alleged    controverting the fact at
      service, with consumers   fact occurred prior to or      issue.
13
      complaining about         without this Defendant’s
14    unfulfilled promises and  involvement with
15    not being able to reach   Advantis Law Group,
16    Brookstone.               P.C. or the other
      DE 284-8, Theisman        individual defendants in
17
      Decl. at Page ID 7489 ¶ 7 this action.
18    (attaching excerpts of    Marshall Decl., at ¶ --.
19    Foti’s responses to RFAs,
      response to RFA 131,      Foti: DENY - Objections        Undisputed as to Foti.
20
      admitting: “In November (irrelevant; failure to          The fact is relevant. The
21    and December 2014 you     authenticate; hearsay. No      document(s) are genuine
22    received consumer         foundation the messages        and authentic, as
23    messages from             are genuine, who prepared      established by the
      Brookstone’s answering    them, whether Mr. Foti         evidence the FTC
24
      service.”); DE 284-8,     ever received, knew about      submitted in support of
25    Theisman Decl. at Page    or had anything to do with     the fact for this paragraph.
26    ID 7491 ¶ 16              them.)                         The evidence is not
27
      (authenticating and       Foti Decl ¶ 22                 hearsay because it is an
      attaching emails to Foti                                 opposing party’s
28
      attaching voicemails from                                statement. Finding
                                             333
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      consumers from                                           documents on a
3     November and December                                    receivership computer
4     2014).                                                   from the defendant’s
5                                                              office or from the
                                                               defendants’ premises
6
                                                               taken over by the
7                                                              receivership in fact makes
8                                                              it more likely it was used.
                                                                      In response, Foti
9
                                                               cites only to his self-
10                                                             serving declaration, which
11                                                             cannot controvert a fact
12                                                             on summary judgment,
                                                               and the cited references
13
                                                               does not address the fact
14                                                             at issue. Furthermore, in
15                                                             another paragraph of his
16
                                                               declaration, he admits
                                                               receiving the messages at
17
                                                               issue. DE 304-1 at Page
18                                                             ID 9764 ¶ 21.
19    284. In November 2015, Marshall: This Defendant Undisputed as to
      Tarkowski sent an email     lacks the knowledge or       Marshall. He does not
20
      to Foti, among others,      information and belief to offer any admissible
21    stating concerns he had     dispute or declare this fact evidence capable of
22    with consumers reporting undisputed, as this alleged controverting the fact at
23    to him that they had been fact occurred prior to or      issue.
      promised they would         without this Defendant’s
24
      prevail in the mass joinder involvement with
25    litigation or otherwise     Advantis Law Group,
26    obtain relief.              P.C. or the other
27
      DE 186-3, Tarkowski         individual defendants in
      Decl. at Page ID 5361, ¶ this action.
28
      15, and Page ID 5365,       Marshall Decl., at ¶ --.
                                              334
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      Att. 1.
3                                Foti: ADMIT                    Undisputed as to Foti.
4                                Foti Decl. ¶ 60 (Geist
5                                fired shortly after);
                                 Tarkowski Depo, (Geist
6
                                 fired shortly after)
7     285. In 2015, Foti         Marshall: This Defendant       Undisputed as to
8     helped draft and send      lacks the knowledge or         Marshall. He does not
9
      emails stating that        information and belief to      offer any admissible
      Brookstone is “very        dispute or declare this fact   evidence capable of
10
      confident we will prevail” undisputed, as this alleged    controverting the fact at
11    in the mass joinder        fact occurred prior to or      issue.
12    litigation, that the       without this Defendant’s
      consumer’s accout was      involvement with
13
      “on suspense due to a past Advantis Law Group,
14    due amount,” and then      P.C. or the other
15    responded to emails sent   individual defendants in
16    by consumers receiving     this action.
      these messages.            Marshall Decl., at ¶ --.
17
      DE 284-8, at Page ID
18    7488, DE 284-12, at Page Foti: DENY - Objections          Undisputed as to Foti.
19    ID 7923, Theisman Decl. (irrelevant; failure to           The fact is relevant. The
      ¶ 4.nnnn (authenticating   authenticate; hearsay. No      document(s) are genuine
20
      and attaching FTC-RAD- foundation the documents           and authentic, as
21    002-0231191, email from are genuine, who prepared         established by the
22    Foti to Kutzner with draft them, whether Mr. Foti         evidence the FTC
23    language to send to        ever received, knew about      submitted in support of
      consumers); id. at DE      or had anything to do with     the fact. The evidence is
24
      284-8, Page ID 7488, DE them and whether any of           not hearsay because it is
25    284-12, Page ID 7897-98 them were ever used in            an opposing party’s
26    ¶ 4.eeee (authenticating   any communications with        statement. Finding
27
      and attaching FTC-RAD- consumers.)                        documents on a
      002-0078913 to 0078914, Thurman Decl.,                    receivership computer
28
      email exchange with        Attachment 57 (FTC-            from the defendant’s
                                             335
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      consumer that received       RAD-002-0024528) (No           office or from the
3     email claiming “very         evidence Foti was              defendants’ premises
4     confident we will            involved in sending            taken over by the
5     prevail,” with Brookstone    emails; evidence shows         receivership in fact makes
      employee reporting to        that Mr. Kutzner re-wrote      it more likely it was used.
6
      Foti); Ex. 100; DE 284-      the communication              Foti’s cited evidence does
7     8,Theisman Decl. at Page     afterwards and directed        not address and/or
8     ID 7486, 7686-87 ¶ 4.dd;     Brookstone's Accounting        controvert the fact at
      id. at DE 284-8, Page ID     Dept to send it out.) The      issue.
9
      7488, DE 284-12, Page        complaint contains no
10    ID 7896 ¶ 4.dddd             allegations Defendants'
11    (authenticating and          conduct regarding the
12    attaching FTC-RAD-002-       Account Due letters was
      0078912, email exchange      deceptive or that any
13
      with consumer receiving      clients made any
14    “very confident we will      payments as a result of
15    prevail” email, and          receiving Account Due
16
      consumer indicating he       letters; The Brookstone
      has been in                  client retainer agreement
17
      correspondence with Foti     authorized payments for
18    about this); DE 17-6, Rios   work performed by
19    Decl. at Page ID 2157-58.    Brookstone on appeals
                                   (Receiver's Preliminary
20
                                   Report (DE-41-4), Exhs.
21                                 19 and 20)
22    286. One consumer who        Marshall: This Defendant       Undisputed as to
23    received the email from      lacks the knowledge or         Marshall. He does not
      2015 demanding more          information and belief to      offer any admissible
24
      money and claiming           dispute or declare this fact   evidence capable of
25    Brookstone is “very          undisputed, as this alleged    controverting the fact at
26    confident we will            fact occurred prior to or      issue.
27
      prevail,” responded by       without this Defendant’s
      stating: “I am unwilling     involvement with
28
      to put more money into       Advantis Law Group,
                                               336
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1     Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
      Support
2
      this ‘possibility.’ Back      P.C. or the other
3     when this all started I was   individual defendants in
4     promised many things          this action.
5     that were never               Marshall Decl., at ¶ --.
      delivered.” Foti
6
      responded: “[W]e think   Foti: DENY - Objections         Undisputed as to Foti.
7     things looks [sic]       (irrelevant; failure to         The fact is relevant. The
8     promising.”              authenticate; hearsay;          document(s) are genuine
      Ex. 100; DE 284-8,       misstates the evidence.         and authentic, as
9
      Theisman Decl. at Page   No foundation the               established by the
10    ID 7486, 7686-87 ¶ 4.dd. documents are genuine,          evidence the FTC
11                             who prepared them,              submitted in support of
12                             whether Mr. Foti ever           the fact. The evidence is
                               received, knew about or         not hearsay as a statement
13
                               had anything to do with         of a party opponent.
14                             them.)                          For support Foti cites his
15                             Theisman Decl. at ¶ 15,         self-serving declaration,
16
                               Att. 12, Foti Depo. at          which cannot controvert a
                               39:14-40:19, MSJ Evid p.        fact on summary
17
                               808 (Mr. Foti testified he      judgment, and the cited
18                             was aware Mr. Kutzner           reference to the Foti Decl.
19                             had been sued by the FTC        does not address the fact
                               but understood that Mr.         at issue. The other
20
                               Kutzner, who shares a           evidence he cites also
21                             nearly identical name as        does not address the fact
22                             his brother, took               at issue.
23                             responsibility for his
                               brother's actions and that
24
                               it was the brother who
25                             was actually responsible
26                             for the conduct involved.
                               Foti Decl. 83, 84, 86
27
      287. Foti was aware that Marshall: This Defendant        Undisputed as to
28
      Kutzner had been pursued lacks the knowledge or          Marshall. He does not
                                               337
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      by the FTC in the past.      information and belief to      offer any admissible
3     DE 284-13, Theisman          dispute or declare this fact   evidence capable of
4     Decl. at Page ID 8054 ¶      undisputed, as this alleged    controverting the fact at
5     15, Att. 12, Foti Depo. at   fact occurred prior to or      issue.
      39:14-40:11; DE 284-8,       without this Defendant’s
6
      at Page ID 7488, DE 284-     involvement with
7     12, at Page ID 7933-36,      Advantis Law Group,
8     Theisman Decl. ¶ 4.ssss      P.C. or the other
      (authenticating and          individual defendants in
9
      attaching FTC-RAD-002-       this action.
10    0323522 to 0323525,          Marshall Decl., at ¶ --.
11    email including Foti
12    discussing Kutzner’s         Foti: DENY - Objections        Undisputed as to Foti.
      history with the FTC,        (irrelevant; failure to        The fact is relevant. The
13
      including a telemarketing    authenticate; hearsay. No      document(s) are genuine
14    ban).                        foundation the documents       and authentic, as
15                                 are genuine, who prepared      established by the
16
                                   them, whether Mr. Foti         evidence the FTC
                                   ever received, knew about      submitted in support of
17
                                   or had anything to do with     the fact for this paragraph.
18                                 them.)                         The evidence is not
19                                 Theisman Decl. at ¶ 15,        hearsay because it is an
                                   Att. 12, Foti Depo. at         opposing party’s
20
                                   39:14-40:19, MSJ Evid p.       statement.
21                                 808 (Mr. Foti testified he            In response, Foti
22                                 was aware Mr. Kutzner          cites to his self-serving
23                                 had been sued by the FTC       affidavit, which cannot
                                   but understood that Mr.        controvert a fact on
24
                                   Kutzner, who shares a          summary judgment, and
25                                 nearly identical name as       the cited reference does
26                                 his brother, took              not actually controvert the
                                   responsibility for his         fact at issue. The other
27
                                   brother's actions and that     cited evidence also does
28                                 it was the brother who         not controvert the fact at

                                               338
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1     Uncontroverted Fact/       Defendants’ Responses          FTC’s Reply
      Support
2
                                 was actually responsible       issue.
3                                for the conduct involved.
4                                Foti Decl. ¶ 83, 84, 85, 86
5     288. Foti was aware that   Marshall: This Defendant       Undisputed as to
      Kutzner had previously     lacks the knowledge or         Marshall. He does not
6
      worked with United Law     information and belief to      offer any admissible
7     Group (“ULG”) and that     dispute or declare this fact   evidence capable of
8     ULG had been shut down     undisputed, as this alleged    controverting the fact at
9
      by criminal law            fact occurred prior to or      issue.
      enforcement.               without this Defendant’s
10
      Ex. 110 (email             involvement with
11    correspondence             Advantis Law Group,
12    discussing criminal        P.C. or the other
      investigation of ULG);     individual defendants in
13
      DE 284-8, at Page ID       this action.
14    7486, DE 284-9, at Page    Marshall Decl., at ¶ --.
15    ID 7708-12, Theisman
16    Decl. ¶ 4.jj; id. at DE    Foti: DENY - Objections        Undisputed as to Foti.
      284-8, Page ID 7488, DE    (irrelevant; failure to        The fact is relevant. The
17
      284-12, Page ID 7933-36    authenticate; hearsay;         document(s) are genuine
18    ¶ 4.ssss (authenticating   misstates the evidence.        and authentic, as
19    and attaching FTC-RAD-     No foundation the              established by the
      002-0323522 to 0323525,    documents are genuine,         evidence the FTC
20
      email exchange including   who prepared them,             submitted in support of
21    Foti discussing Kutzner    whether Mr. Foti ever          the fact. The evidence is
22    and ULG).                  received, knew about or        not hearsay as a statement
23                               had anything to do with        of a party opponent or a
                                 them.)                         sworn declaration.
24
                                 Foti Decl. ¶ 84, 85, 86        Foti’s cited evidence does
25                               (re: ULG); Thurman             not controvert the fact at
26                               Decl., Attachment 58           issue.
27
                                 (unsealing order)
      289. Torchia and           Marshall: This Defendant       Undisputed as to
28
      Kutzner had worked for     lacks the knowledge or         Marshall. He does not
                                             339
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      ULG.                        information and belief to      offer any admissible
3     DE 18, Ex. 2, at Page ID    dispute or declare this fact   evidence capable of
4     at 2225-40 (Torchia         undisputed, as this alleged    controverting the fact at
5     explaining his history      fact occurred prior to or      issue.
      with ULG, Kutzner’s         without this Defendant’s
6
      position with ULG and       involvement with
7     ULG’s demise); id. at       Advantis Law Group,
8     2256-57 (Torchia            P.C. or the other
      explaining how he opened    individual defendants in
9
      Brookstone and took on a    this action.
10    number of ULG               Marshall Decl., at ¶ --.
11    employees); id. at 2239-
12    40 (Kutzner was ULG’s       Foti: ADMIT - Objection        Undisputed as to Foti.
      COO); United States v.      (irrelevant. No evidence
13
      Kutzner, SACR14-00186-      Mr. Foti was aware of any
14    JLS (C.D. Cal.), DE 1       criminal wringdoing
15    (information), DE 19        associated with ULG).
16
      (guilty plea).              Foti Decl. ¶83, 84, 85, 86
                                  (re: ULG); Thurman
17
                                  Decl., Attachment 58
18                                (unsealing order)
19    290. Kutzner has been       Marshall: This Defendant       Undisputed as to
      indicted and pled guilty to lacks the knowledge or         Marshall. He does not
20
      conspiracy to commit        information and belief to      offer any admissible
21    mail fraud and wire fraud dispute or declare this fact     evidence capable of
22    related to ULG’s loan       undisputed, as this alleged    controverting the fact at
23    modification and lender     fact occurred prior to or      issue.
      litigation practices.       without this Defendant’s
24
      United States v. Kutzner, involvement with
25    SACR14-00186-JLS (C.D. Advantis Law Group,
26    Cal.), DE 1 (information), P.C. or the other
27
      DE 19 (guilty plea).        individual defendants in
                                  this action.
28
                                  Marshall Decl., at ¶ --.
                                              340
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1     Uncontroverted Fact/           Defendants’ Responses          FTC’s Reply
      Support
2
3                                    Foti: ADMIT - Objection        Undisputed as to Foti.
4                                    (irrelevant. No evidence
5                                    Mr. Foti was aware of any
                                     criminal wringdoing
6
                                     associated with ULG).
7                                    Foti Decl. ¶ 84, 85 (re:
8                                    ULG); Thurman Decl.,
                                     Attachment 58 (unsealing
9
                                     order)
10
      291. In 2012, Gil              Marshall: This Defendant       Undisputed as to
11    Mariscal, one of               lacks the knowledge or         Marshall. He does not
12    Brookstone’s sales             information and belief to      offer any admissible
      managers, stated the           dispute or declare this fact   evidence capable of
13
      following in an email to       undisputed, as this alleged    controverting the fact at
14    Kutzner that Foti also         fact occurred prior to or      issue.
15    received:                      without this Defendant’s
16    “When the crap came            involvement with
      down with the U.S.             Advantis Law Group,
17
      Attorney I gave you            P.C. or the other
18    information to try to help     individual defendants in
19    you out and whether it         this action.
      was helpful or not is          Marshall Decl., at ¶ --.
20
      irrelevant, I was trying to
21    look out for you. If you       Foti: DENY - Objections        Undisputed as to Foti.
22    don’t think that was           (irrelevant; failure to        The fact is relevant. The
23    loyalty then I would have      authenticate; hearsay. No      document(s) are genuine
      kept my mouth shut and         foundation the documents       and authentic, as
24
      would not have led those       are genuine, who prepared      established by the
25    investigators in a different   them, whether Mr. Foti         evidence the FTC
26    direction. Jeremy knows        ever received, knew about      submitted in support of
27
      the person leading the         or had anything to do with     the fact for this paragraph.
      investigation and he           them.)                         The evidence is not
28
      believes what I say            Foti Decl. ¶ 83, 84, 85, 86    hearsay because it is an
                                                 341
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      because the guy has not      (re: ULG); Thurman             opposing party’s
3     [sic] reason to doubt me.    Decl., Attachment 58           statement.
4     I told him Brookstone had    (unsealing order)                     In response, Foti
5     nothing to do with all the                                  cites to his self-serving
      bullshit Kramer/Kaslow                                      affidavit, which cannot
6
      and ULG did and they left                                   controvert a fact on
7     it alone. You know those                                    summary judgment, and
8     people came to my home                                      the cited reference does
      and I never said shit to                                    not actually controvert the
9
      them. I instead picked up                                   fact at issue. The other
10    the phone and called off                                    cited evidence also does
11    the dogs and sent them in                                   not controvert the fact at
12    a different direction. For                                  issue.
      them to try to pull Jeremy
13
      and me into an
14    investigation that we had
15    nothing to do with is
16
      beyond me. If you don’t
      think that was loyalty
17
      Damian, then I don’t
18    know what is.”
19    Ex. 110 at FTC-RAD-002-
      0256068; DE 284-8, at
20
      Page ID 7486, DE 284-9,
21    at Page ID 7708-12,
22    Theisman Decl. ¶ 4.jj.
23    292. Brookstone’s ethics     Marshall: This Defendant       Undisputed as to
      counsel identified and       lacks the knowledge or         Marshall. He does not
24
      discussed a Brookstone       information and belief to      offer any admissible
25    document that made           dispute or declare this fact   evidence capable of
26    reference to ULG in a        undisputed, as this alleged    controverting the fact at
27
      memo forwarded to Foti       fact occurred prior to or      issue.
      by Torchia: “There is an     without this Defendant’s
28
      error in the Guidelines,     involvement with
                                               342
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      which has ‘United’ as the    Advantis Law Group,
3     defined term for             P.C. or the other
4     Brookstone. This could       individual defendants in
5     prove highly detrimental     this action.
      to Brookstone because it     Marshall Decl., at ¶ --.
6
      could be seen as evidence
7     that Brookstone is a         Foti: DENY - Objections        Undisputed as to Foti.
8     continuation of United.”     (irrelevant; failure to        The fact is relevant. The
      DE 284-8, at Page ID         authenticate; hearsay;         document(s) are genuine
9
      7487, DE 284-10, DE          subject to attorney-client     and authentic, as
10    284-11, at Page ID 7803-     communication and work         established by the
11    7822, Theisman Decl. ¶       product privilege asserted     evidence the FTC
12    4.hhh.                       previously by Mr.              submitted in support of
                                   Torchia. No foundation         the fact. The evidence is
13
                                   the documents are              not hearsay to the extent
14                                 genuine, who prepared          not offered for the truth of
15                                 them, whether Mr. Foti         the matter asserted. All
16
                                   ever received, knew about      parties potentially holding
                                   or had anything to do with     a relevant attorney-client
17
                                   them. In addition, advice      privilege have waived that
18                                 related to supervision of      privilege. See Madden 8-
19                                 nonattorneys regarding         14-17 Decl. ¶ 5.
                                   the dispensation of "legal     Foti’s cited evidence does
20
                                   advice" under state ethics     not controvert the fact at
21                                 laws, not any claims           issue.
22                                 relating to this action.)
23                                 Thurman Decl.,
                                   Attachment 54 (Vito
24
                                   clawback request - FTC-
25                                 RFP-0149575-0149576)
26    293. At least at one         Marshall: This Defendant       Undisputed as to
27
      point, there were staffing   lacks the knowledge or         Marshall. He does not
      guidelines that stated:      information and belief to      offer any admissible
28
      “This is a list of           dispute or declare this fact   evidence capable of
                                               343
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      mandatory guidelines to     undisputed, as this alleged controverting the fact at
3     be followed by any          fact occurred prior to or   issue.
4     Resource Management         without this Defendant’s
5     employee that has an        involvement with
      assignment with             Advantis Law Group,
6
      Brookstone Law, Inc.        P.C. or the other
7     (“United”). . . .”          individual defendants in
8     Ex. 88 at FTC-RAD-002-      this action.
      0133032; DE 284-8,          Marshall Decl., at ¶ --.
9
      Theisman Decl. at Page
10    ID 7486, 7615-7652 ¶ 4.v.   Foti: DENY - Objections      Undisputed as to Foti.
11                                (irrelevant; failure to      The fact is relevant. The
12                                authenticate; hearsay. No    document(s) are genuine
                                  foundation the documents     and authentic, as
13
                                  are genuine, who prepared    established by the
14                                them, whether Mr. Foti       evidence the FTC
15                                ever received, knew about    submitted in support of
16
                                  or had anything to do with   the fact. The evidence is
                                  them.)                       not hearsay as a statement
17
                                                               of a party opponent.
18                                                             Finding documents on a
19                                                             defendant’s computer or
                                                               on-site at the receivership
20
                                                               defendant’s premises in
21                                                             fact makes it more likely
22                                                             it was used.
23                                                             For support, Foti cites no
                                                               evidence to controvert the
24
                                                               fact at issue.
25    294. In an email from       Marshall: This Defendant Undisputed as to
26    2012, Gil Mariscal wrote    lacks the knowledge or       Marshall. He does not
27
      to Foti, among others,      information and belief to offer any admissible
      regarding banking           dispute or declare this fact evidence capable of
28
      specialists’ behavior:      undisputed, as this alleged controverting the fact at
                                             344
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      “Cain brings me a list of     fact occurred prior to or    issue.
3     clients every day that        without this Defendant’s
4     need repeated calls           involvement with
5     because they are being        Advantis Law Group,
      ignored and we are losing     P.C. or the other
6
      monthly revenue because       individual defendants in
7     of it. Their response is, I   this action.
8     don’t get paid on residuals   Marshall Decl., at ¶ --.
      so I don’t care about
9
      dealing with those clients    Foti: DENY - Objections   Undisputed as to Foti.
10    I did my job. They            (irrelevant; failure to   The fact is relevant. The
11    complain our BBB rating       authenticate; hearsay. No document(s) are genuine
12    is an ‘F’, they complaint     foundation the documents  and authentic, as
      [sic] that they can’t close   are genuine, who prepared established by the
13
      deals unless they stretch     them, whether Mr. Foti    evidence the FTC
14    the truth. . . .”             ever received, knew about submitted in support of
15    Ex. 110 at FTC-RAD-002-       or had anything to do withthe fact. The evidence is
16
      0256066; DE 284-8, at         them.)                    not hearsay as a statement
      Page ID 7486, DE 284-9,       Thurman Decl.,            of a party opponent or a
17
      at Page ID 7708-12,           Attachment 59 (Rodriguez  sworn declaration.
18    Theisman Decl. at ¶ 4.jj.     decl.)                    Foti’s cited evidence does
19                                                            not controvert the fact at
                                                              issue.
20
      295. The FTC sought        Marshall: This Defendant Undisputed as to
21    discovery from Foti on his lacks the knowledge or       Marshall. He does not
22    duties in communicating information and belief to offer any admissible
23    with clients, and he did   dispute or declare this fact evidence capable of
      not identify or produce    undisputed, as this alleged controverting the fact at
24
      any docments               fact occurred prior to or    issue.
25    controverting the FTC’s    without this Defendant’s
26    evidence.                  involvement with
27
      DE 284-8,Theisman Decl. Advantis Law Group,
      at Page ID 7490 ¶ 10.      P.C. or the other
28
                                 individual defendants in
                                               345
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
                                    this action.
3                                   Marshall Decl., at ¶ --.
4
5                                   Foti: DENY - Objection                Undisputed as to
                                    (irrelevant - Mr. Foti's       Foti. The fact is relevant.
6
                                    inability to produce           He cites no evidence to
7                                   documents, where all of        controvert the fact at
8                                   Mr. Foti's documents           issue.
                                    relevant to this action
9
                                    were previously seized at
10                                  his home and office, does
11                                  not constitute an
12                                  admission of anything
                                    other than that he has no
13
                                    documents.
14
            a.      Foti was Directly Involved in the May 2016 “Account Due”
15               Scheme.
16
      296. Foti was included        Marshall: This Defendant       Undisputed as to
17    on numerous emails            lacks the knowledge or         Marshall. He does not
18    regarding the April/May       information and belief to      offer any admissible
      2016 draft “Account Due”      dispute or declare this fact   evidence capable of
19
      letters and draft invoices,   undisputed, as this alleged    controverting the fact at
20    including the final draft     fact occurred prior to or      issue.
21    invoice circulated on May     without this Defendant’s
22    4, 2016.                      involvement with
      DE 41-6 at Page ID            Advantis Law Group,
23
      2729-32; DE 284-4,            P.C. or the other
24    Chang Decl. at Page ID        individual defendants in
25    7249 ¶ 4.jj; DE 284-8, at     this action.
      Page ID 7486, 7489, DE        Marshall Decl., at ¶ --.
26
      284-9, at Page ID 7969-
27    01, DE 284-12, at Page        Foti: DENY - Objections        Undisputed as to Foti.
28    ID 7975-77, Theisman          (irrelevant; failure to        The fact is relevant. The
      Decl. ¶¶ 4.ff, 4.gg, &        authenticate; hearsay. No      document(s) are genuine
                                                346
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
      4.wwww.                   foundation the documents     and authentic, as
3                               are genuine, who prepared    established by the
4                               them, whether Mr. Foti       evidence the FTC
5                               ever received, knew about    submitted in support of
                                or had anything to do with   the fact for this paragraph.
6
                                them. No evidence that       The evidence is not
7                               any consumer made any        hearsay because it is an
8                               payments after receiving     opposing party’s
                                any such documents.)         statement. Finding
9
                                Foti Declaration ¶ 42, 43,   documents on a
10                              44, 45, 46, 47, 48, 49, 50,  receivership computer
11                              51, 52, 53 (re: Account      from the defendant’s
12                              Due letters)                 office or from the
                                                             defendants’ premises
13
                                                             taken over by the
14                                                           receivership in fact makes
15                                                           it more likely it was used.
16
                                                                    In response, Foti
                                                             cites his self-serving
17
                                                             declaration, which cannot
18                                                           controvert a fact on
19                                                           summary judgment, and
                                                             the cited reference does
20
                                                             not address the fact at
21                                                           issue. The other evidence
22                                                           cited does not controvert
23                                                           the fact at issue.
      297. Foti received at     Marshall: This Defendant Undisputed as to
24
      least some emails from    lacks the knowledge or       Marshall. He does not
25    consumers complaining     information and belief to offer any admissible
26    about the “Account Due”   dispute or declare this fact evidence capable of
27
      letters.                  undisputed, as this alleged controverting the fact at
      DE 41-3 at Page ID        fact occurred prior to or    issue.
28
      2576; DE 284-4, Chang     without this Defendant’s
                                           347
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
      Decl. at Page ID 7248 ¶   involvement with
3     4.n; Ex. 107, FTC-RAD-    Advantis Law Group,
4     007-0000771 to 0000772;   P.C. or the other
5     DE 284-8, at Page ID      individual defendants in
      7486, DE 284-9, at Page   this action.
6
      ID 7702-03, Theisman      Marshall Decl., at ¶ --.
7     Decl. ¶ 4.hh.
8                               Foti: DENY - Objections       Undisputed as to Foti.
                                (irrelevant; failure to       The fact is relevant. The
9
                                authenticate; hearsay. No     document(s) are genuine
10                              foundation the documents      and authentic, as
11                              are genuine, who prepared     established by the
12                              them, whether Mr. Foti        evidence the FTC
                                ever received, knew about     submitted in support of
13
                                or had anything to do with    the fact for this paragraph.
14                              them. No evidence that        The evidence is not
15                              Mr. Foti routinely            hearsay because it is an
16
                                reviewed emails sent to       opposing party’s
                                accounting@brookstonela       statement. Finding
17
                                w.com.)                       documents on a
18                              Foti Decl. ¶ 66, 67, 68, 69   receivership computer
19                              (re: chargebacks)             from the defendant’s
                                                              office or from the
20
                                                              defendants’ premises
21                                                            taken over by the
22                                                            receivership in fact makes
23                                                            it more likely it was used.
                                                              Foti admits he used the
24
                                                              accounting@brookstonela
25                                                            w.com email address. DE
26                                                            284-8 at Page ID 7509-
                                                              10.
27
                                                                     In response, Foti
28                                                            cites only his self-serving

                                           348
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1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
                                                              declaration, which cannot
3                                                             controvert a fact on
4                                                             summary judgment, and
5                                                             the cited reference does
                                                              not address the fact at
6
                                                              issue.
7     298. Foti directed other   Marshall: This Defendant Undisputed as to
8     staff members to respond   lacks the knowledge or       Marshall. He does not
9
      to consumer complaints     information and belief to offer any admissible
      regarding the “Account     dispute or declare this fact evidence capable of
10
      Due” letters.              undisputed, as this alleged controverting the fact at
11    DE 41-3 at 31, Page ID     fact occurred prior to or    issue.
12    2576; DE 284-4, Chang      without this Defendant’s
      Decl. at Page ID 7248 ¶    involvement with
13
      4.n                        Advantis Law Group,
14                               P.C. or the other
15                               individual defendants in
16                               this action.
                                 Marshall Decl., at ¶ --.
17
18                               Foti: DENY - Objections       Undisputed as to Foti.
19                               (irrelevant; failure to       The fact is relevant. The
                                 authenticate; hearsay. No     document(s) are genuine
20
                                 foundation the documents      and authentic, as
21                               are genuine, who prepared     established by the
22                               them, whether Mr. Foti        evidence the FTC
23                               ever received, knew about     submitted in support of
                                 or had anything to do with    the fact for this paragraph.
24
                                 them. No evidence that        The evidence is not
25                               Mr. Foti routinely            hearsay because it is an
26                               reviewed emails sent to       opposing party’s
27
                                 accounting@brookstonela       statement. Finding
                                 w.com.)                       documents on a
28
                                 Foti Decl. ¶ 66, 67, 68, 69   receivership computer
                                            349
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                  (re: chargebacks)            from the defendant’s
3                                                              office or from the
4                                                              defendants’ premises
5                                                              taken over by the
                                                               receivership in fact makes
6
                                                               it more likely it was used.
7                                                              Foti admits he used the
8                                                              accounting@brookstonela
                                                               w.com email address. DE
9
                                                               284-8 at Page ID 7509-
10                                                             10.
11                                                                    In response, Foti
12                                                             cites only his self-serving
                                                               declaration, which cannot
13
                                                               controvert a fact on
14                                                             summary judgment, and
15                                                             the cited reference does
16
                                                               not address the fact at
                                                               issue.
17
      299. In one consumer        Marshall: This Defendant Undisputed as to
18    complaint regarding the     lacks the knowledge or       Marshall. He does not
19    “Account Due” letters       information and belief to offer any admissible
      that Foti received, the     dispute or declare this fact evidence capable of
20
      consumer expressed          undisputed, as this alleged controverting the fact at
21    concern about the           fact occurred prior to or    issue.
22    Account Due letter and      without this Defendant’s
23    explained that she had      involvement with
      previously been             Advantis Law Group,
24
      convinced to pay an         P.C. or the other
25    additional $1,500 based     individual defendants in
26    on claims that the Wright   this action.
27
      v. Bank of America          Marshall Decl., at ¶ --.
      litigation was close to
28
      resolution in the fall of   Foti: DENY - Objections      Undisputed as to Foti.
                                             350
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
      2015.                     (irrelevant; failure to       The fact is relevant. The
3     Ex. 107, FTC-RAD-007-     authenticate; hearsay. No     document(s) are genuine
4     0000771 to 0000772; DE    foundation the documents      and authentic, as
5     284-8, at Page ID 7486,   are genuine, who prepared     established by the
      DE 284-9, at Page ID      them, whether Mr. Foti        evidence the FTC
6
      7702-03, Theisman Decl.   ever received, knew about     submitted in support of
7     ¶ 4.hh.                   or had anything to do with    the fact for this paragraph.
8                               them. No evidence that        The evidence is not
                                Mr. Foti routinely            hearsay because it is an
9
                                reviewed emails sent to       opposing party’s
10                              accounting@brookstonela       statement. Finding
11                              w.com.)                       documents on a
12                              Foti Decl. ¶ 66, 67, 68, 69   receivership computer
                                (re: chargebacks)             from the defendant’s
13
                                                              office or from the
14                                                            defendants’ premises
15                                                            taken over by the
16
                                                              receivership in fact makes
                                                              it more likely it was used.
17
                                                              Foti admits he used the
18                                                            accounting@brookstonela
19                                                            w.com email address. DE
                                                              284-8 at Page ID 7509-
20
                                                              10.
21                                                                   In response, Foti
22                                                            cites only his self-serving
23                                                            declaration, which cannot
                                                              controvert a fact on
24
                                                              summary judgment, and
25                                                            the cited reference does
26                                                            not address the fact at
                                                              issue.
27
      300. Throughout 2015,      Marshall: This Defendant     Undisputed as to
28
      there was not an operative lacks the knowledge or       Marshall. He does not
                                           351
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1     Uncontroverted Fact/       Defendants’ Responses          FTC’s Reply
      Support
2
      complaint on file in       information and belief to      offer any admissible
3     Wright v. Bank of          dispute or declare this fact   evidence capable of
4     America.                   undisputed, as this alleged    controverting the fact at
5     Petersen v. Bank of        fact occurred prior to or      issue.
      America, 232 Cal. App.     without this Defendant’s
6
      4th 238 (Dec. 11, 2014);   involvement with
7     DE 12, Madden May          Advantis Law Group,
8     2016 Decl., at Page ID     P.C. or the other
      657-60, Att. 28.           individual defendants in
9
                                 this action.
10                               Marshall Decl., at ¶ --.
11
12                             Foti: ADMIT                      Undisputed as to Foti.
                               Petersen v. Bank of
13
                               America, 232 Cal. App.
14                             4th 238, n.19 (Dec. 11,
15                             2014) ("In this case it will
16
                               obviously be a while
                               before this complaint is
17
                               ready for the prime time
18                             of a trial.") Thurman
19                             Decl. (case is still
                               pending and litigation
20
                               over the amended
21                             complaint continues in the
22                             more than a year since
23                             Brookstone was removed
                               from the case.)
24
      301. The Receiver found Marshall: This Defendant          Undisputed as to
25    on Foti’s desk copies of lacks the knowledge or           Marshall. He does not
26    the “Accounting Inbound information and belief to         offer any admissible
27
      SCRIPT (Inbound)” with dispute or declare this fact       evidence capable of
      handwritten notes about  undisputed, as this alleged      controverting the fact at
28
      the “accounting hold”    fact occurred prior to or        issue.
                                             352
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      referred to in the May 5     without this Defendant’s
3     letter.                      involvement with
4     DE 69-2, Robertson Decl.     Advantis Law Group,
5     at Page ID 3282-84,          P.C. or the other
      3289-90, Ex. 11, ¶ 5, Att.   individual defendants in
6
      1.                           this action.
7                                  Marshall Decl., at ¶ --.
8
                                   Foti: DENY - Objections      Undisputed as to Foti.
9
                                   (irrelevant; failure to      The fact is relevant. The
10                                 authenticate; hearsay. No    document(s) are genuine
11                                 foundation the documents     and authentic, as
12                                 are genuine, who prepared    established by the
                                   them, whether Mr. Foti       evidence the FTC
13
                                   ever received, knew about    submitted in support of
14                                 or had anything to do with   the fact for this paragraph.
15                                 them. No evidence that       The evidence is not
16
                                   any consumer made any        hearsay because it is an
                                   payments after receiving     opposing party’s
17
                                   any such documents.)         statement. Finding
18                                 Foti Decl. ¶ 52 (not JF's    documents on a
19                                 handwriting)                 receivership computer
                                                                from the defendant’s
20
                                                                office or from the
21                                                              defendants’ premises
22                                                              taken over by the
23                                                              receivership in fact makes
                                                                it more likely it was used.
24
                                                                       In response, Foti
25                                                              cites only his self-serving
26                                                              declaration, which cannot
                                                                controvert a fact on
27
                                                                summary judgment, and
28                                                              the cited reference to the

                                              353
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
                                                                 Foti Decl. does not
3                                                                address the fact at issue.
4     302. The Receiver found       Marshall: This Defendant Undisputed as to
5     on Foti’s desk a printout     lacks the knowledge or       Marshall. He does not
      tallying the results of the   information and belief to offer any admissible
6
      collection efforts related    dispute or declare this fact evidence capable of
7     to the Account Due letters    undisputed, as this alleged controverting the fact at
8     with the title “Damian and    fact occurred prior to or    issue.
9
      Regina Crushing IT!!!”        without this Defendant’s
      DE 69-2, Robertson Decl.      involvement with
10
      at Page ID 3282-86, Ex.       Advantis Law Group,
11    11, ¶ 5, Att. 1.              P.C. or the other
12                                  individual defendants in
                                    this action.
13
                                    Marshall Decl., at ¶ --.
14
15                                  Foti: DENY - Objections      Undisputed as to Foti.
16                                  (irrelevant; failure to      The fact is relevant. The
                                    authenticate; hearsay. No    document(s) are genuine
17
                                    foundation the documents     and authentic, as
18                                  are genuine, who prepared    established by the
19                                  them or placed them on       evidence the FTC
                                    Mr. Foti's desk or whether   submitted in support of
20
                                    they were received or        the fact for this paragraph.
21                                  reviewed by Mr. Foti. No     The evidence is not
22                                  evidence any consumers       hearsay because it is an
23                                  paid anything as a result    opposing party’s
                                    of any statements on this    statement. Finding
24
                                    document.whether Mr.         documents on a
25                                  Foti ever received, knew     receivership computer
26                                  about or had anything to     from the defendant’s
27
                                    do with them. No             office or from the
                                    evidence that any            defendants’ premises
28
                                    consumer made any            taken over by the
                                               354
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
                                  payments after receiving      receivership in fact makes
3                                 any such documents.)          it more likely it was used.
4                                 Foti Decl. ¶ 53                      In response, Foti
5                                                               cites only his self-serving
                                                                declaration, which cannot
6
                                                                controvert a fact on
7                                                               summary judgment, and
8                                                               the cited reference to the
                                                                Foti Decl. does not
9
                                                                address the fact at issue.
10
            a.     Marshall Took Control of Advantis with Full Knowledge of
11
                 Torchia’s, Kutzner’s, Broderick’s and Brookstone’s Malfeasance.
12
      303. Marshall intended      Marshall: Disputed. There     Undisputed as to
13    to transfer clients from    were a tiny number of         Marshall. He does not
14    Brookstone to Advantis,     clients—no more than a        offer any admissible
15
      including providing         half dozen— that were         evidence capable of
      instruction regarding the   considered as possible        controverting the fact at
16
      “Brookstone to Advantis     candidates because the        issue, including his self-
17    client hand-off,” and       coordination efforts to       serving declaration, which
18    Brookstone clients          start filing mass joinder     cannot be used to create a
      “subject to transfer to     cases in coordination with    genuine dispute as to a
19
      Advantis.”                  co-defendants was slow in     material fact on summary
20    Ex. 46, DE 218-2,           developing and the idea       judgment.
21    Madden April 2017 Decl.     was to jump-start one
22    at Page ID 5996-6003,       small test case in one
      Att. 7; Ex. 44, DE 218-2,   joinder. There was never
23
      Madden April 2017 Decl.     any global transfer clients
24    at Page ID 6004 Att. 8;     and/or Brookstone cases
25    Ex. 48, DE 218-2,           to Advantis Law Group,
      Madden April 2017 Decl.     P.C.
26
      at Page ID 6005, Att. 9;    Marshall Decl., at ¶ --.
27    DE 284-14, Madden July
28    2017 Decl. at Page ID       Foti: DENY - Not              Undisputed as to Foti.
      8125, 8299, 8301 ¶ 2.h,     applicable to Mr. Foti
                                              355
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1     Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
      Support
2
      Att. 8, Marshall Depo.
3     (testimony authenticating
4     Exs. 44 & 46 at 178:7-12,
5     179:1-20, 185:14-19,
      186:10-17, 187:3-16); DE
6
      218-2, Madden April
7     2017 Decl. at Page ID
8     6069, Marshall Depo.
      (testimony authenticating
9
      Ex. 48 at 194:11-195:1;
10    DE 284-8, Theisman
11    Decl. at Page ID 7489 ¶
12    5.
      304. Marshall sent            Marshall: Disputed. There     Undisputed as to
13
      letters to Brookstone         were a tiny number of         Marshall. He does not
14    clients informing them        clients—no more than a        offer any admissible
15    that their cases were being   half dozen— that were         evidence capable of
16    transferred to Marshall       considered as possible        controverting the fact at
      and Advantis.                 candidates because the        issue, including his self-
17
      Ex. 46, DE 218-2,             coordination efforts to       serving declaration, which
18    Madden April 2017 Decl.       start filing mass joinder     cannot be used to create a
19    at Page ID 5996-6003,         cases in coordination with    genuine dispute as to a
      Att. 7; Marshall Depo.        co-defendants was slow in     material fact on summary
20
      (testimony authenticating     developing and the idea       judgment.
21    Ex. 46 at 185:14-19,          was to jump-start one
22    186:10-17, 187:3-16); DE      small test case in one
23    284-8, Theisman Decl. at      joinder. There was never
      Page ID 7489 ¶ 5.             any global transfer clients
24
                                    and/or Brookstone cases
25                                  to Advantis Law Group,
26                                  P.C.
27
                                    Marshall Decl., at ¶ --.

28
                                    Foti: DENY - Not              Undisputed as to Foti.
                                               356
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
                                applicable to Mr. Foti
3     305. On numerous          Marshall: Disputed.          Undisputed as to
4     occasions, Marshall       During Marshall’s brief      Marshall. He does not
5     requested that Kutzner    tenure with Advantis Law     offer any admissible
      and Foti begin fully      Group, P.C., he issued       evidence capable of
6
      marketing Advantis’ mass three to three to six         controverting the fact at
7     joinder services urging   letters, which he never      issue, including his self-
8     them to “fully open       heard the results of nor     serving declaration, which
9
      marketing,” have          followed up with as to       cannot be used to create a
      marketing “full-on,” and  whether the letters          genuine dispute as to a
10
      “open up the marketing.” actually went out or if any   material fact on summary
11    Ex. 54, DE 218-2,         of those clients actually    judgment.
12    Madden April 2017 Decl. switched and became
      at Page ID 6078, Att. 17; either Advantis Law
13
      Ex. 55, DE 218-2,         clients (which Marshall
14    Madden April 2017 Decl. never had any information
15    at Page ID 6006, Att. 10; about or control over) nor
16    Ex. 56, DE 218-2,         Advantis Law Group,
      Madden April 2017 Decl. which he would have
17
      at Page ID 6094, Att. 18; known and been
18    DE 284-14, Madden July informed, if true. In fact,
19    2017 Decl. at Page ID     Marshall has no
      8304, 8306 ¶ 2.h, Att. 8, knowledge whether these
20
      Marshall Depo.            letters actually went out.
21    (testimony authenticating Marshall never reviewed
22    Exs. 54-56 at 215:4-      or individually vetted the
23    216:7, 222:4-14, and      marketing. As his
      223:22-224:25); DE 284- deposition states, multiple
24
      8, Theisman Decl. at Page times, whenever the issue
25    ID 7489 ¶ 5.              of marketing came up,
26                              Kutzner assured Marshall
27
                                that a separate attorney
                                had reviewed and fully
28
                                vetted and signed off on
                                           357
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                the marketing and
3                               advertising as fully
4                               compliant with all
5                               California Bar rules, state
                                and federal laws,
6
                                including FTC
7                               requirements. Foti’s and
8                               Kutzner’s initial
                                disclosures identify the
9
                                reviewing attorney.
10                              Marshall Decl., at ¶ --.
11
12                              Foti: DENY - Objections       Undisputed as to Foti.
                                (irrelevant; failure to       The fact is relevant. The
13
                                authenticate; hearsay. No     document(s) are genuine
14                              foundation the documents      and authentic, as
15                              are genuine, who prepared     established by the
16
                                them, whether Mr. Foti        evidence the FTC
                                ever received, knew about     submitted in support of
17
                                or had anything to do with    the fact. The evidence is
18                              them.)                        not hearsay as a statement
19                                                            of a party opponent.
                                                              Finding documents on a
20
                                                              defendant’s computer or
21                                                            on-site at the receivership
22                                                            defendant’s premises in
23                                                            fact makes it more likely
                                                              it was used.
24
                                                              For support, Foti cites no
25                                                            evidence to controvert the
26                                                            fact at issue.
27
      306. Marshall had an      Marshall: Undisputed.         Undisputed as to
      Advantis email address of                               Marshall. He does not
28
      Charles@advantislaw.co                                  offer any admissible
                                           358
    Case 8:16-cv-00999-DOC-AFM Document 315-1 Filed 08/14/17 Page 362 of 402 Page ID
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1     Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
      Support
2
      m.                                                       evidence capable of
3     Ex. 62, DE 218-2,                                        controverting the fact at
4     Madden April 2017 Decl.                                  issue.
5     at Page ID 6009; DE
      284-14, Madden July          Foti: DENY - Not            Undisputed as to Foti.
6
      2017 Decl. at Page ID        applicable to Mr. Foti
7     1064 ¶ 2.h, Att. 8,
8     Marshall Depo.
      (testimony authenticating
9
      Ex. 62 at 253:8-254:9);
10    DE 284-8, Theisman
11    Decl. at Page ID 7489 ¶
12    5; DE 284-14, Madden
      July 2017 Decl. at Page
13
      ID 8126, 8417 ¶ 3, Att.
14    15, Marshall’s First
15    RFAs, RFA 47.b admitted
16
      pursuant to FRCP
      36(a)(3).
17
      307. Marshall received       Marshall: Disputed. This    Undisputed as to
18    multiple emails from         fact is vague. Marshall     Marshall. He does not
19    people associated with the   considered this email       offer any admissible
      Corporate Defendants         domain to be associated     evidence capable of
20
      from advantislaw.com         with Advantis Law           controverting the fact at
21    email addresses and          Group. He used              issue, including his self-
22    multiple emails from         ‘advantislaw’ because it    serving declaration, which
23    people who claimed           was shorter. Prior to his   cannot be used to create a
      Advantis titles in their     deposition, Marshall had    genuine dispute as to a
24
      email signature blocks.      no awareness of Advantis    material fact on summary
25    Ex. 46, DE 218-2,            Law as opposed to           judgment.
26    Madden April 2017 Decl.      Advantis Law Group.
27
      at Page ID 5996-98, Att.     Marshall rarely used this
      7; Ex. 57, DE 218-2,         email—less than a few
28
      Madden April 2017 Decl.      dozen emails were ever
                                              359
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      at Page ID 6007-08; Ex.      sent or received over the
3     37, DE 218-2, Madden         few months Marshall was
4     April 2017 Decl. at Page     involved with Advantis
5     ID 6053, Att. 14; DE 284-    Law Group.
      14, Madden July 2017         Marshall Decl., at ¶ --.
6
      Decl. at Page ID 8125,
7     8295, 8301, 8308 ¶ 2.h,      Foti: DENY - Not             Undisputed as to Foti.
8     Att. 8, Marshall Depo.       applicable to Mr. Foti
      (testimony authenticating
9
      Exs. 37, 46, and 57 at
10    129:11-130:10, 185:14-
11    19, 186: 10-17, 187: 3-16,
12    226:24-227:11; DE 284-
      8, Theisman Decl. at Page
13
      ID 7489 ¶ 5; DE 284-14,
14    Madden July 2017 Decl.
15    at Page ID 8126, 8417-18
16
      ¶ 3, Att. 15, Marshall’s
      First RFAs, RFAs 46, 48-
17
      51 admitted pursuant to
18    FRCP 36(a)(3).
19    308. Marshall expected       Marshall: Undisputed.        Undisputed as to
      Kutzner and Foti to be in    Marshall relied on the       Marshall.
20
      charge of the marketing      attorney who had vetted
21    and, although asking that    all this for compliance
22    the marketing be “full       based on Kutzner’s
23    on,” never reviewed any      representations. Also, the
      of the Advantis marketing    “full on” comments were
24
      materials.                   few, and spaced weeks or
25    Ex. 55, DE 218-2,            sometimes months apart,
26    Madden April 2017 Decl.      and never came to
27
      at Page ID 6006, Att. 10;    anything—mere
      DE 218-2, Madden April       suggestions that never
28
      2017 Decl. at Page ID        transpired.
                                              360
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1     Uncontroverted Fact/        Defendants’ Responses          FTC’s Reply
      Support
2
      6072, Marshall Depo. at     Marshall Decl., at ¶ --.
3     218:8-20, Att. 16; DE
4     284-14, Madden July         Foti: DENY - Objections        Undisputed as to Foti.
5     2017 Decl. at Page ID       (irrelevant; failure to        The fact is relevant. The
      8125, 8137 ¶ 2.h, Att. 8,   authenticate; hearsay. No      document(s) are genuine
6
      Marshall Depo.              foundation the documents       and authentic, as
7     (testimony authenticating   are genuine, who prepared      established by the
8     Ex. 55 at 222:4-14); DE     them, whether Mr. Foti         evidence the FTC
      284-8, Theisman Decl. at    ever received, knew about      submitted in support of
9
      Page ID 7489 ¶ 5.           or had anything to do with     the fact. The evidence is
10                                them. Mr. Marshall's           not hearsay as a statement
11                                "expectation" regarding        of a party opponent.
12                                Mr. Foti's role irrelevant.)   Finding documents on a
                                                                 defendant’s computer or
13
                                                                 on-site at the receivership
14                                                               defendant’s premises in
15                                                               fact makes it more likely
16
                                                                 it was used.
                                                                 For support, Foti cites no
17
                                                                 evidence to controvert the
18                                                               fact at issue.
19
      309. Marshall scheduled     Marshall: Disputed.            Undisputed as to
20
      a meeting with the          Defedant never scheduled       Marshall. He does not
21    Brookstone/Advantis         any such meeting because       offer any admissible
22    sales people to go over     his inquiries about the        evidence capable of
23    the entire business,        overall operation was          controverting the fact at
      including sales scripts.    never satisfied, and the       issue, including his self-
24
      Ex. 41; DE 284-14,          discussions between co-        serving declaration, which
25    Madden July 2017 Decl.      defendants and Marshall        cannot be used to create a
26    at Page ID 8125, 8296 ¶     never reached the stage        genuine dispute as to a
27
      2.h, Att. 8, Marshall       where such a meeting was       material fact on summary
      Depo. (testimony            actually warranted. The        judgment.
28
      authenticating Ex. 41 at    meeting of this kind never
                                              361
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1     Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
      Support
2
      166:2-7, 167:9-17); DE        in fact happened—an
3     284-8, Theisman Decl. at      Marshall does not recall
4     Page ID 7485, 7533-34 ¶       following up to make it
5     4.e.                          happen later.
                                    Marshall Decl., at ¶ --.
6
7
8
                                 Foti: DENY - Not           Undisputed as to Foti.
9
                                 applicable to Mr. Foti
10
      310. Marshall first        Marshall: Undisputed.      Undisputed as to both
11    appeared in the Wright v. Marshall appeared as        Marshall and Foti.
12    Bank of America litigation cocounsel only. Marshall
      on July 20, 2015.          did not manage client
13
      DE 13-1, Madden May        contacts. Marshall
14    2016 Decl. at Page ID      appeared on the pleadings
15    833-34, Att. 38.           solely to help with
16                               litigation and negotiation
                                 strategy.
17
                                 Marshall Decl., at ¶ --.
18
19                                  Foti: DENY - Not
                                    applicable to Mr. Foti
20
      311. Marshall appeared        Marshall: Undisputed.      Undisputed as to both
21    on pleadings in the           Marshall appeared as       Marshall and Foti.
22    Wright v. Bank America        cocounsel only. Marshall
23    litigation on behalf of all   did not manage client
      plaintiffs.                   contacts. Marshall
24
      DE 13-1, Madden May           appeared on the pleadings
25    2016 Decl. at Page ID         solely to help with
26    837-41, Att. 39; DE 13-3,     litigation and negotiation
27
      Madden May 2016 Decl.         strategy. Up to seven
      at Page ID 904-08, Att.       attorneys appeared on the
28
      49; Ex. 62, DE 218-2,         pleadings in the Wright
                                               362
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1     Uncontroverted Fact/           Defendants’ Responses       FTC’s Reply
      Support
2
      Madden April 2017 Decl.        litigation but Plaintiff
3     at Page ID 6009-12, Att.       only sued Torchia and
4     12; DE 284-14, Madden          Marshall.
5     July 2017 Decl. at Page
      ID 8126, 8418 ¶ 3, Att.        Marshall Decl., at ¶ --.
6
      15, Marshall’s First
7     RFAs, RFA 56 admitted          Foti: DENY - Not
8     pursuant to FRCP               applicable to Mr. Foti
      36(a)(3); id. at ¶ 2.h, Att.
9
      8, DE 284-14, Page ID
10    8125, 8310, Marshall
11    Depo. (testimony
12    authenticating Ex. 62 at
      253:8-254:9); DE 284-8,
13
      Theisman Decl. at Page
14    ID 7489 ¶ 5.
15    312. As a counsel of           Marshall: Undisputed.       Undisputed as to both
16    record, Marshall received      Marshall appeared as co-    Marshall and Foti.
      the “Separate Case             counsel only. Marshall
17
      Management Statement of        received and read the
18    Defendants” filed in the       statement, which
19    Wright v. Bank of              appeared to be
      America litigation             tendentious boilerplate
20
      highlighting                   intimidation tactics. The
21    Brookstone’s, Torchia’s,       juge agreed and
22    Broderick’s, and               admonished defendant
23    Kutzner’s checkered            Bryan Cave— attorney
      histories.                     Stuart Price.
24
      DE 13-1, Madden May            Marshall Decl., at ¶ --.
25    2016 Decl. at Page ID
26    809, 816, 818-20, 822,         Foti: DENY - Not
27
      Att. 36; DE 284-14,            applicable to Mr. Foti
      Madden July 2017 Decl.
28
      at Page ID 8125, 8310-11
                                                 363
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1     Uncontroverted Fact/          Defendants’ Responses          FTC’s Reply
      Support
2
      ¶ 2.h, Att. 8, Marshall
3     Depo. at 255:13-256:13;
4     257:2-9, 259:7-8
5     313. Marshall appeared        Marshall: Disputed.            Undisputed as to
      in the Wright v. Bank of      Marshall stated that if the    Marshall. He does not
6
      America litigation            Wright case was lost, it       offer any admissible
7     because if Wright v. Bank     would hurt the credibility     evidence capable of
8     of America were               of joinder cases in            controverting the fact at
9
      dismissed it would            general. For that reason,      issue, including his self-
      hamper his ability to         he sought to keep the case     serving declaration, which
10
      market new mass joinder       alive and thriving. His        cannot be used to create a
11    litigation under the          goal was to bring              genuine dispute as to a
12    “Advantis” name.              credibility to joinder cases   material fact on summary
      DE 218-2, Madden April        so he could file one           judgment.
13
      2017 Decl. at Page ID         someday himself and
14    6075, Marshall Depo. at       vindicate borrower rights
15    250:4-11, 251:15-16, Att.     in such a case.
16    16.
                                    Marshall Decl., at ¶ --.
17
18                                  Foti: DENY - Not          Undisputed as to Foti.
19                                  applicable to Mr. Foti
      314. Marshall told Foti       Marshall: Undisputed.     Undisputed as to
20
      and Kutzner that the          But by Advantis, Marshall Marshall.
21    Wright matter and his         was referring to Adavntis
22    participation in it and any   Law Group only.
23    settlement was dependent      Marshall Decl., at ¶ --.
      on his “presenting well
24
      for Advantis.”                Foti: DENY - Objections        Undisputed as to Foti.
25    Ex. 55, DE 218-2,             (irrelevant; failure to        The fact is relevant. The
26    Madden April 2017 Decl.       authenticate; hearsay. No      document(s) are genuine
27
      at Page ID 6006, Att. 10;     foundation the documents       and authentic, as
      DE 284-14, Madden July        are genuine, who prepared      established by the
28
      2017 Decl. at Page ID         them, whether Mr. Foti         evidence the FTC
                                                364
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1     Uncontroverted Fact/        Defendants’ Responses       FTC’s Reply
      Support
2
      8125, 8307 ¶ 2.h, Att. 8,   ever received, knew about submitted in support of
3     Marshall Depo.              or had anything to do with the fact. The evidence is
4     (testimony authenticating   them.)                      not hearsay as a statement
5     Ex. 55 at 222:4-14); DE                                 of a party opponent.
      284-8, Theisman Decl. at                                Finding documents on a
6
      Page ID 7489 ¶ 5.                                       defendant’s computer or
7                                                             on-site at the receivership
8                                                             defendant’s premises in
                                                              fact makes it more likely
9
                                                              it was used.
10                                                            For support, Foti cites no
11                                                            evidence to controvert the
12                                                            fact at issue.
      315. Marshall worked to Marshall: Undisputed.           Undisputed as to
13
      ensure the Wright case      Based on his foreclosure    Marshall.
14    “stays on track” due to its litigation expertise,
15    importance and told Foti    Marshall believed the
16    he had “done all the right Wright case was the only
      things to keep that baby    joinder case still alive in
17
      alive.”                     June of 2016 when the
18    Ex. 57, DE 218-2,           FTC sued everyone. It
19    Madden April 2017 Decl. was alive partially due to
      at Page ID 6007, Att. 11; Marshall’s efforts, for
20
      DE 284-14, Madden July which he never sought or
21    2017 Decl. at Page ID       received compensation of
22    8125, 8308 ¶ 2.h, Att. 8,   any kind.
23    Marshall Depo.              Marshall Decl., at ¶ --.
      (testimony authenticating
24
      Ex. 57 at 226:24-227:11); Foti: DENY - Objections Undisputed as to Foti.
25    DE 284-8, Theisman          (irrelevant; failure to     The fact is relevant. The
26    Decl. at Page ID 7489 ¶     authenticate; hearsay. No document(s) are genuine
27
      5.                          foundation the documents and authentic, as
                                  are genuine, who prepared established by the
28
                                  them, whether Mr. Foti      evidence the FTC
                                             365
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1     Uncontroverted Fact/         Defendants’ Responses       FTC’s Reply
      Support
2
                                   ever received, knew about submitted in support of
3                                  or had anything to do with the fact. The evidence is
4                                  them.)                     not hearsay as a statement
5                                                             of a party opponent.
                                                              Finding documents on a
6
                                                              defendant’s computer or
7                                                             on-site at the receivership
8                                                             defendant’s premises in
                                                              fact makes it more likely
9
                                                              it was used.
10                                                            For support, Foti cites no
11                                                            evidence to controvert the
12                                                            fact at issue.
      316. Marshall                Marshall: Undisputed.      Undisputed as to both
13
      participated in the Wright                              Marshall and Foti.
14    matter, signing a pleading   Foti: DENY - Not
15    as “Advantis Law Group,      applicable to Mr. Foti
16    PC, Charles Marshall,
      Attorneys for All
17
      Plaintiffs.”
18    Ex. 62, DE 218-2,
19    Madden April 2017 Decl.
      at Page ID 6009, 6012,
20
      Att. 12; DE 284-14,
21    Madden July 2017 Decl.
22    at Page ID 8125, 8310 ¶
23    2.h, Att. 8, Marshall
      Depo. (testimony
24
      authenticating Ex. 62 at
25    253:8-254:9); DE 284-8,
26    Theisman Decl. at Page
27
      ID 7489 ¶ 5.
      317. After his bar           Marshall: Disputed.         Undisputed as to
28
      suspension concluded in      Marshall did not deepen     Marshall. He does not
                                              366
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      2016, Marshall deepened       his involvement but          offer any admissible
3     his involvement in            lessened it overall. He      evidence capable of
4     Brookstone matters,           never signed back onto       controverting the fact at
5     telling Jonathan              the Wright or any other      issue, including his self-
      Tarkowski that, per           case. He went off the        serving declaration, which
6
      instructions from Foti and    Jason Le case too. And       cannot be used to create a
7     Kutzner, he would need        when he returned to that     genuine dispute as to a
8     “access to all the            case after his suspension,   material fact on summary
      pleadings for recent          he signed back on under      judgment.
9
      Brookstone joinder cases      his name—NOT under
10    that you filed. I need to     Advantis Law Group.
11    review and assess status      Marshall requested
12    of hearings, pleadings,       pleadings of the different
      next steps, etc.”             Brookstone cases because
13
      Ex. 53, DE 278-1 at Page      again, he intended to do
14    ID 6995, 6998, Madden         what he could to make the
15    May 22, 2017 Decl. at ¶       pleadings better from a
16
      2.a, Att. 1; DE 284-14,       litigation point of view.
      Madden July 2017 Decl.        Marshall believed that if
17
      at Page ID 8125, 8304 ¶       the cases were dismissed
18    2.h, Att. 8, Marshall         with prejudice, it would
19    Depo. (testimony              hurt foreclosure joinder
      authenticating Ex. 53 at      cases generally. Marshall
20
      210:13-211:14); DE 284-       Decl., at ¶ --.
21    8, Theisman Decl. at Page
22    ID 7485, 7537 ¶ 4.h           Foti: DENY - Objections      Undisputed as to Foti.
23    (attaching and                (irrelevant; failure to      The fact is relevant. The
      authenticating Ex. 53); id.   authenticate; hearsay. No    document(s) are genuine
24
      at DE 284-8, Page ID          foundation the documents     and authentic, as
25    7488, DE 284-12, Page         are genuine, who prepared    established by the
26    ID 7903-04 ¶ 4.gggg; DE       them, whether Mr. Foti       evidence the FTC
      284-14, Madden July           ever received, knew about    submitted in support of
27
      2017 Decl. at Page ID         or had anything to do with   the fact. The evidence is
28    8126, 8417-18 ¶ 3, Att.       them.)                       not hearsay as a statement

                                               367
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1     Uncontroverted Fact/      Defendants’ Responses      FTC’s Reply
      Support
2
      15, Marshall’s First                                of a party opponent.
3     RFAs, RFA 57-62                                     Finding documents on a
4     admitted pursuant to                                defendant’s computer or
5     FRCP 36(a)(3) .                                     on-site at the receivership
                                                          defendant’s premises in
6
                                                          fact makes it more likely
7                                                         it was used.
8                                                         For support, Foti cites no
                                                          evidence to controvert the
9
                                                          fact at issue.
10
      318. In numerous emails Marshall: Disputed. Co-     Undisputed as to
11    including Marshall,         defendants might have   Marshall. He does not
12    Advantis was referred to    used these terms        offer any admissible
      as “Advantis” or            interchangeably but the evidence capable of
13
      “Advantis Law.”             ONLY Advantis entity    controverting the fact at
14    DE 284-8, at Page ID        Marshall was aware of   issue, including his self-
15    7487, DE 284-10, DE         was Advantis Law        serving declaration, which
16    284-11, at Page ID 7803- Group—using “Advantis” cannot be used to create a
      7822, Theisman Decl. ¶      or “Advantis Law” as    genuine dispute as to a
17
      4.mmm; DE 218-2,            shorthand.              material fact on summary
18    Madden April 2017 Decl.,                            judgment.
19    at Page ID 6055-57,         Foti: DENY - Not        Undisputed as to Foti.
      6004, 6006, 6007-08         applicable to Mr. Foti
20
      (attaching Exs. 30, 44, 55,
21    and 57); DE 284-14,
22    Madden July 2017 Decl.
23    at Page ID 8125, 8286-
      87, 8289, 8296-97, 8299,
24
      8302, 8308 ¶ 3, Att. 15,
25    Marshall Depo.
26    (testimony authenticating
27
      Exs. 30, 32, 41, 43-44, 51,
      55, 57 at 80:16-18, 81:11-
28
      82:5, 93:18-94:10, 166:2-
                                           368
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      7, 167: 9-17, 172:7-21,
3     178:7-12, 179:1-20,
4     203:25-204:18, 222:4-14,
5     226:24-227:11; DE 284-
      8, Theisman Decl. at Page
6
      ID 7489 ¶ 5; id. at DE
7     284-8, Page ID 7485,
8     7518, 7533-36 ¶¶ 4.a, 4.e,
      4.f, & 4.g.
9
      319. Marshall signed a       Marshall: Dsiputed [sic].      Undisputed as to
10
      payment processing           Marshall did not sign a        Marshall. He does not
11    application for “Advantis    payment processing             offer any admissible
12    Law.”                        application for Advantis       evidence capable of
      DE 284-8, at Page ID         Law, P.C., but for             controverting the fact at
13
      7487, DE 284-11, at Page     Adbvantis Law Group,           issue, including his self-
14    ID 7835-40, Theisman         P.C., which was referred       serving declaration, which
15    Decl. ¶ 4.mmm.               to in short hand as            cannot be used to create a
16                                 Advantis Law.                  genuine dispute as to a
                                   Marshall Decl., at ¶ --.       material fact on summary
17
                                                                  judgment.
18                                 Foti: DENY - Not               Undisputed as to Foti.
19                                 applicable to Mr. Foti
      320. Marshall appeared       Marshall: Disputed.            Undisputed as to
20
      on behalf of and signed      Marshall was never aware       Marshall. He does not
21    the stipulation for the      that Advantis Law, P.C.,       offer any admissible
22    preliminary injunction in    was a separate enity [sic]     evidence capable of
23    this matter on behalf of     that predates Advantis         controverting the fact at
      “Advantis Law Group          Law Group, P.C. Marshall       issue, including his self-
24
      P.C.” and “Advantis Law      appeared solely to state       serving declaration, which
25    P.C.”                        that he had a legal conflict   cannot be used to create a
26    DE 50 at Page ID 2959;       and could not represent        genuine dispute as to a
27
      DE 53 at Page ID 2967-       either entity. Marshall        material fact on summary
      69, DE 53-1 at Page ID       was factually mistaken         judgment.
28
      2972-3005                    about who and what
                                               369
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1     Uncontroverted Fact/       Defendants’ Responses       FTC’s Reply
      Support
2
                                 Advantis Law was
3                                believing it to be an aka
4                                for Advantis Law Group,
5                                P.C.
                                 Marshall Decl., at ¶ --.
6
7                                Foti: DENY - Not            Undisputed as to Foti.
8                                applicable to Mr. Foti
9
      321. Marshall was aware Marshall: Undisputed.          Undisputed as to
      that Torchia and           Marshall learned of         Marshall. He does not
10
      Brookstone were facing     Torchia and Brookstone’s    offer any admissible
11    bar discipline related to  troubles, which is why he   evidence capable of
12    the mass joinder practice. did not associate with      controverting the fact at
      Ex. 30, DE 218-2,          Torchia and why he          issue, including his self-
13
      Madden April 2017 Decl. signed onto Advantis Law       serving declaration, which
14    at Page ID 6055-57, Att.   Group, so that the new      cannot be used to create a
15    15; DE 284-14, Madden      corporate entity could do   genuine dispute as to a
16    July 2017 Decl. at Page    matters right and be Bar    material fact on summary
      ID 8125, 8286-87 ¶ 2.h,    and otherwise legally       judgment.
17
      Att. 8, Marshall Depo.     compliant.
18    (testimony authenticating Marshall Decl., at ¶ --.
19    Ex. 30 at 80:16-18,
      81:11-82:5); DE 284-8,     Foti: DENY - Not            Undisputed as to Foti.
20
      Theisman Decl. at Page     applicable to Mr. Foti
21    ID 7489 ¶ 5; DE 218-2,
22    Madden April 2017 Decl.
23    at Page ID 6061-62,
      Marshall Depo. at 24:6-
24
      25:14, Att. 16.
25    322. Notwithstanding       Marshall: Dsiputed[sic].    Undisputed as to
26    his knowledge of           Marshall decided to not     Marshall. He does not
27
      Torchia’s California State involve himself directly    offer any admissible
      Bar disciplinary issues    with Torchia and            evidence capable of
28
      related to Brookstone’s    Brookstone, deciding to     controverting the fact at
                                            370
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1     Uncontroverted Fact/         Defendants’ Responses      FTC’s Reply
      Support
2
      mass joinder litigations,    create a new entity—       issue, including his self-
3     Marshall did no              Advantis Law Group,        serving declaration, which
4     systematic analysis of the   P.C.                       cannot be used to create a
5     Brookstone mass joinder      Marshall Decl., at ¶ --.   genuine dispute as to a
      cases, undertook no                                     material fact on summary
6
      investigation and did not                               judgment.
7     research the bar
8     complaints against           Foti: DENY - Not           Undisputed as to Foti.
      Torchia at “any kind of      applicable to Mr. Foti
9
      level of detail.”
10    DE 218-2, Madden April
11    2017 Decl. at Page ID
12    6061-62, 6068-69,
      Marshall Depo. at 24:6-
13
      25:14, 146:12-16,
14    196:18-20, Att. 16.
15    323. Marshall was aware      Marshall: Undisputed.      Undisputed as to both
16    of Kutzner’s history,        Marshall was later made    Marshall and Foti.
      including that ULG had       aware.
17
      been shut down by
18    criminal law enforcement.    Foti: DENY - Not
19    DE 218-2, Madden April       applicable to Mr. Foti
      2017 Decl. at Page ID
20
      6074, Marshall Depo. at
21    245:24-246:1-17, Att. 16;
22    DE 13-1, Madden May
23    2016 Decl. at Page ID
      815-16, Att. 36.
24
      324. Marshall claims he      Marshall: No response      Undisputed as to both
25    relied solely on Kutzner’s                              Marshall and Foti.
26    oral representations that    Foti: DENY - Not
27
      the Brookstone/Advantis      applicable to Mr. Foti
      practices were bar
28
      compliant.
                                               371
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1     Uncontroverted Fact/         Defendants’ Responses         FTC’s Reply
      Support
2
      DE 218-2, Madden April
3     2017 Decl. at Page ID
4     6071, 6073, Marshall
5     Depo. at 215:23-216:24;
      244:19-25, Att. 16.
6
      325. Marshall testified      Marshall: Dispute—I           Undisputed as to
7     he never saw any             specifically relied on his    Marshall. He does not
8     documents corroborating      oral representations that a   offer any admissible
9
      Kutzner’s claim that any     specific attorney vetted      evidence capable of
      advertising materials were   same practices—I was not      controverting the fact at
10
      vetted and bar compliant.    relying on Kutzner per        issue, including his self-
11    DE 218-2, Madden April       se—I was relying on the       serving declaration, which
12    2017 Decl. at Page ID        attorney he indicated had     cannot be used to create a
      6074, Marshall Depo. at      done the due diligence.       genuine dispute as to a
13
      247:10-248:5, Att. 16.       Clearly I would not rely      material fact on summary
14                                 on Kutzner for this due       judgment.
15                                 diligence—as he is not an
16                                 attorney and thus would
                                   not clearly know all the
17
                                   rules himself.
18
19                                 Foti: DENY - Not              Undisputed as to Foti.
                                   applicable to Mr. Foti
20
      326. Marshall testified      Marshall: True.               Undisputed as to both
21    that at no time did he do                                  Marshall and Foti.
22    “an independent              Foti: DENY - Not
23    corroboration” of what       applicable to Mr. Foti
      Kutzner told him.
24
      DE 218-2, Madden April
25    2017 Decl. at Page ID
26    6077, Marshall Depo. at
27
      261:3-9, Att. 16.
      327. Marshall relied         Marshall: True.               Undisputed as to both
28
      exclusively on the word                                    Marshall and Foti.
                                              372
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1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      of Kutzner, a non-lawyer       Foti: DENY - Not
3     with a checkered history,      applicable to Mr. Foti
4     as conclusively
5     establishing the legality of
      the business practices.
6
      DE 218-2, Madden April
7     2017 Decl. at Page ID
8     6074, Marshall Depo. at
      247:10-248:5, Att. 16.
9
      328. Marshall was aware        Marshall: See 324            Undisputed as to
10
      of Broderick’s past            again—dispute and            Marshall. He does not
11    involving another alleged      reference that language.     offer any admissible
12    mass joinder fraud as of                                    evidence capable of
      early March 2015,                                           controverting the fact at
13
      communicating with Foti                                     issue, including his self-
14    and Kutzner regarding the                                   serving declaration, which
15    Federal District Court                                      cannot be used to create a
16    actions of the Florida and                                  genuine dispute as to a
      Connecticut Attorneys                                       material fact on summary
17
      General.                                                    judgment.
18    Ex. 35, DE 218-2,
19    Madden April 2017 Decl.        Foti: DENY - Objections      Undisputed as to Foti.
      at Page ID 6013-52, Att.       (irrelevant; failure to      The fact is relevant. The
20
      13; DE 284-14, Madden          authenticate; hearsay. No    document(s) are genuine
21    July 2017 Decl. at Page        foundation the documents     and authentic, as
22    ID 8125, 8291 ¶ 2.h, Att.      are genuine, who prepared    established by the
23    8, Marshall Depo.              them, whether Mr. Foti       evidence the FTC
      (testimony authenticating      ever received, knew about    submitted in support of
24
      Ex. 35 at 101:19-102:18);      or had anything to do with   the fact. The evidence is
25    DE 284-8, Theisman             them.)                       not hearsay as a statement
26    Decl. at Page ID 7489 ¶                                     of a party opponent.
27
      5; DE 218-2 at Page ID                                      Finding documents on a
      6067, Marshall Depo. at                                     defendant’s computer or
28
      101:21-103:7; Ex. 36; DE                                    on-site at the receivership
                                                373
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1     Uncontroverted Fact/         Defendants’ Responses        FTC’s Reply
      Support
2
      284-14, Madden July                                       defendant’s premises in
3     2017 Decl. at Page ID                                     fact makes it more likely
4     8125, 8293 ¶ 2.h, Att. 8,                                 it was used.
5     Marshall Depo.                                            For support, Foti cites no
      (testimony authenticating                                 evidence to controvert the
6
      Ex. 36 at 121:16-122:7);                                  fact at issue.
7     DE 284-8, Theisman
8     Decl. at Page ID 7485,
      7527-28 ¶ 4.c.
9
      329. The Federal District    Marshall: This Defendant     Undisputed as to
10
      Court actions of the         does not have any            Marshall. He does not
11    Florida and Connecticut      personal knowledge of        offer any admissible
12    Attorneys General against    these actions and on that    evidence capable of
      Broderick involved a         basis can neither dispute    controverting the fact at
13
      mass joinder litigation      nor declare this fact as     issue.
14    scheme by a purported        undisputed.
15    law firm using advertising
16    tactics like those used by   Foti: DENY - Objections      Undisputed as to Foti.
      Brookstone and Advantis.     (irrelevant; failure to      The fact is relevant. The
17
      Ex. 35, DE 218-2,            authenticate; hearsay. No    document(s) are genuine
18    Madden April 2017 Decl.      foundation the documents     and authentic, as
19    at Page ID 60134, 6015-      are genuine, who prepared    established by the
      17, Att. 13 at ¶¶ 3, 7-11;   them, whether Mr. Foti       evidence the FTC
20
      DE 284-14, Madden July       ever received, knew about    submitted in support of
21    2017 Decl. at Page ID        or had anything to do with   the fact. The evidence is
22    8125, 8291 ¶ 2.h, Att. 8,    them.)                       not hearsay as a public
23    Marshall Depo.                                            record. Finding
      (testimony authenticating                                 documents on a
24
      Ex. 35 at 101:19-102:18);                                 defendant’s computer or
25    DE 284-8, Theisman                                        on-site at the receivership
26    Decl. at Page ID 7489 ¶                                   defendant’s premises in
27
      5.                                                        fact makes it more likely
                                                                it was used.
28
                                                                For support, Foti cites no
                                              374
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
                                                               evidence to controvert the
3                                                              fact at issue.
4     330. The Federal District   Marshall: This Defendant     Undisputed as to
5     Court Complaints filed by   does not have any            Marshall. He does not
      the Florida and             personal knowledge of        offer any admissible
6
      Connecticut Attorneys       these actions and on that    evidence capable of
7     General identify            basis can neither dispute    controverting the fact at
8     Broderick as the “front     nor declare this fact as     issue.
9
      man” for the mass joinder   undisputed.
      litigation scheme.
10
      Ex. 35, DE 218-2,           Foti: DENY - Objections      Undisputed as to Foti.
11    Madden April 2017 Decl.     (irrelevant; failure to      The fact is relevant. The
12    at Page ID 6021, Att. 13    authenticate; hearsay. No    document(s) are genuine
      at ¶ 31; DE 284-14,         foundation the documents     and authentic, as
13
      Madden July 2017 Decl.      are genuine, who prepared    established by the
14    at Page ID 8125, 8291 ¶     them, whether Mr. Foti       evidence the FTC
15    2.h, Att. 8, Marshall       ever received, knew about    submitted in support of
16    Depo. (testimony            or had anything to do with   the fact. The evidence is
      authenticating Ex. 35 at    them.)                       not hearsay as a public
17
      101:19-102:18); DE 284-                                  record. Finding
18    8, Theisman Decl. at Page                                documents on a
19    ID 7489 ¶ 5.                                             defendant’s computer or
                                                               on-site at the receivership
20
                                                               defendant’s premises in
21                                                             fact makes it more likely
22                                                             it was used.
23                                                             For support, Foti cites no
                                                               evidence to controvert the
24
                                                               fact at issue.
25    331. Marshall               Marshall: Undisputed.        Undisputed as to
26    acknowledges                But this is exactly why      Marshall.
27
      analyzing/investigating     Marshall would not go
      the Florida and             under the Brookstone
28
      Connecticut Attorneys       umbrella, but insisted on
                                             375
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      General action against      having a new corporate
3     Broderick and tells         vehicle to file the cases
4     Kutzner and Foti the        using due diligence.
5     “results are quite          Marshall Decl., at ¶ 46.
      unfavorable.”
6
      Ex. 36; DE 284-14,          Foti: DENY - Objections      Undisputed as to Foti.
7     Madden July 2017 Decl.      (irrelevant; failure to      The fact is relevant. The
8     at Page ID 8125, 8293 ¶     authenticate; hearsay. No    document(s) are genuine
      2.h, Att. 8, Marshall       foundation the documents     and authentic, as
9
      Depo. at 127:20-129:3       are genuine, who prepared    established by the
10    (testimony authenticating   them, whether Mr. Foti       evidence the FTC
11    Ex. 36 at 121:16-122:7);    ever received, knew about    submitted in support of
12    DE 284-8, Theisman          or had anything to do with   the fact. The evidence is
      Decl. at Page ID 7485,      them.)                       not hearsay as a statement
13
      7527-28 ¶ 4.c.                                           of a party opponent.
14                                                             Finding documents on a
15                                                             defendant’s computer or
16
                                                               on-site at the receivership
                                                               defendant’s premises in
17
                                                               fact makes it more likely
18                                                             it was used.
19                                                             For support, Foti cites no
                                                               evidence to controvert the
20
                                                               fact at issue.
21    332. In one email related   Marshall: Undisputed.        Undisputed as to
22    to Broderick’s past         But this is exactly why      Marshall. He does not
23    involving another alleged   Marshall would not go        offer any admissible
      mass joinder fraud,         under the Brookstone         evidence capable of
24
      Marshall stated:            umbrella, but insisted on    controverting the fact at
25    “misgivings, given the      having a new corporate       issue.
26    situation with              vehicle to file the cases
27
      Brookstone” and that        using due diligence.
      Brookstone’s and            Marshall Decl., at ¶ 46.
28
      Broderick’s history was
                                              376
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1     Uncontroverted Fact/           Defendants’ Responses        FTC’s Reply
      Support
2
      creating “a lot of liability   Foti: DENY - Objections      Undisputed as to Foti.
3     for me,” he wanted to          (irrelevant; failure to      The fact is relevant. The
4     continue because “[a]t the     authenticate; hearsay. No    document(s) are genuine
5     end of the day, though,        foundation the documents     and authentic, as
      we are in complete             are genuine, who prepared    established by the
6
      agreement that this is         them, whether Mr. Foti       evidence the FTC
7     fundamentally a business       ever received, knew about    submitted in support of
8     decision. So I am moving       or had anything to do with   the fact. The evidence is
      forward in that light. The     them.)                       not hearsay as a statement
9
      business prospect still                                     of a party opponent.
10    looks quite good.”                                          Finding documents on a
11    Ex. 37, DE 218-2,                                           defendant’s computer or
12    Madden April 2017 Decl.                                     on-site at the receivership
      at Page ID 6053, Att. 14;                                   defendant’s premises in
13
      DE 284-14, Madden July                                      fact makes it more likely
14    2017 Decl. at Page ID                                       it was used.
15    8125, 8295 ¶ 2.h, Att. 8,                                   For support, Foti cites no
16
      Marshall Depo.                                              evidence to controvert the
      (testimony authenticating                                   fact at issue.
17
      Ex. 37 at 129:11-130:10);
18    DE 284-8, Theisman
19    Decl. at Page ID 7489 ¶
      5.
20
      333. Marshall knew that        Marshall: Disputed.          Undisputed as to
21    Advantis misrepresented        Marshall’s going forward     Marshall. He does not
22    its capabilities, telling      was based upon BOTH a        offer any admissible
23    Foti that Advantis was not     perception of sound          evidence capable of
      a “group of attorneys” as      business and legal           controverting the fact at
24
      Foti was representing, but     principles.                  issue, including his self-
25    that Marshall was the          Marshall Decl., ¶ 47.        serving declaration, which
26    “only attorney moving                                       cannot be used to create a
27
      forward.”                                                   genuine dispute as to a
      Ex. 37, DE 218-2,                                           material fact on summary
28
      Madden April 2017 Decl.                                     judgment.
                                                377
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1     Uncontroverted Fact/        Defendants’ Responses        FTC’s Reply
      Support
2
      Page ID 6053, Att. 14;
3     DE 284-14, Madden July      Foti: DENY - Objections      Undisputed as to Foti.
4     2017 Decl. at Page ID       (irrelevant; failure to      The fact is relevant. The
5     8125, 8295 ¶ 2.h, Att. 8,   authenticate; hearsay. No    document(s) are genuine
      Marshall Depo.              foundation the documents     and authentic, as
6
      (testimony authenticating   are genuine, who prepared    established by the
7     Ex. 37 at 129:11-130:10);   them, whether Mr. Foti       evidence the FTC
8     DE 284-8, Theisman          ever received, knew about    submitted in support of
      Decl. at Page ID 7489 ¶     or had anything to do with   the fact. The evidence is
9
      5.                          them.)                       not hearsay as a statement
10                                                             of a party opponent.
11                                                             Finding documents on a
12                                                             defendant’s computer or
                                                               on-site at the receivership
13
                                                               defendant’s premises in
14                                                             fact makes it more likely
15                                                             it was used.
16
                                                               For support, Foti cites no
                                                               evidence to controvert the
17
                                                               fact at issue.
18    334. Marshall knew          Marshall: Disputed.          Undisputed as to
19    about multiple              Marshall did not have        Marshall. He does not
      misrepresentations on the   knowledge of the content     offer any admissible
20
      Advantis website            of the website; he rarely,   evidence capable of
21    regarding its experience,   if ever, viewed the          controverting the fact at
22    locations, areas of         content.                     issue, including his self-
23    practice, attorneys,        Marshall Decl., at ¶ 48.     serving declaration, which
      paralegals, and legal                                    cannot be used to create a
24
      assistants.                                              genuine dispute as to a
25    DE 218-2, Madden April                                   material fact on summary
26    2017 Decl. at Page ID                                    judgment.
27
      6073, Marshall Depo. at
      241:1-244:11; Ex. 61, DE    Foti: DENY - Not             Undisputed as to Foti.
28
      14-4, Gales Decl., at       applicable to Mr. Foti
                                             378
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1     Uncontroverted Fact/           Defendants’ Responses      FTC’s Reply
      Support
2
      Page ID 1367-76, Att. 18;
3     DE 284-14, Madden July
4     2017 Decl. at Page ID
5     8126, 8415-16 ¶ 3, Att.
      15, Marshall’s First
6
      RFAs, RFAs 13-27
7     admitted pursuant to
8     FRCP 36(a)(3).
9
      335. The FTC sought            Marshall: Unidsputed.      Undisputed as to both
      discovery regarding any        While it is true Marshall  Marshall and Foti.
10
      defenses Marshall might        has not provided initial
11    assert, issuing                disclosures and other
12    interrogatories requiring      responses to discovery, he
      him to: (1) identify any       attempted several times
13
      defenses he might assert       (two at least formally)
14    and further identify all       with the Court—which
15    individuals, entities, and     were rejected—when he
16    documents that might           attempted to file a formal
      support those defenses;        amended answer,
17
      and (2) identify all           withdrawing his Fifth
18    individuals or entities that   Amendment plea, and
19    have information               associated motion to
      suggesting that any            amend answer identifying
20
      Defendant was not liable       both defenses and
21    for the alleged conduct        affirmative defenses.
22    and for each individual or     Marshall Decl., at ¶ --.
23    entity, state the factual
      information they possess       Foti: DENY - Not
24
      that relate to any of the      applicable to Mr. Foti
25    claims in the complaint.
26    In his March 13, 2017
27
      response, Marshall did not
      substantively respond, but
28
      stated a response would
                                                379
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1     Uncontroverted Fact/           Defendants’ Responses      FTC’s Reply
      Support
2
      be provided at a later date.
3     To date Marshall has not
4     provided any additional
5     response. In addition,
      Marshall has not provided
6
      initial disclosures as
7     required by FRCP
8     26(a)(1).
      DE 284-14, Madden July
9
      2017 Decl. at Page ID
10    8126-28, 8423-26 ¶¶ 4-6,
11    Att. 16 (excerpt of
12    Marshall First Int. Resp.,
      Int. Nos. 7-8 identifying
13
      no defenses and
14    identifying no entities or
15    individuals with
16
      information suggesting
      any Defendant is not
17
      liable).
18    336. The FTC sought            Marshall: Unidsputed.      Undisputed as to both
19    discovery requesting all       While it is true Marshall  Marshall and Foti.
      documents supporting           has not provided initial
20
      Marshall’s response to         disclosures and other
21    any interrogatory,             responses to discovery, he
22    including those                attempted several times
23    interrogatories requiring      (two at least formally)
      him to: (1) identify any       with the Court—which
24
      defenses he might assert       were rejected—when he
25    and further identify all       attempted to file a formal
26    individuals, entities, and     amended answer,
27
      documents that might           withdrawing his Fifth
      support those defenses;        Amendment plea, and
28
      and (2) identify all           associated motion to
                                               380
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1     Uncontroverted Fact/           Defendants’ Responses      FTC’s Reply
      Support
2
      individuals or entities that   amend answer identifying
3     have information               both defenses and
4     suggesting that any            affirmative defenses.
5     Defendant was not liable       Marshall Decl., at ¶ --.
      for the alleged conduct
6
      and for each individual or     Foti: DENY - Not
7     entity, state the factual      applicable to Mr. Foti
8     information they possess
      that relate to any of the
9
      claims in the complaint.
10    In his March 13, 2017
11    response, Marshall did not
12    substantively respond, but
      stated a response would
13
      be provided at a later date.
14    To date Marshall has not
15    provided any additional
16
      response.
      DE 284-14, at Page ID
17
      8126-28, 8423-26, DE
18    284-15, at Page ID 8432-
19    33, Madden July 2017
      Decl. ¶¶ 4-5, Att. 16
20
      (excerpt of Marshall First
21    Int. Resp., Int. Nos. 7-8
22    identifying no defenses
23    and identifying no entities
      or individuals with
24
      information suggesting
25    any Defendant is not
26    liable), Att. 17 (excerpts
      of Marshall First RFP
27
      Resp., RFP No. 2.)
28
      337. The FTC sought            Marshall: Unidsputed.      Undisputed as to both
                                                381
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1     Uncontroverted Fact/          Defendants’ Responses      FTC’s Reply
      Support
2
      discovery from Marshall       While it is true Marshall  Marshall and Foti
3     requesting all documents      has not provided initial
4     supporting or tending to      disclosures and other
5     disprove that Corporate       responses to discovery, he
      Defendants: (1) were          attempted several times
6
      likely to obtain relief for   (two at least formally)
7     consumers; (2) would          with the Court—which
8     seek to void consumers’       were rejected—when he
      mortgages; (3) had a team     attempted to file a formal
9
      of experienced lawyers        amended answer,
10    and personnel to litigate     withdrawing his Fifth
11    mass joinder fraud cases      Amendment plea, and
12    for hundreds or thousands     associated motion to
      of clients; and (4) would     amend answer identifying
13
      file a lawsuit on behalf of   both defenses and
14    each mass joinder client.     affirmative defenses.
15    Marshall has produced no      Marshall Decl., at ¶ --.
16
      documents in response to      Foti: DENY - Not
      these requests.               applicable to Mr. Foti
17
      DE 284-14, at Page ID
18    8127-28, DE 284-15, at
19    Page ID 8434-42,
      Madden July 2017 Decl.
20
      at ¶ 5, Att. Att. 17,
21    (excerpts of Marshall
22    First RFP Resp., RFP
23    Nos. 10-17.)

24    Foti’s Past Involves Telemarketing, Debt Settlement, and Attempts to Hide
      His Ownership of Companies.
25
      338. In 2006, Foti was        Marshall: This Defendant Undisputed as to both
26
      President and owned and       cannot state with any       Marshall and Foti
27    operated a mortgage           certainty whether this fact
28    brokerage called              is disputed or not because
      Americor Lending Group        it predates this
                                                 382
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1     Uncontroverted Fact/       Defendants’ Responses         FTC’s Reply
      Support
2
      Inc. (“Americor”).         Defendant’s involvement
3     DE 78-1, Foti July 2016    with Advantis Law
4     Decl. at Page ID 3540, ¶   Group, P.C., and/or
5     16.                        individual codefendants.

6
                                 Foti: ADMIT - Objection
7                                (irrelevant)
8                                Foti Declaration ¶ 4 (re:
                                 Americor.)
9
      339. For acts that took    Marshall: This Defendant      Undisputed as to
10
      place while Foti was an    cannot state with any         Marshall. He does not
11    owner and President,       certainty whether this fact   offer any admissible
12    Americor was sanctioned    is disputed or not because    evidence capable of
      by the State of            it predates this              controverting the fact at
13
      Washington for alleged     Defendant’s involvement       issue.
14    unlawful lending           with Advantis Law
15    practices.                 Group, P.C., and/or
16    DE 69-2 at Page ID         individual codefendants.
      3249-52; DE 78-1, Foti
17
      July 2016 Decl. at Page    Foti: DENY - Objections       Undisputed as to Foti.
18    ID 3540-41, ¶¶ 16-21.      (Irrelevant; misstates the    The fact is relevant. He
19                               terms of the Order)           cites no evidence to
                                 Foti Declaration ¶ 5 and      controvert the fact at
20
                                 6 (re: Americor); DE 69-2     issue.
21                               at Page ID 3249-52
22                               (Americor was sanctioned
23                               for, in some instances,
                                 failing to maintain
24
                                 records, failing to
25                               disclose that the broker
26                               fee had increased from
27
                                 the date of the last Good
                                 Faith Estimate to the date
28
                                 of settlement; (3) failing
                                            383
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
                                to disclosue the yield
3                               spread premium before
4                               settlement, (4) failing to
5                               pay a late fee for its 2006
                                annual report, and (5)
6
                                failing to submit its 2007
7                               annual report and annual
8                               assessment fee. These
                                were technical violations
9
                                discovered in an annual
10                              audit of a company that
11                              was winding down its
12                              business activities in the
                                State of Washingtomn as
13
                                the mortgage boom had
14                              ended. There were no
15                              allegations of any
16
                                misrepresentations in the
                                marketing of any loans or
17
                                any other violations
18                              relating to alleged
19                              deception. Order makes
                                clear that subsequent
20
                                violations will incur
21                              additional penalties, but
22                              no evidence of any
23                              subsequent violations.)

24
      340. For acts that took   Marshall: This Defendant      Undisputed as to
25    place while Foti was an   cannot state with any         Marshall. He does not
26    owner and operator,       certainty whether this fact   offer any admissible
27
      Americor received a       is disputed or not because    evidence capable of
      “citation” from the       it predates this              controverting the fact at
28
      Federal Communications    Defendant’s involvement       issue.
                                           384
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      Commission for alleged      with Advantis Law
3     unlawful telemarketing      Group, P.C., and/or
4     practices.                  individual codefendants.
5     DE 284-14, Madden July
      2017 Decl. at Page ID       Foti: DENY - Objections       Undisputed as to Foti.
6
      8125, 8314-16 ¶ 2.i, Att.   (irrelevant - no evidence     The fact is relevant. He
7     9, CITATION, File No.       Americor "received" the       cites no evidence to
8     EB-07-TC-821, Letter to     citation; no allegations of   controvert the fact at
      Messrs Foti, McIlwain,      any telemarketing             issue.
9
      Bottom, Americor            violations in this action;
10    Lending Group, Inc., from   "Citation" against
11    Kurt Schroeder, Deputy      Americor imposed no fine
12    Chief,                      and provides little
      Telecommunications          indication regarding the
13
      Consumers Division,         nature of the conduct that
14    Enforcement Bureau,         is the subject of the
15    Federal Communications      claimed violation, apart
16
      Commission (March 9,        from contacting phone
      2007).                      numbers without "prior
17
                                  express consent," which is
18                                not involved in this
19                                action. Citation makes
                                  clear that subsequent
20
                                  violations will incur fines
21                                of $11,000 per violation,
22                                but no evidence of any
23                                subsequent violations.)
                                  Foti Decl. ¶7 (re:
24
                                  Americor/FCC)
25    341. Foti provided          Marshall: This Defendant      Undisputed as to
26    consulting services, office cannot state with any         Marshall. He does not
27
      space, and capital to a     certainty whether this fact   offer any admissible
      firm known as Morgan        is disputed or not because    evidence capable of
28
      Drexen, Inc. (“Morgan       it predates this              controverting the fact at
                                             385
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1     Uncontroverted Fact/        Defendants’ Responses         FTC’s Reply
      Support
2
      Drexen”), which was in      Defendant’s involvement       issue.
3     the debt settlement         with Advantis Law
4     business.                   Group, P.C., and/or
5     DE 284-13, Theisman         individual codefendants.
      Decl. at Page ID 8050-51
6
      ¶ 15, Att. 12, Foti Depo.   Foti: DENY - Objection        Undisputed as to Foti.
7     at 24:15-25:15, 26:3-5.     (irrelevant; misstates the    The fact is relevant. He
8                                 evidence)                     cites no evidence to
                                  Foti Decl ¶ 9 (re: Morgan     controvert the fact at
9
                                  Drexen)                       issue.
10
      342. Foti owned and         Marshall: This Defendant      Undisputed as to
11    operated Kirkland Green,    cannot state with any         Marshall. He does not
12    a debt settlement           certainty whether this fact   offer any admissible
      business.                   is disputed or not because    evidence capable of
13
      DE 284-13, Theisman         it predates this              controverting the fact at
14    Decl. at Page ID 8050-51    Defendant’s involvement       issue.
15    ¶ 15, Att. 12, Foti Depo.   with Advantis Law
16    at 22:24-23:3, 26:14-17.    Group, P.C., and/or
                                  individual codefendants.
17
18                            Foti: ADMIT - Objection           Undisputed as to Foti.
19                            (irrelevant - no evidence
                              of any violations by
20
                              Kirkland Green).
21                            Foti Decl ¶ 8 re: KLG (3
22                            complaints out of 6,900
23                            clients)
      343. Kirkland Green has Marshall: This Defendant          Undisputed as to
24
      generated consumer      cannot state with any             Marshall. He does not
25    complaints.             certainty whether this fact       offer any admissible
26    DE 284-8, Theisman      is disputed or not because        evidence capable of
27
      Decl. at Page ID 7491 ¶ it predates this                  controverting the fact at
      14 (attaching consumer  Defendant’s involvement           issue.
28
      complaints submitted to with Advantis Law
                                             386
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1     Uncontroverted Fact/      Defendants’ Responses         FTC’s Reply
      Support
2
      the FTC).                 Group, P.C., and/or
3                               individual codefendants.
4
5                               Foti: ADMIT - Objection       Undisputed as to Foti.
                                (irrelevant - only three
6
                                consumer complaints
7                               regarding client's
8                               purported inability to
                                reach company - one
9
                                made to the CFPB, one to
10                              the BBB and one to the
11                              FTC. The FTC has
12                              initiated no investigations
                                or enforcement actions
13
                                based on any consumer
14                              complaints against
15                              Kirkland Green or Mr.
16
                                Foti while it was in
                                business.
17
                                Foti Decl ¶ 8 re: KLG (3
18                              complaints out of 6,900
19                              clients)
      344. In his debt          Marshall: This Defendant      Undisputed as to
20
      settlement business, Foti cannot state with any         Marshall. He does not
21    interceded to reduce      certainty whether this fact   offer any admissible
22    attorney supervision of   is disputed or not because    evidence capable of
23    salespersons’ telephone   it predates this              controverting the fact at
      calls because the attorneyDefendant’s involvement       issue.
24
      was admonishing sales     with Advantis Law
25    staff not to make         Group, P.C., and/or
26    guarantees.               individual codefendants.
27
      DE 284-8, at Page ID
      7487, DE 284-10, at Page Foti: DENY - Objections        Undisputed as to Foti.
28
      ID 7794-96, Theisman       (irrelevant; failure to      The fact is relevant. The
                                           387
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1     Uncontroverted Fact/      Defendants’ Responses        FTC’s Reply
      Support
2
      Decl. ¶ 4.eee.            authenticate; hearsay;      document(s) are genuine
3                               misstates the evidence.     and authentic, as
4                               No foundation the           established by the
5                               documents are genuine,      evidence the FTC
                                who prepared them,          submitted in support of
6
                                whether Mr. Foti ever       the fact for this paragraph.
7                               received, knew about or     The evidence is not
8                               had anything to do with     hearsay because it is an
                                them.)                      opposing party’s
9
                                Foti Decl. ¶ 87             statement. Finding
10                                                          documents on a
11                                                          receivership computer
12                                                          from the defendant’s
                                                            office or from the
13
                                                            defendants’ premises
14                                                          taken over by the
15                                                          receivership in fact makes
16
                                                            it more likely it was used.
                                                                   In response, Foti
17
                                                            cites only his self-serving
18                                                          declaration, which cannot
19                                                          controvert a fact on
                                                            summary judgment, and
20
                                                            the cited reference to the
21                                                          Foti Decl. does not
22                                                          address the fact at issue.
23    345. Foti makes use of    Marshall: This Defendant Undisputed as to
      “shelf companies” with    cannot state with any       Marshall. He does not
24
      “nominee services,”       certainty whether this fact offer any admissible
25    allowing him to own       is disputed or not because evidence capable of
26    companies while hiding    it predates this            controverting the fact at
27
      his ownership from the    Defendant’s involvement issue.
      public.                   with Advantis Law
28
      DE 284-13, Theisman       Group, P.C., and/or
                                           388
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1     Uncontroverted Fact/         Defendants’ Responses          FTC’s Reply
      Support
2
      Decl. at Page ID 8074 ¶      individual codefendants.
3     15, Att. 12, Foti Depo. at
4     153:23-154:10, 156:3-9.      Foti: ADMIT - Objection        Undisputed as to Foti.
5                                  (irrelevant)
                                   Foti Decl.¶ 91
6
      346. The Corporate           Marshall: This Defendant       Undisputed as to
7     Defendants paid more         lacks the knowledge or         Marshall. He does not
8     than $1.5 million to         information and belief to      offer any admissible
9
      Webstar, a shelf company     dispute or declare this fact   evidence capable of
      owned and controlled by      undisputed.                    controverting the fact at
10
      Foti.                                                       issue.
11    DE 14-6 at Page ID 1436,
12    1438, Declaration of Emil    Foti: DENY - Objection         Undisputed as to Foti.
      George, May 17, 2016         (irrelevant; misstates the     The fact is relevant. He
13
      (“May 17 George Decl.”)      evidence)                      cites no evidence to
14    at ¶ 10, Att. B.             Foti Decl. ¶ 73 re:            controvert the fact at
15                                 Webstar                        issue.
16    347. Foti never told         Marshall: This Defendant       Undisputed as to
      Torchia, Brookstone’s        lacks the knowledge or         Marshall. He does not
17
      purported owner, that he     information and belief to      offer any admissible
18    owned and controlled         dispute or declare this fact   evidence capable of
19    Webstar.                     undisputed.                    controverting the fact at
      DE 186-4, Torchia Decl.,                                    issue.
20
      at Page ID 5381, ¶ 27.       Foti: DENY - Objection         Undisputed as to Foti.
21                                 (irrelevant; Misstates the     The fact is relevant.
22                                 evidence)                             Foti’s cited
23                                 Thurman Decl.,                 evidence does not
                                   Attachment 61 (Webstar         controvert the fact at
24
                                   Advertising/Marketing          issue. The agreement he
25                                 Agreement signed by Mr.        cites to does not identify
26                                 Torchia on 12/7/10);           Foti by name or address.
27
                                                                  He admitted he did not
                                                                  tell Vito Torchia he
28
                                                                  owned Webstar. DE 284-
                                               389
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1     Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
      Support
2
                                                               8 at Page ID 7512.
3     348. Foti’s agreement       Marshall: This Defendant Undisputed as to
4     with Brookstone included lacks the knowledge or          Marshall. He does not
5     a “confidentiality” clause information and belief to offer any admissible
      preventing Brookstone       dispute or declare this fact evidence capable of
6
      from publicly disclosing    undisputed.                  controverting the fact at
7     his involvement.                                         issue.
8     DE 78-1, Foti July 2016     Foti: ADMIT                  Undisputed as to Foti.
9
      Decl., at Page ID 3547, ¶ Foti Decl ¶ 12
      7, Ex. A.                   (confidentiality clause)
10
      349. On June 6, 2016,       Marshall: This Defendant Undisputed as to
11    Foti left a voice mail with cannot state with any        Marshall. He does not
12    FTC Counsel Benjamin        certainty whether this fact offer any admissible
      Theisman, stating he was is disputed or not because evidence capable of
13
      with a mortgage company it predates this                 controverting the fact at
14    that subleased from         Defendant’s involvement issue.
15    Advantis and claiming to with Advantis Law
16    be making the call on       Group, P.C., and/or
      behalf of the mortgage      individual codefendants.
17
      company rather than
18    himself or any of the       Foti: ADMIT                  Undisputed as to Foti.
19    defendants.                 Foti Decl ¶ 88, 89, and 90
      DE 284-13, Theisman
20
      Decl. at Page ID 8033-37
21    ¶ 13, Att. 10.
22
      Marshall Has a History of MARS Fraud.
23
      350. In October 2011,         Marshall: Disputed. The       Undisputed as to
24    Marshall stipulated to        stipulation with the          Marshall. He does not
25    findings that he violated     California State Bar does     offer any admissible
26
      his ethical duties to five    not reference violations of   evidence capable of
      different sets of clients     MARS or any other FTC         controverting the fact at
27
      related to short sale and     rule.                         issue, including his self-
28    loan modification             Marshall Decl., at ¶ 53.      serving declaration, which
      representation, taking fees                                 cannot be used to create a
                                               390
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1     Uncontroverted Fact/          Defendants’ Responses         FTC’s Reply
      Support
2
      for work that he then did                                   genuine dispute as to a
3     not perform.                                                material fact on summary
4     DE 16-2, Kennedy Decl.                                      judgment.
5     Page ID 1691-96, Att. 3.E
      (In the Matter of: Charles    Foti: No response             Undisputed as to Foti.
6
      Thomas Marshall, State
7     Bar Court of California,
8     Case Nos. 10-O-07313,
      10-O-10279. 10-O-10779,
9
      10-O-10781, 11-O-
10    16059).
11    351. In December 2013,        Marshall: Disputed. The       Undisputed as to
12    Marshall stipulated to        stipulation with the          Marshall. He does not
      findings that he violated     California State Bar does     offer any admissible
13
      his ethical duties by         not reference violations of   evidence capable of
14    taking advance fees for a     MARS or any other FTC         controverting the fact at
15    loan modification.            rule.                         issue, including his self-
16    DE 16-1, Kennedy Decl.                                      serving declaration, which
      at Page ID 1662-67, Att.                                    cannot be used to create a
17
      3.C, ¶¶ 7,14 (In the                                        genuine dispute as to a
18    Matter of: Charles                                          material fact on summary
19    Thomas Marshall, State                                      judgment.
      Bar Court of California,
20
      Case No. 12-O-17880.)         Foti: No response             Undisputed as to Foti.
21    352. In the December          Marshall: Undisputed.         Undisputed as to both
22    2013 stipulated findings,     But in fact his statement     Marshall and Foti.
23    Marshall admits that he       to the Bar prior to
      told the client he would      ultimately signing the
24
      pursue litigation to obtain   stipulation makes clear
25    mortgage relief, but then     that he had cooperation
26    did not pursue litigation.    problems with his clients,
27
      DE 16-1, Kennedy Decl.        which resulted in no
      Page ID 1662-67, Att. 3.C     lawsuit being filed.
28
      at ¶¶ 5, 13 (In the Matter    Marshall Decl., at ¶ 55.
                                               391
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1     Uncontroverted Fact/          Defendants’ Responses        FTC’s Reply
      Support
2
      of: Charles Thomas
3     Marshall, State Bar Court     Foti: No response
4     of California, Case No.
5     12-O-17880).
      353. In June 2015             Marshall: Undisputed.        Undisputed as to both
6
      Marshall stipulated to        But in fact his statement    Marshall and Foti.
7     findings that he violated     to the Bar prior to
8     his ethical duties by         ultimately signing the
9
      taking advance fees for a     stipulation makes clear
      loan modification.            that he had cooperation
10
      DE 16-1, Kennedy Decl.        problems with his clients,
11    Page ID 1676-81, Att. 3.D     which resulted in no
12    at ¶¶ 3, 9 (In the Matter     lawsuit being filed.
      of: Charles Thomas            Marshall Decl., at ¶ 55.
13
      Marshall, State Bar Court
14    of California, Case No.       Foti: No response
15    14-O-04274).
16    354. In the June 2015         Marshall: Undisputed.        Undisputed as to both
      stipulated findings,          But in fact his statement    Marshall and Foti.
17
      Marshall admits that he       to the Bar prior to
18    told the client he would      ultimately signing the
19    pursue litigation to obtain   stipulation makes clear
      mortgage relief, but then     that he had cooperation
20
      did not pursue litigation.    problems with his clients,
21    DE 16-1, Kennedy Decl.        which resulted in no
22    Page ID 1676-81, Att. 3.D     lawsuit being filed.
23    at ¶¶ 6, 8 (In the Matter     Marshall Decl., at ¶ 55.
      of: Charles Thomas
24
      Marshall, State Bar Court     Foti: No response
25    of California, Case No.
26    14-O-04274).
27
28                                  CONCLUSIONS OF LAW

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1           The FTC notes that neither Foti nor Marshall responded to the FTC’s
2     Conclusions of Law. Additionally, Marshall included the FTC’s Conclusions of
3     Law in his own separate statement, as if they were his own. Marshall’s lawyer also
4     signed his separate statement as an attorney for the Federal Trade Commission.
5     The Conclusions of Law below are as originally submitted:
6     1.    This Court has jurisdiction over the subject matter and the parties pursuant
7     to 28 U.S.C. §§ 1331, 1337(a), and 1345; 15 U.S.C. §§ 45(a), 53(b), 57b, 6102(c),
8     and 6105(b); and Section 626 of the Omnibus Act, as clarified by Section 511 of
9     the Credit Card Act, and amended by Section 1097 of the Dodd-Frank Act, 12
10    U.S.C. § 5538.
11    2.    Venue is proper as to all parties in this district under 28 U.S.C. §§
12    1391(b)(1), (b)(2), (c)(1), (c)(2), and (d), and 15 U.S.C. § 53(b).
13    3.    Defendant’s activities are in or affecting commerce, as defined in Section 4
14    of the FTC Act, 15 U.S.C. § 44.
15    4.    The Complaint states a claim upon which relief may be granted pursuant to
16    Section 13 of the FTC Act, 15 U.S.C. §§ 53 and 57b, and Section 626 of the
17    Omnibus Act.
18    5.    Defendants Brookstone Law P.C. (California), Brookstone Law P.C.
19    (Nevada), Advantis Law P.C., and Advantis Law Group P.C. (the “Corporate
20    Defendants”), violated Section 5 of the FTC Act when they made material
21    misrepresentations to consumers when selling them mass joinder litigation against
22    their lenders. FTC v. Stefanchik, 559 F.3d 924, 928 (9th Cir. 2009); FTC v.
23    Pantron I Corp., 33 F.3d 1088, 1095-96 (9th Cir. 1994) (“Express product claims
24    are presumed to be material.”).
25    6.    The Corporate Defendants were providers of mortgage assistance relief
26    services (“MARS”) as defined by the Mortgage Assistance Relief Services Rule
27    (“MARS Rule”), 12 C.F.R. § 1015.2, and they violated the MARS Rule when they:
28

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1           a.     Requested or received payment of any fee or other consideration from
2           consumers in advance of executing a written agreement with the consumer’s
3           loan holder or servicer; 12 C.F.R. § 1015.5(a);
4           b.     Misrepresented, expressly or by implication, material aspects of
5           MARS that they sold; 12 C.F.R. § 1015.3; or
6           c.     Failed to make mandatory disclosures in all commercial
7           communications; 12 C.F.R. §§ 1015.4(a)(1)-(2), 1015.4(b)(1)-(3), 1015.4(c).
8     7.    The Corporate Defendants formed a “common enterprise,” rendering each
9     liable for the others’ conduct. See Delaware Watch v. FTC, 332 F.2d 745, 746 (2d
10    Cir. 1964); FTC v. Network Svcs Depot, 617 F.3d 1127, 1142 (9th Cir. 2010)
11    (“[Q]ualities that may be demonstrated by a showing of strongly interdependent
12    economic interests or the pooling of assets and revenues.”); accord FTC v. J.K.
13    Publications, Inc., 99 F. Supp. 2d 1176, 1202 (C.D. Cal. 2000) (common enterprise
14    shown where corporate defendants were under common control; shared office
15    space, employees, and officers”).
16    8.    Defendant Jeremy Foti (“Foti”) is liable for injunctive relief because he had
17    control over the Corporate Defendants and/or participated in the wrongful conduct.
18    FTC v. Publishing Clearinghouse Inc., 104 F.3d 1168, 1171 (9th Cir. 1997).
19    9.    Defendant Charles Marshall (“Marshall”) is liable for injunctive relief
20    because he had control over the Corporate Defendants and/or participated in the
21    wrongful conduct. FTC v. Publishing Clearinghouse Inc., 104 F.3d 1168, 1171
22    (9th Cir. 1997).
23    10.   Foti is liable for monetary relief because he had, at least, “actual knowledge
24    of material misrepresentations, . . . reckless[] indifferen[ce] to the truth or falsity of
25    a misrepresentation, or . . . awareness of a high probability of fraud along with an
26    intentional avoidance of the truth.” FTC v. Grant Connect LLC, 763 F.3d 1094,
27    1101-02 (9th Cir. 2014). In fact, the evidence shows he intended to defraud
28    consumers.

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1     11.   Marshall is liable for monetary relief because he had, at least, “actual
2     knowledge of material misrepresentations, . . . reckless[] indifferen[ce] to the truth
3     or falsity of a misrepresentation, or . . . awareness of a high probability of fraud
4     along with an intentional avoidance of the truth.” FTC v. Grant Connect LLC, 763
5     F.3d 1094, 1101-02 (9th Cir. 2014). In fact, the evidence shows he intended to
6     defraud consumers.
7     12.   The FTC is entitled to monetary relief in the full amount consumers paid to
8     the Corporate Defendants. See, e.g., FTC v. Figgie Int’l, 994 F.2d 595, 605-06
9     (9th Cir. 1993) (holding that consumers are assumed to have relied upon the
10    deceptive claims because they were widely disseminated, and that consumers were
11    entitled to full refunds because the fraud was in the selling).
12    13.   Therefore, Foti’s and Marshall’s monetary liability for violations of the FTC
13    Act and the MARS Rule is joint and several with each other and the Corporate
14    Defendants for the time period they had control or participated in the wrongful
15    conduct. See FTC v. Stefanchik, 559 F.3d 924, 931 (9th Cir. 2009) (rejecting
16    arguments that defendants should not be liable for the full amount of consumer loss
17    because they only received a percentage of the funds); FTC v. Commerce Planet
18    Inc., 815 F.3d 593, 603 (9th Cir. 2016).
19    14.    There is a cognizable danger that Foti and Marshall will violate the FTC
20    Act and the MARS Rule again; therefore, a permanent injunction to fence in future
21    conduct is appropriate. See United States v. W.T. Grant Co., 345 U.S. 629, 633
22    (1953); FTC v. USA Fin., LLC, 415 Fed. App’x 970, 975 (11th Cir. 2011) (per
23    curiam); FTC v. Colgate-Palmolive Co., 380 U.S. 374, 395, 85 S. Ct. 1035, 1048
24    (1965); Litton Indus., Inc. v. FTC, 676 F.2d 364, 370 (9th Cir. 1982) (quoting FTC
25    v. Ruberoid Co., 343 U.S. 470, 473 (1952)).
26
27    Executed this 14th day of August, 2017.
28                                          /s/ Benjamin J. Theisman
                                           BENJAMIN J. THEISMAN
                                           GREGORY J. MADDEN
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1                                        Attorneys for Plaintiff
                                         FEDERAL TRADE COMMISSION
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1                                 INDEX TO EVIDENCE
2     Evidence Already on the Record:
3     Document Title                                         Docket Entry
4     Declaration of Gregory J. Madden (May 18, 2016)        DE 12 &13
5     Declaration of Anthony L. Gales                        DE 14
6     Declaration of Emil George (May 17, 2016)              DE 14-6
7     Declaration of Jeremy Foti in Support of               DE 152-1
8     Defendant’s Response to Plaintiff’s Objections to
9
      Proposed Findings of Fact and Receiver’s
10
      Supplemental Report
11
      Declaration of Joseph Kennedy Pursuant to 28           DE 16
12
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13
      Declaration of Diane Samar Ayoub                       DE 17
14
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15
16
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17    Declaration of Teresa Irannejad                        DE 17-1
18    Declaration of Ronald Kolodziej                        DE 17-2
19    Declaration of Michael Nava                            DE 17-4
20    Declaration of Richard Leonido                         DE 17-4
21    Declaration of Raymond Navarro                         DE 17-5
22
      Declaration of Mario Rios                              DE 17-6
23
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24
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25
      Vito Torchia Jr., Esq. (May 6-8, 2014)
26
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27
      Declaration of Vito Torchia, Jr.                       DE 186-4
28

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1     Document Title                                        Docket Entry
2     Declaration of Gregory J. Madden in Support of        DE 218-2
3     Plaintiff’s Opposition to Motion to Dissolve or
4     Otherwise Modify Preliminary Injunction as to
5     Defendant Charles T. Marshall
6     Declaration of Gregory J. Madden in Support of        DE 278-1
7     Plaintiff’s Opposition to Motion to Dissolve or
8     Otherwise Modify Preliminary Injunction as to
9
      Defendant Charles T. Marshall
10
      Preliminary Report of Temporary Reciever              DE 42
11
      Notice of Appearance of Counsel (Charles T.           DE 50
12
      Marshall)
13
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14
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15
16    First Amended Complaint for Permanent Injunction DE 61

17    and Other Equitable Relief
18    Declaration of Edward Chang                           DE 69-2
19    Declaration of Andrew W. Robertson                    DE 69-2
20    Declaration of Jeremy Foti in Support of Opposition   DE 78-1
21    to Preliminary Injunction, dated July 25, 2016
22    Defendant Jeremy Foti’s Answer to Complaint           DE 94
23
24
      Evidence Submitted with This Motion:
25
      Document Title                                        MSJ Evid Page Nos.
26
      Declaration of Edward Chang Pursuant to 28 U.S.C.     1-18
27
      § 1746
28

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1     Document Title                                       MSJ Evid Page Nos.
2     Second Declaration of Emil T. George dated July 6,   19-55
3     2017
4     Expert Report Submitted by Dr. Bruce Isaacson        56-219
5     Measuring the Experiences of Consumers Who
6     Retained Brookstone Law Firm
7     Declaration of Josephine Lobo                        220-236
8
      Declaration of Benjamin J. Theisman in Support of    237-876
9
      Plaintiff’s Motion for Summary Judgment Against
10
      Defendants Jeremy Foti and Charles Marshall as to
11
      all Counts
12
      Declaration of Gregory Madden                        877-1198
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